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                              Appendix I
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                           List of Record Company Plaintiffs’ Copyrighted Sound Recordings



                  Artist                  Track                                Plaintiff       Registration_Number
                                                   Sony Music Plaintiffs
    1   Alabama             Mountain Music                      Arista Music                 SR0000045289
    2   Alan Jackson        Drive (For Daddy Gene)              Arista Music                 SR0000311615
    3   Alan Jackson        It's Five O' Clock Somewhere        Arista Music                 SR0000340026
                            Where Were You (When the
   4    Alan Jackson        World Stopped Turning)              Arista Music                 SR0000311615
   5    Alan Jackson        www.memory                          Arista Music                 SR0000289367
   6    Alicia Keys         A Woman's Worth                     Arista Music                 SR0000379937
   7    Alicia Keys         As I Am (Intro)                     Arista Music                 SR0000627148
   8    Alicia Keys         Butterflyz                          Arista Music                 SR0000299410
   9    Alicia Keys         Caged Bird                          Arista Music                 SR0000299410
   10   Alicia Keys         Diary                               Arista Music                 SR0000346869
   11   Alicia Keys         Dragon Days                         Arista Music                 SR0000346869
   12   Alicia Keys         Every Little Bit Hurts              Arista Music                 SR0000379937
   13   Alicia Keys         Fallin'                             Arista Music                 PA0001328763
   14   Alicia Keys         Feeling U, Feeling Me (Interlude) Arista Music                   SR0000346869
   15   Alicia Keys         Girlfriend                          Arista Music                 SR0000299410
   16   Alicia Keys         Go Ahead                            Arista Music                 SR0000627148
   17   Alicia Keys         Goodbye                             Arista Music                 SR0000299410
   18   Alicia Keys         Harlem's Nocturne                   Arista Music                 SR0000346869
   19   Alicia Keys         Heartburn                           Arista Music                 SR0000346869
   20   Alicia Keys         I Need You                          Arista Music                 SR0000627148
   21   Alicia Keys         If I Ain't Got You                  Arista Music                 SR0000346869
   22   Alicia Keys         If I Ain't Got You (Radio Edit)     Arista Music                 SR0000346869
                            If I Was Your Woman / Walk On
   23   Alicia Keys         By                                  Arista Music                 SR0000346869
   24   Alicia Keys         Intro Alicia's Prayer (Acappella) Arista Music                   SR0000379937
   25   Alicia Keys         Jane Doe                            Arista Music                 SR0000299410
   26   Alicia Keys         Karma                               Arista Music                 SR0000346869
   27   Alicia Keys         Lesson Learned                      Arista Music                 SR0000627148
   28   Alicia Keys         Like You'll Never See Me Again      Arista Music                 SR0000627148
   29   Alicia Keys         Lovin U                             Arista Music                 SR0000299410
   30   Alicia Keys         Never Felt This Way                 Arista Music                 SR0000299410
   31   Alicia Keys         No One                              Arista Music                 SR0000627148
   32   Alicia Keys         Nobody Not Really (Interlude)       Arista Music                 SR0000346869
   33   Alicia Keys         Piano & I                           Arista Music                 SR0000299410
   34   Alicia Keys         Prelude To A Kiss                   Arista Music                 SR0000627148
   35   Alicia Keys         Rock Wit U                          Arista Music                 SR0000299410
   36   Alicia Keys         Samsonite Man                       Arista Music                 SR0000346869
   37   Alicia Keys         Slow Down                           Arista Music                 SR0000346869
   38   Alicia Keys         Stolen Moments                      Arista Music                 SR0000379937
   39   Alicia Keys         Streets Of New York                 Arista Music                 SR0000379937
   40   Alicia Keys         Superwoman                          Arista Music                 SR0000627148
   41   Alicia Keys         Sure Looks Good To Me               Arista Music                 SR0000627148
   42   Alicia Keys         Teenage Love Affair                 Arista Music                 SR0000627148
                            Tell You Something (Nana's
   43   Alicia Keys         Reprise)                            Arista Music                 SR0000627148
   44   Alicia Keys         The Life                            Arista Music                 SR0000299410
   45   Alicia Keys         The Thing About Love                Arista Music                 SR0000627148
   46   Alicia Keys         Troubles                            Arista Music                 SR0000299410
   47   Alicia Keys         Unbreakable                         Arista Music                 SR0000379937
   48   Alicia Keys         Waiting For Your Love               Arista Music                 SR0000627148
   49   Alicia Keys         Wake Up                             Arista Music                 SR0000346869



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                                    List of Record Company Plaintiffs’ Copyrighted Sound Recordings



                   Artist                          Track                             Plaintiff           Registration_Number
   50    Alicia Keys                 When You Really Love Someone     Arista Music                    SR0000346869
   51    Alicia Keys                 Where Do We Go From Here         Arista Music                    SR0000627148
   52    Alicia Keys                 Why Do I Feel So Sad             Arista Music                    SR0000299410
   53    Alicia Keys                 Wild Horses                      Arista Music                    SR0000379937
   54    Alicia Keys                 Wreckless Love                   Arista Music                    SR0000627148
   55    Alicia Keys                 You Don't Know My Name           Arista Music                    SR0000346869
   56    Alicia Keys feat. Lellow    So Simple                        Arista Music                    SR0000346869

   57    Alicia Keys;Jimmy Cozier Mr. Man                             Arista Music                    SR0000299410
         Angie Stone feat. Alicia
   58    Keys & Eve               Brotha Part II                      Arista Music                    SR0000303830
   59    Avril Lavigne            Complicated                         Arista Music                    PA0001328757
   60    Avril Lavigne            Contagious                          Arista Music                    SR0000609671
   61    Avril Lavigne            Everything Back But You             Arista Music                    SR0000609671
   62    Avril Lavigne            Fall To Pieces                      Arista Music                    SR0000332312
   63    Avril Lavigne            Forgotten                           Arista Music                    SR0000332312
   64    Avril Lavigne            Freak Out                           Arista Music                    SR0000332312
   65    Avril Lavigne            He Wasn't                           Arista Music                    SR0000332312
   66    Avril Lavigne            Hot                                 Arista Music                    SR0000609671
   67    Avril Lavigne            How Does It Feel                    Arista Music                    SR0000332312
   68    Avril Lavigne            I Always Get What I Want            Arista Music                    SR0000332312
   69    Avril Lavigne            I Can Do Better                     Arista Music                    SR0000609671
   70    Avril Lavigne            I Don't Have To Try                 Arista Music                    SR0000609671
   71    Avril Lavigne            Innocence                           Arista Music                    SR0000609671
   72    Avril Lavigne            Keep Holding On                     Arista Music                    SR0000609671
   73    Avril Lavigne            My Happy Ending                     Arista Music                    SR0000332312
   74    Avril Lavigne            Nobody's Home                       Arista Music                    SR0000332312
   75    Avril Lavigne            One Of Those Girls                  Arista Music                    SR0000609671
   76    Avril Lavigne            Runaway                             Arista Music                    SR0000609671
   77    Avril Lavigne            Slipped Away                        Arista Music                    SR0000332312
   78    Avril Lavigne            The Best Damn Thing                 Arista Music                    SR0000609671
   79    Avril Lavigne            When You're Gone                    Arista Music                    SR0000609671
   80    Avril Lavigne            Who Knows                           Arista Music                    SR0000332312
   81    Brad Paisley             All I Wanted Was a Car              Arista Music                    SR0000610946
   82    Brad Paisley             Better Than This                    Arista Music                    SR0000610946
   83    Brad Paisley             Easy Money                          Arista Music                    SR0000366007
   84    Brad Paisley             Flowers                             Arista Music                    SR0000366007
   85    Brad Paisley             I'll Take You Back                  Arista Music                    SR0000366007
   86    Brad Paisley             I'm Still A Guy                     Arista Music                    SR0000610946
   87    Brad Paisley             If Love Was a Plane                 Arista Music                    SR0000610946
   88    Brad Paisley             It Did                              Arista Music                    SR0000610946
   89    Brad Paisley             Letter To Me                        Arista Music                    SR0000610946
   90    Brad Paisley             Love Is Never-Ending                Arista Music                    SR0000366007
   91    Brad Paisley             Mr. Policeman                       Arista Music                    SR0000610946
   92    Brad Paisley             Oh Love                             Arista Music                    SR0000610946
   93    Brad Paisley             Online                              Arista Music                    SR0000610946
   94    Brad Paisley             Out In The Parkin' Lot              Arista Music                    SR0000366007
   95    Brad Paisley             Out Take 3                          Arista Music                    SR0000366007
   96    Brad Paisley             Out Take 4                          Arista Music                    SR0000366007
   97    Brad Paisley             Outtake #2                          Arista Music                    SR0000610946
   98    Brad Paisley             Previously                          Arista Music                    SR0000610946
   99    Brad Paisley             Rainin' You                         Arista Music                    SR0000366007
   100   Brad Paisley             She's Everything                    Arista Music                    SR0000366007



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                                    List of Record Company Plaintiffs’ Copyrighted Sound Recordings



                   Artist                         Track                              Plaintiff           Registration_Number
   101   Brad Paisley                Some Mistakes                    Arista Music                    SR0000610946
   102   Brad Paisley                The Uncloudy Day                 Arista Music                    SR0000366007
   103   Brad Paisley                The World                        Arista Music                    SR0000366007
   104   Brad Paisley                Throttleneck                     Arista Music                    SR0000610946
   105   Brad Paisley                Ticks                            Arista Music                    SR0000610946
   106   Brad Paisley                Time Warp                        Arista Music                    SR0000366007
   107   Brad Paisley                Time Well Wasted                 Arista Music                    SR0000366007
   108   Brad Paisley                Waitin' On a Woman               Arista Music                    SR0000366007
   109   Brad Paisley                When I Get Where I'm Going       Arista Music                    SR0000366007
   110   Brad Paisley                When We All Get to Heaven        Arista Music                    SR0000610946
   111   Brad Paisley                With You, Without You            Arista Music                    SR0000610946
   112   Brad Paisley                You Need a Man Around Here       Arista Music                    SR0000366007
         Brad Paisley feat. James
         Burton and The Kung
   113   Pao Buckaroos               Cornography                      Arista Music                    SR0000366007
         Brad Paisley feat. The
   114   Kung Pao Buckaroos          Bigger Fish to Fry               Arista Music                    SR0000610946
   115   Christina Aguilera          Candyman                         Arista Music                    SR0000393677
   116   Citizen Cope                107°                             Arista Music                    SR0000395941
   117   Citizen Cope                All Dressed Up                   Arista Music                    SR0000395941
   118   Citizen Cope                Awe                              Arista Music                    SR0000395941
   119   Citizen Cope                Back Together                    Arista Music                    SR0000395941
   120   Citizen Cope                Brother Lee                      Arista Music                    SR0000395941
   121   Citizen Cope                Bullet And A Target              Arista Music                    SR0000355314
   122   Citizen Cope                D'Artagnan's Theme               Arista Music                    SR0000355314
   123   Citizen Cope                Deep                             Arista Music                    SR0000355314
   124   Citizen Cope                Every Waking Moment              Arista Music                    SR0000395941
   125   Citizen Cope                Fame                             Arista Music                    SR0000355314
   126   Citizen Cope                Friendly Fire                    Arista Music                    SR0000395941
   127   Citizen Cope                Hurricane Waters                 Arista Music                    SR0000355314
   128   Citizen Cope                John Lennon                      Arista Music                    SR0000395941
   129   Citizen Cope                Left For Dead                    Arista Music                    SR0000395941
   130   Citizen Cope                More Than It Seems               Arista Music                    SR0000395941
   131   Citizen Cope                My Way Home                      Arista Music                    SR0000355314
   132   Citizen Cope                Nite Becomes Day                 Arista Music                    SR0000355314
   133   Citizen Cope                Pablo Picasso                    Arista Music                    SR0000355314
   134   Citizen Cope                Penitentiary                     Arista Music                    SR0000355314
   135   Citizen Cope                Sideways                         Arista Music                    SR0000355314
   136   Citizen Cope                Somehow                          Arista Music                    SR0000395941
   137   Citizen Cope                Son's Gonna Rise                 Arista Music                    SR0000355314
   138   Dave Matthews Band          #34                              Arista Music                    SR0000285688
   139   Dave Matthews Band          #41                              Arista Music                    SR0000212572
   140   Dave Matthews Band          American Baby Intro              Arista Music                    SR0000385935
   141   Dave Matthews Band          Angel                            Arista Music                    SR0000300313
   142   Dave Matthews Band          Ants Marching                    Arista Music                    SR0000285688
   143   Dave Matthews Band          Bartender                        Arista Music                    SR0000321902
   144   Dave Matthews Band          Big Eyed Fish                    Arista Music                    SR0000321902
   145   Dave Matthews Band          Busted Stuff                     Arista Music                    SR0000321902
   146   Dave Matthews Band          Captain                          Arista Music                    SR0000321902
   147   Dave Matthews Band          Crash Into Me                    Arista Music                    SR0000212572
   148   Dave Matthews Band          Crush                            Arista Music                    SR0000257982
   149   Dave Matthews Band          Cry Freedom                      Arista Music                    SR0000212572
   150   Dave Matthews Band          Dancing Nancies                  Arista Music                    SR0000285688



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                              List of Record Company Plaintiffs’ Copyrighted Sound Recordings



                 Artist                        Track                           Plaintiff           Registration_Number
   151   Dave Matthews Band    Digging a Ditch                  Arista Music                    SR0000321902
   152   Dave Matthews Band    Don't Drink The Water            Arista Music                    SR0000257982
   153   Dave Matthews Band    Dreamgirl                        Arista Music                    SR0000385935
   154   Dave Matthews Band    Dreams of Our Fathers            Arista Music                    SR0000300313
   155   Dave Matthews Band    Drive in Drive Out               Arista Music                    SR0000212572
                               Everybody Wake Up (Our Finest
   156   Dave Matthews Band    Hour Arrives)                    Arista Music                    SR0000385935
   157   Dave Matthews Band    Everyday                         Arista Music                    SR0000300313
   158   Dave Matthews Band    Fool to Think                    Arista Music                    SR0000300313
   159   Dave Matthews Band    Grace Is Gone                    Arista Music                    SR0000321902
   160   Dave Matthews Band    Grey Street                      Arista Music                    SR0000321902
   161   Dave Matthews Band    Halloween                        Arista Music                    SR0000257982
   162   Dave Matthews Band    Hunger For The Great Light       Arista Music                    SR0000385935
   163   Dave Matthews Band    I Did It                         Arista Music                    SR0000300313
   164   Dave Matthews Band    If I Had It All                  Arista Music                    SR0000300313
   165   Dave Matthews Band    Jimi Thing                       Arista Music                    SR0000285688
   166   Dave Matthews Band    Kit Kat Jam                      Arista Music                    SR0000321902
   167   Dave Matthews Band    Let You Down                     Arista Music                    SR0000212572
   168   Dave Matthews Band    Lie in Our Graves                Arista Music                    SR0000212572
   169   Dave Matthews Band    Louisiana Bayou                  Arista Music                    SR0000385935
   170   Dave Matthews Band    Lover Lay Down                   Arista Music                    SR0000285688
   171   Dave Matthews Band    Mother Father                    Arista Music                    SR0000300313
                               Old Dirt Hill (Bring That Beat
   172   Dave Matthews Band    Back)                            Arista Music                    SR0000385935
   173   Dave Matthews Band    Out of My Hands                  Arista Music                    SR0000385935
   174   Dave Matthews Band    Pantala Naga Pampa               Arista Music                    SR0000257982
   175   Dave Matthews Band    Pay for What You Get             Arista Music                    SR0000285688
   176   Dave Matthews Band    Pig                              Arista Music                    SR0000257982
   177   Dave Matthews Band    Proudest Monkey                  Arista Music                    SR0000212572
   178   Dave Matthews Band    Rapunzel                         Arista Music                    SR0000257982
   179   Dave Matthews Band    Raven                            Arista Music                    SR0000321902
   180   Dave Matthews Band    Rhyme & Reason                   Arista Music                    SR0000285688
   181   Dave Matthews Band    Satellite                        Arista Music                    SR0000285688
   182   Dave Matthews Band    Say Goodbye                      Arista Music                    SR0000212572
   183   Dave Matthews Band    Sleep to Dream Her               Arista Music                    SR0000300313
   184   Dave Matthews Band    Smooth Rider                     Arista Music                    SR0000385935
   185   Dave Matthews Band    So Much To Say                   Arista Music                    SR0000212572
   186   Dave Matthews Band    So Right                         Arista Music                    SR0000300313
   187   Dave Matthews Band    Spoon                            Arista Music                    SR0000257982
   188   Dave Matthews Band    Stand Up (For It)                Arista Music                    SR0000385935
   189   Dave Matthews Band    Stay (Wasting Time)              Arista Music                    SR0000257982
   190   Dave Matthews Band    Steady as We Go                  Arista Music                    SR0000385935
   191   Dave Matthews Band    Stolen Away on 55th & 3rd        Arista Music                    SR0000385935
   192   Dave Matthews Band    The Best of What's Around        Arista Music                    SR0000285688
   193   Dave Matthews Band    The Dreaming Tree                Arista Music                    SR0000257982
   194   Dave Matthews Band    The Last Stop                    Arista Music                    SR0000257982
   195   Dave Matthews Band    The Space Between                Arista Music                    SR0000300313
   196   Dave Matthews Band    The Stone                        Arista Music                    SR0000257982
   197   Dave Matthews Band    Too Much                         Arista Music                    SR0000212572
   198   Dave Matthews Band    Tripping Billies                 Arista Music                    SR0000212572
   199   Dave Matthews Band    Two Step                         Arista Music                    SR0000212572
   200   Dave Matthews Band    Typical Situation                Arista Music                    SR0000285688
   201   Dave Matthews Band    Warehouse                        Arista Music                    SR0000285688



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                                 List of Record Company Plaintiffs’ Copyrighted Sound Recordings



                   Artist                         Track                            Plaintiff          Registration_Number
   202   Dave Matthews Band       What Would You Say                Arista Music                   SR0000285688
   203   Dave Matthews Band       What You Are                      Arista Music                   SR0000300313
   204   Dave Matthews Band       When The World Ends               Arista Music                   SR0000300313
   205   Dave Matthews Band       Where Are You Going               Arista Music                   SR0000321902
   206   Dave Matthews Band       You Might Die Trying              Arista Music                   SR0000385935
   207   Dave Matthews Band       You Never Know                    Arista Music                   SR0000321902
   208   Diamond Rio              Beautiful Mess                    Arista Music                   SR0000319527
   209   Etta James               Crawlin' King Snake               Arista Music                   SR0000356724
   210   Etta James               I'll Be Seeing You                Arista Music                   SR0000187947
   211   Etta James               I've Been Lovin' You Too Long     Arista Music                   SR0000279857
   212   Etta James               If I Had Any Pride Left At All    Arista Music                   SR0000279857
   213   Etta James               It's a Man's Man's Man's World    Arista Music                   SR0000386246
   214   Etta James               Strongest Weakness                Arista Music                   SR0000339597
   215   Etta James               The Blues Is My Business          Arista Music                   SR0000339597
   216   Etta James               The Man I Love                    Arista Music                   SR0000187947
   217   Etta James               The Very Thought Of You           Arista Music                   SR0000187947
   218   Etta James               Try a Little Tenderness           Arista Music                   SR0000270247
   219   Heather Headley          Am I Worth It                     Arista Music                   SR0000382683
   220   Heather Headley          Back When It Was                  Arista Music                   SR0000382683
   221   Heather Headley          Change                            Arista Music                   SR0000382683
   222   Heather Headley          I Didn't Mean To                  Arista Music                   SR0000382683
   223   Heather Headley          In My Mind                        Arista Music                   SR0000382683
   224   Heather Headley          Losing You                        Arista Music                   SR0000382683
   225   Heather Headley          Me Time                           Arista Music                   SR0000382683
   226   Heather Headley          The Letter                        Arista Music                   SR0000382683
   227   Heather Headley          Wait A Minute                     Arista Music                   SR0000382683
   228   Heather Headley          What's Not Being Said             Arista Music                   SR0000382683
         Heather Headley
   229   featuring Shaggy         Rain                              Arista Music                   SR0000382683
         Heather Headley
   230   featuring Vybz Kartel    How Many Ways                     Arista Music                   SR0000382683
   231   Hurricane Chris          Beat In My Trunk                  Arista Music                   SR0000620403
   232   Hurricane Chris          Do Something                      Arista Music                   SR0000620403
   233   Hurricane Chris          Doin' My Thang                    Arista Music                   SR0000620403
   234   Hurricane Chris          Leaving You                       Arista Music                   SR0000620403
   235   Hurricane Chris          New Fashion                       Arista Music                   SR0000620403
   236   Hurricane Chris          Touch Me                          Arista Music                   SR0000620403
   237   Hurricane Chris          Walk Like That                    Arista Music                   SR0000620403

         Hurricane Chris
         featuring Big Poppa of
   238   Ratchet City & Bigg Redd Bang                              Arista Music                   SR0000620403
         Hurricane Chris
   239   featuring Boxie          Playas Rock                       Arista Music                   SR0000620403
         Hurricane Chris
   240   featuring Nicole Wray    Getting Money                     Arista Music                   SR0000620403
         Hurricane Chris
   241   featuring Nicole Wray    Momma                             Arista Music                   SR0000620403
         Hurricane Chris
         featuring The Game, Lil
         Boosie, Baby, E-40, Angie
         Locc of Lava House &
   242   Jadakiss                  A Bay Bay (The Ratchet Remix)    Arista Music                   SR0000620403



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                            List of Record Company Plaintiffs’ Copyrighted Sound Recordings



                  Artist                    Track                                Plaintiff       Registration_Number
   243   Jamey Johnson       It Was Me                            Arista Music                SR0000374946
   244   Jamey Johnson       Redneck Side of Me                   Arista Music                SR0000374946
   245   Jamie Foxx          DJ Play A Love Song                  Arista Music                SR0000374820
   246   Jamie Foxx          Love Changes                         Arista Music                SR0000374820
   247   Jamie Foxx          Unpredictable                        Arista Music                SR0000374820
   248   Jamie Foxx          With You                             Arista Music                SR0000374820
   249   Jazmine Sullivan    After The Hurricane                  Arista Music                SR0000618093
   250   Jazmine Sullivan    Bust Your Windows                    Arista Music                SR0000618093
   251   Jazmine Sullivan    Call Me Guilty                       Arista Music                SR0000618093
   252   Jazmine Sullivan    Dream Big                            Arista Music                SR0000618093
   253   Jazmine Sullivan    Fear                                 Arista Music                SR0000618093
   254   Jazmine Sullivan    In Love With Another Man             Arista Music                SR0000618093
   255   Jazmine Sullivan    Lions, Tigers & Bears                Arista Music                SR0000618093
   256   Jazmine Sullivan    Live A Lie                           Arista Music                SR0000618093
   257   Jazmine Sullivan    My Foolish Heart                     Arista Music                SR0000618093
   258   Jazmine Sullivan    Need U Bad                           Arista Music                SR0000613934
   259   Jazmine Sullivan    One Night Stand                      Arista Music                SR0000618093
   260   Jazmine Sullivan    Switch!                              Arista Music                SR0000618093
   261   John Denver         Annie's Song                         Arista Music                SR0000046358
   262   John Denver         Back Home Again                      Arista Music                SR0000046358
   263   John Denver         Calypso                              Arista Music                RE0000918692
   264   John Denver         Darcy Farrow                         Arista Music                RE0000919266
   265   John Denver         Fall                                 Arista Music                RE0000919266
   266   John Denver         Fly Away                             Arista Music                RE0000918692
   267   John Denver         For Baby (For Bobbie)                Arista Music                RE0000919266
   268   John Denver         Goodbye Again                        Arista Music                RE0000919266
                             Late Winter, Early Spring (When
   269   John Denver         Everybody Goes To Mexico)            Arista Music                RE0000919266
   270   John Denver         Like a Sad Song                      Arista Music                RE0000918620
   271   John Denver         Looking for Space                    Arista Music                RE0000918692
   272   John Denver         Mother Nature's Son                  Arista Music                RE0000919266
   273   John Denver         Prisoners                            Arista Music                RE0000919266
   274   John Denver         Rocky Mountain High                  Arista Music                RE0000919266
   275   John Denver         Shanghai Breezes                     Arista Music                SR0000039874
   276   John Denver         Spring                               Arista Music                RE0000919266
   277   John Denver         Summer                               Arista Music                RE0000919266
   278   John Denver         Sweet Surrender                      Arista Music                RE0000919475
   279   John Denver         Thank God I'm a Country Boy          Arista Music                SR0000046358
   280   John Denver         Wild Montana Skies                   Arista Music                SR0000049211
   281   John Denver         Winter                               Arista Music                RE0000919266
   282   Kenny Chesney       All I Need To Know                   Arista Music                SR0000208984
                             All I Want For Christmas Is A Real
   283   Kenny Chesney       Good Tan                             Arista Music                SR0000333554
   284   Kenny Chesney       Back Where I Come From               Arista Music                SR0000277700
   285   Kenny Chesney       Baptism                              Arista Music                SR0000263302
   286   Kenny Chesney       Because Of Your Love                 Arista Music                SR0000277700
   287   Kenny Chesney       Christmas In Dixie                   Arista Music                SR0000333554
   288   Kenny Chesney       Don't Happen Twice                   Arista Music                SR0000277700
   289   Kenny Chesney       Fall In Love                         Arista Music                SR0000208984
   290   Kenny Chesney       For The First Time                   Arista Music                SR0000277700
   291   Kenny Chesney       How Forever Feels                    Arista Music                SR0000263302
   292   Kenny Chesney       I Lost It                            Arista Music                SR0000277700
   293   Kenny Chesney       I'll Be Home For Christmas           Arista Music                SR0000333554



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                                List of Record Company Plaintiffs’ Copyrighted Sound Recordings



                   Artist                       Track                             Plaintiff          Registration_Number
   294   Kenny Chesney           Jingle Bells                      Arista Music                   SR0000333554
   295   Kenny Chesney           Just A Kid                        Arista Music                   SR0000333554
   296   Kenny Chesney           Me And You                        Arista Music                   SR0000208984
   297   Kenny Chesney           O Little Town Of Bethlehem        Arista Music                   SR0000333554
   298   Kenny Chesney           Pretty Paper                      Arista Music                   SR0000333554
   299   Kenny Chesney           She Thinks My Tractor's Sexy      Arista Music                   SR0000263302
   300   Kenny Chesney           She's Got It All                  Arista Music                   SR0000238371
   301   Kenny Chesney           Silent Night                      Arista Music                   SR0000333554
   302   Kenny Chesney           Silver Bells                      Arista Music                   SR0000333554
   303   Kenny Chesney           Thank God For Kids                Arista Music                   SR0000333554
   304   Kenny Chesney           That's Why I'm Here               Arista Music                   SR0000238371
   305   Kenny Chesney           The Angel At The Top Of My Tree   Arista Music                   SR0000333554
   306   Kenny Chesney           The Tin Man                       Arista Music                   SR0000208984
   307   Kenny Chesney           When I Close My Eyes              Arista Music                   SR0000238371
   308   Kenny Chesney           You Had Me From Hello             Arista Music                   SR0000263302
   309   Kings Of Leon           California Waiting                Arista Music                   SR0000330401
   310   Kings Of Leon           Holy Roller Novocaine             Arista Music                   SR0000330401
   311   Kings Of Leon           Molly's Chambers                  Arista Music                   SR0000330401
   312   Kings Of Leon           Wasted Time                       Arista Music                   SR0000330401
   313   Kings Of Leon           Wicker Chair                      Arista Music                   SR0000330401
   314   Luther Vandross         I'd Rather                        Arista Music                   SR0000298047
   315   Luther Vandross         Take You Out                      Arista Music                   SR0000298047
   316   Mario                   Let Me Love You                   Arista Music                   SR0000363091
   317   SWV                     Anything                          Arista Music                   SR0000146905
   318   SWV                     Blak Pudd'n                       Arista Music                   SR0000146905
   319   SWV                     Can We                            Arista Music                   SR0000249300
   320   SWV                     Come And Get Some                 Arista Music                   SR0000249300
   321   SWV                     Coming Home                       Arista Music                   SR0000146905
   322   SWV                     Downtown                          Arista Music                   SR0000146905
   323   SWV                     Gettin' Funky                     Arista Music                   SR0000249300
   324   SWV                     Give It To Me                     Arista Music                   SR0000146905
   325   SWV                     Give It Up                        Arista Music                   SR0000249300
   326   SWV                     Here For You                      Arista Music                   SR0000249300
   327   SWV                     I'm so into You                   Arista Music                   SR0000146905
   328   SWV                     It's About Time                   Arista Music                   SR0000146905
   329   SWV                     Lose Myself                       Arista Music                   SR0000249300
   330   SWV                     Love Like This                    Arista Music                   SR0000249300
   331   SWV                     Rain                              Arista Music                   SR0000249300
   332   SWV                     Release Some Tension              Arista Music                   SR0000249300
   333   SWV                     Right Here                        Arista Music                   SR0000146905
   334   SWV                     SWV (In The House)                Arista Music                   SR0000146905
   335   SWV                     That's What I Need                Arista Music                   SR0000146905
   336   SWV                     Think You're Gonna Like It        Arista Music                   SR0000146905
   337   SWV                     Weak                              Arista Music                   SR0000146905
   338   SWV                     Weak (A Cappella)                 Arista Music                   SR0000146905
   339   SWV                     When U Cry                        Arista Music                   SR0000249300
   340   SWV                     You're Always On My Mind          Arista Music                   SR0000146905
   341   SWV                     You're The One                    Arista Music                   PA0001288814
         SWV featuring Puff
   342   Daddy                   Someone                           Arista Music                   SR0000249300
   343   SWV featuring Redman    Lose My Cool                      Arista Music                   SR0000249300
   344   The Chieftains          Molly Ban                         Arista Music                   SR0000344757
   345   Usher                   Bad Girl                          Arista Music                   SR0000354784



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                                  List of Record Company Plaintiffs’ Copyrighted Sound Recordings



                  Artist                          Track                             Plaintiff          Registration_Number
   346   Usher                     Burn                              Arista Music                   SR0000354784
   347   Usher                     Can U Handle It?                  Arista Music                   SR0000354784
   348   Usher                     Caught Up                         Arista Music                   SR0000354784
   349   Usher                     Confessions                       Arista Music                   SR0000354784
   350   Usher                     Confessions Part II               Arista Music                   SR0000354784
   351   Usher                     Do It To Me                       Arista Music                   SR0000354784
   352   Usher                     Follow Me                         Arista Music                   SR0000354784
   353   Usher                     Simple Things                     Arista Music                   SR0000354784
   354   Usher                     Superstar                         Arista Music                   SR0000354784
   355   Usher                     Take Your Hand                    Arista Music                   SR0000354784
   356   Usher                     That's What It's Made For         Arista Music                   SR0000354784
   357   Usher                     Throwback                         Arista Music                   SR0000354784
   358   Usher                     Truth Hurts                       Arista Music                   SR0000354784
   359   Usher                     Yeah!                             Arista Music                   SR0000354784
                                   Luckenbach, Texas (Back to the
   360   Waylon Jennings           Basics of Love)                   Arista Music                   RE0000919768
   361   Whitney Houston           Cantique De Noel (O Holy Night)   Arista Music                   SR0000353688
   362   Whitney Houston           Deck the Halls / Silent Night     Arista Music                   SR0000353688
                                   Have Yourself a Merry Little
   363   Whitney Houston           Christmas                         Arista Music                   SR0000353688
   364   Whitney Houston           I'll Be Home for Christmas        Arista Music                   SR0000353688
   365   Whitney Houston           Little Drummer Boy                Arista Music                   SR0000353688
   366   Whitney Houston           O Come O Come Emanuel             Arista Music                   SR0000353688
   367   Whitney Houston           One Wish (For Christmas)          Arista Music                   SR0000353688
                                   The Christmas Song (Chestnuts
   368   Whitney Houston           Roasting on an Open Fire)         Arista Music                   SR0000353688
   369   Whitney Houston           The First Noel                    Arista Music                   SR0000353688
                                   Who Would Imagine A King -
   370   Whitney Houston           (From "The Preacher's Wife")      Arista Music                   SR0000353688
         Whitney Houston with
   371   The Georgia Mass Choir    Joy To The World                  Arista Music                   SR0000353688
   372   Air Supply                American Hearts                   Arista Records LLC             SR0000038070
   373   Air Supply                Chances                           Arista Records LLC             SR0000038070
   374   Air Supply                Don't Turn Me Away                Arista Records LLC             SR0000027866
   375   Air Supply                Having You Near Me                Arista Records LLC             SR0000038070
   376   Air Supply                I Can't Get Excited               Arista Records LLC             SR0000038070
   377   Air Supply                I Want to Give It All             Arista Records LLC             SR0000027856
   378   Air Supply                I'll Never Get Enough Of You      Arista Records LLC             SR0000027866
   379   Air Supply                I've Got Your Love                Arista Records LLC             SR0000027866
   380   Air Supply                Just Another Woman                Arista Records LLC             SR0000038070
   381   Air Supply                Keeping the Love Alive            Arista Records LLC             SR0000027866
   382   Air Supply                My Best Friend                    Arista Records LLC             SR0000038070
   383   Air Supply                Old Habits Die Hard               Arista Records LLC             SR0000038070
   384   Air Supply                The One That You Love             Arista Records LLC             SR0000027856
   385   Air Supply                This Heart Belongs To Me          Arista Records LLC             SR0000027866
   386   Air Supply                Tonite                            Arista Records LLC             SR0000027866
   387   Alan Jackson              Chasin' That Neon Rainbow         Arista Records LLC             SR0000120465
   388   Alan Jackson              Chattahoochee                     Arista Records LLC             SR0000147716
   389   Alan Jackson              Don't Rock The Jukebox            Arista Records LLC             SR0000138302
   390   Alan Jackson              Everything I Love                 Arista Records LLC             SR0000227719
   391   Alan Jackson              Gone Country                      Arista Records LLC             SR0000202090
   392   Alan Jackson              Here In The Real World            Arista Records LLC             SR0000120465
   393   Alan Jackson              It Must Be Love                   Arista Records LLC             SR0000303828



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                 Artist                          Track                          Plaintiff            Registration_Number
 394   Alan Jackson              Little Bitty                      Arista Records LLC             SR0000227719
 395   Alan Jackson              Little Man                        Arista Records LLC             SR0000295185
 396   Alan Jackson              Livin' On Love                    Arista Records LLC             SR0000202090
 397   Alan Jackson              Midnight In Montgomery            Arista Records LLC             SR0000138302
 398   Alan Jackson              Pop A Top                         Arista Records LLC             SR0000303828
 399   Alan Jackson              Right On the Money                Arista Records LLC             SR0000295185
                                 She's Got the Rhythm (And I Got
 400   Alan Jackson              the Blues)                        Arista Records LLC             SR0000147716
 401   Alan Jackson              Tall, Tall Trees                  Arista Records LLC             SR0000216936
 402   Alan Jackson              Who's Cheatin' Who                Arista Records LLC             SR0000227719
 403   Annie Lennox              Cold                              Arista Records LLC             SR0000145693
 404   Annie Lennox              Little Bird                       Arista Records LLC             SR0000145693
 405   Annie Lennox              Precious                          Arista Records LLC             SR0000145693
 406   Annie Lennox              Walking On Broken Glass           Arista Records LLC             SR0000145693
 407   Annie Lennox              Why                               Arista Records LLC             SR0000145693
 408   Anthony Hamilton          Diamond In The Rough              Arista Records LLC             SR0000625444
 409   Anthony Hamilton          Fallin' In Love                   Arista Records LLC             SR0000625444
 410   Anthony Hamilton          Fine Again                        Arista Records LLC             SR0000625444
 411   Anthony Hamilton          Hard To Breathe                   Arista Records LLC             SR0000625444
 412   Anthony Hamilton          Her Heart                         Arista Records LLC             SR0000625444
 413   Anthony Hamilton          I Did It For Sho                  Arista Records LLC             SR0000625444
 414   Anthony Hamilton          Please Stay                       Arista Records LLC             SR0000625444
 415   Anthony Hamilton          Prayin' For You/Superman          Arista Records LLC             SR0000625444
 416   Anthony Hamilton          Soul's On Fire                    Arista Records LLC             SR0000625444
 417   Anthony Hamilton          The Day We Met                    Arista Records LLC             SR0000625444
 418   Anthony Hamilton          The News                          Arista Records LLC             SR0000625444
 419   Anthony Hamilton          The Point Of It All               Arista Records LLC             SR0000625444
       Anthony Hamilton
 420   featuring David Banner    Cool                              Arista Records LLC             PA0001640157
 421   Avril Lavigne             Anything But Ordinary             Arista Records LLC             SR0000312786
 422   Avril Lavigne             I'm with You                      Arista Records LLC             SR0000312786
 423   Avril Lavigne             Losing Grip                       Arista Records LLC             SR0000312786
 424   Avril Lavigne             Mobile                            Arista Records LLC             SR0000312786
 425   Avril Lavigne             Naked                             Arista Records LLC             SR0000312786
 426   Avril Lavigne             Nobody's Fool                     Arista Records LLC             SR0000312786
 427   Avril Lavigne             Sk8er Boi                         Arista Records LLC             SR0000312786
 428   Avril Lavigne             Things I'll Never Say             Arista Records LLC             SR0000312786
 429   Avril Lavigne             Tomorrow                          Arista Records LLC             SR0000312786
 430   Brandy                    Sittin' Up In My Room             Arista Records LLC             SR0000219539
 431   Brooks & Dunn             Boot Scootin' Boogie              Arista Records LLC             SR0000140290
 432   John Williams             March from 1941                   Arista Records LLC             SR0000019891
 433   Kenny G                   Against Doctor's Orders           Arista Records LLC             SR0000135107
 434   Kenny G                   Brazil                            Arista Records LLC             SR0000321704
 435   Kenny G                   Desafinado                        Arista Records LLC             SR0000289898
 436   Kenny G                   Havana                            Arista Records LLC             SR0000236228
                                 Have Yourself a Merry Little
 437   Kenny G                   Christmas                         Arista Records LLC             SR0000206848
 438   Kenny G                   I'm in the Mood for Love          Arista Records LLC             SR0000399076
 439   Kenny G                   It Had To Be You                  Arista Records LLC             SR0000399076
 440   Kenny G                   Loving You                        Arista Records LLC             SR0000248755
                                 Medley: Deck the Halls / The
 441   Kenny G                   Twelve Days of Christmas          Arista Records LLC             SR0000322511
 442   Kenny G                   Round Midnight                    Arista Records LLC             SR0000289898



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                Artist                          Track                           Plaintiff            Registration_Number
 443   Kenny G                   Sade                              Arista Records LLC             SR0000079028
 444   Kenny G                   Silhouette                        Arista Records LLC             SR0000135107
 445   Kenny G                   Slip of the Tongue                Arista Records LLC             SR0000079028
 446   Kenny G                   Songbird                          Arista Records LLC             SR0000079028
 447   Kenny G                   The Champion's Theme              Arista Records LLC             SR0000236228
 448   Kenny G                   The Look Of Love                  Arista Records LLC             SR0000289898
 449   Kenny G                   The Moment                        Arista Records LLC             SR0000236228
 450   Kenny G                   Theme from "Dying Young"          Arista Records LLC             SR0000263707
       Monica featuring
 451   OutKast                   Gone Be Fine                      Arista Records LLC             SR0000263982
                                 A Life In The of Benjamin Andre
 452   OutKast                   (Incomplete)                      Arista Records LLC             SR0000340520
                                 Da Art of Storytellin' (Pt. 1)
 453   OutKast                   (Explicit)                        Arista Records LLC             SR0000264092
                                 Da Art of Storytellin' (Pt. 2)
 454   OutKast                   (Explicit)                        Arista Records LLC             SR0000264092
 455   OutKast                   Return of the "G" (Explicit)      Arista Records LLC             SR0000264092
       OutKast featuring
 456   George Clinton            Synthesizer (Explicit)            Arista Records LLC             SR0000264092
 457   P!nk                      18 Wheeler                        Arista Records LLC             SR0000326672
 458   P!nk                      Dear Diary                        Arista Records LLC             SR0000326672
 459   P!nk                      Don't Let Me Get Me               Arista Records LLC             SR0000326672
 460   P!nk                      Eventually                        Arista Records LLC             SR0000326672
 461   P!nk                      Family Portrait                   Arista Records LLC             SR0000326672
 462   P!nk                      Get The Party Started             Arista Records LLC             SR0000326672
 463   P!nk                      God Is A DJ                       Arista Records LLC             SR0000345431
 464   P!nk                      Gone to California                Arista Records LLC             SR0000326672
 465   P!nk                      Just Like A Pill                  Arista Records LLC             SR0000326672
 466   P!nk                      Lonely Girl                       Arista Records LLC             SR0000326672
 467   P!nk                      Misery                            Arista Records LLC             SR0000326672
 468   P!nk                      Missunaztood                      Arista Records LLC             SR0000326672
 469   P!nk                      My Vietnam                        Arista Records LLC             SR0000326672
 470   P!nk                      Numb                              Arista Records LLC             SR0000326672
 471   P!nk                      Trouble                           Arista Records LLC             SR0000344428
 472   Paula DeAnda              Breathe                           Arista Records LLC             SR0000393631
 473   Paula DeAnda              Doing Too Much                    Arista Records LLC             SR0000393631
 474   Paula DeAnda              Easy                              Arista Records LLC             SR0000393631
 475   Paula DeAnda              Footprints On My Heart            Arista Records LLC             SR0000393631
 476   Paula DeAnda              Good Girl                         Arista Records LLC             SR0000393631
 477   Paula Deanda              I'll Be Down For You              Arista Records LLC             SR0000393631
 478   Paula DeAnda              Overloved                         Arista Records LLC             SR0000393631
 479   Paula DeAnda              So Cold                           Arista Records LLC             SR0000393631
 480   Paula DeAnda              When It Was Me                    Arista Records LLC             SR0000393631
       Paula DeAnda feat. The
 481   Dey                       Walk Away (Remember Me)           Arista Records LLC             SR0000393631
       Paula DeAnda featuring
 482   Ak'Sent                   Clap Ta This                      Arista Records LLC             SR0000393631
       Paula DeAnda featuring
 483   P.B.                      Let's Go Out Tonight              Arista Records LLC             SR0000393631
       Paula DeAnda featuring
 484   V Nice                    Wanna Be With You                 Arista Records LLC             SR0000393631
 485   RUN-DMC                   Beats to the Rhyme                Arista Records LLC             SR0000124365
 486   RUN-DMC                   Down With The King                Arista Records LLC             SR0000291221



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                 Artist                        Track                          Plaintiff             Registration_Number
 487   RUN-DMC                  Faces                            Arista Records LLC              SR0000124852
 488   RUN-DMC                  Hit It Run                       Arista Records LLC              SR0000124846
 489   RUN-DMC                  I'm Not Going Out Like That      Arista Records LLC              SR0000124365
 490   RUN-DMC                  It's Like That                   Arista Records LLC              SR0000044959
 491   RUN-DMC                  It's Tricky                      Arista Records LLC              SR0000124846
 492   RUN-DMC                  King Of Rock                     Arista Records LLC              SR0000124851
 493   RUN-DMC                  Mary, Mary                       Arista Records LLC              SR0000124365
 494   RUN-DMC                  My Adidas                        Arista Records LLC              SR0000124846
 495   RUN-DMC                  Run's House                      Arista Records LLC              SR0000124365
 496   RUN-DMC                  What's It All About              Arista Records LLC              SR0000124852
 497   RUN-DMC                  You Be Illin'                    Arista Records LLC              SR0000124846
 498   RUN-DMC                  You Talk Too Much                Arista Records LLC              SR0000124851
 499   Santana                  (Da Le) Yaleo                    Arista Records LLC              SR0000289833
 500   Santana                  Africa Bamba                     Arista Records LLC              SR0000289833
 501   Santana                  Corazon Espinado                 Arista Records LLC              SR0000289833
 502   Santana                  El Farol                         Arista Records LLC              SR0000289833
 503   Santana                  Maria Maria                      Arista Records LLC              SR0000289833
 504   Santana                  Migra                            Arista Records LLC              SR0000289833
 505   Santana                  Primavera                        Arista Records LLC              SR0000289833
 506   Santana                  Put Your Lights On               Arista Records LLC              SR0000289833
 507   Santana                  Smooth                           Arista Records LLC              SR0000289833
       Santana feat. Dave
       Matthews & Carter
 508   Beauford                 Love Of My Life                  Arista Records LLC              SR0000289833
       Santana featuring Eagle-
 509   Eye Cherry               Wishing It Was                   Arista Records LLC              SR0000289833
       Santana featuring Lauryn
 510   Hill & Cee-Lo            Do You Like The Way              Arista Records LLC              SR0000289833
 511   Sarah McLachlan          Adia                             Arista Records LLC              SR0000243027
 512   Sarah McLachlan          Ben's Song                       Arista Records LLC              SR0000137750
 513   Sarah McLachlan          Building A Mystery               Arista Records LLC              SR0000243027
 514   Sarah McLachlan          Drawn to the Rhythm              Arista Records LLC              SR0000140285
 515   Sarah McLachlan          Fallen                           Arista Records LLC              SR0000345432
 516   Sarah McLachlan          Fumbling Towards Ecstasy         Arista Records LLC              SR0000200152
 517   Sarah McLachlan          Good Enough                      Arista Records LLC              SR0000200152
 518   Sarah McLachlan          Hold On                          Arista Records LLC              SR0000200152
 519   Sarah Mclachlan          I Will Remember You              Arista Records LLC              SR0000219471
 520   Sarah McLachlan          Ice Cream                        Arista Records LLC              SR0000200152
 521   Sarah McLachlan          Into the Fire                    Arista Records LLC              SR0000140285
 522   Sarah McLachlan          Mercy                            Arista Records LLC              SR0000140285
 523   Sarah McLachlan          Possession                       Arista Records LLC              SR0000200152
 524   Sarah McLachlan          Push                             Arista Records LLC              SR0000345432
 525   Sarah McLachlan          Steaming                         Arista Records LLC              SR0000137750
 526   Sarah McLachlan          Stupid                           Arista Records LLC              SR0000345432
 527   Sarah McLachlan          Sweet Surrender                  Arista Records LLC              SR0000243027
 528   Sarah McLachlan          The Path of Thorns (Terms)       Arista Records LLC              SR0000140285
 529   Sarah McLachlan          Vox                              Arista Records LLC              SR0000137750
 530   Sarah McLachlan          World On Fire                    Arista Records LLC              SR0000345432

 531   The Alan Parsons Project Any Other Day                    Arista Records LLC              SR0000609687

 532   The Alan Parsons Project Children Of The Moon             Arista Records LLC              SR0000037591




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                Artist                           Track                        Plaintiff            Registration_Number

 533   The Alan Parsons Project Eye In The Sky                    Arista Records LLC             SR0000037591

 534   The Alan Parsons Project Eye Pieces                        Arista Records LLC             SR0000609687

 535   The Alan Parsons Project Gemini                            Arista Records LLC             SR0000037591

 536   The Alan Parsons Project Mammagamma                        Arista Records LLC             SR0000037591

 537   The Alan Parsons Project Old & Wise                        Arista Records LLC             SR0000609687

 538   The Alan Parsons Project Old and Wise                      Arista Records LLC             SR0000037591

 539   The Alan Parsons Project Psychobabble                      Arista Records LLC             SR0000037591

 540   The Alan Parsons Project Silence and I                     Arista Records LLC             SR0000037591

 541   The Alan Parsons Project SIRIUS                            Arista Records LLC             SR0000037591

 542   The Alan Parsons Project Step By Step                      Arista Records LLC             SR0000037591

 543   The Alan Parsons Project The Naked Eye                     Arista Records LLC             SR0000609687
                                You're Gonna Get Your Fingers
 544   The Alan Parsons Project Burned                            Arista Records LLC             SR0000037591
 545   Whitney Houston          Didn't We Almost Have It All      Arista Records LLC             SR0000089966
 546   Whitney Houston          Exhale                            Arista Records LLC             SR0000219539
 547   Whitney Houston          Get It Back                       Arista Records LLC             SR0000298453
 548   Whitney Houston          Greatest Love Of All              Arista Records LLC             SR0000060716
 549   Whitney Houston          Heartbreak Hotel                  Arista Records LLC             SR0000298453
 550   Whitney Houston          How Will I Know                   Arista Records LLC             SR0000060716
 551   Whitney Houston          I Bow Out                         Arista Records LLC             SR0000298453
 552   Whitney Houston          I Have Nothing                    Arista Records LLC             SR0000152583
 553   Whitney Houston          I Learned From The Best           Arista Records LLC             SR0000298453
 554   Whitney Houston          I Wanna Dance With Somebody       Arista Records LLC             SR0000089966
 555   Whitney Houston          I Was Made To Love Him            Arista Records LLC             SR0000298453
 556   Whitney Houston          I Will Always Love You            Arista Records LLC             SR0000152583
 557   Whitney Houston          I'm Every Woman                   Arista Records LLC             SR0000152583
 558   Whitney Houston          I'm Your Baby Tonight             Arista Records LLC             SR0000129257
 559   Whitney Houston          If I Told You That                Arista Records LLC             SR0000298453
 560   Whitney Houston          In My Business                    Arista Records LLC             SR0000298453
 561   Whitney Houston          It's Not Right But It's Okay      Arista Records LLC             SR0000298453
 562   Whitney Houston          My Love Is Your Love              Arista Records LLC             SR0000298453
 563   Whitney Houston          Oh Yes                            Arista Records LLC             SR0000298453
 564   Whitney Houston          One Moment In Time                Arista Records LLC             SR0000097640
 565   Whitney Houston          Run To You                        Arista Records LLC             SR0000152583
 566   Whitney Houston          Saving All My Love For You        Arista Records LLC             SR0000060716
 567   Whitney Houston          So Emotional                      Arista Records LLC             SR0000089966
 568   Whitney Houston          Until You Come Back               Arista Records LLC             SR0000298453
 569   Whitney Houston          When You Believe                  Arista Records LLC             SR0000298453
 570   Whitney Houston          Where Do Broken Hearts Go         Arista Records LLC             SR0000089966
 571   Whitney Houston          You'll Never Stand Alone          Arista Records LLC             SR0000298453
 572   Ciara                    Bang It Up                        LaFace Records LLC             SR0000404728
 573   Ciara                    Go Girl                           LaFace Records LLC             PA0001640177




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                 Artist                       Track                        Plaintiff              Registration_Number
 574   Ciara                  I Proceed                        LaFace Records LLC              SR0000404728
 575   Ciara                  Make It Last Forever             LaFace Records LLC              SR0000404728
 576   Ciara                  My Love                          LaFace Records LLC              SR0000404728
 577   Ciara                  Promise                          LaFace Records LLC              SR0000404728
 578   Ciara feat. Lil Jon    That's Right                     LaFace Records LLC              SR0000404728
 579   OutKast                13th Floor/Growing Old           LaFace Records LLC              SR0000233296
 580   OutKast                ATLiens                          LaFace Records LLC              SR0000233296
 581   OutKast                B.O.B. (Explicit)                LaFace Records LLC              SR0000306741
 582   OutKast                Babylon                          LaFace Records LLC              SR0000233296
 583   OutKast                Decatur Psalm                    LaFace Records LLC              SR0000233296
 584   OutKast                E.T. (Extraterrestrial)          LaFace Records LLC              SR0000233296
 585   OutKast                Elevators                        LaFace Records LLC              SR0000233296
 586   OutKast                Funkin' Around                   LaFace Records LLC              SR0000326671
 587   OutKast                Hollywood Divorce                LaFace Records LLC              SR0000395944
 588   OutKast                Jazzy Belle (Explicit)           LaFace Records LLC              SR0000233296
 589   OutKast                Mainstream (Explicit)            LaFace Records LLC              SR0000233296
 590   OutKast                Millennium                       LaFace Records LLC              SR0000233296
 591   OutKast                Morris Brown                     LaFace Records LLC              SR0000395944
 592   OutKast                Movin' Cool (The After Party)    LaFace Records LLC              SR0000326671
 593   OutKast                Ms. Jackson                      LaFace Records LLC              SR0000306741
 594   OutKast                Ova Da Wudz                      LaFace Records LLC              SR0000233296
 595   OutKast                So Fresh, So Clean               LaFace Records LLC              SR0000306741
 596   OutKast                The Whole World                  LaFace Records LLC              SR0000309898
 597   OutKast                Wailin'                          LaFace Records LLC              SR0000233296
 598   OutKast                Wheelz of Steel                  LaFace Records LLC              SR0000233296
 599   OutKast                You May Die                      LaFace Records LLC              SR0000233296
 600   P!nk                   Ave Mary A                       LaFace Records LLC              SR0000619959
 601   P!nk                   Crystal Ball                     LaFace Records LLC              SR0000619959
 602   P!nk                   Funhouse                         LaFace Records LLC              SR0000619959
 603   P!nk                   Glitter In The Air               LaFace Records LLC              SR0000619959
 604   P!nk                   It's All Your Fault              LaFace Records LLC              SR0000619959
                              Leave Me Alone (I'm Lonely)
 605   P!nk                   (Explicit)                       LaFace Records LLC              SR0000403184
 606   P!nk                   Mean                             LaFace Records LLC              SR0000619959
 607   P!nk                   Mean (Explicit)                  LaFace Records LLC              SR0000619959
 608   P!nk                   Most Girls                       LaFace Records LLC              SR0000279958
 609   P!nk                   Nobody Knows                     LaFace Records LLC              SR0000395942
 610   P!nk                   One Foot Wrong                   LaFace Records LLC              SR0000619959
 611   P!nk                   There You Go                     LaFace Records LLC              SR0000279958
                              U + Ur Hand (Main Version/Clean)
 612   P!nk                   (Clean Version)                  LaFace Records LLC              SR0000395942
 613   P!nk                   Who Knew                         LaFace Records LLC              SR0000395942
                              Dear Mr. President Featuring
 614   P!nk                   Indigo Girls                     LaFace Records LLC              SR0000395942
 615   TLC                    Can I Get a Witness-Interlude    LaFace Records LLC              SR0000198743
 616   TLC                    Case Of The Fake People          LaFace Records LLC              SR0000198743
 617   TLC                    CrazySexyCool-Interlude          LaFace Records LLC              SR0000198743
 618   TLC                    Creep                            LaFace Records LLC              SR0000198743
 619   TLC                    Diggin' on You                   LaFace Records LLC              SR0000198743
 620   TLC                    If I Was Your Girlfriend         LaFace Records LLC              SR0000198743
 621   TLC                    Intermission-lude                LaFace Records LLC              SR0000198743
 622   TLC                    Intro-Iude                       LaFace Records LLC              SR0000198743
 623   TLC                    Kick Your Game                   LaFace Records LLC              SR0000198743



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                 Artist                        Track                          Plaintiff             Registration_Number
 624   TLC                      Let's Do It Again                 LaFace Records LLC             SR0000198743
 625   TLC                      Sexy-Interlude                    LaFace Records LLC             SR0000198743
                                Sumthin' Wicked This Way
 626   TLC                      Comes                             LaFace Records LLC             SR0000198743
 627   TLC                      Switch                            LaFace Records LLC             SR0000198743
 628   TLC                      Take Our Time                     LaFace Records LLC             SR0000198743
 629   TLC                      Waterfalls                        LaFace Records LLC             SR0000198743
 630   Usher                    Appetite                          LaFace Records LLC             SR0000620940
 631   Usher                    Bedtime                           LaFace Records LLC             SR0000257730
 632   Usher                    Before I Met You                  LaFace Records LLC             SR0000620940
 633   Usher                    Can U Help Me                     LaFace Records LLC             SR0000307207
 634   Usher                    Come Back                         LaFace Records LLC             SR0000257730
 635   Usher                    Here I Stand                      LaFace Records LLC             SR0000620940
 636   Usher                    His Mistakes                      LaFace Records LLC             SR0000620940
 637   Usher                    Hottest Thing                     LaFace Records LLC             SR0000307207
 638   Usher                    How Do I Say                      LaFace Records LLC             SR0000307207
 639   Usher                    I Can't Let U Go                  LaFace Records LLC             SR0000307207
 640   Usher                    I Will                            LaFace Records LLC             SR0000257730
 641   Usher                    If I Want To                      LaFace Records LLC             SR0000307207
 642   Usher                    Intro                             LaFace Records LLC             SR0000620940
 643   Usher                    Just Like Me                      LaFace Records LLC             SR0000257730
 644   Usher                    Lifetime                          LaFace Records LLC             SR0000620940
 645   Usher                    Love In This Club, Part II        LaFace Records LLC             SR0000620940
 646   Usher                    Love You Gently                   LaFace Records LLC             SR0000620940
 647   Usher                    Moving Mountains                  LaFace Records LLC             SR0000620940
 648   Usher                    My Way                            LaFace Records LLC             SR0000257730
 649   Usher                    Nice & Slow                       LaFace Records LLC             SR0000257730
 650   Usher                    One Day You'll Be Mine            LaFace Records LLC             SR0000257730
 651   Usher                    Prayer For You Interlude          LaFace Records LLC             SR0000620940
 652   Usher                    Something Special                 LaFace Records LLC             SR0000620940
 653   Usher                    This Ain't Sex                    LaFace Records LLC             SR0000620940
 654   Usher                    Trading Places                    LaFace Records LLC             SR0000620940
 655   Usher                    Twork It Out                      LaFace Records LLC             SR0000307207
 656   Usher                    U Don't Have to Call (Explicit)   LaFace Records LLC             SR0000307207
 657   Usher                    U Got It Bad                      LaFace Records LLC             SR0000307207
 658   Usher                    U Remind Me                       LaFace Records LLC             SR0000307207
 659   Usher                    What's A Man To Do                LaFace Records LLC             SR0000620940
 660   Usher                    Will Work For Love                LaFace Records LLC             SR0000620940
 661   Usher                    Without U                         LaFace Records LLC             SR0000307207
 662   Usher                    You Make Me Wanna...              LaFace Records LLC             SR0000257730
 663   Usher feat. Jay-Z        Best Thing                        LaFace Records LLC             SR0000620940
 664   Usher feat. Monica       Slow Jam                          LaFace Records LLC             SR0000257730
 665   Usher feat. will.i.am    What's Your Name                  LaFace Records LLC             SR0000620940
 666   Casting Crowns           Always Enough - Demo              Provident Label Group, LLC     SR0000643694
 667   Casting Crowns           And Now My Lifesong Sings         Provident Label Group, LLC     SR0000375845
 668   Casting Crowns           At Your Feet                      Provident Label Group, LLC     SR0000643694
 669   Casting Crowns           Blessed Redeemer                  Provident Label Group, LLC     SR0000643694
 670   Casting Crowns           Does Anybody Hear Her             Provident Label Group, LLC     SR0000375845
 671   Casting Crowns           Father, Spirit, Jesus             Provident Label Group, LLC     SR0000375845
 672   Casting Crowns           Holy One                          Provident Label Group, LLC     SR0000643694
 673   Casting Crowns           If We've Ever Needed You - Demo   Provident Label Group, LLC     SR0000643694
 674   Casting Crowns           In Me (Demo)                      Provident Label Group, LLC     SR0000375845
 675   Casting Crowns           Jesus, Hold Me Now - Demo         Provident Label Group, LLC     SR0000643694



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                 Artist                    Track                          Plaintiff            Registration_Number
 676   Casting Crowns      Joyful, Joyful                     Provident Label Group, LLC    SR0000643694
 677   Casting Crowns      Lifesong                           Provident Label Group, LLC    SR0000375845
 678   Casting Crowns      Love Them Like Jesus (Demo)        Provident Label Group, LLC    SR0000375845
 679   Casting Crowns      Mercy                              Provident Label Group, LLC    SR0000643694
 680   Casting Crowns      Praise You In This Storm           Provident Label Group, LLC    SR0000375845
 681   Casting Crowns      Prodigal                           Provident Label Group, LLC    SR0000375845
 682   Casting Crowns      Set Me Free                        Provident Label Group, LLC    SR0000375845
 683   Casting Crowns      Shadow Of Your Wings               Provident Label Group, LLC    SR0000643694
 684   Casting Crowns      Stained Glass Masquerade           Provident Label Group, LLC    SR0000375845
 685   Casting Crowns      To Know You - Demo                 Provident Label Group, LLC    SR0000643694
 686   Casting Crowns      Until The Whole World Hears        Provident Label Group, LLC    SR0000643694
 687   Casting Crowns      While You Were Sleeping            Provident Label Group, LLC    SR0000375845
 688   Adam Lambert        If I Had You                       Sony Music Entertainment      SR0000654886
 689   Adele               Best For Last                      Sony Music Entertainment      SR0000616701
 690   Adele               Chasing Pavements                  Sony Music Entertainment      SR0000616701
 691   Adele               Cold Shoulder                      Sony Music Entertainment      SR0000616701
 692   Adele               Crazy For You                      Sony Music Entertainment      SR0000616701
 693   Adele               Daydreamer                         Sony Music Entertainment      SR0000616701
 694   Adele               Don't You Remember                 Sony Music Entertainment      SR0000673074
 695   Adele               First Love                         Sony Music Entertainment      SR0000616701
 696   Adele               He Won't Go                        Sony Music Entertainment      SR0000673074
 697   Adele               Hometown Glory                     Sony Music Entertainment      SR0000616701
 698   Adele               I Found A Boy                      Sony Music Entertainment      SR0000673074
 699   Adele               Lovesong                           Sony Music Entertainment      SR0000673074
 700   Adele               Make You Feel My Love              Sony Music Entertainment      SR0000616701
 701   Adele               Melt My Heart To Stone             Sony Music Entertainment      SR0000616701
 702   Adele               My Same                            Sony Music Entertainment      SR0000616701
 703   Adele               One And Only                       Sony Music Entertainment      SR0000673074
 704   Adele               Right As Rain                      Sony Music Entertainment      SR0000616701
 705   Adele               Rolling In The Deep                Sony Music Entertainment      SR0000673074
 706   Adele               Rumour Has It                      Sony Music Entertainment      SR0000673074
 707   Adele               Set Fire To The Rain               Sony Music Entertainment      SR0000673074
 708   Adele               Someone Like You                   Sony Music Entertainment      SR0000673074
 709   Adele               Take It All                        Sony Music Entertainment      SR0000673074
 710   Adele               That's It, I Quit, I'm Moving On   Sony Music Entertainment      SR0000616701
 711   Adele               Tired                              Sony Music Entertainment      SR0000616701
 712   Adele               Turning Tables                     Sony Music Entertainment      SR0000673074
 713   Aerosmith           Adam's Apple (Audio)               Sony Music Entertainment      N25838
 714   Aerosmith           Back In The Saddle                 Sony Music Entertainment      N33961
 715   Aerosmith           Big Ten Inch Record                Sony Music Entertainment      N25838
 716   Aerosmith           Chip Away The Stone                Sony Music Entertainment      SR0000005095
 717   Aerosmith           Critical Mass                      Sony Music Entertainment      RE0000927389
 718   Aerosmith           Devil's Got a New Disguise         Sony Music Entertainment      SR0000400132
 719   Aerosmith           Dream On                           Sony Music Entertainment      RE0000928145
                           Falling In Love (Is Hard On The
 720   Aerosmith           Knees)                             Sony Music Entertainment      SR0000246031
 721   Aerosmith           Girls of Summer                    Sony Music Entertainment      SR0000314304
 722   Aerosmith           Helter Skelter                     Sony Music Entertainment      SR0000138466
 723   Aerosmith           Jaded                              Sony Music Entertainment      PA0001065844
 724   Aerosmith           Jailbait                           Sony Music Entertainment      SR0000039598
 725   Aerosmith           Just Push Play                     Sony Music Entertainment      SR0000299932
 726   Aerosmith           Kings And Queens (Audio)           Sony Music Entertainment      RE0000927389
 727   Aerosmith           Last Child                         Sony Music Entertainment      N33961



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               Artist                           Track                      Plaintiff                Registration_Number
 728   Aerosmith                Lay It Down                    Sony Music Entertainment          SR0000314304
 729   Aerosmith                Lick And A Promise (Audio)     Sony Music Entertainment          N33961
 730   Aerosmith                Lightning Strikes              Sony Music Entertainment          SR0000039598
 731   Aerosmith                Lord Of The Thighs             Sony Music Entertainment          RE0000871991
 732   Aerosmith                Mama Kin                       Sony Music Entertainment          RE0000928145
 733   Aerosmith                No Surprize                    Sony Music Entertainment          SR0000014473
 734   Aerosmith                Nobody's Fault                 Sony Music Entertainment          N33961
 735   Aerosmith                One Way Street                 Sony Music Entertainment          RE0000928145
 736   Aerosmith                Pink                           Sony Music Entertainment          SR0000246031
 737   Aerosmith                Rats In The Cellar (Audio)     Sony Music Entertainment          N33961
                                Remember (Walking In The Sand)
 738   Aerosmith                (Audio)                        Sony Music Entertainment          SR0000014473
 739   Aerosmith                Round And Round                Sony Music Entertainment          N25838
 740   Aerosmith                Seasons of Wither              Sony Music Entertainment          RE0000871991
 741   Aerosmith                Sweet Emotion                  Sony Music Entertainment          N25838
 742   Aerosmith                Theme From Spider Man          Sony Music Entertainment          SR0000316861
 743   Aerosmith                Toys In The Attic              Sony Music Entertainment          N25838
 744   Aerosmith                Train Kept A Rollin'           Sony Music Entertainment          RE0000871991
 745   Aerosmith                Walk This Way                  Sony Music Entertainment          N25838
 746   Aerosmith                You See Me Crying              Sony Music Entertainment          N25838
 747   Alicia Keys              Dah Dee Dah (Sexy Thing)       Sony Music Entertainment          SR0000252535
                                Empire State Of Mind (Part II)
 748   Alicia Keys              Broken Down                    Sony Music Entertainment          SR0000752597
 749   Alicia Keys              I Got A Little Something       Sony Music Entertainment          SR0000685875
 750   Alicia Keys              Un-thinkable (I'm Ready)       Sony Music Entertainment          SR0000752593
 751   Annie Lennox             Dark Road                      Sony Music Entertainment          SR0000627150
 752   Annie Lennox             Sing                           Sony Music Entertainment          SR0000627150
 753   Audioslave               Like A Stone                   Sony Music Entertainment          SR0000322103
 754   Avril Lavigne            4 Real                         Sony Music Entertainment          SR0000680182
 755   Avril Lavigne            Alice                          Sony Music Entertainment          SR0000680182
 756   Avril Lavigne            Bad Reputation                 Sony Music Entertainment          SR0000680182
 757   Avril Lavigne            Black Star                     Sony Music Entertainment          SR0000680182
 758   Avril Lavigne            Darlin                         Sony Music Entertainment          SR0000680182
 759   Avril Lavigne            Everybody Hurts                Sony Music Entertainment          SR0000680182
 760   Avril Lavigne            Girlfriend                     Sony Music Entertainment          SR0000719163
 761   Avril Lavigne            Goodbye                        Sony Music Entertainment          SR0000680182
 762   Avril Lavigne            I Love You                     Sony Music Entertainment          SR0000680182
 763   Avril Lavigne            Knockin' on Heaven's Door      Sony Music Entertainment          SR0000680182
 764   Avril Lavigne            Not Enough                     Sony Music Entertainment          SR0000680182
 765   Avril Lavigne            Push                           Sony Music Entertainment          SR0000680182
 766   Avril Lavigne            Remember When                  Sony Music Entertainment          SR0000680182
 767   Avril Lavigne            Smile                          Sony Music Entertainment          SR0000680182
 768   Avril Lavigne            Stop Standing There            Sony Music Entertainment          SR0000680182
 769   Avril Lavigne            What The Hell                  Sony Music Entertainment          SR0000670616
 770   Avril Lavigne            Wish You Were Here             Sony Music Entertainment          SR0000680182
                                Tell Him (Duet with Barbra
 771   Barbra Streisand         Streisand)                     Sony Music Entertainment          SR0000248109
       Barbra Streisand duet
 772   with Neil Diamond        You Don't Bring Me Flowers       Sony Music Entertainment        SR0000004765
 773   Beyoncé                  ***Flawless (Explicit)           Sony Music Entertainment        SR0000747291
 774   Beyoncé                  1+1                              Sony Music Entertainment        SR0000683948
 775   Beyoncé                  Ave Maria                        Sony Music Entertainment        SR0000623449
 776   Beyoncé                  Be With You                      Sony Music Entertainment        SR0000342236



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                Artist                          Track                           Plaintiff            Registration_Number
 777   Beyoncé                   Best Thing I Never Had             Sony Music Entertainment      SR0000683948
 778   Beyoncé                   Broken-Hearted Girl                Sony Music Entertainment      SR0000623449
 779   Beyoncé                   Check On It                        Sony Music Entertainment      SR0000395861
 780   Beyoncé                   Countdown                          Sony Music Entertainment      SR0000683948
 781   Beyoncé                   Crazy in Love                      Sony Music Entertainment      SR0000787489
 782   Beyoncé                   Dance For You                      Sony Music Entertainment      SR0000683948
 783   Beyoncé                   Dangerously In Love                Sony Music Entertainment      SR0000289199
 784   Beyoncé                   Disappear                          Sony Music Entertainment      SR0000623449
 785   Beyoncé                   Diva                               Sony Music Entertainment      SR0000623449
 786   Beyoncé                   Ego                                Sony Music Entertainment      SR0000623449
 787   Beyoncé                   End Of Time                        Sony Music Entertainment      SR0000683948
 788   Beyoncé                   Gift From Virgo                    Sony Music Entertainment      SR0000342236
 789   Beyoncé                   Halo                               Sony Music Entertainment      SR0000623449
 790   Beyoncé                   Haunted (Explicit)                 Sony Music Entertainment      SR0000747291
 791   Beyoncé                   Heaven                             Sony Music Entertainment      SR0000747291
 792   Beyoncé                   Hello                              Sony Music Entertainment      SR0000623449
 793   Beyoncé                   I Care                             Sony Music Entertainment      SR0000683948
 794   Beyoncé                   I Miss You                         Sony Music Entertainment      SR0000683948
 795   Beyoncé                   I Was Here                         Sony Music Entertainment      SR0000683948
 796   Beyoncé                   If I Were A Boy                    Sony Music Entertainment      SR0000718926
 797   Beyoncé                   Jealous                            Sony Music Entertainment      SR0000747291
 798   Beyoncé                   Lay Up Under Me                    Sony Music Entertainment      SR0000683948
 799   Beyoncé                   Love On Top                        Sony Music Entertainment      SR0000683948
 800   Beyoncé                   Me, Myself And I                   Sony Music Entertainment      SR0000342236
 801   Beyoncé                   Naughty Girl                       Sony Music Entertainment      SR0000342236
 802   Beyoncé                   No Angel                           Sony Music Entertainment      SR0000747291
 803   Beyoncé                   Partition (Explicit)               Sony Music Entertainment      SR0000747291
 804   Beyoncé                   Pretty Hurts                       Sony Music Entertainment      SR0000747291
 805   Beyoncé                   Radio                              Sony Music Entertainment      SR0000623449
 806   Beyoncé                   Rather Die Young                   Sony Music Entertainment      SR0000683948
 807   Beyoncé                   Rocket (Explicit)                  Sony Music Entertainment      SR0000747291
 808   Beyoncé                   Run The World (Girls)              Sony Music Entertainment      SR0000683948
 809   Beyoncé                   Satellites                         Sony Music Entertainment      SR0000623449
 810   Beyoncé                   Scared Of Lonely                   Sony Music Entertainment      SR0000623449
 811   Beyoncé                   Schoolin' Life                     Sony Music Entertainment      SR0000683948
 812   Beyoncé                   Single Ladies (Put A Ring On It)   Sony Music Entertainment      SR0000723765
 813   Beyoncé                   Smash Into You                     Sony Music Entertainment      SR0000623449
 814   Beyoncé                   Speechless                         Sony Music Entertainment      SR0000342236
 815   Beyoncé                   Start Over                         Sony Music Entertainment      SR0000683948
 816   Beyoncé                   Sweet Dreams                       Sony Music Entertainment      SR0000623449
 817   Beyoncé                   That's Why You're Beautiful        Sony Music Entertainment      SR0000623449
 818   Beyoncé                   Video Phone                        Sony Music Entertainment      SR0000623449
 819   Beyoncé                   XO                                 Sony Music Entertainment      SR0000747291
       Beyoncé feat. André
 820   3000                      Party                              Sony Music Entertainment      SR0000683948
       Beyoncé feat. Big Boi and
 821   Sleepy Brown              Hip Hop Star                       Sony Music Entertainment      SR0000342236
 822   Beyoncé feat. Blue Ivy    Blue                               Sony Music Entertainment      SR0000747291
 823   Beyoncé feat. Drake       Mine (Explicit)                    Sony Music Entertainment      SR0000747291
       Beyoncé feat. Frank
 824   Ocean                     Superpower                         Sony Music Entertainment      SR0000747291
 825   Beyoncé feat. Jay-Z       Drunk in Love                      Sony Music Entertainment      SR0000747291
 826   Beyoncé feat. Jay-Z       That's How You Like It             Sony Music Entertainment      SR0000342236



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                  Artist                    Track                          Plaintiff             Registration_Number
       Beyoncé feat. Missy
 827   Elliott                Signs                             Sony Music Entertainment       SR0000342236
 828   Big Time Rush          All Over Again                    Sony Music Entertainment       SR0000697856
 829   Big Time Rush          Big Night                         Sony Music Entertainment       SR0000668082
 830   Big Time Rush          Big Time Rush                     Sony Music Entertainment       SR0000668082
 831   Big Time Rush          City Is Ours                      Sony Music Entertainment       SR0000668082
 832   Big Time Rush          Cover Girl                        Sony Music Entertainment       SR0000697856
 833   Big Time Rush          Elevate                           Sony Music Entertainment       SR0000697856
 834   Big Time Rush          Halfway There                     Sony Music Entertainment       SR0000668082
 835   Big Time Rush          If I Ruled The World              Sony Music Entertainment       SR0000697856
 836   Big Time Rush          Invisible                         Sony Music Entertainment       SR0000697856
 837   Big Time Rush          Love Me Love Me                   Sony Music Entertainment       SR0000697856
 838   Big Time Rush          Music Sounds Better               Sony Music Entertainment       SR0000697856
 839   Big Time Rush          No Idea                           Sony Music Entertainment       SR0000697856
 840   Big Time Rush          Nothing Even Matters              Sony Music Entertainment       SR0000668082
 841   Big Time Rush          Oh Yeah                           Sony Music Entertainment       SR0000668082
 842   Big Time Rush          Show Me                           Sony Music Entertainment       SR0000697856
 843   Big Time Rush          Superstar                         Sony Music Entertainment       SR0000697856
 844   Big Time Rush          Til I Forget About You            Sony Music Entertainment       SR0000668082
 845   Big Time Rush          Time Of Our Life                  Sony Music Entertainment       SR0000697856
 846   Big Time Rush          Worldwide                         Sony Music Entertainment       SR0000668082
 847   Big Time Rush          You're Not Alone                  Sony Music Entertainment       SR0000697856
       Big Time Rush feat.
 848   Cymphonique            I Know You Know                   Sony Music Entertainment       SR0000668082
       Big Time Rush feat.
 849   Jordin Sparks          Count On You                      Sony Music Entertainment       SR0000668082
 850   Bill Withers           I Don't Know                      Sony Music Entertainment       N1596
 851   Bill Withers           I Don't Want You on My Mind       Sony Music Entertainment       N1596
 852   Bill Withers           Kissing My Love                   Sony Music Entertainment       N1596
 853   Bill Withers           Lean On Me                        Sony Music Entertainment       N1596
 854   Bill Withers           Lonely Town, Lonely Street        Sony Music Entertainment       N1596
 855   Bill Withers           Use Me                            Sony Music Entertainment       N1596
 856   Bill Withers           Watching You Watching Me          Sony Music Entertainment       SR0000065774
 857   Billy Joel             A Matter Of Trust                 Sony Music Entertainment       SR0000077612
 858   Billy Joel             All About Soul                    Sony Music Entertainment       SR0000185184
 859   Billy Joel             All For Leyna                     Sony Music Entertainment       SR0000017630
 860   Billy Joel             Allentown                         Sony Music Entertainment       SR0000040031
 861   Billy Joel             An Innocent Man                   Sony Music Entertainment       SR0000047532

 862   Billy Joel             Baby Grand (duet w/Ray Charles) Sony Music Entertainment         SR0000077612
 863   Billy Joel             Don't Ask Me Why                Sony Music Entertainment         SR0000017630
 864   Billy Joel             Honesty                         Sony Music Entertainment         SR0000004681
 865   Billy Joel             I Go To Extremes                Sony Music Entertainment         SR0000109420
 866   Billy Joel             It's Still Rock & Roll to Me    Sony Music Entertainment         SR0000017630
 867   Billy Joel             Just The Way You Are            Sony Music Entertainment         RE0000927434
 868   Billy Joel             Leave A Tender Moment Alone     Sony Music Entertainment         SR0000047532
 869   Billy Joel             Leningrad                       Sony Music Entertainment         SR0000109420
 870   Billy Joel             My Life                         Sony Music Entertainment         SR0000004681
 871   Billy Joel             Piano Man                       Sony Music Entertainment         N11702
 872   Billy Joel             Say Goodbye To Hollywood        Sony Music Entertainment         SR0000031638
 873   Billy Joel             Streetlife Serenader (Audio)    Sony Music Entertainment         RE0000872265
 874   Billy Joel             Tell Her About It               Sony Music Entertainment         SR0000047534
 875   Billy Joel             The Downeaster 'Alexa'          Sony Music Entertainment         SR0000109420



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                    Artist                    Track                           Plaintiff            Registration_Number
 876   Billy Joel              The Entertainer                    Sony Music Entertainment      RE0000872265
 877   Billy Joel              The Longest Time                   Sony Music Entertainment      SR0000047532
 878   Billy Joel              This Is The Time                   Sony Music Entertainment      SR0000077612
 879   Billy Joel              Uptown Girl                        Sony Music Entertainment      SR0000047532
 880   Billy Joel              We Didn't Start the Fire           Sony Music Entertainment      SR0000111680
 881   Billy Joel              You May Be Right                   Sony Music Entertainment      SR0000017630
 882   Billy Joel              You're My Home                     Sony Music Entertainment      N11702
                               You're Only Human (Second
 883   Billy Joel              Wind)                              Sony Music Entertainment      SR0000068501
 884   Bone Thugs & Harmony    Thuggish Ruggish Bone              Sony Music Entertainment      SR0000223608
 885   Bone Thugs N Harmony    Tha Crossroads                     Sony Music Entertainment      SR0000225335
       Bone Thugs N Harmony
 886   feat. 2Pac              Thug Luv                           Sony Music Entertainment      SR0000260406
       Bone Thugs N
       Harmony,Felecia
 887   Lindsey,3LW             Get Up & Get It                    Sony Music Entertainment      SR0000330830
 888   Bone Thugs-N-Harmony    1st Of Tha Month                   Sony Music Entertainment      SR0000225335
 889   Bone Thugs-N-Harmony    Buddah Lovaz                       Sony Music Entertainment      SR0000225335
 890   Bone Thugs-n-Harmony    Cleveland Is The City (Explicit)   Sony Music Entertainment      SR0000330830
 891   Bone Thugs-N-Harmony    Crept And We Came                  Sony Music Entertainment      SR0000225335
 892   Bone Thugs-N-Harmony    Da Introduction                    Sony Music Entertainment      SR0000225335
 893   Bone Thugs-N-Harmony    Die Die Die                        Sony Music Entertainment      SR0000225335
 894   Bone Thugs-N-Harmony    East 1999                          Sony Music Entertainment      SR0000225335
 895   Bone thugs-n-harmony    Ecstasy (Explicit)                 Sony Music Entertainment      SR0000274908
 896   Bone Thugs-N-Harmony    Eternal                            Sony Music Entertainment      SR0000225335
 897   Bone Thugs-N-Harmony    Get'Cha Thug On                    Sony Music Entertainment      SR0000260406
 898   Bone Thugs-N-Harmony    Home (Explicit)                    Sony Music Entertainment      SR0000330830
 899   Bone Thugs-N-Harmony    Land Of Tha Heartless              Sony Music Entertainment      SR0000225335
 900   Bone Thugs-N-Harmony    Look Into My Eyes                  Sony Music Entertainment      SR0000260406
 901   Bone Thugs-N-Harmony    Mo'Murda                           Sony Music Entertainment      SR0000225335
 902   Bone Thugs-N-Harmony    Money, Money (Explicit)            Sony Music Entertainment      SR0000330830
 903   Bone Thugs-N-Harmony    Mr. Bill Collector                 Sony Music Entertainment      SR0000225335
 904   Bone Thugs-N-Harmony    Mr. Quija 2                        Sony Music Entertainment      SR0000225335
 905   Bone Thugs-N-Harmony    No Shorts, No Losses               Sony Music Entertainment      SR0000225335
                               Resurrection (Paper, Paper)
 906   Bone thugs-n-harmony    (Explicit)                         Sony Music Entertainment      SR0000274908
 907   Bone Thugs-N-Harmony    Shotz To Tha Double Glock          Sony Music Entertainment      SR0000225335
 908   Bone thugs-n-harmony    Weed Song (Explicit)               Sony Music Entertainment      SR0000274908
       Bone Thugs-N-Harmony
 909   with Eazy-E             For Tha Love Of $                 Sony Music Entertainment       SR0000223608
 910   Boston                  A Man I'll Never Be               Sony Music Entertainment       SR0000004079
 911   Boston                  Don't Look Back                   Sony Music Entertainment       SR0000003614
 912   Boston                  Feelin' Satisfied                 Sony Music Entertainment       SR0000004079
 913   Boston                  Higher Power                      Sony Music Entertainment       SR0000239485
 914   Boston                  Higher Power (Kalodner Edit)      Sony Music Entertainment       SR0000239485
 915   Boston                  More Than A Feeling               Sony Music Entertainment       N36238
 916   Boston                  Party                             Sony Music Entertainment       SR0000004079
 917   Boston                  Tell Me                           Sony Music Entertainment       SR0000239485
                               The Star Spangled Banner / 4th of
 918   Boston                  July Reprise                      Sony Music Entertainment       SR0000239485
 919   Boys Like Girls         Be Your Everything                Sony Music Entertainment       SR0000717244
 920   Boys Like Girls         Broken Man                        Sony Music Entertainment       SR0000724396
 921   Boys Like Girls         Cheated                           Sony Music Entertainment       SR0000731314



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                 Artist                            Track                         Plaintiff              Registration_Number
 922   Boys Like Girls              Chemicals Collide                Sony Music Entertainment        SR0000643654
 923   Boys Like Girls              Contagious                       Sony Music Entertainment        SR0000643654
 924   Boys Like Girls              Crazy World                      Sony Music Entertainment        SR0000731314
 925   Boys Like Girls              Dance Hall Drug                  Sony Music Entertainment        SR0000724396
 926   Boys Like Girls              Five Minutes To Midnight         Sony Music Entertainment        SR0000724396
 927   Boys Like Girls              Go                               Sony Music Entertainment        SR0000643654
 928   Boys Like Girls              Heart Heart Heartbreak           Sony Music Entertainment        SR0000643654
 929   Boys Like Girls              Heels Over Head                  Sony Music Entertainment        SR0000724396
 930   Boys Like Girls              Hero/Heroine                     Sony Music Entertainment        SR0000724396
 931   Boys Like Girls              Hey You                          Sony Music Entertainment        SR0000731314
 932   Boys Like Girls              Holiday                          Sony Music Entertainment        SR0000724396
 933   Boys Like Girls              Learning To Fall                 Sony Music Entertainment        SR0000724396
 934   Boys Like Girls              Leaving California               Sony Music Entertainment        SR0000731314
 935   Boys Like Girls              Life Of The Party                Sony Music Entertainment        SR0000717244
 936   Boys Like Girls              Love Drunk                       Sony Music Entertainment        SR0000643654
 937   Boys Like Girls              Me, You And My Medication        Sony Music Entertainment        SR0000724396
 938   Boys Like Girls              On Top Of The World              Sony Music Entertainment        SR0000724396
 939   Boys Like Girls              Real Thing                       Sony Music Entertainment        SR0000643654
                                    Red Cup Hands Up Long Brown
 940   Boys Like Girls              Hair                             Sony Music Entertainment        SR0000731314
 941   Boys Like Girls              She's Got A Boyfriend Now        Sony Music Entertainment        SR0000643654
 942   Boys Like Girls              Shoot                            Sony Music Entertainment        SR0000731314
 943   Boys Like Girls              Someone Like You                 Sony Music Entertainment        SR0000643654
 944   Boys Like Girls              Stuck in the Middle              Sony Music Entertainment        SR0000731314
 945   Boys Like Girls              Take Me Home                     Sony Music Entertainment        SR0000731314
 946   Boys Like Girls              The First One                    Sony Music Entertainment        SR0000643654
 947   Boys Like Girls              The First Time                   Sony Music Entertainment        SR0000717244
 948   Boys Like Girls              The Great Escape                 Sony Music Entertainment        SR0000724396
                                    The Shot Heard 'Round The
 949   Boys Like Girls              World                            Sony Music Entertainment        SR0000643654
 950   Boys Like Girls              Thunder                          Sony Music Entertainment        SR0000724396
 951   Boys Like Girls              Up Against The Wall              Sony Music Entertainment        SR0000724396
       Boys Like Girls featuring
 952   Taylor Swift                 Two Is Better Than One           Sony Music Entertainment        SR0000639800
 953   Brad Paisley                 A Man Don't Have to Die          Sony Music Entertainment        SR0000680360
 954   Brad Paisley                 Alcohol                          Sony Music Entertainment        SR0000746295
 955   Brad Paisley                 American Saturday Night          Sony Music Entertainment        SR0000639650
 956   Brad Paisley                 Anything Like Me                 Sony Music Entertainment        SR0000639650
 957   Brad Paisley                 Back To The Future               Sony Music Entertainment        SR0000639650
 958   Brad Paisley                 Be The Lake                      Sony Music Entertainment        SR0000680360
 959   Brad Paisley                 Camouflage                       Sony Music Entertainment        SR0000680360
 960   Brad Paisley                 Catch All The Fish               Sony Music Entertainment        SR0000639650
 961   Brad Paisley                 Everybody's Here                 Sony Music Entertainment        SR0000639650
 962   Brad Paisley                 I Do Now                         Sony Music Entertainment        SR0000680360
 963   Brad Paisley                 I Hope That's Me                 Sony Music Entertainment        SR0000639650
 964   Brad Paisley                 New Favorite Memory              Sony Music Entertainment        SR0000680360
 965   Brad Paisley                 No                               Sony Music Entertainment        SR0000639650
 966   Brad Paisley                 Oh Yeah, You're Gone             Sony Music Entertainment        SR0000639650
 967   Brad Paisley                 Old Alabama                      Sony Music Entertainment        SR0000680360
 968   Brad Paisley                 One of Those Lives               Sony Music Entertainment        SR0000680360
 969   Brad Paisley                 She's Her Own Woman              Sony Music Entertainment        SR0000639650
 970   Brad Paisley                 The Pants                        Sony Music Entertainment        SR0000639650
 971   Brad Paisley                 Then                             Sony Music Entertainment        SR0000680448



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                 Artist                          Track                           Plaintiff             Registration_Number
 972   Brad Paisley                This Is Country Music             Sony Music Entertainment       SR0000680360
 973   Brad Paisley                Toothbrush                        Sony Music Entertainment       SR0000680360
 974   Brad Paisley                Water                             Sony Music Entertainment       SR0000639650
 975   Brad Paisley                Welcome To The Future             Sony Music Entertainment       SR0000639650
 976   Brad Paisley                Working On A Tan                  Sony Music Entertainment       SR0000680360
 977   Brad Paisley                You Do The Math                   Sony Music Entertainment       SR0000639650
       Brad Paisley feat. Blake
 978   Shelton                     Don't Drink the Water             Sony Music Entertainment       SR0000680360
       Brad Paisley feat. Clint
 979   Eastwood                    Eastwood                          Sony Music Entertainment       SR0000680360
       Brad Paisley feat. Don
 980   Henley                      Love Her Like She's Leavin'       Sony Music Entertainment       SR0000680360
       Brad Paisley feat. Marty
       Stuart, Sheryl Crow and
981    Carl Jackson                Life's Railway to Heaven          Sony Music Entertainment       SR0000680360
982    Brad Praisley               Remind Me                         Sony Music Entertainment       SR0000680360
983    Brandi Carlile              Again Today / Hiding My Heart     Sony Music Entertainment       SR0000609517
984    Brandi Carlile              Cannonball                        Sony Music Entertainment       SR0000609517
985    Brandi Carlile              Downpour                          Sony Music Entertainment       SR0000609517
986    Brandi Carlile              Have You Ever                     Sony Music Entertainment       SR0000609517
987    Brandi Carlile              Josephine                         Sony Music Entertainment       SR0000609517
988    Brandi Carlile              Late Morning Lullaby              Sony Music Entertainment       SR0000609517
989    Brandi Carlile              Losing Heart                      Sony Music Entertainment       SR0000609517
990    Brandi Carlile              My Song                           Sony Music Entertainment       SR0000609517
991    Brandi Carlile              Shadow On The Wall                Sony Music Entertainment       SR0000609517
992    Brandi Carlile              Turpentine                        Sony Music Entertainment       SR0000609517
993    Brandi Carlile              Until I Die                       Sony Music Entertainment       SR0000609517
994    Brandi Carlile              Wasted                            Sony Music Entertainment       SR0000609517
995    Brandy                      1st & Love                        Sony Music Entertainment       SR0000622255
996    Brandy                      A Capella (Something's Missing)   Sony Music Entertainment       SR0000622255
997    Brandy                      Camouflage                        Sony Music Entertainment       SR0000622255
998    Brandy                      Can You Hear Me Now               Sony Music Entertainment       SR0000710136
999    Brandy                      Do You Know What You Have         Sony Music Entertainment       SR0000710136
1000   Brandy                      Fall                              Sony Music Entertainment       SR0000622255
1001   Brandy                      Hardly Breathing                  Sony Music Entertainment       SR0000710136
1002   Brandy                      Human                             Sony Music Entertainment       SR0000622255
1003   Brandy                      Let Me Go                         Sony Music Entertainment       SR0000710136
1004   Brandy                      Long Distance                     Sony Music Entertainment       SR0000622255
1005   Brandy                      Long Distance Interlude           Sony Music Entertainment       SR0000622255
1006   Brandy                      Music                             Sony Music Entertainment       SR0000710136
1007   Brandy                      No Such Thing As Too Late         Sony Music Entertainment       SR0000710136
1008   Brandy                      Outro                             Sony Music Entertainment       SR0000710136
1009   Brandy                      Paint This House                  Sony Music Entertainment       SR0000710136
1010   Brandy                      Piano Man                         Sony Music Entertainment       SR0000622255
1011   Brandy                      Scared Of Beautiful               Sony Music Entertainment       SR0000710136
1012   Brandy                      Shattered Heart                   Sony Music Entertainment       SR0000622255
1013   Brandy                      Slower                            Sony Music Entertainment       SR0000710136
1014   Brandy                      So Sick                           Sony Music Entertainment       SR0000710136
1015   Brandy                      The Definition                    Sony Music Entertainment       SR0000622255
1016   Brandy                      Torn Down                         Sony Music Entertainment       SR0000622255
1017   Brandy                      TRUE                              Sony Music Entertainment       SR0000622255
1018   Brandy                      Warm It Up (With Love)            Sony Music Entertainment       SR0000622255
1019   Brandy                      What You Need                     Sony Music Entertainment       SR0000710136



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                 Artist                          Track                           Plaintiff              Registration_Number
1020   Brandy                       Wildest Dreams                   Sony Music Entertainment        SR0000710136
1021   Brandy                       Wish Your Love Away              Sony Music Entertainment        SR0000710136
1022   Brandy                       Without You                      Sony Music Entertainment        SR0000710136
       Brandy featuring Chris
1023   Brown                        Put It Down                      Sony Music Entertainment        SR0000710136
1024   Britney Spears               Alien                            Sony Music Entertainment        SR0000738040
1025   Britney Spears               Body Ache                        Sony Music Entertainment        SR0000738040
1026   Britney Spears               Brightest Morning Star           Sony Music Entertainment        SR0000738040
1027   Britney Spears               Don't Cry                        Sony Music Entertainment        SR0000738040
1028   Britney Spears               Hold On Tight                    Sony Music Entertainment        SR0000738040
1029   Britney Spears               Now That I Found You             Sony Music Entertainment        SR0000738040
1030   Britney Spears               Passenger                        Sony Music Entertainment        SR0000738040
1031   Britney Spears               Perfume                          Sony Music Entertainment        SR0000738038
1032   Britney Spears               Perfume (The Dreaming Mix)       Sony Music Entertainment        SR0000738040
1033   Britney Spears               Til It's Gone                    Sony Music Entertainment        SR0000738040
1034   Britney Spears               Till The World Ends              Sony Music Entertainment        SR0000674674
       Britney Spears feat.
1035   Jamie Lynn                   Chillin' With You                Sony Music Entertainment        SR0000738040
1036   Britney Spears feat. T.I.    Tik Tik Boom                     Sony Music Entertainment        SR0000738040
       Britney Spears feat.
1037   will.i.am                    It Should Be Easy                Sony Music Entertainment        SR0000738040
1038   Broken Bells                 Lazy Wonderland                  Sony Music Entertainment        SR0000767354
1039   Broken Bells                 Leave It Alone                   Sony Music Entertainment        SR0000767354
1040   Broken Bells                 Medicine                         Sony Music Entertainment        SR0000767354
1041   Broken Bells                 No Matter What You're Told       Sony Music Entertainment        SR0000767354
1042   Broken Bells                 Perfect World                    Sony Music Entertainment        SR0000767354
1043   Broken Bells                 The Angel and the Fool           Sony Music Entertainment        SR0000767354
1044   Broken Bells                 The Changing Lights              Sony Music Entertainment        SR0000767354
1045   Broken Bells                 The Remains of Rock & Roll       Sony Music Entertainment        SR0000767354
1046   Bruce Springsteen            American Land                    Sony Music Entertainment        SR0000383238
1047   Bruce Springsteen            Atlantic City                    Sony Music Entertainment        SR0000043466
1048   Bruce Springsteen            Badlands                         Sony Music Entertainment        SR0000008335
1049   Bruce Springsteen            Better Days                      Sony Music Entertainment        SR0000141676
1050   Bruce Springsteen            Blood Brothers                   Sony Music Entertainment        SR0000198948
1051   Bruce Springsteen            Born in the U.S.A.               Sony Music Entertainment        SR0000055647
1052   Bruce Springsteen            Born To Run                      Sony Music Entertainment        RE0000894630
1053   Bruce Springsteen            Brilliant Disguise               Sony Music Entertainment        SR0000087116
1054   Bruce Springsteen            Dancing In The Dark              Sony Music Entertainment        SR0000055658
1055   Bruce Springsteen            Death To My Hometown             Sony Music Entertainment        SR0000705192
1056   Bruce Springsteen            Easy Money                       Sony Music Entertainment        SR0000705192
1057   Bruce Springsteen            Glory Days                       Sony Music Entertainment        SR0000055647
1058   Bruce Springsteen            Human Touch                      Sony Music Entertainment        SR0000152008
1059   Bruce Springsteen            Hungry Heart                     Sony Music Entertainment        SR0000025235
1060   Bruce Springsteen            Jack Of All Trades               Sony Music Entertainment        SR0000705192
1061   Bruce Springsteen            Land of Hope and Dreams          Sony Music Entertainment        SR0000705192
1062   Bruce Springsteen            Murder Incorporated              Sony Music Entertainment        SR0000198948
1063   Bruce Springsteen            My Hometown                      Sony Music Entertainment        SR0000055647
1064   Bruce Springsteen            Rocky Ground                     Sony Music Entertainment        SR0000705192
1065   Bruce Springsteen            Secret Garden                    Sony Music Entertainment        SR0000198948
1066   Bruce Springsteen            Shackled And Drawn               Sony Music Entertainment        SR0000705192
1067   Bruce Springsteen            Streets Of Philadelphia          Sony Music Entertainment        SR0000185365
                                    Swallowed Up (In The Belly Of
1068   Bruce Springsteen            The Whale)                       Sony Music Entertainment        SR0000705192



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                 Artist                          Track                         Plaintiff              Registration_Number
1069   Bruce Springsteen          The River                        Sony Music Entertainment        SR0000025235
1070   Bruce Springsteen          This Depression                  Sony Music Entertainment        SR0000705192
1071   Bruce Springsteen          This Hard Land                   Sony Music Entertainment        SR0000198948
1072   Bruce Springsteen          Thunder Road                     Sony Music Entertainment        RE0000894630
1073   Bruce Springsteen          We Are Alive                     Sony Music Entertainment        SR0000705192
1074   Bruce Springsteen          We Take Care Of Our Own          Sony Music Entertainment        SR0000705192
1075   Bruce Springsteen          Wrecking Ball                    Sony Music Entertainment        SR0000705192
1076   Bruce Springsteen          You've Got It                    Sony Music Entertainment        SR0000705192
1077   Bullet For My Valentine    A Place Where You Belong         Sony Music Entertainment        SR0000706395
1078   Bullet For My Valentine    Alone                            Sony Music Entertainment        SR0000706395
1079   Bullet For My Valentine    Begging For Mercy                Sony Music Entertainment        SR0000706395
1080   Bullet For My Valentine    Bittersweet Memories             Sony Music Entertainment        SR0000706395
1081   Bullet For My Valentine    Breaking Out, Breaking Down      Sony Music Entertainment        SR0000706395
1082   Bullet For My Valentine    Deliver Us from Evil             Sony Music Entertainment        SR0000619985
1083   Bullet For My Valentine    Dignity                          Sony Music Entertainment        SR0000706395
1084   Bullet For My Valentine    Disappear                        Sony Music Entertainment        SR0000619985
1085   Bullet For My Valentine    End Of Days                      Sony Music Entertainment        SR0000619985
1086   Bullet For My Valentine    Eye Of The Storm                 Sony Music Entertainment        SR0000619985
1087   Bullet For My Valentine    Fever                            Sony Music Entertainment        SR0000706395
1088   Bullet For My Valentine    Forever And Always               Sony Music Entertainment        SR0000619985
1089   Bullet For My Valentine    Hearts Burst Into Fire           Sony Music Entertainment        SR0000619985
1090   Bullet For My Valentine    Last To Know                     Sony Music Entertainment        SR0000619985
1091   Bullet For My Valentine    Pleasure And Pain                Sony Music Entertainment        SR0000706395
1092   Bullet For My Valentine    Pretty On The Outside            Sony Music Entertainment        SR0000706395
1093   Bullet For My Valentine    Say Goodnight                    Sony Music Entertainment        SR0000619985
1094   Bullet For My Valentine    Scream Aim Fire                  Sony Music Entertainment        PA0001607594
1095   Bullet For My Valentine    Take It Out On Me                Sony Music Entertainment        SR0000619985
1096   Bullet For My Valentine    The Last Fight                   Sony Music Entertainment        SR0000706395
1097   Bullet For My Valentine    Waking The Demon                 Sony Music Entertainment        SR0000619985
1098   Bullet For My Valentine    Your Betrayal                    Sony Music Entertainment        SR0000706395
1099   Cage The Elephant          2024                             Sony Music Entertainment        SR0000703665
1100   Cage The Elephant          Aberdeen                         Sony Music Entertainment        SR0000703665
1101   Cage The Elephant          Ain't No Rest for the Wicked     Sony Music Entertainment        SR0000615871
1102   Cage The Elephant          Always Something                 Sony Music Entertainment        SR0000703665
1103   Cage The Elephant          Around My Head                   Sony Music Entertainment        SR0000703665
1104   Cage The Elephant          Back Against The Wall            Sony Music Entertainment        SR0000631003
1105   Cage The Elephant          Back Stabbin' Betty (Explicit)   Sony Music Entertainment        SR0000631003
1106   Cage The Elephant          Cover Me Again                   Sony Music Entertainment        SR0000631003
1107   Cage The Elephant          Drones In The Valley             Sony Music Entertainment        SR0000631003
1108   Cage The Elephant          Flow                             Sony Music Entertainment        SR0000703665
1109   Cage The Elephant          Free Love                        Sony Music Entertainment        SR0000631003
1110   Cage The Elephant          In One Ear                       Sony Music Entertainment        SR0000631003
1111   Cage The Elephant          Indy Kidz                        Sony Music Entertainment        SR0000703665
1112   Cage The Elephant          James Brown                      Sony Music Entertainment        SR0000631003
1113   Cage The Elephant          Japanese Buffalo                 Sony Music Entertainment        SR0000703665
1114   Cage The Elephant          Judas                            Sony Music Entertainment        SR0000631003
1115   Cage The Elephant          Lotus                            Sony Music Entertainment        SR0000631003
1116   Cage The Elephant          Right Before My Eyes             Sony Music Entertainment        SR0000703665
1117   Cage The Elephant          Rubber Ball                      Sony Music Entertainment        SR0000703665
1118   Cage The Elephant          Sabertooth Tiger                 Sony Music Entertainment        SR0000703665
1119   Cage The Elephant          Sell Yourself                    Sony Music Entertainment        SR0000703665
1120   Cage The Elephant          Shake Me Down                    Sony Music Entertainment        SR0000703665




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                 Artist                     Track                         Plaintiff             Registration_Number
1121   Cage The Elephant    Soil To The Sun                   Sony Music Entertainment       SR0000631003
1122   Cage The Elephant    Tiny Little Robots                Sony Music Entertainment       SR0000631003
1123   Calvin Harris        I Need Your Love                  Sony Music Entertainment       SR0000710756
1124   Camila               Coleccionista De Canciones        Sony Music Entertainment       SR0000393905
1125   Camila               Me Basto                          Sony Music Entertainment       SR0000393905
1126   Camila               Me Da Igual                       Sony Music Entertainment       SR0000393905
1127   Camila               Perderte de Nuevo                 Sony Music Entertainment       SR0000393905
1128   Camila               Sin Tu Amor                       Sony Music Entertainment       SR0000393905
1129   Camila               Todo Cambio                       Sony Music Entertainment       SR0000393905
1130   Camila               U Got My Love                     Sony Music Entertainment       SR0000393905
1131   Camila               Va Para Ti                        Sony Music Entertainment       SR0000393905
1132   Camila               Yo Quiero                         Sony Music Entertainment       SR0000393905
1133   Carlos Santana       Havana Moon                       Sony Music Entertainment       SR0000045295
1134   Carrie Underwood     All-American Girl                 Sony Music Entertainment       SR0000627157
1135   Carrie Underwood     Before He Cheats                  Sony Music Entertainment       SR0000742546
1136   Carrie Underwood     Blown Away                        Sony Music Entertainment       SR0000700157
1137   Carrie Underwood     Crazy Dreams                      Sony Music Entertainment       SR0000627157
1138   Carrie Underwood     Cupid's Got A Shotgun             Sony Music Entertainment       SR0000700157
1139   Carrie Underwood     Do You Think About Me             Sony Music Entertainment       SR0000700157
1140   Carrie Underwood     Don't Forget to Remember Me       Sony Music Entertainment       SR0000383054
1141   Carrie Underwood     Flat On The Floor                 Sony Music Entertainment       SR0000627157
1142   Carrie Underwood     Forever Changed                   Sony Music Entertainment       SR0000700157
1143   Carrie Underwood     Get Out Of This Town              Sony Music Entertainment       SR0000627157
1144   Carrie Underwood     Good Girl                         Sony Music Entertainment       SR0000700157
1145   Carrie Underwood     Good In Goodbye                   Sony Music Entertainment       SR0000700157
1146   Carrie Underwood     I Ain't In Checotah Anymore       Sony Music Entertainment       SR0000383054
1147   Carrie Underwood     I Just Can't Live A Lie           Sony Music Entertainment       SR0000383054
1148   Carrie Underwood     I Know You Won't                  Sony Music Entertainment       SR0000627157
1149   Carrie Underwood     I Told You So                     Sony Music Entertainment       SR0000627157
1150   Carrie Underwood     Inside Your Heaven                Sony Music Entertainment       SR0000826182
1151   Carrie Underwood     Jesus Take The Wheel              Sony Music Entertainment       SR0000742547
1152   Carrie Underwood     Just A Dream                      Sony Music Entertainment       SR0000627157
1153   Carrie Underwood     Last Name                         Sony Music Entertainment       SR0000627157
1154   Carrie Underwood     Leave Love Alone                  Sony Music Entertainment       SR0000700157
1155   Carrie Underwood     Lessons Learned                   Sony Music Entertainment       SR0000383054
1156   Carrie Underwood     Nobody Ever Told You              Sony Music Entertainment       SR0000700157
1157   Carrie Underwood     One Way Ticket                    Sony Music Entertainment       SR0000700157
1158   Carrie Underwood     See You Again                     Sony Music Entertainment       SR0000700157
1159   Carrie Underwood     So Small                          Sony Music Entertainment       SR0000742208
1160   Carrie Underwood     Some Hearts                       Sony Music Entertainment       SR0000823481
1161   Carrie Underwood     Starts With Goodbye               Sony Music Entertainment       SR0000383054
1162   Carrie Underwood     Thank God For Hometowns           Sony Music Entertainment       SR0000700157
1163   Carrie Underwood     That's Where It Is                Sony Music Entertainment       SR0000383054
1164   Carrie Underwood     The More Boys I Meet              Sony Music Entertainment       SR0000627157
1165   Carrie Underwood     The Night Before (Life Goes On)   Sony Music Entertainment       SR0000383054
1166   Carrie Underwood     Twisted                           Sony Music Entertainment       SR0000627157
1167   Carrie Underwood     Two Black Cadillacs               Sony Music Entertainment       SR0000700157
1168   Carrie Underwood     Wasted                            Sony Music Entertainment       SR0000383054
1169   Carrie Underwood     We're Young and Beautiful         Sony Music Entertainment       SR0000383054
1170   Carrie Underwood     Wheel Of The World                Sony Music Entertainment       SR0000627157
1171   Carrie Underwood     Whenever You Remember             Sony Music Entertainment       SR0000383054
1172   Carrie Underwood     Who Are You                       Sony Music Entertainment       SR0000700157




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                 Artist                     Track                       Plaintiff              Registration_Number
1173   Carrie Underwood    Wine After Whiskey               Sony Music Entertainment        SR0000700157
1174   Carrie Underwood    You Won't Find This              Sony Music Entertainment        SR0000627157
1175   Céline Dion         A New Day Has Come               Sony Music Entertainment        SR0000311366
1176   Céline Dion         All By Myself                    Sony Music Entertainment        SR0000224159
1177   Céline Dion         Alone                            Sony Music Entertainment        SR0000640988
1178   Céline Dion         At Last                          Sony Music Entertainment        SR0000311366
1179   Céline Dion         Aún Existe Amor                  Sony Music Entertainment        SR0000311366
1180   Céline Dion         Because You Loved Me             Sony Music Entertainment        SR0000224159
                           Because You Loved Me (Theme
1181   Céline Dion         from "Up Close and Personal")    Sony Music Entertainment        SR0000224159
1182   Céline Dion         Call The Man                     Sony Music Entertainment        SR0000224159
1183   Céline Dion         Eyes On Me                       Sony Music Entertainment        SR0000640988
1184   Céline Dion         Falling Into You                 Sony Music Entertainment        SR0000224159
1185   Céline Dion         Goodbye's (The Saddest Word)     Sony Music Entertainment        SR0000311366
1186   Céline Dion         Have You Ever Been In Love       Sony Music Entertainment        SR0000311366
1187   Céline Dion         I Drove All Night                Sony Music Entertainment        PA0001138957
1188   Céline Dion         I Surrender                      Sony Music Entertainment        SR0000311366
1189   Céline Dion         I Want You to Need Me            Sony Music Entertainment        SR0000311601
1190   Céline Dion         I'm Alive                        Sony Music Entertainment        SR0000311366
1191   Céline Dion         If Walls Could Talk              Sony Music Entertainment        SR0000311601
1192   Céline Dion         Immortality                      Sony Music Entertainment        SR0000248109
1193   Céline Dion         It's All Coming Back to Me Now   Sony Music Entertainment        SR0000224159
1194   Céline Dion         Live for the One I Love          Sony Music Entertainment        SR0000311601
1195   Céline Dion         Love Can Move Mountains          Sony Music Entertainment        SR0000144117
1196   Céline Dion         Misled                           Sony Music Entertainment        SR0000191558
1197   Céline Dion         My Heart Will Go On              Sony Music Entertainment        SR0000248109
1198   Céline Dion         My Love                          Sony Music Entertainment        SR0000640988
1199   Céline Dion         Nature Boy                       Sony Music Entertainment        SR0000311366
1200   Céline Dion         One Heart                        Sony Music Entertainment        SR0000331435
1201   Céline Dion         Only One Road                    Sony Music Entertainment        SR0000191558
1202   Céline Dion         Pour que tu m'aimes encore       Sony Music Entertainment        SR0000211677
1203   Céline Dion         Prayer                           Sony Music Entertainment        SR0000264455
1204   Céline Dion         Rain, Tax (It's Inevitable)      Sony Music Entertainment        SR0000311366
1205   Céline Dion         Right In Front Of You            Sony Music Entertainment        SR0000311366
1206   Céline Dion         River Deep, Mountain High        Sony Music Entertainment        SR0000224159
1207   Céline Dion         Seduces Me                       Sony Music Entertainment        SR0000224159
1208   Céline Dion         Sorry For Love                   Sony Music Entertainment        SR0000311366
1209   Céline Dion         Taking Chances                   Sony Music Entertainment        SR0000622400
1210   Céline Dion         Ten Days                         Sony Music Entertainment        SR0000311366
1211   Céline Dion         That's The Way It Is             Sony Music Entertainment        SR0000311601
                           The First Time Ever I Saw Your
1212   Céline Dion         Face                             Sony Music Entertainment        SR0000311601
1213   Céline Dion         The Greatest Reward              Sony Music Entertainment        SR0000311366
1214   Céline Dion         The Power of Love                Sony Music Entertainment        SR0000191558
1215   Céline Dion         The Reason                       Sony Music Entertainment        SR0000248109
1216   Céline Dion         Then You Look At Me              Sony Music Entertainment        SR0000311601
1217   Céline Dion         There Comes a Time               Sony Music Entertainment        SR0000621415
1218   Céline Dion         Think Twice                      Sony Music Entertainment        SR0000191558
1219   Céline Dion         To Love You More                 Sony Music Entertainment        SR0000248109
                           When The Wrong One Loves You
1220   Céline Dion         Right                            Sony Music Entertainment        SR0000311366
1221   Céline Dion         You And I                        Sony Music Entertainment        SR0000361341




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               Artist                       Track                           Plaintiff             Registration_Number

1222   Charlie Daniels          the Devil Went Down To Georgia   Sony Music Entertainment       SR0000008973
1223   Charlie Wilson           Crying For You                   Sony Music Entertainment       SR0000679365
1224   Charlie Wilson           I Can't Let Go                   Sony Music Entertainment       SR0000679365
1225   Charlie Wilson           Life Of The Party                Sony Music Entertainment       SR0000679365
1226   Charlie Wilson           Lotto                            Sony Music Entertainment       SR0000679365
1227   Charlie Wilson           My Girl Is A Dime                Sony Music Entertainment       SR0000679365
1228   Charlie Wilson           Never Got Enough                 Sony Music Entertainment       SR0000679365
1229   Charlie Wilson           Once And Forever                 Sony Music Entertainment       SR0000679365
1230   Charlie Wilson           Where Would I Be                 Sony Music Entertainment       SR0000679365
1231   Charlie Wilson           You Are                          Sony Music Entertainment       SR0000679365
       Charlie Wilson Featuring
1232   Fantasia                 I Wanna Be Your Man              Sony Music Entertainment       SR0000679365
1233   Cher Lloyd               Swagger Jagger                   Sony Music Entertainment       SR0000724733
1234   Chevelle                 Closure                          Sony Music Entertainment       SR0000324184
1235   Chevelle                 Comfortable Liar                 Sony Music Entertainment       SR0000324184
1236   Chevelle                 Forfeit                          Sony Music Entertainment       SR0000324184
1237   Chevelle                 Get Some                         Sony Music Entertainment       SR0000363500
1238   Chevelle                 I Get It                         Sony Music Entertainment       SR0000407044
1239   Chevelle                 Panic Prone                      Sony Music Entertainment       SR0000363500
1240   Chevelle                 Send The Pain Below              Sony Music Entertainment       SR0000324184
1241   Chevelle                 Straight Jacket Fashion          Sony Music Entertainment       SR0000407044
1242   Chevelle                 The Clincher                     Sony Music Entertainment       SR0000363500
1243   Chevelle                 The Fad                          Sony Music Entertainment       SR0000407044
1244   Chevelle                 The Red                          Sony Music Entertainment       PA0001060682
1245   Chevelle                 Vitamin R (Leading Us Along)     Sony Music Entertainment       PA0001263996
       Chipmunk Feat. Chris
1246   Brown                    Champion                         Sony Music Entertainment       SR0000751658
1247   Chris Brown              2012 (Explicit)                  Sony Music Entertainment       SR0000711816
1248   Chris Brown              4 Years Old                      Sony Music Entertainment       SR0000711816
1249   Chris Brown              All Back                         Sony Music Entertainment       SR0000679366
1250   Chris Brown              Bassline (Explicit)              Sony Music Entertainment       SR0000711816
1251   Chris Brown              Beg For It                       Sony Music Entertainment       SR0000679366
1252   Chris Brown              Biggest Fan (Explicit)           Sony Music Entertainment       SR0000711816
1253   Chris Brown              Don't Judge Me                   Sony Music Entertainment       SR0000711816
1254   Chris Brown              Don't Wake Me Up                 Sony Music Entertainment       SR0000711816
1255   Chris Brown              Free Run                         Sony Music Entertainment       SR0000711816
1256   Chris Brown              Oh My Love                       Sony Music Entertainment       SR0000679366
1257   Chris Brown              Oh My Love (Explicit)            Sony Music Entertainment       SR0000679366
1258   Chris Brown              Say It With Me                   Sony Music Entertainment       SR0000679366
1259   Chris Brown              She Ain't You                    Sony Music Entertainment       SR0000679366
1260   Chris Brown              Should've Kissed You             Sony Music Entertainment       SR0000679366
1261   Chris Brown              Strip                            Sony Music Entertainment       SR0000711816
1262   Chris Brown              Stuck On Stupid                  Sony Music Entertainment       SR0000711816
1263   Chris Brown              Sweet Love                       Sony Music Entertainment       SR0000711816
1264   Chris Brown              Tell Somebody                    Sony Music Entertainment       SR0000711816
1265   Chris Brown              Up To You                        Sony Music Entertainment       SR0000679366
1266   Chris Brown              Wait For You                     Sony Music Entertainment       SR0000711816
1267   Chris Brown              Yeah 3x                          Sony Music Entertainment       SR0000679366
       Chris Brown feat. Benny
1268   Benassi                  Beautiful People                 Sony Music Entertainment       SR0000679366
       Chris Brown feat. Big
1269   Sean & Wiz Khalifa       Till I Die (Explicit)            Sony Music Entertainment       SR0000711816



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                 Artist                         Track                             Plaintiff          Registration_Number
       Chris Brown feat. Kevin
1270   McCall                     No BS (Explicit)                     Sony Music Entertainment    SR0000679366
       Chris Brown feat. Lil
1271   Wayne & Busta Rhymes       Look At Me Now (Explicit)            Sony Music Entertainment    SR0000677541
       Chris Brown feat. Lil
1272   Wayne & Tyga               Loyal                                Sony Music Entertainment    SR0000760918
       Chris Brown feat.
1273   Ludacris                   Wet The Bed                          Sony Music Entertainment    SR0000679366
       Chris Brown feat. Nicki
1274   Minaj                      Love More                            Sony Music Entertainment    SR0000726473
       Chris Brown feat.
1275   Sabrina Antionette         Trumpet Lights                       Sony Music Entertainment    SR0000711816
1276   Chris Brown feat. Sevyn    Party Hard / Cadillac (Interlude)    Sony Music Entertainment    SR0000711816
1277   Chris Brown feat. Sevyn    Remember My Name                     Sony Music Entertainment    SR0000711816
1278   Chris Brown feat. Sevyn    Touch Me                             Sony Music Entertainment    SR0000711816
       Chris Brown feat. Wiz
1279   Khalifa                    Bomb (Explicit)                      Sony Music Entertainment    SR0000679366
       Chris Brown featuring      Get Down (Rarities & B-Sides)
1280   B.o.B                      (Explicit)                           Sony Music Entertainment    SR0000708122
       Chris Brown featuring
1281   Eva Simons                 Love The Girls (Explicit)            Sony Music Entertainment    SR0000679366
       Chris Brown featuring
1282   Eva Simons                 Pass Out                             Sony Music Entertainment    SR0000747286
       Chris Brown featuring
1283   Justin Bieber              Next To You                          Sony Music Entertainment    SR0000679366

       Chris Brown featuring Lil
1284   Wayne & Busta Rhymes Look At Me Now                             Sony Music Entertainment    SR0000677541
       Chris Brown featuring Lil
1285   Wayne & Swizz Beatz       I Can Transform Ya                    Sony Music Entertainment    SR0000747284
       Chris Brown featuring
1286   Nas                       Mirage (Explicit)                     Sony Music Entertainment    SR0000711816
       Chris Brown featuring     Party Hard / Cadillac (Interlude)
1287   Sevyn                     (Explicit)                            Sony Music Entertainment    SR0000711816
       Chris Brown featuring
1288   Tyga & Kevin McCall       Deuces                                Sony Music Entertainment    SR0000679366
1289   Chris Young               A.M.                                  Sony Music Entertainment    SR0000726878
1290   Chris Young               Aw Naw                                Sony Music Entertainment    SR0000726910
1291   Chris Young               Forgiveness                           Sony Music Entertainment    SR0000726878
1292   Chris Young               Goodbye                               Sony Music Entertainment    SR0000736687
1293   Chris Young               Hold You To It                        Sony Music Entertainment    SR0000726878
1294   Chris Young               Lighters In the Air                   Sony Music Entertainment    SR0000726878
1295   Chris Young               Nothin' But the Cooler Left           Sony Music Entertainment    SR0000726878
1296   Chris Young               Text Me Texas                         Sony Music Entertainment    SR0000726878
1297   Chris Young               We're Gonna Find It Tonight           Sony Music Entertainment    SR0000726878
1298   Chris Young               Who I Am With You                     Sony Music Entertainment    SR0000726878
1299   Ciara                     Ciara To The Stage                    Sony Music Entertainment    SR0000631011
1300   Ciara                     G Is For Girl (A-Z)                   Sony Music Entertainment    SR0000631011
1301   Ciara                     Gimmie Dat                            Sony Music Entertainment    PA0001744092
1302   Ciara                     I Don't Remember                      Sony Music Entertainment    SR0000631011
1303   Ciara                     Keep Dancin' On Me                    Sony Music Entertainment    SR0000631011
1304   Ciara                     Like A Surgeon                        Sony Music Entertainment    SR0000631011
1305   Ciara                     Never Ever                            Sony Music Entertainment    SR0000723761
1306   Ciara                     Pucker Up                             Sony Music Entertainment    SR0000631011



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                 Artist                         Track                           Plaintiff             Registration_Number
1307   Ciara                      Ride                              Sony Music Entertainment       SR0000671337
1308   Ciara                      So Hard                           Sony Music Entertainment       SR0000757150
1309   Ciara                      Tell Me What Your Name Is         Sony Music Entertainment       SR0000631011
1310   Ciara feat. Chris Brown    Turntables                        Sony Music Entertainment       SR0000631011
1311   Ciara feat. Ludacris       High Price                        Sony Music Entertainment       SR0000631011
1312   Ciara feat. Nicki Minaj    I'm Out (Explicit)                Sony Music Entertainment       SR0000724534
1313   Ciara feat. The-Dream      Lover's Thing                     Sony Music Entertainment       SR0000631011
       Ciara Featuring Justin
1314   Timberlake                 Love Sex Magic (Main Version)     Sony Music Entertainment       SR0000631011
1315   Crossfade                  Cold                              Sony Music Entertainment       SR0000697112
1316   Crossfade                  Colors                            Sony Music Entertainment       SR0000354126
1317   Crossfade                  Dead Skin                         Sony Music Entertainment       SR0000354126
1318   Crossfade                  Death Trend Setta                 Sony Music Entertainment       SR0000354126
1319   Crossfade                  Disco                             Sony Music Entertainment       SR0000354126
1320   Crossfade                  No Giving Up                      Sony Music Entertainment       SR0000354126
1321   Crossfade                  So Far Away                       Sony Music Entertainment       SR0000354126
1322   Crossfade                  Starless                          Sony Music Entertainment       SR0000354126
1323   Crossfade                  The Deep End                      Sony Music Entertainment       SR0000354126
1324   Crossfade                  The Unknown                       Sony Music Entertainment       SR0000354126
1325   Cypress Hill               (Rock) Superstar (Explicit)       Sony Music Entertainment       SR0000287129
1326   Cypress Hill               Can't Get the Best of Me          Sony Music Entertainment       SR0000287128
1327   Cypress Hill               Dr. Greenthumb                    Sony Music Entertainment       SR0000263930
1328   Cypress Hill               EZ Come EZ Go                     Sony Music Entertainment       SR0000384639
1329   Cypress Hill               Hand On The Pump                  Sony Music Entertainment       SR0000134573
1330   Cypress Hill               Tequila Sunrise (Explicit)        Sony Music Entertainment       SR0000263930
1331   Cypress Hill               The Only Way                      Sony Music Entertainment       SR0000384639
1332   Cypress Hill               Throw Your Set In The Air         Sony Music Entertainment       SR0000215690
       Cypress Hill featuring
1333   Tego Calderon              Latin Thugs (Explicit)            Sony Music Entertainment       SR0000354123
       Darren Hayes of Savage
1334   Garden                     California                        Sony Music Entertainment       SR0000386428
       Darren Hayes of Savage
1335   Garden                     So Beautiful                      Sony Music Entertainment       SR0000386428
1336   Daughtry                   All These Lives                   Sony Music Entertainment       SR0000399960
1337   Daughtry                   Breakdown                         Sony Music Entertainment       SR0000399960
1338   Daughtry                   Crashed                           Sony Music Entertainment       SR0000399960
1339   Daughtry                   Feels Like Tonight                Sony Music Entertainment       SR0000399960
1340   Daughtry                   Gone                              Sony Music Entertainment       SR0000399960
1341   Daughtry                   Home                              Sony Music Entertainment       SR0000399960
1342   Daughtry                   It's Not Over                     Sony Music Entertainment       SR0000399960
1343   Daughtry                   Over You                          Sony Music Entertainment       SR0000399960
1344   Daughtry                   There And Back Again              Sony Music Entertainment       SR0000399960
1345   Daughtry                   Used To                           Sony Music Entertainment       SR0000399960
1346   Daughtry                   What About Now                    Sony Music Entertainment       SR0000399960
1347   Daughtry                   What I Want                       Sony Music Entertainment       SR0000399960
1348   Dave Matthews Band         Alligator Pie                     Sony Music Entertainment       SR0000628753
1349   Dave Matthews Band         American Baby                     Sony Music Entertainment       SR0000719468
1350   Dave Matthews Band         Baby Blue                         Sony Music Entertainment       SR0000628753
1351   Dave Matthews Band         Dive In                           Sony Music Entertainment       SR0000628753
1352   Dave Matthews Band         Funny the Way It Is               Sony Music Entertainment       SR0000628753
1353   Dave Matthews Band         Grux                              Sony Music Entertainment       SR0000628753
1354   Dave Matthews Band         Lying in the Hands of God         Sony Music Entertainment       SR0000628753
1355   Dave Matthews Band         Seven                             Sony Music Entertainment       SR0000628753



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                 Artist                            Track                        Plaintiff              Registration_Number
1356   Dave Matthews Band          Shake Me Like A Monkey           Sony Music Entertainment        SR0000628753
1357   Dave Matthews Band          Spaceman                         Sony Music Entertainment        SR0000628753
1358   Dave Matthews Band          Squirm                           Sony Music Entertainment        SR0000628753
1359   Dave Matthews Band          Time Bomb                        Sony Music Entertainment        SR0000628753
1360   Dave Matthews Band          Why I Am                         Sony Music Entertainment        SR0000628753
1361   Dave Matthews Band          You & Me                         Sony Music Entertainment        SR0000628753
1362   Dixie Chicks                Bitter End                       Sony Music Entertainment        SR0000391109
1363   Dixie Chicks                Cowboy Take Me Away              Sony Music Entertainment        SR0000275086
1364   Dixie Chicks                Easy Silence                     Sony Music Entertainment        SR0000391109
1365   Dixie Chicks                Everybody Knows                  Sony Music Entertainment        SR0000391109
1366   Dixie Chicks                Give It Up Or Let Me Go          Sony Music Entertainment        SR0000252000
1367   Dixie Chicks                Goodbye Earl                     Sony Music Entertainment        SR0000275086
1368   Dixie Chicks                Heartbreak Town                  Sony Music Entertainment        SR0000275086
1369   Dixie Chicks                I Believe in Love                Sony Music Entertainment        SR0000314722
1370   Dixie Chicks                I Can Love You Better            Sony Music Entertainment        SR0000252000
1371   Dixie Chicks                Landslide                        Sony Music Entertainment        SR0000314722
1372   Dixie Chicks                Let Him Fly                      Sony Music Entertainment        SR0000275086
1373   Dixie Chicks                Lil' Jack Slade                  Sony Music Entertainment        SR0000314722
1374   Dixie Chicks                Lubbock or Leave It              Sony Music Entertainment        SR0000391109
1375   Dixie Chicks                Lullaby                          Sony Music Entertainment        SR0000391109
1376   Dixie Chicks                Not Ready To Make Nice           Sony Music Entertainment        SR0000697321
1377   Dixie Chicks                Ready To Run                     Sony Music Entertainment        SR0000309667
1378   Dixie Chicks                Silent House                     Sony Music Entertainment        SR0000391109
1379   Dixie Chicks                Sin Wagon                        Sony Music Entertainment        SR0000275086
1380   Dixie Chicks                Some Days You Gotta Dance        Sony Music Entertainment        SR0000275086
1381   Dixie Chicks                The Long Way Around              Sony Music Entertainment        SR0000391109
1382   Dixie Chicks                There's Your Trouble             Sony Music Entertainment        SR0000252000
1383   Dixie Chicks                Tonight the Heartache's on Me    Sony Music Entertainment        SR0000252000
1384   Dixie Chicks                Top of the World                 Sony Music Entertainment        SR0000314722
1385   Dixie Chicks                Travelin' Soldier                Sony Music Entertainment        SR0000314722
1386   Dixie Chicks                Truth No. 2                      Sony Music Entertainment        SR0000314722
1387   Dixie Chicks                White Trash Wedding              Sony Music Entertainment        SR0000314722
1388   Dixie Chicks                Wide Open Spaces                 Sony Music Entertainment        SR0000252000
1389   Dixie Chicks                Without You                      Sony Music Entertainment        SR0000275086
1390   Dixie Chicks                You Were Mine                    Sony Music Entertainment        SR0000252000
1391   Eddie Money                 Baby Hold On                     Sony Music Entertainment        RE0000923174
1392   Eddie Money                 I Wanna Go Back                  Sony Music Entertainment        SR0000071987
                                   Looking Through The Eyes Of A
1393   Eddie Money                 Child                            Sony Music Entertainment        SR0000109485
1394   Eddie Money                 No Control                       Sony Music Entertainment        SR0000038050
1395   Eddie Money                 Peace in Our Time                Sony Music Entertainment        SR0000109485
1396   Eddie Money                 Shakin'                          Sony Music Entertainment        SR0000038050
1397   Eddie Money                 Stop Steppin' On My Heart        Sony Music Entertainment        SR0000109485
1398   Eddie Money                 Think I'm In Love                Sony Music Entertainment        SR0000038226
1399   Eddie Money                 Two Tickets To Paradise          Sony Music Entertainment        RE0000923174
1400   Eddie Money                 We Should Be Sleeping            Sony Music Entertainment        SR0000071987
1401   Eddie Money                 Where's The Party?               Sony Music Entertainment        SR0000050822
1402   Electric Light Orchestra    Across the Border                Sony Music Entertainment        N46612
1403   Electric Light Orchestra    Do Ya                            Sony Music Entertainment        N36991
1404   Electric Light Orchestra    Evil Woman                       Sony Music Entertainment        N27257
1405   Electric Light Orchestra    Four Little Diamonds             Sony Music Entertainment        SR0000046784
1406   Electric Light Orchestra    Getting to the Point             Sony Music Entertainment        SR0000070477
1407   Electric Light Orchestra    Here Is the News                 Sony Music Entertainment        SR0000030537



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                  Artist                          Track                         Plaintiff              Registration_Number
1408   Electric Light Orchestra    Illusions In G Major             Sony Music Entertainment        N19100
1409   Electric Light Orchestra    Livin' Thing (Audio)             Sony Music Entertainment        N36991
1410   Electric Light Orchestra    Ma Ma Ma Belle                   Sony Music Entertainment        N11365
1411   Electric Light Orchestra    Mr Blue Sky                      Sony Music Entertainment        N46612
1412   Electric Light Orchestra    Nightrider                       Sony Music Entertainment        N27257
1413   Electric Light Orchestra    Rockaria!                        Sony Music Entertainment        N36991
1414   Electric Light Orchestra    Secret Messages                  Sony Music Entertainment        SR0000046784
1415   Electric Light Orchestra    Shine a Little Love              Sony Music Entertainment        SR0000009161
1416   Electric Light Orchestra    Showdown                         Sony Music Entertainment        N11365
1417   Electric Light Orchestra    So Serious                       Sony Music Entertainment        SR0000070477
1418   Electric Light Orchestra    Strange Magic                    Sony Music Entertainment        N27257
1419   Electric Light Orchestra    Sweet Talkin' Woman              Sony Music Entertainment        N46612
1420   Electric Light Orchestra    Telephone Line                   Sony Music Entertainment        N36991
1421   Electric Light Orchestra    The Way Life's Meant To Be       Sony Music Entertainment        SR0000030537
1422   Electric Light Orchestra    TICKET TO THE MOON               Sony Music Entertainment        SR0000030537
1423   Electric Light Orchestra    Turn To Stone                    Sony Music Entertainment        N46612
1424   Electric Light Orchestra    Twilight                         Sony Music Entertainment        SR0000030537
1425   Electric Light Orchestra    Wild West Hero                   Sony Music Entertainment        N46612
1426   Elle Varner                 Damn Good Friends                Sony Music Entertainment        SR0000721189
1427   Elle Varner                 Leaf                             Sony Music Entertainment        SR0000721189
1428   Elle Varner                 Not Tonight                      Sony Music Entertainment        SR0000721189
1429   Elle Varner                 Oh What A Night                  Sony Music Entertainment        SR0000721189
1430   Elle Varner                 Refill                           Sony Music Entertainment        SR0000721190
1431   Elle Varner                 So Fly                           Sony Music Entertainment        SR0000721187
1432   Elle Varner                 Sound Proof Room                 Sony Music Entertainment        SR0000721189
1433   Elle Varner                 Stop The Clock                   Sony Music Entertainment        SR0000721189
1434   Elle Varner                 Welcome Home                     Sony Music Entertainment        SR0000721189
       Elle Varner Featuring J.
1435   Cole                        Only Wanna Give It To You        Sony Music Entertainment        SR0000721192
1436   Emblem3                     3000 Miles                       Sony Music Entertainment        SR0000726978
1437   Emblem3                     Chloe (You're The One I Want)    Sony Music Entertainment        SR0000726979
1438   Emblem3                     Do It All Again                  Sony Music Entertainment        SR0000726978
1439   Emblem3                     Girl Next Door                   Sony Music Entertainment        SR0000726978
1440   Emblem3                     I Love LA                        Sony Music Entertainment        SR0000726978
1441   Emblem3                     I Wish                           Sony Music Entertainment        SR0000726978
1442   Emblem3                     Jaiden                           Sony Music Entertainment        SR0000726978
1443   Emblem3                     Just For One Day                 Sony Music Entertainment        SR0000726978
1444   Emblem3                     Nothing To Lose                  Sony Music Entertainment        SR0000726978
1445   Emblem3                     One Day                          Sony Music Entertainment        SR0000726978
1446   Emblem3                     Reason                           Sony Music Entertainment        SR0000726978
1447   Emblem3                     Spaghetti                        Sony Music Entertainment        SR0000726978
1448   Emblem3                     Sunset Blvd                      Sony Music Entertainment        SR0000726978
1449   Emblem3                     Teenage Kings                    Sony Music Entertainment        SR0000726978
1450   Emblem3                     XO                               Sony Music Entertainment        SR0000726978
1451   Europe                      Carrie                           Sony Music Entertainment        SR0000076395
1452   Europe                      Cherokee                         Sony Music Entertainment        SR0000076395
1453   Europe                      Danger On the Track              Sony Music Entertainment        SR0000076395
1454   Europe                      Heart Of Stone                   Sony Music Entertainment        SR0000076395
1455   Europe                      Love Chaser                      Sony Music Entertainment        SR0000076395
1456   Europe                      Ninja                            Sony Music Entertainment        SR0000076395
1457   Europe                      On The Loose                     Sony Music Entertainment        SR0000076395
1458   Europe                      Rock the Night                   Sony Music Entertainment        SR0000076395
1459   Europe                      The Final Countdown              Sony Music Entertainment        SR0000076395



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                Artist                          Track                         Plaintiff             Registration_Number
1460   Europe                   Time Has Come                     Sony Music Entertainment       SR0000076395
1461   Fabulous Thunderbirds    Amnesia                           Sony Music Entertainment       SR0000076616
1462   Fabulous Thunderbirds    Down At Antwones                  Sony Music Entertainment       SR0000076616
1463   Fabulous Thunderbirds    I Don't Care                      Sony Music Entertainment       SR0000076616
1464   Fabulous Thunderbirds    Tell Me                           Sony Music Entertainment       SR0000076616
1465   Fabulous Thunderbirds    True Love                         Sony Music Entertainment       SR0000076616
1466   Fabulous Thunderbirds    Tuff Enuff                        Sony Music Entertainment       SR0000076616
1467   Foo Fighters             Ain't It The Life                 Sony Music Entertainment       SR0000285034
1468   Foo Fighters             All My Life (Edit)                Sony Music Entertainment       SR0000325862
1469   Foo Fighters             Another Round                     Sony Music Entertainment       SR0000377762
1470   Foo Fighters             Aurora                            Sony Music Entertainment       SR0000285034
                                Ballad Of The Beaconsfield
1471   Foo Fighters             Miners                            Sony Music Entertainment       SR0000617325
1472   Foo Fighters             Best Of You                       Sony Music Entertainment       SR0000734391
1473   Foo Fighters             Breakout                          Sony Music Entertainment       SR0000285034
1474   Foo Fighters             But, Honestly                     Sony Music Entertainment       SR0000617325
                                Cheer Up, Boys (Your Make Up Is
1475   Foo Fighters             Running)                          Sony Music Entertainment       SR0000617325
1476   Foo Fighters             Cold Day In The Sun               Sony Music Entertainment       SR0000377762
1477   Foo Fighters             Come Alive                        Sony Music Entertainment       SR0000617325
1478   Foo Fighters             Danny Says                        Sony Music Entertainment       SR0000325862
1479   Foo Fighters             DOA                               Sony Music Entertainment       SR0000377762
1480   Foo Fighters             Doll                              Sony Music Entertainment       SR0000297253
1481   Foo Fighters             End Over End                      Sony Music Entertainment       SR0000377762
1482   Foo Fighters             Enough Space                      Sony Music Entertainment       SR0000297253
1483   Foo Fighters             Erase/Replace                     Sony Music Entertainment       SR0000617325
1484   Foo Fighters             Everlong                          Sony Music Entertainment       SR0000297253
1485   Foo Fighters             February Stars                    Sony Music Entertainment       SR0000297253
1486   Foo Fighters             Free Me                           Sony Music Entertainment       SR0000377762
1487   Foo Fighters             Friend Of A Friend                Sony Music Entertainment       SR0000377762
1488   Foo Fighters             Generator                         Sony Music Entertainment       SR0000285034
1489   Foo Fighters             Gimme Stitches                    Sony Music Entertainment       SR0000285034
1490   Foo Fighters             Headwires                         Sony Music Entertainment       SR0000285034
1491   Foo Fighters             Hell                              Sony Music Entertainment       SR0000377762
1492   Foo Fighters             Hey, Johnny Park!                 Sony Music Entertainment       SR0000297253
1493   Foo Fighters             Home                              Sony Music Entertainment       SR0000617325
1494   Foo Fighters             In Your Honor                     Sony Music Entertainment       SR0000377762
1495   Foo Fighters             Learn To Fly                      Sony Music Entertainment       SR0000285034
1496   Foo Fighters             Let It Die                        Sony Music Entertainment       SR0000617325
1497   Foo Fighters             Live-In Skin                      Sony Music Entertainment       SR0000285034
1498   Foo Fighters             Long Road To Ruin                 Sony Music Entertainment       SR0000617325
1499   Foo Fighters             M.I.A.                            Sony Music Entertainment       SR0000285034
1500   Foo Fighters             Marigold                          Sony Music Entertainment       SR0000396409
1501   Foo Fighters             Miracle                           Sony Music Entertainment       SR0000377762
1502   Foo Fighters             Monkey Wrench                     Sony Music Entertainment       SR0000297253
1503   Foo Fighters             My Hero                           Sony Music Entertainment       SR0000297253
1504   Foo Fighters             My Hero (Live)                    Sony Music Entertainment       SR0000396409
1505   Foo Fighters             My Poor Brain                     Sony Music Entertainment       SR0000297253
1506   Foo Fighters             New Way Home                      Sony Music Entertainment       SR0000297253
1507   Foo Fighters             Next Year                         Sony Music Entertainment       SR0000285034
1508   Foo Fighters             No Way Back                       Sony Music Entertainment       SR0000377762
1509   Foo Fighters             On The Mend                       Sony Music Entertainment       SR0000377762
1510   Foo Fighters             Once & For All (Demo)             Sony Music Entertainment       SR0000617325



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                Artist                         Track                           Plaintiff             Registration_Number
1511   Foo Fighters              Over And Out                      Sony Music Entertainment       SR0000377762
1512   Foo Fighters              Razor                             Sony Music Entertainment       SR0000396409
1513   Foo Fighters              Resolve                           Sony Music Entertainment       SR0000377762
1514   Foo Fighters              See You                           Sony Music Entertainment       SR0000297253
1515   Foo Fighters              Skin And Bones                    Sony Music Entertainment       SR0000396409
1516   Foo Fighters              Stacked Actors                    Sony Music Entertainment       SR0000285034
1517   Foo Fighters              Statues                           Sony Music Entertainment       SR0000617325
1518   Foo Fighters              Still                             Sony Music Entertainment       SR0000377762
1519   Foo Fighters              Stranger Things Have Happened     Sony Music Entertainment       SR0000617325
1520   Foo Fighters              Summer's End                      Sony Music Entertainment       SR0000617325
1521   Foo Fighters              The Deepest Blues Are Black       Sony Music Entertainment       SR0000377762
1522   Foo Fighters              The Last Song                     Sony Music Entertainment       SR0000377762
1523   Foo Fighters              The Pretender                     Sony Music Entertainment       SR0000748786
1524   Foo Fighters              Up In Arms                        Sony Music Entertainment       SR0000297253
1525   Foo Fighters              Virginia Moon                     Sony Music Entertainment       SR0000377762
1526   Foo Fighters              Walking After You                 Sony Music Entertainment       SR0000297253
1527   Foo Fighters              What If I Do?                     Sony Music Entertainment       SR0000377762
1528   Foo Fighters              Wheels                            Sony Music Entertainment       SR0000636262
1529   Foo Fighters              Wind Up                           Sony Music Entertainment       SR0000297253
1530   Foo Fighters              Word Forward                      Sony Music Entertainment       SR0000636262
1531   Foster The People         Houdini                           Sony Music Entertainment       SR0000752475
1532   Foster The People         Warrant                           Sony Music Entertainment       SR0000752474
1533   Fozzy                     A Passed Life                     Sony Music Entertainment       SR0000726755
1534   Fozzy                     Blood Happens                     Sony Music Entertainment       SR0000726755
1535   Fozzy                     Dark Passenger                    Sony Music Entertainment       SR0000726755
1536   Fozzy                     Inside My Head                    Sony Music Entertainment       SR0000726755
1537   Fozzy                     Sandpaper                         Sony Music Entertainment       SR0000726755
1538   Fozzy                     She's My Addiction                Sony Music Entertainment       SR0000726755
1539   Fozzy                     Shine Forever                     Sony Music Entertainment       SR0000726755
1540   Fozzy                     Sin and Bones                     Sony Music Entertainment       SR0000726755
1541   Fozzy                     Spider in My Mouth                Sony Music Entertainment       SR0000726755
1542   Fozzy                     Storm the Beaches                 Sony Music Entertainment       SR0000726755
       Frank Sinatra & Celine
1543   Dion                      All The Way                       Sony Music Entertainment       SR0000311601
1544   Fuel                      Again                             Sony Music Entertainment       SR0000616497
1545   Fuel                      Angels Take a Soul                Sony Music Entertainment       SR0000616497
1546   Fuel                      Bad Day                           Sony Music Entertainment       SR0000269920
1547   Fuel                      Days With You                     Sony Music Entertainment       SR0000342237
1548   Fuel                      Die Like This                     Sony Music Entertainment       SR0000342237
1549   Fuel                      Down                              Sony Music Entertainment       SR0000269920
1550   Fuel                      Down Inside Of You                Sony Music Entertainment       SR0000342237
1551   Fuel                      Easy                              Sony Music Entertainment       SR0000269920
1552   Fuel                      Empty Spaces                      Sony Music Entertainment       SR0000269920
1553   Fuel                      Falls On Me                       Sony Music Entertainment       PA0001234071
1554   Fuel                      Forever                           Sony Music Entertainment       SR0000616497
1555   Fuel                      Getting Thru?                     Sony Music Entertainment       SR0000342237
1556   Fuel                      Gone                              Sony Music Entertainment       SR0000616497
1557   Fuel                      Halos of the Son                  Sony Music Entertainment       SR0000616497
1558   Fuel                      Hangin Round                      Sony Music Entertainment       SR0000616497
1559   Fuel                      I Should Have Told You            Sony Music Entertainment       SR0000616497
1560   Fuel                      Innocent                          Sony Music Entertainment       SR0000269920
1561   Fuel                      Jesus Or A Gun                    Sony Music Entertainment       PA0000939885
1562   Fuel                      Knives                            Sony Music Entertainment       SR0000269920



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                 Artist                         Track                        Plaintiff              Registration_Number
1563   Fuel                      Last Time                       Sony Music Entertainment        SR0000269920
1564   Fuel                      Leave the Memories Alone        Sony Music Entertainment        SR0000616497
1565   Fuel                      Luck                            Sony Music Entertainment        SR0000342237
1566   Fuel                      Million Miles                   Sony Music Entertainment        SR0000342237
1567   Fuel                      Most Of All                     Sony Music Entertainment        SR0000342237
1568   Fuel                      Not This Time                   Sony Music Entertainment        SR0000616497
1569   Fuel                      Prove                           Sony Music Entertainment        SR0000269920
1570   Fuel                      Quarter                         Sony Music Entertainment        SR0000342237
1571   Fuel                      Running Away                    Sony Music Entertainment        SR0000342237
1572   Fuel                      Scar                            Sony Music Entertainment        SR0000269920
1573   Fuel                      Scars in the Making             Sony Music Entertainment        SR0000616497
1574   Fuel                      Shimmer                         Sony Music Entertainment        SR0000253431
1575   Fuel                      Slow                            Sony Music Entertainment        SR0000269920
1576   Fuel                      Solace                          Sony Music Entertainment        SR0000269920
1577   Fuel                      Sunburn                         Sony Music Entertainment        SR0000253431
1578   Fuel                      These Things                    Sony Music Entertainment        SR0000342237
1579   Fuel                      Wasted Time                     Sony Music Entertainment        SR0000616497
1580   Fuel 238                  Hideaway                        Sony Music Entertainment        SR0000253431
1581   Fuel 238                  Mary Pretends                   Sony Music Entertainment        SR0000253431
1582   Fuel 238                  New Thing                       Sony Music Entertainment        SR0000253431
1583   Fuel 238                  Ozone                           Sony Music Entertainment        SR0000253431
1584   Fuel 238                  Song For You                    Sony Music Entertainment        SR0000253431
1585   Fuel 238                  Untitled**                      Sony Music Entertainment        SR0000253431
1586   Fugees                    Manifest/Outro                  Sony Music Entertainment        SR0000222005
1587   Fugees                    Mista Mista (Explicit)          Sony Music Entertainment        SR0000222005
1588   Fugees                    No Woman No Cry                 Sony Music Entertainment        SR0000222005
1589   Fugees                    Red Intro                       Sony Music Entertainment        SR0000222005
1590   Fugees                    The Score (Explicit)            Sony Music Entertainment        SR0000222005
1591   Fugees                    Zealots (Explicit)              Sony Music Entertainment        SR0000222005
1592   Future                    Astronaut Chick                 Sony Music Entertainment        SR0000701457
1593   Future                    Neva End                        Sony Music Entertainment        SR0000701457
1594   Future                    Permanent Scar                  Sony Music Entertainment        SR0000701457
1595   Future                    Permanent Scar (Explicit)       Sony Music Entertainment        SR0000701457
1596   Future                    Same Damn Time                  Sony Music Entertainment        SR0000701457
1597   Future                    Straight Up                     Sony Music Entertainment        SR0000701457
1598   Future                    Tony Montana                    Sony Music Entertainment        SR0000701457
1599   Future                    Tony Montana (Explicit)         Sony Music Entertainment        SR0000701457
1600   Future                    Truth Gonna Hurt You            Sony Music Entertainment        SR0000701457
1601   Future                    Turn On The Lights              Sony Music Entertainment        SR0000701457
1602   Future                    You Deserve It                  Sony Music Entertainment        SR0000701457
1603   Future                    You Deserve It (Explicit)       Sony Music Entertainment        SR0000701457
       Future feat. Pharrell,
1604   Pusha T and Casino        Move That Doh                   Sony Music Entertainment        SR0000762576
       Future featuring Big
1605   Rube                      The Future Is Now               Sony Music Entertainment        SR0000701457
1606   Future featuring Juicy J I'm Trippin                      Sony Music Entertainment        SR0000701457
1607   Future featuring R. Kelly Parachute                       Sony Music Entertainment        SR0000701457
       Future featuring Snoop
1608   Dogg                      Homicide                        Sony Music Entertainment        SR0000701457
1609   Future featuring T.I.     Magic                           Sony Music Entertainment        SR0000701457
       Future featuring Trae The
1610   Truth                     Long Live The Pimp              Sony Music Entertainment        SR0000701457
1611   Gavin DeGraw              Candy                           Sony Music Entertainment        SR0000412465



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                Artist                        Track                         Plaintiff              Registration_Number
1612   Gavin DeGraw            Radiation                        Sony Music Entertainment        SR0000412465
1613   Gavin DeGraw            Run Every Time                   Sony Music Entertainment        SR0000412465
1614   Gavin DeGraw            Spell It Out                     Sony Music Entertainment        SR0000412465
1615   Gavin DeGraw            Stealing                         Sony Music Entertainment        SR0000412465
1616   Gavin DeGraw            Sweeter                          Sony Music Entertainment        SR0000412465
1617   Gavin DeGraw            Where You Are                    Sony Music Entertainment        SR0000412465
1618   Gavin DeGraw            You Know Where I'm At            Sony Music Entertainment        SR0000412465
1619   George Jones            He Stopped Loving Her Today      Sony Music Entertainment        SR0000018496
1620   George Jones            I Always Get Lucky With You      Sony Music Entertainment        SR0000045294
1621   George Jones            I'm A One Woman Man              Sony Music Entertainment        SR0000101829
1622   George Jones            I've Aged Twenty Years In Five   Sony Music Entertainment        SR0000021788
                               If Drinkin' Don't Kill Me (Her
1623   George Jones            Memory Will)                     Sony Music Entertainment        SR0000021788
1624   George Jones            Someday My Day Will Come         Sony Music Entertainment        SR0000010280
1625   George Jones            Still Doin' Time                 Sony Music Entertainment        SR0000030506
1626   George Jones            Tennessee Whiskey                Sony Music Entertainment        SR0000045294
                               The One I Loved Back Then (The
1627   George Jones            Corvette Song)                   Sony Music Entertainment        SR0000067238
1628   George Jones            The Right Left Hand              Sony Music Entertainment        SR0000078097
1629   George Jones            Who's Gonna Fill Their Shoes     Sony Music Entertainment        PA0000262395
                               You've Still Got a Place In My
1630   George Jones            Heart                            Sony Music Entertainment        SR0000055734
       George Jones & Tammy
1631   Wynette                 Near You                         Sony Music Entertainment        RE0000905501
1632   Gloria Estefan          123                              Sony Music Entertainment        SR0000083468
1633   Gloria Estefan          Anything For You                 Sony Music Entertainment        SR0000083468
1634   Gloria Estefan          Can't Stay Away From You         Sony Music Entertainment        SR0000083468
1635   Gloria Estefan          Coming Out of the Dark           Sony Music Entertainment        SR0000208812
1636   Gloria Estefan          Don't Let This Moment End        Sony Music Entertainment        SR0000246529
1637   Gloria Estefan          Don't Wanna Lose You             Sony Music Entertainment        SR0000107742
1638   Gloria Estefan          Get On Your Feet                 Sony Music Entertainment        SR0000107742
1639   Gloria Estefan          Hold Me, Thrill Me, Kiss Me      Sony Music Entertainment        SR0000201780
1640   Gloria Estefan          Oye Mi Canto (Hear My Voice)     Sony Music Entertainment        SR0000107742
1641   Gloria Estefan          Turn The Beat Around             Sony Music Entertainment        SR0000201780
1642   Gloria Estefan          You'll Be Mine (Party Time)      Sony Music Entertainment        SR0000224314
1643   Gretchen Wilson         All Jacked Up                    Sony Music Entertainment        PA0001259117
1644   Gretchen Wilson         California Girls                 Sony Music Entertainment        SR0000388036
1645   Gretchen Wilson         Chariot                          Sony Music Entertainment        PA0001245662
1646   Gretchen Wilson         Here For The Party               Sony Music Entertainment        PA0001245662
1647   Gretchen Wilson         Holdin' You                      Sony Music Entertainment        PA0001245662
1648   Gretchen Wilson         Homewrecker                      Sony Music Entertainment        PA0001245662
                               I Don't Feel Like Loving You
1649   Gretchen Wilson         Today                            Sony Music Entertainment        SR0000388036
1650   Gretchen Wilson         One Of The Boys                  Sony Music Entertainment        SR0000609494
1651   Gretchen Wilson         Pocahontas Proud                 Sony Music Entertainment        PA0001245662
1652   Gretchen Wilson         Politically Uncorrect            Sony Music Entertainment        SR0000388036
1653   Gretchen Wilson         Redneck Woman                    Sony Music Entertainment        PA0001233077
1654   Gretchen Wilson         The Bed                          Sony Music Entertainment        PA0001245662
1655   Gretchen Wilson         What Happened                    Sony Music Entertainment        PA0001245662
1656   Gretchen Wilson         When I Think About Cheatin'      Sony Music Entertainment        PA0001245662
1657   Gretchen Wilson         When It Rains                    Sony Music Entertainment        PA0001245662
1658   Heatwave                Ain't No Half Steppin'           Sony Music Entertainment        SR0000004075
1659   Heatwave                All You Do Is Dial               Sony Music Entertainment        SR0000000875



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                Artist                          Track                       Plaintiff              Registration_Number
1660   Heatwave                 Always And Forever              Sony Music Entertainment        SR0000000875
1661   Heatwave                 Boogie Nights                   Sony Music Entertainment        SR0000000875
1662   Heatwave                 Central Heating                 Sony Music Entertainment        SR0000005108
1663   Heatwave                 Eyeballin'                      Sony Music Entertainment        SR0000008717
1664   Heatwave                 Gangsters of the Groove         Sony Music Entertainment        SR0000023077
1665   Heatwave                 Happiness Togetherness          Sony Music Entertainment        SR0000005108
1666   Heatwave                 I'll Beat Your Booty            Sony Music Entertainment        SR0000000875
1667   Heatwave                 Lay It On Me                    Sony Music Entertainment        SR0000000875
1668   Heatwave                 Lettin' It Loose                Sony Music Entertainment        SR0000041027
1669   Heatwave                 Look After Love                 Sony Music Entertainment        SR0000041402
1670   Heatwave                 Mind Blowing Decisions          Sony Music Entertainment        SR0000005108
1671   Heatwave                 Sho'Nuff Must Be Luv            Sony Music Entertainment        SR0000000875
1672   Heatwave                 The Groove Line                 Sony Music Entertainment        SR0000005108
1673   Heatwave                 Too Hot To Handle               Sony Music Entertainment        SR0000000875
1674   Heatwave                 Where Did I Go Wrong            Sony Music Entertainment        SR0000024332
1675   Hey Monday               Candles                         Sony Music Entertainment        SR0000621326
1676   Hot Chelle Rae           Beautiful Freaks                Sony Music Entertainment        SR0000412466
1677   Hot Chelle Rae           Downtown Girl                   Sony Music Entertainment        SR0000412466
1678   Hot Chelle Rae           Forever Unstoppable             Sony Music Entertainment        SR0000412466
1679   Hot Chelle Rae           Honestly                        Sony Music Entertainment        SR0000412466
1680   Hot Chelle Rae           Keep You With Me                Sony Music Entertainment        SR0000412466
1681   Hot Chelle Rae           The Only One                    Sony Music Entertainment        SR0000412466
1682   Hot Chelle Rae           Tonight Tonight                 Sony Music Entertainment        SR0000412466
1683   Hot Chelle Rae           Whatever                        Sony Music Entertainment        SR0000412466
       Hot Chelle Rae Featuring
1684   Bei Maejor               Radio                           Sony Music Entertainment        SR0000412466
       Hot Chelle Rae Featuring
1685   Demi Lovato              Why Don't You Love Me           Sony Music Entertainment        SR0000412466
1686   Hurricane Chris          A Bay Bay                       Sony Music Entertainment        SR0000719410
1687   In This Moment           A Star-Crossed Wasteland        Sony Music Entertainment        SR0000669909
1688   In This Moment           Adrenalize                      Sony Music Entertainment        SR0000703747
1689   In This Moment           Aries                           Sony Music Entertainment        SR0000703747
1690   In This Moment           Beast Within                    Sony Music Entertainment        SR0000703747
1691   In This Moment           Blazin'                         Sony Music Entertainment        SR0000669909
1692   In This Moment           Blood                           Sony Music Entertainment        SR0000703747
1693   In This Moment           Burn                            Sony Music Entertainment        SR0000703747
1694   In This Moment           Comanche                        Sony Music Entertainment        SR0000703747
1695   In This Moment           From the Ashes                  Sony Music Entertainment        SR0000703747
1696   In This Moment           Gunshow                         Sony Music Entertainment        SR0000669909
1697   In This Moment           Iron Army                       Sony Music Entertainment        SR0000669909
1698   In This Moment           Just Drive                      Sony Music Entertainment        SR0000669909
1699   In This Moment           Rise With Me                    Sony Music Entertainment        SR0000703747
1700   In This Moment           Scarlet                         Sony Music Entertainment        SR0000703747
1701   In This Moment           Standing Alone                  Sony Music Entertainment        SR0000669909
1702   In This Moment           The Blood Legion                Sony Music Entertainment        SR0000703747
1703   In This Moment           The Last Cowboy                 Sony Music Entertainment        SR0000669909
1704   In This Moment           The Promise                     Sony Music Entertainment        SR0000669909
1705   In This Moment           The Road                        Sony Music Entertainment        SR0000669909
1706   In This Moment           Whore                           Sony Music Entertainment        SR0000703747
1707   In This Moment           World In Flames                 Sony Music Entertainment        SR0000669909
1708   In This Moment           You're Gonna' Listen            Sony Music Entertainment        SR0000703747
1709   Incubus                  A Kiss to Send Us Off           Sony Music Entertainment        SR0000403204
1710   Incubus                  Anna Molly                      Sony Music Entertainment        SR0000742203



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                 Artist                     Track                          Plaintiff              Registration_Number
1711   Incubus                Aqueous Transmission             Sony Music Entertainment        SR0000306181
1712   Incubus                Are You In?                      Sony Music Entertainment        SR0000306181
1713   Incubus                Battlestar Scralatchtica         Sony Music Entertainment        SR0000278818
1714   Incubus                Blood on the Ground              Sony Music Entertainment        SR0000306181
1715   Incubus                Circles                          Sony Music Entertainment        SR0000306181
1716   Incubus                Clean                            Sony Music Entertainment        SR0000278818
1717   Incubus                Consequence                      Sony Music Entertainment        SR0000278818
1718   Incubus                Diamonds and Coal                Sony Music Entertainment        SR0000403204
1719   Incubus                Dig                              Sony Music Entertainment        SR0000403204
1720   Incubus                Drive                            Sony Music Entertainment        SR0000278818
1721   Incubus                Earth To Bella (Part I)          Sony Music Entertainment        SR0000403204
1722   Incubus                Earth To Bella (Part II)         Sony Music Entertainment        SR0000403204
1723   Incubus                Echo                             Sony Music Entertainment        SR0000306181
1724   Incubus                Have You Ever                    Sony Music Entertainment        SR0000306181
1725   Incubus                I Miss You                       Sony Music Entertainment        SR0000278818
1726   Incubus                Just a Phase                     Sony Music Entertainment        SR0000306181
1727   Incubus                Light Grenades                   Sony Music Entertainment        SR0000403204
1728   Incubus                Love Hurts                       Sony Music Entertainment        SR0000403204
1729   Incubus                Magic Medicine                   Sony Music Entertainment        SR0000249690
1730   Incubus                Make Yourself                    Sony Music Entertainment        SR0000278818
1731   Incubus                Mexico                           Sony Music Entertainment        SR0000306181
1732   Incubus                Nice To Know You                 Sony Music Entertainment        SR0000306181
1733   Incubus                Nowhere Fast                     Sony Music Entertainment        SR0000278818
1734   Incubus                Oil And Water                    Sony Music Entertainment        SR0000403204
1735   Incubus                Out from Under                   Sony Music Entertainment        SR0000278818
1736   Incubus                Paper Shoes                      Sony Music Entertainment        SR0000403204
1737   Incubus                Pendulous Threads                Sony Music Entertainment        SR0000403204
1738   Incubus                Privilege                        Sony Music Entertainment        SR0000278818
1739   Incubus                Quicksand                        Sony Music Entertainment        SR0000403204
1740   Incubus                Rogues                           Sony Music Entertainment        SR0000403204
1741   Incubus                Stellar                          Sony Music Entertainment        SR0000278818
                              Summer Romance (Anti-Gravity
1742   Incubus                Love Song)                       Sony Music Entertainment        SR0000249690
1743   Incubus                The Warmth                       Sony Music Entertainment        SR0000278818
1744   Incubus                Under My Umbrella                Sony Music Entertainment        SR0000306181
1745   Incubus                Warning                          Sony Music Entertainment        SR0000306181
1746   Incubus                When It Comes                    Sony Music Entertainment        SR0000278818
1747   Incubus                Wish You Were Here               Sony Music Entertainment        PA0001065849
1748   Itzhak Perlman         Theme from"Far and Away"         Sony Music Entertainment        SR0000247495
       Itzhak Perlman;John
1749   Williams               Schindler's List: Theme          Sony Music Entertainment        SR0000247495
1750   iwrestledabearonce     Break It Down Camacho            Sony Music Entertainment        SR0000697986
1751   iwrestledabearonce     Deodorant Can't Fix Ugly         Sony Music Entertainment        SR0000697986
1752   iwrestledabearonce     Gold Jacket, Green Jacket        Sony Music Entertainment        SR0000697986
1753   iwrestledabearonce     I'm Gonna Shoot                  Sony Music Entertainment        SR0000697986
1754   iwrestledabearonce     It Is "Bro" Isn't It?            Sony Music Entertainment        SR0000697986
1755   iwrestledabearonce     Karate Nipples                   Sony Music Entertainment        SR0000697986
1756   iwrestledabearonce     Next Visible Delicious           Sony Music Entertainment        SR0000697986
1757   iwrestledabearonce     Stay to the Right                Sony Music Entertainment        SR0000697986
                              This Head Music Makes My Eyes
1758   iwrestledabearonce     Rain                             Sony Music Entertainment        SR0000697986
                              You Know That Ain't Them Dogs'
1759   iwrestledabearonce     Real Voice                       Sony Music Entertainment        SR0000697986



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                  Artist                        Track                            Plaintiff           Registration_Number
1760   J. Cole                   Chaining Day                        Sony Music Entertainment     SR0000730319
1761   J. Cole                   Let Nas Down                        Sony Music Entertainment     SR0000730319
1762   J. Cole                   Mo Money (Interlude)                Sony Music Entertainment     SR0000730319
1763   J. Cole                   Power Trip (Explicit)               Sony Music Entertainment     SR0000730319
1764   J. Cole                   Rich Niggaz                         Sony Music Entertainment     SR0000730319
1765   J. Cole                   Trouble                             Sony Music Entertainment     SR0000730319
1766   J. Cole                   Where's Jermaine? (Skit)            Sony Music Entertainment     SR0000730319
1767   J. Cole feat. TLC         Crooked Smile                       Sony Music Entertainment     SR0000730319
1768   Jack White                Blunderbuss                         Sony Music Entertainment     SR0000699383
1769   Jack White                Freedom At 21                       Sony Music Entertainment     SR0000699383
1770   Jack White                Hip (Eponymous) Poor Boy            Sony Music Entertainment     SR0000699383
1771   Jack White                Hypocritical Kiss                   Sony Music Entertainment     SR0000699383
1772   Jack White                I Guess I Should Go To Sleep        Sony Music Entertainment     SR0000699383
1773   Jack White                I'm Shakin'                         Sony Music Entertainment     SR0000699383
1774   Jack White                Love Interruption                   Sony Music Entertainment     SR0000699383
1775   Jack White                Missing Pieces                      Sony Music Entertainment     SR0000699383
1776   Jack White                On And On And On                    Sony Music Entertainment     SR0000699383
1777   Jack White                Sixteen Saltines                    Sony Music Entertainment     SR0000699383
1778   Jack White                Trash Tongue Talker                 Sony Music Entertainment     SR0000699383
1779   Jack White                Weep Themselves To Sleep            Sony Music Entertainment     SR0000699383
1780   Jake Owen                 Alone With You                      Sony Music Entertainment     SR0000697851
1781   Jake Owen                 Anywhere With You                   Sony Music Entertainment     SR0000697851
1782   Jake Owen                 Apple Pie Moonshine                 Sony Music Entertainment     SR0000697851
1783   Jake Owen                 Barefoot Blue Jean Night            Sony Music Entertainment     SR0000697851
1784   Jake Owen                 Heaven                              Sony Music Entertainment     SR0000697851
1785   Jake Owen                 Keepin' It Country                  Sony Music Entertainment     SR0000697851
1786   Jake Owen                 Nobody Feelin' No Pain              Sony Music Entertainment     SR0000697851
1787   Jake Owen                 Settin' The World On Fire           Sony Music Entertainment     SR0000697851
1788   Jake Owen                 The Journey Of Your Life            Sony Music Entertainment     SR0000697851
1789   Jake Owen                 The One That Got Away               Sony Music Entertainment     SR0000697851
1790   Jake Owen                 Wide Awake                          Sony Music Entertainment     SR0000697851
                                 (I've Got To) Stop Thinkin' 'Bout
1791   James Taylor              That                                Sony Music Entertainment     SR0000135070
1792   James Taylor              Another Day                         Sony Music Entertainment     SR0000250547
1793   James Taylor              Bartender's Blues                   Sony Music Entertainment     SR0000000157
1794   James Taylor              Copperline                          Sony Music Entertainment     SR0000135070
1795   James Taylor              Enough To Be On Your Way            Sony Music Entertainment     SR0000250547
1796   James Taylor              Her Town Too                        Sony Music Entertainment     SR0000026497
1797   James Taylor              Little More Time with You           Sony Music Entertainment     SR0000250547
1798   James Taylor              Only A Dream In Rio                 Sony Music Entertainment     SR0000068536
1799   James Taylor              Secret O' Life                      Sony Music Entertainment     RE0000923126
1800   James Taylor              Shed a Little Light                 Sony Music Entertainment     SR0000135070
1801   James Taylor              Song For You Far Away               Sony Music Entertainment     SR0000068536
1802   James Taylor              Up On The Roof                      Sony Music Entertainment     SR0000009172
1803   James Taylor              Your Smiling Face                   Sony Music Entertainment     RE0000923126
1804   Jamie Foxx feat. Drake    Fall For Your Type (Explicit)       Sony Music Entertainment     SR0000671348
1805   Jamiroquai                Virtual Insanity                    Sony Music Entertainment     SR0000299909
1806   Jennifer Hudson           Angel                               Sony Music Entertainment     SR0000674220
1807   Jennifer Hudson           Believe                             Sony Music Entertainment     SR0000674220
1808   Jennifer Hudson           Don't Look Down                     Sony Music Entertainment     SR0000674220
1809   Jennifer Hudson           Everybody Needs Love                Sony Music Entertainment     SR0000674220
1810   Jennifer Hudson           Gone                                Sony Music Entertainment     SR0000674220
1811   Jennifer Hudson           I Got This                          Sony Music Entertainment     SR0000674220



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                  Artist                        Track                          Plaintiff             Registration_Number
1812   Jennifer Hudson           I Remember Me                     Sony Music Entertainment       SR0000674220
1813   Jennifer Hudson           No One Gonna Love You             Sony Music Entertainment       SR0000674220
1814   Jennifer Hudson           Still Here                        Sony Music Entertainment       SR0000674220
1815   Jennifer Hudson           The Star-Spangled Banner          Sony Music Entertainment       SR0000674220
1816   Jennifer Hudson           Where You At                      Sony Music Entertainment       SR0000674220
1817   Jennifer Hudson           Why Is It So Hard                 Sony Music Entertainment       SR0000674220
       Jennifer Hudson & Ne-Yo
1818   feat. Rick Ross           Think Like A Man                  Sony Music Entertainment       SR0000712017
1819   Jennifer Lopez            No Me Ames                        Sony Music Entertainment       SR0000267571
1820   Jerrod Niemann            Drink to That All Night           Sony Music Entertainment       SR0000738148
       John Denver with
1821   Placido Domingo           Perhaps Love                      Sony Music Entertainment       SR0000032536
1822   John Legend               Aim High                          Sony Music Entertainment       SR0000732352
1823   John Legend               All Of Me                         Sony Music Entertainment       SR0000732356
1824   John Legend               Asylum                            Sony Music Entertainment       SR0000732352
1825   John Legend               Caught Up                         Sony Music Entertainment       SR0000732352
1826   John Legend               Cross The Line                    Sony Music Entertainment       SR0000619653
1827   John Legend               Dreams                            Sony Music Entertainment       SR0000732352
1828   John Legend               Everybody Knows                   Sony Music Entertainment       SR0000619653
1829   John Legend               For The First Time                Sony Music Entertainment       SR0000732352
1830   John Legend               Good Morning                      Sony Music Entertainment       SR0000742202
1831   John Legend               Hold On Longer                    Sony Music Entertainment       SR0000732352
1832   John Legend               I Love, You Love                  Sony Music Entertainment       SR0000619653
1833   John Legend               If You're Out There               Sony Music Entertainment       SR0000619653
1834   John Legend               Love In The Future (Intro)        Sony Music Entertainment       SR0000732352
1835   John Legend               Made To Love                      Sony Music Entertainment       SR0000732354
1836   John Legend               Open Your Eyes                    Sony Music Entertainment       SR0000732352
1837   John Legend               Quickly                           Sony Music Entertainment       SR0000619653
1838   John Legend               Satisfaction                      Sony Music Entertainment       SR0000619653
1839   John Legend               Save The Night                    Sony Music Entertainment       SR0000732352
1840   John Legend               So Gone                           Sony Music Entertainment       SR0000732352
1841   John Legend               Take Me Away                      Sony Music Entertainment       SR0000619653
1842   John Legend               The Beginning...                  Sony Music Entertainment       SR0000732357
1843   John Legend               This Time                         Sony Music Entertainment       SR0000619653
1844   John Legend               Tomorrow                          Sony Music Entertainment       SR0000732352
1845   John Legend               Wanna Be Loved                    Sony Music Entertainment       SR0000732352
1846   John Legend               What If I Told You? (Interlude)   Sony Music Entertainment       SR0000732352
1847   John Legend               You & I (Nobody In The World)     Sony Music Entertainment       SR0000732352
       John Legend feat. Buju
1848   Banton                    Can't Be My Lover                 Sony Music Entertainment       SR0000619653
1849   John Legend feat. Estelle No Other Love                     Sony Music Entertainment       SR0000619653
       John Legend feat. Rick
1850   Ross                      Who Do We Think We Are            Sony Music Entertainment       SR0000732358
1851   John Legend feat. Seal    We Loved It                       Sony Music Entertainment       SR0000732352
       John Legend feat. Stacy
1852   Barthe                    Angel (Interlude)                 Sony Music Entertainment       SR0000732352
       John Legend featuring
1853   Kanye west                It's Over                         Sony Music Entertainment       SR0000619653
1854   John Mayer                3x5                               Sony Music Entertainment       SR0000305049
1855   John Mayer                83                                Sony Music Entertainment       SR0000305049
1856   John Mayer                Back to You                       Sony Music Entertainment       SR0000305049
1857   John Mayer                Belief                            Sony Music Entertainment       SR0000398715
1858   John Mayer                Bold As Love                      Sony Music Entertainment       SR0000398715



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               Artist                          Track                            Plaintiff           Registration_Number
1859   John Mayer               City Love                           Sony Music Entertainment     SR0000305049
1860   John Mayer               Crossroads                          Sony Music Entertainment     SR0000650569
1861   John Mayer               Daughters                           Sony Music Entertainment     SR0000405307
1862   John Mayer               Do You Know Me                      Sony Music Entertainment     SR0000650569
1863   John Mayer               Dreaming With A Broken Heart        Sony Music Entertainment     SR0000398715
1864   John Mayer               Edge Of Desire                      Sony Music Entertainment     SR0000650569
1865   John Mayer               Friends, Lovers Or Nothing          Sony Music Entertainment     SR0000650569
1866   John Mayer               Gravity                             Sony Music Entertainment     SR0000398715
1867   John Mayer               Great Indoors                       Sony Music Entertainment     SR0000305049
1868   John Mayer               Half Of My Heart                    Sony Music Entertainment     SR0000650569
1869   John Mayer               Heartbreak Warfare                  Sony Music Entertainment     SR0000650569
                                I Don't Trust Myself (With Loving
1870   John Mayer               You)                                Sony Music Entertainment     SR0000398715
1871   John Mayer               I'm Gonna Find Another You          Sony Music Entertainment     SR0000398715
1872   John Mayer               In Repair                           Sony Music Entertainment     SR0000398715
1873   John Mayer               Love Song For No One                Sony Music Entertainment     SR0000305049
1874   John Mayer               My Stupid Mouth                     Sony Music Entertainment     SR0000305049
1875   John Mayer               Neon                                Sony Music Entertainment     SR0000305049
1876   John Mayer               No Such Thing                       Sony Music Entertainment     SR0000305049
1877   John Mayer               Not Myself                          Sony Music Entertainment     SR0000305049
1878   John Mayer               Perfectly Lonely                    Sony Music Entertainment     SR0000650569

1879   John Mayer               Slow Dancing In A Burning Room Sony Music Entertainment          SR0000398715
1880   John Mayer               St. Patrick's Day              Sony Music Entertainment          SR0000305049
1881   John Mayer               Stop This Train                Sony Music Entertainment          SR0000398715
1882   John Mayer               The Heart Of Life              Sony Music Entertainment          SR0000398715
1883   John Mayer               Vultures                       Sony Music Entertainment          SR0000398715

1884   John Mayer               Waiting On The World To Change Sony Music Entertainment          SR0000718995
1885   John Mayer               War Of My Life                 Sony Music Entertainment          SR0000650569
1886   John Mayer               Who Says                       Sony Music Entertainment          SR0000650569
1887   John Mayer               Why Georgia                    Sony Music Entertainment          SR0000305049
1888   John Mayer               Your Body Is A Wonderland      Sony Music Entertainment          SR0000305049
                                Bugler's Dream and Olympic
1889   John Williams            Fanfare Medley                 Sony Music Entertainment          SR0000224437
1890   John Williams            Hook: Flight To Neverland      Sony Music Entertainment          SR0000233783
1891   John Williams            Summon The Heroes              Sony Music Entertainment          SR0000224437
                                The Imperial March from The
1892   John Williams            Empire Strikes Back            Sony Music Entertainment          SR0000233783
1893   John Williams            Theme From Jurassic Park       Sony Music Entertainment          SR0000233783
                                Close Encounters of the Third
       John Williams and the    Kind/When You Wish Upon a
1894   Boston Pops Orchestra    Star Medley                    Sony Music Entertainment          SR0000186141
                                Scherzo for Motorcycle and
       John Williams and the    Orchestra from Indiana Jones
1895   Boston Pops Orchestra    and the Last Crusade           Sony Music Entertainment          SR0000186141
       John Williams and the
1896   Boston Pops Orchestra    Theme from "Sugarland Express" Sony Music Entertainment          SR0000186141
       John Williams and the
       London Symphony
1897   Orchestra                Main Title (From "Star Wars")       Sony Music Entertainment     SR0000247474
1898   Johnny Cash              (Ghost) Riders in the Sky           Sony Music Entertainment     SR0000010496
1899   Johnny Cash              Cocaine Blues                       Sony Music Entertainment     SR0000011119



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               Artist                     Track                          Plaintiff              Registration_Number
1900   Johnny Cash          Highway Patrolman                Sony Music Entertainment        SR0000051140
1901   Johnny Cash          Highwayman                       Sony Music Entertainment        PA0000248233
1902   Johnny Cash          I Will Rock And Roll With You    Sony Music Entertainment        SR0000004945
1903   Johnny Cash          I'm Never Gonna Roam Again       Sony Music Entertainment        SR0000076399
1904   Johnny Cash          Old Shep                         Sony Music Entertainment        RE0000889373
1905   Johnny Cash          Sunday Morning Coming Down       Sony Music Entertainment        RE0000923063

1906   Johnny Cash          That Silver Haired Daddy Of Mine Sony Music Entertainment        SR0000034598
1907   Johnny Cash          The General Lee                  Sony Music Entertainment        SR0000035327
1908   Johnny Cash          There Ain't No Good Chain Gang Sony Music Entertainment          SR0000001597
1909   Johnny Cash          Who's Gene Autry?                Sony Music Entertainment        SR0000001597
1910   Johnny Cash          Without Love                     Sony Music Entertainment        SR0000022431
1911   Jordin Sparks        Freeze                           Sony Music Entertainment        SR0000667919
1912   Jordin Sparks        God Loves Ugly                   Sony Music Entertainment        SR0000667919
1913   Jordin Sparks        Just For The Record              Sony Music Entertainment        SR0000667919
1914   Jordin Sparks        Next To You                      Sony Music Entertainment        SR0000667919
1915   Jordin Sparks        No Air Duet                      Sony Music Entertainment        SR0000667919
1916   Jordin Sparks        Now You Tell Me                  Sony Music Entertainment        SR0000667919
1917   Jordin Sparks        One Step At A Time               Sony Music Entertainment        SR0000667919
1918   Jordin Sparks        Permanent Monday                 Sony Music Entertainment        SR0000667919
1919   Jordin Sparks        See My Side                      Sony Music Entertainment        SR0000667919
1920   Jordin Sparks        Shy Boy                          Sony Music Entertainment        SR0000667919
1921   Jordin Sparks        Tattoo                           Sony Music Entertainment        SR0000719130
1922   Jordin Sparks        This Is My Now                   Sony Music Entertainment        SR0000667919
1923   Jordin Sparks        Worth The Wait                   Sony Music Entertainment        SR0000667919
1924   Jordin Sparks        Young And In Love                Sony Music Entertainment        SR0000667919
1925   Josh Thompson        A Name In This Town              Sony Music Entertainment        SR0000652025
1926   Josh Thompson        Always Been Me                   Sony Music Entertainment        SR0000652025
1927   Josh Thompson        Back Around                      Sony Music Entertainment        SR0000652025
1928   Josh Thompson        Beer On The Table                Sony Music Entertainment        SR0000652025
1929   Josh Thompson        Blame It On Waylon               Sony Music Entertainment        SR0000652025
1930   Josh Thompson        I Won't Go Crazy                 Sony Music Entertainment        SR0000652025
1931   Josh Thompson        Sinner                           Sony Music Entertainment        SR0000652025
1932   Josh Thompson        Way Out Here                     Sony Music Entertainment        SR0000652025
                            Won't Be Lonely Long - On The
1933   Josh Thompson        Road                             Sony Music Entertainment        SR0000652025
1934   Josh Thompson        You Ain't Seen Country Yet       Sony Music Entertainment        SR0000652025
1935   Journey              Dead or Alive                    Sony Music Entertainment        SR0000030088
1936   Journey              Don't Stop Believin'             Sony Music Entertainment        SR0000030088
1937   Journey              Escape                           Sony Music Entertainment        SR0000030088
1938   Journey              Keep on Runnin'                  Sony Music Entertainment        SR0000030088
1939   Journey              Lay It Down                      Sony Music Entertainment        SR0000030088
1940   Journey              Mother, Father                   Sony Music Entertainment        SR0000030707
1941   Journey              Open Arms                        Sony Music Entertainment        SR0000030088
1942   Journey              Still They Ride (Audio)          Sony Music Entertainment        SR0000030088
1943   Journey              Stone In Love                    Sony Music Entertainment        SR0000030088
1944   Journey              Who's Crying Now                 Sony Music Entertainment        SR0000030707
                            Para Todas las Chicas (duet with
1945   Julio Iglesias       Willie Nelson)                   Sony Music Entertainment        SR0000058185
1946   Justin Timberlake    Blue Ocean Floor                 Sony Music Entertainment        SR0000717770
1947   Justin Timberlake    Body Count                       Sony Music Entertainment        SR0000717770
1948   Justin Timberlake    Don't Hold The Wall              Sony Music Entertainment        SR0000717770
1949   Justin Timberlake    Dress On                         Sony Music Entertainment        SR0000717770



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                 Artist                    Track                           Plaintiff            Registration_Number
1950   Justin Timberlake    Let The Groove Get In              Sony Music Entertainment      SR0000717770
1951   Justin Timberlake    Not A Bad Thing                    Sony Music Entertainment      SR0000743696
1952   Justin Timberlake    Pusher Love Girl                   Sony Music Entertainment      SR0000717770
1953   Justin Timberlake    SexyBack                           Sony Music Entertainment      SR0000719411
1954   Justin Timberlake    Spaceship Coupe                    Sony Music Entertainment      SR0000717770
1955   Justin Timberlake    Strawberry Bubblegum               Sony Music Entertainment      SR0000717770
1956   Justin Timberlake    Suit & Tie featuring JAY Z         Sony Music Entertainment      SR0000714855
1957   Justin Timberlake    Take Back The Night                Sony Music Entertainment      SR0000743698
1958   Justin Timberlake    That Girl                          Sony Music Entertainment      SR0000717770
1959   Justin Timberlake    TKO                                Sony Music Entertainment      SR0000743696
1960   Justin Timberlake    Tunnel Vision                      Sony Music Entertainment      SR0000717770
1961   Kansas               Closet Chronicles                  Sony Music Entertainment      RE0000927442
1962   Kansas               Dust in The Wind                   Sony Music Entertainment      RE0000927442
1963   Kansas               Hopelessly Human                   Sony Music Entertainment      RE0000927442
1964   Kansas               Lightning's Hand                   Sony Music Entertainment      RE0000927442
1965   Kansas               Nobody's Home                      Sony Music Entertainment      RE0000927442
1966   Kansas               Paradox                            Sony Music Entertainment      RE0000927442
1967   Kansas               Point Of Know Return               Sony Music Entertainment      RE0000927442
1968   Kansas               Portrait (He Knew)                 Sony Music Entertainment      RE0000927442
1969   Kansas               Sparks of the Tempest              Sony Music Entertainment      RE0000927442
1970   Kansas               The Spider                         Sony Music Entertainment      RE0000927442
1971   Karmin               Acapella                           Sony Music Entertainment      SR0000746675
1972   Karmin               Brokenhearted                      Sony Music Entertainment      SR0000719608
1973   Karmin               Crash Your Party                   Sony Music Entertainment      SR0000719621
1974   Kellie Pickler       100 Proof                          Sony Music Entertainment      SR0000697940
1975   Kellie Pickler       Little House On The Highway        Sony Music Entertainment      SR0000697940
1976   Kellie Pickler       Long As I Never See You Again      Sony Music Entertainment      SR0000697940
1977   Kellie Pickler       Mother's Day                       Sony Music Entertainment      SR0000697940
                            Rockaway (The Rockin' Chair
1978   Kellie Pickler       Song)                              Sony Music Entertainment      SR0000697940
1979   Kellie Pickler       Stop Cheatin' On Me                Sony Music Entertainment      SR0000697940
1980   Kellie Pickler       The Letter (To Daddy)              Sony Music Entertainment      SR0000697940
1981   Kellie Pickler       Tough                              Sony Music Entertainment      SR0000697940
1982   Kellie Pickler       Turn On The Radio And Dance        Sony Music Entertainment      SR0000697940
1983   Kellie Pickler       Unlock That Honky Tonk             Sony Music Entertainment      SR0000697940
1984   Kellie Pickler       Where's Tammy Wynette              Sony Music Entertainment      SR0000697940
1985   Kelly Clarkson       Alone                              Sony Music Entertainment      SR0000693113
1986   Kelly Clarkson       Breaking Your Own Heart            Sony Music Entertainment      SR0000693113
1987   Kelly Clarkson       Dark Side                          Sony Music Entertainment      SR0000693113
1988   Kelly Clarkson       Don't Be A Girl About It           Sony Music Entertainment      SR0000693113
1989   Kelly Clarkson       Einstein                           Sony Music Entertainment      SR0000693113
1990   Kelly Clarkson       Hello                              Sony Music Entertainment      SR0000693113
1991   Kelly Clarkson       Honestly                           Sony Music Entertainment      SR0000693113
1992   Kelly Clarkson       I Forgive You                      Sony Music Entertainment      SR0000693113
1993   Kelly Clarkson       Mr. Know It All                    Sony Music Entertainment      SR0000715680
1994   Kelly Clarkson       Standing In Front Of You           Sony Music Entertainment      SR0000693113
                            Stronger (What Doesn't Kill You)
1995   Kelly Clarkson       (Audio)                            Sony Music Entertainment      SR0000693113
1996   Kelly Clarkson       The Sun Will Rise                  Sony Music Entertainment      SR0000693113
1997   Kelly Clarkson       The War Is Over                    Sony Music Entertainment      SR0000693113
1998   Kelly Clarkson       Why Don't You Try                  Sony Music Entertainment      SR0000734929
1999   Kelly Clarkson       You Can't Win                      Sony Music Entertainment      SR0000693113
2000   Kelly Clarkson       You Love Me                        Sony Music Entertainment      SR0000693113



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               Artist                           Track                         Plaintiff             Registration_Number
2001   Kenny Chesney             Always Gonna Be You              Sony Music Entertainment       SR0000722762
2002   Kenny Chesney             American Kids                    Sony Music Entertainment       SR0000744302
2003   Kenny Chesney             El Cerrito Place                 Sony Music Entertainment       SR0000722762
                                 Happy On The Hey Now (A Song
2004   Kenny Chesney             For Kristi)                      Sony Music Entertainment       SR0000726972
2005   Kenny Chesney             I'm A Small Town                 Sony Music Entertainment       SR0000722762
2006   Kenny Chesney             It's That Time Of Day            Sony Music Entertainment       SR0000726972
2007   Kenny Chesney             Life On A Rock                   Sony Music Entertainment       SR0000726972
2008   Kenny Chesney             Lindy                            Sony Music Entertainment       SR0000726972
2009   Kenny Chesney             Makes Me Wonder                  Sony Music Entertainment       SR0000722762
2010   Kenny Chesney             Marley                           Sony Music Entertainment       SR0000726972
2011   Kenny Chesney             Must Be Something I Missed       Sony Music Entertainment       SR0000726972
2012   Kenny Chesney             Pirate Flag                      Sony Music Entertainment       SR0000726974
2013   Kenny Chesney             Sing 'Em Good My Friend          Sony Music Entertainment       SR0000722762
                                 Spread The Love (featuring The
2014   Kenny Chesney             Wailers with Elan)               Sony Music Entertainment       SR0000726972
2015   Kenny Chesney             Time Flies                       Sony Music Entertainment       SR0000722762
2016   Kenny Chesney             To Get To You (55th And 3rd)     Sony Music Entertainment       SR0000722762
2017   Kenny Chesney             Welcome To The Fishbowl          Sony Music Entertainment       SR0000722762
2018   Kenny Chesney             When I See This Bar              Sony Music Entertainment       SR0000726972
2019   Kenny Chesney             While He Still Knows Who I Am    Sony Music Entertainment       SR0000722762
                                 You And Tequila (With Grace
                                 Potter) (Live At Red Rocks
2020   Kenny Chesney             Amphitheatre)                    Sony Music Entertainment       SR0000722762
       Kenny Chesney with        Coconut Tree (with Willie
2021   Willie Nelson             Nelson)                          Sony Music Entertainment       SR0000726972
2022   Kenny G                   Forever In Love                  Sony Music Entertainment       SR0000709272
2023   Kenny G                   Morning                          Sony Music Entertainment       SR0000709272
2024   Kenny G                   Sentimental                      Sony Music Entertainment       SR0000709272
2025   Kenny G                   Sister Rose                      Sony Music Entertainment       SR0000709272
2026   Kenny G                   The Wedding Song                 Sony Music Entertainment       SR0000709272
2027   Kid Ink                   Hello World                      Sony Music Entertainment       SR0000742556
2028   Kid Ink                   Money and the Power (Explicit)   Sony Music Entertainment       SR0000761343
2029   Kid Ink                   More Than A King                 Sony Music Entertainment       SR0000742556
2030   Kid Ink                   My System (Explicit)             Sony Music Entertainment       SR0000742556
2031   Kid Ink                   Rollin'                          Sony Music Entertainment       SR0000742556
2032   Kid Ink                   Show Me                          Sony Music Entertainment       SR0000742549
2033   Kid Ink                   Star Player (Explicit)           Sony Music Entertainment       SR0000742556
2034   Kid Ink                   Tattoo Of My Name                Sony Music Entertainment       SR0000742556
2035   Kid Ink                   The Movement                     Sony Music Entertainment       SR0000742556
       Kid Ink feat. A$AP Ferg &
2036   French Montana            Bossin' Up (Explicit)            Sony Music Entertainment       SR0000761343
       Kid Ink feat. August
2037   Alsina                    We Just Came to Party            Sony Music Entertainment       SR0000742556

2038   Kid Ink feat. Chris Brown Main Chick                       Sony Music Entertainment       SR0000742556
       Kid Ink feat. Elle Varner
2039   & MGK                     No Miracles                      Sony Music Entertainment       SR0000742552
2040   Kid Ink feat. King Los    No Option                        Sony Music Entertainment       SR0000742553
2041   Kid Ink feat. Maejor Ali  I Don't Care                     Sony Music Entertainment       SR0000742556
2042   Kid Ink feat. Pusha T     Murda                            Sony Music Entertainment       SR0000742556
2043   Kid Ink feat. Tyga        Iz U Down                        Sony Music Entertainment       SR0000742550
2044   Kings Of Leon             17                               Sony Music Entertainment       SR0000617761



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                 Artist                       Track                            Plaintiff              Registration_Number
2045   Kings Of Leon           Be Somebody                         Sony Music Entertainment        SR0000617761
2046   Kings Of Leon           Closer                              Sony Music Entertainment        SR0000617761
2047   Kings Of Leon           Cold Desert                         Sony Music Entertainment        SR0000617761
2048   Kings Of Leon           Crawl                               Sony Music Entertainment        SR0000723763
2049   Kings Of Leon           Manhattan                           Sony Music Entertainment        SR0000617761
2050   Kings Of Leon           Notion                              Sony Music Entertainment        SR0000617761
2051   Kings Of Leon           Revelry                             Sony Music Entertainment        SR0000617761
2052   Kings Of Leon           Sex On Fire                         Sony Music Entertainment        SR0000617761
2053   Kings Of Leon           Wait for Me                         Sony Music Entertainment        SR0000734389
2054   Korn                    Children Of The Korn                Sony Music Entertainment        SR0000263749
2055   Korn                    Earache My Eye                      Sony Music Entertainment        SR0000263749
2056   L-Burna aka Layzie Bone Carole Of The Bones (Explicit)      Sony Music Entertainment        SR0000291785
                               Still The Greatest featuring Flesh-
2057   L-Burna aka Layzie Bone n-Bone & Big Chan (Explicit)        Sony Music Entertainment        SR0000291785
2058   Lacuna Coil             1.19                                Sony Music Entertainment        SR0000306486
2059   Lacuna Coil             A Current Obsession                 Sony Music Entertainment        SR0000306486
2060   Lacuna Coil             Against You                         Sony Music Entertainment        SR0000700777
2061   Lacuna Coil             Closer                              Sony Music Entertainment        SR0000395212
2062   Lacuna Coil             Cold Heritage                       Sony Music Entertainment        SR0000306486
2063   Lacuna Coil             Devoted                             Sony Music Entertainment        SR0000395212
2064   Lacuna Coil             Distant Sun                         Sony Music Entertainment        SR0000306486
2065   Lacuna Coil             End of Time                         Sony Music Entertainment        SR0000700777
                               Enjoy The Silence (Depeche
2066   Lacuna Coil             Mode)                               Sony Music Entertainment        SR0000395212
2067   Lacuna Coil             Fire                                Sony Music Entertainment        SR0000700777
2068   Lacuna Coil             Fragile                             Sony Music Entertainment        SR0000395212
2069   Lacuna Coil             Fragments Of Faith                  Sony Music Entertainment        SR0000395212
2070   Lacuna Coil             Give Me Something More              Sony Music Entertainment        SR0000700777
2071   Lacuna Coil             Heir Of A Dying Day                 Sony Music Entertainment        SR0000306486
2072   Lacuna Coil             I Don't Believe in Tomorrow         Sony Music Entertainment        SR0000700777
2073   Lacuna Coil             I Won't Tell You                    Sony Music Entertainment        SR0000633888
2074   Lacuna Coil             I'm Not Afraid                      Sony Music Entertainment        SR0000633888
2075   Lacuna Coil             In Visible Light                    Sony Music Entertainment        SR0000395212
2076   Lacuna Coil             Intoxicated                         Sony Music Entertainment        SR0000700777
2077   Lacuna Coil             Kill the Light                      Sony Music Entertainment        SR0000700777
2078   Lacuna Coil             Losing My Religion                  Sony Music Entertainment        SR0000700777
2079   Lacuna Coil             My Spirit                           Sony Music Entertainment        SR0000700777
2080   Lacuna Coil             My Wings                            Sony Music Entertainment        SR0000342318
2081   Lacuna Coil             No Need to Explain                  Sony Music Entertainment        SR0000317669
2082   Lacuna Coil             Not Enough                          Sony Music Entertainment        SR0000633888
2083   Lacuna Coil             Oblivion                            Sony Music Entertainment        SR0000633888
2084   Lacuna Coil             Our Truth                           Sony Music Entertainment        SR0000395212
2085   Lacuna Coil             Purify                              Sony Music Entertainment        SR0000306486
2086   Lacuna Coil             Shallow Life                        Sony Music Entertainment        SR0000633888
2087   Lacuna Coil             Spellbound                          Sony Music Entertainment        SR0000633888
2088   Lacuna Coil             Survive                             Sony Music Entertainment        SR0000633888
2089   Lacuna Coil             The Army Inside                     Sony Music Entertainment        SR0000700777
2090   Lacuna Coil             The Game                            Sony Music Entertainment        SR0000395212
2091   Lacuna Coil             The Maze                            Sony Music Entertainment        SR0000633888
2092   Lacuna Coil             The Pain                            Sony Music Entertainment        SR0000633888
2093   Lacuna Coil             To Live Is To Hide                  Sony Music Entertainment        SR0000306486
2094   Lacuna Coil             To The Edge                         Sony Music Entertainment        SR0000395212
2095   Lacuna Coil             Trip the Darkness                   Sony Music Entertainment        SR0000700777



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                Artist                      Track                           Plaintiff              Registration_Number
2096   Lacuna Coil             Unchained                        Sony Music Entertainment        SR0000633888
2097   Lacuna Coil             Underdog                         Sony Music Entertainment        SR0000633888
2098   Lacuna Coil             Upsidedown                       Sony Music Entertainment        SR0000700777
2099   Lacuna Coil             Wave Of Anguish                  Sony Music Entertainment        SR0000306486
2100   Lacuna Coil             What I See                       Sony Music Entertainment        SR0000395212
2101   Lacuna Coil             When A Dead Man Walks            Sony Music Entertainment        SR0000306486
2102   Lacuna Coil             Wide Awake                       Sony Music Entertainment        SR0000633888
2103   Lacuna Coil             Within Me                        Sony Music Entertainment        SR0000395212
2104   Lacuna Coil             Without Fear                     Sony Music Entertainment        SR0000395212
2105   Lacuna Coil             You Create                       Sony Music Entertainment        SR0000395212

       London Symphony
2106   Orchestra;John Williams Theme (From "Jaws")              Sony Music Entertainment        SR0000247474
2107   Los Lonely Boys         Crazy Dream                      Sony Music Entertainment        SR0000352465
2108   Los Lonely Boys         Dime Mi Amor                     Sony Music Entertainment        SR0000352465
2109   Los Lonely Boys         Heaven                           Sony Music Entertainment        SR0000352465
2110   Los Lonely Boys         Hollywood                        Sony Music Entertainment        SR0000352465
2111   Los Lonely Boys         La Contestacion                  Sony Music Entertainment        SR0000352465
2112   Los Lonely Boys         More Than Love                   Sony Music Entertainment        SR0000352465
2113   Los Lonely Boys         Nobody Else                      Sony Music Entertainment        SR0000352465
2114   Los Lonely Boys         Onda                             Sony Music Entertainment        SR0000352465
2115   Los Lonely Boys         Real Emotions                    Sony Music Entertainment        SR0000352465
2116   Los Lonely Boys         Senorita                         Sony Music Entertainment        SR0000352465
2117   Los Lonely Boys         Tell Me Why                      Sony Music Entertainment        SR0000352465
2118   Los Lonely Boys         Velvet Sky                       Sony Music Entertainment        SR0000352465
2119   Love and Theft          Angel Eyes                       Sony Music Entertainment        PA0001922065
2120   Luther Vandross         A House Is Not A Home            Sony Music Entertainment        SR0000030527
2121   Luther Vandross         Ain't No Stoppin' Us Now         Sony Music Entertainment        SR0000317135
2122   Luther Vandross         Always And Forever               Sony Music Entertainment        SR0000317135
                               Any Love - Wembley Stadium
2123   Luther Vandross         1989                             Sony Music Entertainment        PA0000434017
2124   Luther Vandross         Emotional Love                   Sony Music Entertainment        SR0000185186
2125   Luther Vandross         Give Me the Reason               Sony Music Entertainment        SR0000071632
2126   Luther Vandross         Heaven Knows                     Sony Music Entertainment        SR0000171321
2127   Luther Vandross         Killing Me Softly                Sony Music Entertainment        SR0000317135
2128   Luther Vandross         Lady, Lady                       Sony Music Entertainment        SR0000171321
2129   Luther Vandross         Love Is On The Way (Real Love)   Sony Music Entertainment        SR0000171321
2130   Luther Vandross         Never Too Much                   Sony Music Entertainment        SR0000030497
2131   Luther Vandross         So Amazing                       Sony Music Entertainment        SR0000079450
                               Superstar/Until You Come Back
                               To Me (That's What I'm Gonna
2132   Luther Vandross         Do)                              Sony Music Entertainment        SR0000054317
2133   Luther Vandross         The Night I Fell in Love         Sony Music Entertainment        SR0000064351
2134   Luther Vandross         What The World Needs Now         Sony Music Entertainment        SR0000317135
2135   Macy Gray               A Moment To Myself               Sony Music Entertainment        SR0000267460
2136   Macy Gray               Blowin' Up Your Speakers         Sony Music Entertainment        SR0000302804
2137   Macy Gray               Boo                              Sony Music Entertainment        SR0000302804
2138   Macy Gray               Caligula                         Sony Music Entertainment        SR0000267460
2139   Macy Gray               Come Together                    Sony Music Entertainment        SR0000336638
2140   Macy Gray               Do Something                     Sony Music Entertainment        SR0000267460
2141   Macy Gray               Every Now And Then               Sony Music Entertainment        SR0000336638
2142   Macy Gray               Forgiveness                      Sony Music Entertainment        SR0000302804
2143   Macy Gray               Freak Like Me                    Sony Music Entertainment        SR0000302804



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                Artist                         Track                         Plaintiff             Registration_Number
                                Gimme All Your Lovin' or I Will
2144   Macy Gray                Kill You                          Sony Music Entertainment       SR0000302804
2145   Macy Gray                Happiness                         Sony Music Entertainment       SR0000336638
2146   Macy Gray                Harry                             Sony Music Entertainment       SR0000302804
                                Hey Young World, Pt. 2
2147   Macy Gray                (featuring Slick Rick)            Sony Music Entertainment       SR0000302804
2148   Macy Gray                I Can't Wait To Meetchu           Sony Music Entertainment       SR0000267460
2149   Macy Gray                I Try                             Sony Music Entertainment       SR0000267460
2150   Macy Gray                I've Committed Murder             Sony Music Entertainment       SR0000267460
2151   Macy Gray                Jesus For A Day                   Sony Music Entertainment       SR0000336638

2152   Macy Gray                My Fondest Childhood Memories Sony Music Entertainment           SR0000336638
2153   Macy Gray                Oblivion                      Sony Music Entertainment           SR0000302804
2154   Macy Gray                Relating To A Psychopath      Sony Music Entertainment           SR0000302804
2155   Macy Gray                Screamin'                     Sony Music Entertainment           SR0000336638
2156   Macy Gray                Sex-o-matic Venus Freak       Sony Music Entertainment           SR0000267460
2157   Macy Gray                Sexual Revolution             Sony Music Entertainment           SR0000302804

2158   Macy Gray                She Don't Write Songs About You Sony Music Entertainment         SR0000336638
2159   Macy Gray                Speechless                      Sony Music Entertainment         SR0000336638
2160   Macy Gray                Still                           Sony Music Entertainment         SR0000267460
                                Sweet Baby (featuring Erykah
2161   Macy Gray                Badu)                           Sony Music Entertainment         PA0001074698
2162   Macy Gray                The Letter                      Sony Music Entertainment         SR0000267460
2163   Macy Gray                Things That Made Me Change      Sony Music Entertainment         SR0000336638
2164   Macy Gray                When I See You                  Sony Music Entertainment         PA0001207765
2165   Macy Gray                Why Didn't You Call Me          Sony Music Entertainment         SR0000267460
                                Don't Come Around (featuring
2166   Macy Gray                Sunshine Anderson)              Sony Music Entertainment         SR0000302804
                                My Nutmeg Phantasy (featuring
2167   Macy Gray                Angie Stone & Mos Def)          Sony Music Entertainment         SR0000302804
2168   Manchester Orchestra     Apprehension                    Sony Music Entertainment         SR0000680374
2169   Manchester Orchestra     April Fool                      Sony Music Entertainment         SR0000680374
2170   Manchester Orchestra     Deer                            Sony Music Entertainment         SR0000680374
2171   Manchester Orchestra     Leaky Breaks                    Sony Music Entertainment         SR0000680374
2172   Manchester Orchestra     Leave It Alone                  Sony Music Entertainment         SR0000680374
2173   Manchester Orchestra     Mighty                          Sony Music Entertainment         SR0000680374
2174   Manchester Orchestra     Pale Black Eye                  Sony Music Entertainment         SR0000680374
2175   Manchester Orchestra     Pensacola                       Sony Music Entertainment         SR0000680374
2176   Manchester Orchestra     Simple Math                     Sony Music Entertainment         SR0000680374
2177   Manchester Orchestra     Virgin                          Sony Music Entertainment         SR0000680374
       Marc Anthony & Jennifer
2178   Lopez                   Escapémonos                        Sony Music Entertainment       SR0000355308
2179   Mariah Carey            All I Want For Christmas Is You    Sony Music Entertainment       SR0000207178
2180   Mariah Carey            Breakdown                          Sony Music Entertainment       SR0000244014
2181   Marvin Gaye             Sexual Healing                     Sony Music Entertainment       SR0000038850
2182   Marvin Sapp             Comfort Zone                       Sony Music Entertainment       PA0001749838
2183   Marvin Sapp             Don't Count Me Out                 Sony Music Entertainment       PA0001749838
2184   Marvin Sapp             Fresh Wind                         Sony Music Entertainment       PA0001749838
2185   Marvin Sapp             He Has His Hands On You            Sony Music Entertainment       PA0001749838
2186   Marvin Sapp             Here I Am                          Sony Music Entertainment       PA0001749838
2187   Marvin Sapp             I Came                             Sony Music Entertainment       PA0001749838
2188   Marvin Sapp             I Came (Intro)                     Sony Music Entertainment       PA0001749838



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                 Artist                      Track                           Plaintiff             Registration_Number
2189   Marvin Sapp             Keep Holding On                   Sony Music Entertainment       PA0001749838
2190   Marvin Sapp             More Than A Conqueror             Sony Music Entertainment       PA0001749838
2191   Marvin Sapp             Praise You Forever                Sony Music Entertainment       PA0001749838
2192   Marvin Sapp             The Best In Me                    Sony Music Entertainment       PA0001749838
2193   Marvin Sapp             Wait                              Sony Music Entertainment       PA0001749838
2194   Mary Mary               Can't Give Up Now                 Sony Music Entertainment       SR0000711038
2195   Mary Mary               Dirt                              Sony Music Entertainment       SR0000711038
2196   Mary Mary               Go Get It                         Sony Music Entertainment       SR0000711038
2197   Mary Mary               God Bless                         Sony Music Entertainment       SR0000711038
2198   Mary Mary               He Said                           Sony Music Entertainment       SR0000317087
2199   Mary Mary               I'm Running                       Sony Music Entertainment       SR0000711038
2200   Mary Mary               Little Girl                       Sony Music Entertainment       SR0000317087
2201   Mary Mary               Sunday Morning                    Sony Music Entertainment       SR0000711038
       Mary Mary feat. Kirk
2202   Franklin                And I                             Sony Music Entertainment       SR0000378079
       Mary Mary featuring
2203   Destiny's Child         Good To Me                        Sony Music Entertainment       SR0000269994
2204   Maxwell                 Bad Habits                        Sony Music Entertainment       SR0000639738
2205   Maxwell                 Cold                              Sony Music Entertainment       SR0000639738
2206   Maxwell                 Fistful Of Tears                  Sony Music Entertainment       SR0000639738
2207   Maxwell                 Help Somebody                     Sony Music Entertainment       SR0000639738
2208   Maxwell                 Love You                          Sony Music Entertainment       SR0000639738
2209   Maxwell                 Phoenix Rise                      Sony Music Entertainment       SR0000639738
2210   Maxwell                 Playing Possum                    Sony Music Entertainment       SR0000639738
2211   Maxwell                 Pretty Wings                      Sony Music Entertainment       SR0000639738
2212   Maxwell                 Stop The World                    Sony Music Entertainment       SR0000639738
2213   Meat Loaf               Bat Out Of Hell                   Sony Music Entertainment       RE0000925597
2214   Meat Loaf               For Crying Out Loud               Sony Music Entertainment       N46962
2215   Meat Loaf               Great Boleros of Fire             Sony Music Entertainment       SR0000293673
2216   Meat Loaf               Heaven Can Wait                   Sony Music Entertainment       RE0000925597
2217   Meat Loaf               Midnight at the Lost and Found    Sony Music Entertainment       SR0000046157
2218   Meat Loaf               Nocturnal Pleasure                Sony Music Entertainment       SR0000030226
2219   Meat Loaf               Paradise By The Dashboard Light   Sony Music Entertainment       RE0000925597
2220   Meat Loaf               Two out of Three Ain't Bad        Sony Music Entertainment       RE0000925597
2221   Meat Loaf with Cher     Dead Ringer for Love              Sony Music Entertainment       SR0000030226
2222   MGMT                    4th Dimensional Transition        Sony Music Entertainment       SR0000670166
2223   MGMT                    Electric Feel                     Sony Music Entertainment       SR0000670166
2224   MGMT                    Future Reflections                Sony Music Entertainment       SR0000670166
2225   MGMT                    Kids                              Sony Music Entertainment       SR0000670166
2226   MGMT                    Of Moons, Birds & Monsters        Sony Music Entertainment       SR0000670166
2227   MGMT                    Pieces of What                    Sony Music Entertainment       SR0000670166
2228   MGMT                    The Handshake                     Sony Music Entertainment       SR0000670166
2229   MGMT                    The Youth                         Sony Music Entertainment       SR0000670166
2230   MGMT                    Time To Pretend                   Sony Music Entertainment       SR0000697485
2231   MGMT                    Weekend Wars                      Sony Music Entertainment       SR0000670166
2232   Miami Sound Machine     Bad Boy                           Sony Music Entertainment       SR0000067181
2233   Miami Sound Machine     Dr. Beat                          Sony Music Entertainment       SR0000053796
2234   Michael Jackson         Baby Be Mine                      Sony Music Entertainment       SR0000041965
2235   Michael Jackson         Burn This Disco Out               Sony Music Entertainment       SR0000011120
2236   Michael Jackson         Don't Stop 'Til You Get Enough    Sony Music Entertainment       SR0000011105
2237   Michael Jackson         Get On The Floor                  Sony Music Entertainment       SR0000011120
2238   Michael Jackson         Girlfriend                        Sony Music Entertainment       SR0000011120
2239   Michael Jackson         Human Nature                      Sony Music Entertainment       SR0000041965



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                Artist                              Track                         Plaintiff             Registration_Number
2240   Michael Jackson              I Can't Help It                   Sony Music Entertainment       SR0000011105
2241   Michael Jackson              It's The Falling In Love          Sony Music Entertainment       SR0000011120
2242   Michael Jackson              Off The Wall (Single Version)     Sony Music Entertainment       SR0000011120
                                    Off The Wall: Workin' Day And
2243   Michael Jackson              Night                             Sony Music Entertainment       SR0000011120
2244   Michael Jackson              P.Y.T. (Pretty Young Thing)       Sony Music Entertainment       SR0000041965
2245   Michael Jackson              The Lady In My Life               Sony Music Entertainment       SR0000041965
2246   Miguel                       Adorn                             Sony Music Entertainment       SR0000709268
2247   Miguel                       All I Want Is You                 Sony Music Entertainment       SR0000673073
2248   Miguel                       Girl With The Tattoo Enter.lewd   Sony Music Entertainment       SR0000673073
2249   Miguel                       Girls Like You                    Sony Music Entertainment       SR0000673073
2250   Miguel                       Hard Way                          Sony Music Entertainment       SR0000673073
2251   Miguel                       Hero                              Sony Music Entertainment       SR0000673073
2252   Miguel                       My Piece                          Sony Music Entertainment       SR0000673073
2253   Miguel                       Pay Me                            Sony Music Entertainment       SR0000673073
2254   Miguel                       Quickie                           Sony Music Entertainment       SR0000673073
2255   Miguel                       Sure Thing                        Sony Music Entertainment       SR0000673073
2256   Miguel                       Teach Me                          Sony Music Entertainment       SR0000673073
2257   Miguel                       To The Moon                       Sony Music Entertainment       SR0000673073
2258   Miguel                       Vixen                             Sony Music Entertainment       SR0000673073
2259   Mike Posner                  Bow Chicka Wow Wow                Sony Music Entertainment       PA0001762099
2260   Miley Cyrus                  #GETITRIGHT                       Sony Music Entertainment       SR0000735242
2261   Miley Cyrus                  Adore You                         Sony Music Entertainment       SR0000735242
2262   Miley Cyrus                  Do My Thang                       Sony Music Entertainment       SR0000735242
2263   Miley Cyrus                  Drive                             Sony Music Entertainment       SR0000735242
2264   Miley Cyrus                  Maybe You're Right                Sony Music Entertainment       SR0000735242
2265   Miley Cyrus                  On My Own                         Sony Music Entertainment       SR0000735242
2266   Miley Cyrus                  Rooting for My Baby               Sony Music Entertainment       SR0000735242
2267   Miley Cyrus                  Someone Else                      Sony Music Entertainment       SR0000735242
2268   Miley Cyrus                  We Can't Stop                     Sony Music Entertainment       SR0000726503
       Miley Cyrus feat. Big
2269   Sean                         Love Money Party                  Sony Music Entertainment       SR0000735242
       Miley Cyrus feat. Britney
2270   Spears                       SMS (Bangerz)                     Sony Music Entertainment       SR0000735242
       Miley Cyrus feat. French
2271   Montana                      FU                                Sony Music Entertainment       SR0000735242
2272   Miley Cyrus feat. Future     My Darlin'                        Sony Music Entertainment       SR0000735242
       Miley Cyrus feat.
2273   Ludacris                     Hands in the Air                  Sony Music Entertainment       SR0000735242
2274   Miley Cyrus feat. Nelly      4x4                               Sony Music Entertainment       SR0000735242
2275   Miranda Lambert              Airstream Song                    Sony Music Entertainment       SR0000641403
2276   Miranda Lambert              All Kinds of Kinds                Sony Music Entertainment       PA0001805349
2277   Miranda Lambert              Baggage Claim                     Sony Music Entertainment       PA0001805349
2278   Miranda Lambert              Better In The Long Run            Sony Music Entertainment       PA0001805349
2279   Miranda Lambert              Bring Me Down                     Sony Music Entertainment       SR0000367710
2280   Miranda Lambert              Crazy Ex-Girlfriend               Sony Music Entertainment       SR0000746292
2281   Miranda Lambert              Dead Flowers                      Sony Music Entertainment       SR0000641403
2282   Miranda Lambert              Dear Diamond                      Sony Music Entertainment       PA0001805349
2283   Miranda Lambert              Desperation                       Sony Music Entertainment       SR0000609529
2284   Miranda Lambert              Down                              Sony Music Entertainment       SR0000609529
2285   Miranda Lambert              Dry Town                          Sony Music Entertainment       SR0000609529
2286   Miranda Lambert              Easy From Now On                  Sony Music Entertainment       SR0000609529
2287   Miranda Lambert              Easy Living                       Sony Music Entertainment       PA0001805349



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                Artist                    Track                           Plaintiff           Registration_Number
2288   Miranda Lambert    Famous In A Small Town              Sony Music Entertainment     SR0000609529
2289   Miranda Lambert    Fastest Girl In Town                Sony Music Entertainment     PA0001805349
2290   Miranda Lambert    Fine Tune                           Sony Music Entertainment     PA0001805349
2291   Miranda Lambert    Getting Ready                       Sony Music Entertainment     SR0000609529
2292   Miranda Lambert    Greyhound Bound For Nowhere         Sony Music Entertainment     SR0000367710
2293   Miranda Lambert    Guilty In Here                      Sony Music Entertainment     SR0000609529
2294   Miranda Lambert    Gunpowder & Lead                    Sony Music Entertainment     SR0000609529
2295   Miranda Lambert    Heart Like Mine                     Sony Music Entertainment     SR0000641403
2296   Miranda Lambert    Hurts To Think                      Sony Music Entertainment     PA0001805349
2297   Miranda Lambert    I Can't Be Bothered                 Sony Music Entertainment     SR0000367710
2298   Miranda Lambert    I Wanna Die                         Sony Music Entertainment     SR0000367710
2299   Miranda Lambert    Kerosene                            Sony Music Entertainment     SR0000367710
2300   Miranda Lambert    Look At Miss Ohio                   Sony Music Entertainment     PA0001805349
2301   Miranda Lambert    Love Is Looking For You             Sony Music Entertainment     SR0000367710
2302   Miranda Lambert    Love Letters                        Sony Music Entertainment     SR0000609529
2303   Miranda Lambert    Love Song                           Sony Music Entertainment     SR0000641403
2304   Miranda Lambert    Love Your Memory                    Sony Music Entertainment     SR0000367710
2305   Miranda Lambert    Maintain the Pain                   Sony Music Entertainment     SR0000641403
2306   Miranda Lambert    Makin' Plans                        Sony Music Entertainment     SR0000641403
2307   Miranda Lambert    Mama, I'm Alright                   Sony Music Entertainment     SR0000367710
2308   Miranda Lambert    Mama's Broken Heart                 Sony Music Entertainment     PA0001805349
2309   Miranda Lambert    Me And Charlie Talking              Sony Music Entertainment     SR0000746293
2310   Miranda Lambert    Me and Your Cigarettes              Sony Music Entertainment     SR0000641403
2311   Miranda Lambert    More Like Her                       Sony Music Entertainment     SR0000609529
2312   Miranda Lambert    New Strings                         Sony Music Entertainment     SR0000367710
2313   Miranda Lambert    Nobody's Fool                       Sony Music Entertainment     PA0001805349
2314   Miranda Lambert    Oklahoma Sky                        Sony Music Entertainment     PA0001805349
2315   Miranda Lambert    Only Prettier                       Sony Music Entertainment     SR0000641403
2316   Miranda Lambert    Over You                            Sony Music Entertainment     PA0001805349
2317   Miranda Lambert    Safe                                Sony Music Entertainment     PA0001805349
2318   Miranda Lambert    Same Old You                        Sony Music Entertainment     PA0001805349
2319   Miranda Lambert    Sin For A Sin                       Sony Music Entertainment     SR0000641403
2320   Miranda Lambert    Somewhere Trouble Don't Go          Sony Music Entertainment     SR0000641403
                          That's the Way That the World
2321   Miranda Lambert    Goes 'Round                         Sony Music Entertainment     SR0000641403
2322   Miranda Lambert    There's A Wall                      Sony Music Entertainment     SR0000367710
2323   Miranda Lambert    Time To Get A Gun                   Sony Music Entertainment     SR0000641403
2324   Miranda Lambert    Virginia Bluebell                   Sony Music Entertainment     SR0000641403
2325   Miranda Lambert    What About Georgia?                 Sony Music Entertainment     SR0000367710
2326   Miranda Lambert    White Liar                          Sony Music Entertainment     SR0000641403
2327   Modest Mouse       Education                           Sony Music Entertainment     SR0000407040
2328   Modest Mouse       Fire It Up                          Sony Music Entertainment     SR0000407040
2329   Modest Mouse       Florida                             Sony Music Entertainment     SR0000407040
2330   Modest Mouse       Fly Trapped In A Jar                Sony Music Entertainment     SR0000407040
2331   Modest Mouse       Invisible                           Sony Music Entertainment     SR0000407040
2332   Modest Mouse       Little Motel                        Sony Music Entertainment     SR0000407040
2333   Modest Mouse       March Into The Sea                  Sony Music Entertainment     SR0000407040
2334   Modest Mouse       Missed The Boat                     Sony Music Entertainment     SR0000407040
2335   Modest Mouse       Parting of the Sensory (Explicit)   Sony Music Entertainment     SR0000407040
2336   Modest Mouse       People As Places As People          Sony Music Entertainment     SR0000407040
2337   Modest Mouse       Spitting Venom                      Sony Music Entertainment     SR0000407040
2338   Modest Mouse       Steam Engenius                      Sony Music Entertainment     SR0000407040
2339   Modest Mouse       We've Got Everything                Sony Music Entertainment     SR0000407040



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               Artist                         Track                             Plaintiff          Registration_Number
       Monica Featuring Rick
2340   Ross                     Anything (To Find You)               Sony Music Entertainment    SR0000700530
2341   Montgomery Gentry        Daddy Won't Sell the Farm            Sony Music Entertainment    SR0000266467
2342   Montgomery Gentry        Didn't I                             Sony Music Entertainment    PA0001079468
2343   Montgomery Gentry        Gone                                 Sony Music Entertainment    SR0000355896
2344   Montgomery Gentry        Hell Yeah                            Sony Music Entertainment    SR0000314295
2345   Montgomery Gentry        Lonely And Gone                      Sony Music Entertainment    SR0000266467
2346   Montgomery Gentry        My Town                              Sony Music Entertainment    SR0000314295
2347   Montgomery Gentry        She Don't Tell Me To                 Sony Music Entertainment    SR0000386446
2348   Montgomery Gentry        Something To Be Proud Of             Sony Music Entertainment    SR0000355896
2349   Montgomery Gentry        Speed                                Sony Music Entertainment    SR0000314295
2350   Mudvayne                 (Per)Version of a truth (Explicit)   Sony Music Entertainment    SR0000346266
2351   Mudvayne                 A Key to Nothing                     Sony Music Entertainment    SR0000346266
2352   Mudvayne                 Mercy, Severity                      Sony Music Entertainment    SR0000346266
2353   Mudvayne                 Severed                              Sony Music Entertainment    SR0000269973
2354   Mudvayne                 Shadow of a Man                      Sony Music Entertainment    SR0000346266
2355   Mudvayne                 Silenced                             Sony Music Entertainment    SR0000346266
2356   Mudvayne                 Skrying                              Sony Music Entertainment    SR0000346266
2357   Mudvayne                 Solve Et Coagula                     Sony Music Entertainment    SR0000346266
                                The End of All Things to Come
2358   Mudvayne                 (Explicit)                           Sony Music Entertainment    SR0000346266
2359   Mudvayne                 The Patient Mental                   Sony Music Entertainment    SR0000346266
2360   Mudvayne                 Trapped In The Wake Of A Dream       Sony Music Entertainment    SR0000346266
2361   Mudvayne                 World So Cold                        Sony Music Entertainment    SR0000346266
2362   Oh Land                  Break The Chain                      Sony Music Entertainment    SR0000674211
2363   Oh Land                  Helicopter                           Sony Music Entertainment    SR0000674211
2364   Oh Land                  Human                                Sony Music Entertainment    SR0000674211
2365   Oh Land                  Lean                                 Sony Music Entertainment    SR0000674211
2366   Oh Land                  Perfection                           Sony Music Entertainment    SR0000674211
2367   Oh Land                  Rainbow                              Sony Music Entertainment    SR0000674211
2368   Oh Land                  Sun Of A Gun                         Sony Music Entertainment    SR0000674211
2369   Oh Land                  Voodoo                               Sony Music Entertainment    SR0000674211
2370   Oh Land                  We Turn It Up                        Sony Music Entertainment    SR0000674211
2371   Oh Land                  White Nights                         Sony Music Entertainment    SR0000674211
2372   Oh Land                  Wolf & I                             Sony Music Entertainment    SR0000674211
2373   Olly Murs                Heart Skips A Beat                   Sony Music Entertainment    SR0000727214
2374   One Direction            Alive                                Sony Music Entertainment    SR0000740363
2375   One Direction            Best Song Ever                       Sony Music Entertainment    SR0000737314
2376   One Direction            Better Than Words                    Sony Music Entertainment    SR0000740363
2377   One Direction            Diana                                Sony Music Entertainment    SR0000740363
2378   One Direction            Does He Know?                        Sony Music Entertainment    SR0000740363
2379   One Direction            Don't Forget Where You Belong        Sony Music Entertainment    SR0000740363
2380   One Direction            Everything About You                 Sony Music Entertainment    SR0000703645
2381   One Direction            Gotta Be You                         Sony Music Entertainment    SR0000703645
2382   One Direction            Half a Heart                         Sony Music Entertainment    SR0000740363
2383   One Direction            Happily                              Sony Music Entertainment    SR0000740363
2384   One Direction            I Want                               Sony Music Entertainment    SR0000703645
2385   One Direction            I Wish                               Sony Music Entertainment    SR0000703645
2386   One Direction            Kiss You                             Sony Music Entertainment    SR0000714020
2387   One Direction            Little Black Dress                   Sony Music Entertainment    SR0000740363
2388   One Direction            Little White Lies                    Sony Music Entertainment    SR0000740363
2389   One Direction            Midnight Memories                    Sony Music Entertainment    SR0000740363
2390   One Direction            Moments                              Sony Music Entertainment    SR0000703645



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                Artist                  Track                          Plaintiff              Registration_Number
2391   One Direction      More Than This                   Sony Music Entertainment        SR0000703645
2392   One Direction      One Thing                        Sony Music Entertainment        SR0000703645
2393   One Direction      Right Now                        Sony Music Entertainment        SR0000740363
2394   One Direction      Same Mistakes                    Sony Music Entertainment        SR0000703645
2395   One Direction      Save You Tonight                 Sony Music Entertainment        SR0000703645
2396   One Direction      Something Great                  Sony Music Entertainment        SR0000740363
2397   One Direction      Stand Up                         Sony Music Entertainment        SR0000703645
2398   One Direction      Stole My Heart                   Sony Music Entertainment        SR0000703645
2399   One Direction      Story of My Life                 Sony Music Entertainment        SR0000740364
2400   One Direction      Strong                           Sony Music Entertainment        SR0000740363
2401   One Direction      Taken                            Sony Music Entertainment        SR0000703645
2402   One Direction      Tell Me A Lie                    Sony Music Entertainment        SR0000703645
2403   One Direction      Through the Dark                 Sony Music Entertainment        SR0000740363
2404   One Direction      What Makes You Beautiful         Sony Music Entertainment        SR0000703645
2405   One Direction      Why Don't We Go There            Sony Music Entertainment        SR0000740363
2406   One Direction      You & I                          Sony Music Entertainment        SR0000740363
2407   Otherwise          Crimson                          Sony Music Entertainment        SR0000704620
2408   Otherwise          Die for You                      Sony Music Entertainment        SR0000704620
2409   Otherwise          Don't Be Afraid                  Sony Music Entertainment        SR0000704620
2410   Otherwise          Full Circle                      Sony Music Entertainment        SR0000704620
2411   Otherwise          Heaven (feat. Ashley Costello)   Sony Music Entertainment        SR0000704620
2412   Otherwise          I                                Sony Music Entertainment        SR0000704620

2413   Otherwise          I Don't Apologize (1000 Pictures) Sony Music Entertainment       SR0000704620
2414   Otherwise          II                                Sony Music Entertainment       SR0000704620
2415   Otherwise          III                               Sony Music Entertainment       SR0000704620
2416   Otherwise          Lighthouse                        Sony Music Entertainment       SR0000704620
2417   Otherwise          Scream Now                        Sony Music Entertainment       SR0000704620
2418   Otherwise          Silence Reigns                    Sony Music Entertainment       SR0000704620
2419   Otherwise          Soldiers                          Sony Music Entertainment       SR0000704620
2420   Otherwise          Vegas Girl                        Sony Music Entertainment       SR0000704620
                          Idlewild Blue (Don'tchu Worry
2421   OutKast            'Bout Me)                         Sony Music Entertainment       SR0000747302
2422   OutKast            Mighty "O"                        Sony Music Entertainment       SR0000747300
2423   Ozzy Osbourne      21st Century Schizoid Man         Sony Music Entertainment       SR0000388035
2424   Ozzy Osbourne      Back on Earth                     Sony Music Entertainment       SR0000247732
2425   Ozzy Osbourne      Bark At The Moon                  Sony Music Entertainment       SR0000053824
2426   Ozzy Osbourne      Breakin' All The Rules            Sony Music Entertainment       SR0000098705
2427   Ozzy Osbourne      Centre of Eternity                Sony Music Entertainment       SR0000053824
2428   Ozzy Osbourne      Crazy Babies                      Sony Music Entertainment       SR0000098705
2429   Ozzy Osbourne      Crazy Train                       Sony Music Entertainment       SR0000028652
2430   Ozzy Osbourne      Diary of a Madman                 Sony Music Entertainment       SR0000034167
2431   Ozzy Osbourne      Dreamer                           Sony Music Entertainment       SR0000303331
2432   Ozzy Osbourne      Gets Me Through                   Sony Music Entertainment       SR0000303331
2433   Ozzy Osbourne      Ghost Behind My Eyes              Sony Music Entertainment       SR0000171292
2434   Ozzy Osbourne      I Can't Save You                  Sony Music Entertainment       SR0000628282
2435   Ozzy Osbourne      I Don't Wanna Stop                Sony Music Entertainment       SR0000628282
                          I Don't Want to Change the
2436   Ozzy Osbourne      World                             Sony Music Entertainment       SR0000135019
2437   Ozzy Osbourne      I Just Want You                   Sony Music Entertainment       SR0000171292
2438   Ozzy Osbourne      In My Life                        Sony Music Entertainment       SR0000373744
2439   Ozzy Osbourne      Mama, I'm Coming Home             Sony Music Entertainment       SR0000135019
2440   Ozzy Osbourne      Miracle Man                       Sony Music Entertainment       SR0000098705



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                 Artist                         Track                         Plaintiff              Registration_Number
2441   Ozzy Osbourne             Mississippi Queen                Sony Music Entertainment        SR0000388035
2442   Ozzy Osbourne             Mr. Crowley                      Sony Music Entertainment        SR0000028652
2443   Ozzy Osbourne             Nightmare                        Sony Music Entertainment        SR0000628282
2444   Ozzy Osbourne             No Easy Way Out                  Sony Music Entertainment        SR0000303331
2445   Ozzy Osbourne             No More Tears                    Sony Music Entertainment        SR0000135019
2446   Ozzy Osbourne             Not Going Away                   Sony Music Entertainment        SR0000628282
2447   Ozzy Osbourne             Now You See It (Now You Don't)   Sony Music Entertainment        SR0000053824
2448   Ozzy Osbourne             Over The Mountain                Sony Music Entertainment        SR0000034167
2449   Ozzy Osbourne             Perry Mason                      Sony Music Entertainment        SR0000171292
2450   Ozzy Osbourne             Rock 'n' Roll Rebel              Sony Music Entertainment        SR0000053824
2451   Ozzy Osbourne             Shot In The Dark                 Sony Music Entertainment        SR0000076545
2452   Ozzy Osbourne             Slow Down                        Sony Music Entertainment        SR0000053824
2453   Ozzy Osbourne             So Tired                         Sony Music Entertainment        SR0000053824
2454   Ozzy Osbourne             Spiders                          Sony Music Entertainment        SR0000054446
2455   Ozzy Osbourne             Thunder Underground              Sony Music Entertainment        SR0000171292
2456   Ozzy Osbourne             Time After Time                  Sony Music Entertainment        SR0000135019
2457   Ozzy Osbourne             Waiting for Darkness             Sony Music Entertainment        SR0000053824
2458   Ozzy Osbourne             You're No Different              Sony Music Entertainment        SR0000053824
2459   P!nk                      Are We All We Are (Explicit)     Sony Music Entertainment        SR0000709056
2460   P!nk                      Beam Me Up                       Sony Music Entertainment        SR0000709056
2461   P!nk                      Chaos & Piss (Explicit)          Sony Music Entertainment        SR0000709377
2462   P!nk                      F**kin' Perfect                  Sony Music Entertainment        SR0000671699
2463   P!nk                      Here Comes The Weekend           Sony Music Entertainment        SR0000709056
2464   P!nk                      How Come You're Not Here         Sony Music Entertainment        SR0000709056
2465   P!nk                      Just Give Me A Reason            Sony Music Entertainment        SR0000709056
2466   P!nk                      Push You Away                    Sony Music Entertainment        SR0000644873
2467   P!nk                      Raise Your Glass                 Sony Music Entertainment        SR0000671699
2468   P!nk                      Slut Like You                    Sony Music Entertainment        SR0000709056
2469   P!nk                      So What                          Sony Music Entertainment        SR0000719121
2470   P!nk                      The Great Escape                 Sony Music Entertainment        SR0000709056
2471   P!nk                      The Truth About Love             Sony Music Entertainment        SR0000709056
2472   P!nk                      Timebomb (Explicit)              Sony Music Entertainment        SR0000709377
2473   P!nk                      True Love (Explicit)             Sony Music Entertainment        SR0000709056
2474   P!nk                      Try                              Sony Music Entertainment        SR0000709056
2475   P!nk                      Walk of Shame                    Sony Music Entertainment        SR0000709056
2476   P!nk                      Walk of Shame (Explicit)         Sony Music Entertainment        SR0000709056
2477   P!nk                      Where Did The Beat Go?           Sony Music Entertainment        SR0000709056
       P!nk Featuring William
2478   Orbit                     Feel Good Time                   Sony Music Entertainment        PA0001242238
2479   Passion Pit               Little Secrets                   Sony Music Entertainment        PA0001678112
2480   Passion Pit               To Kingdom Come                  Sony Music Entertainment        PA0001683346
2481   Pearl Jam                 1/2 Full                         Sony Music Entertainment        SR0000324204
2482   Pearl Jam                 All or None                      Sony Music Entertainment        SR0000324204
2483   Pearl Jam                 Arc                              Sony Music Entertainment        SR0000324204
2484   Pearl Jam                 Army Reserve                     Sony Music Entertainment        SR0000654748
2485   Pearl Jam                 Around The Bend                  Sony Music Entertainment        SR0000230851
2486   Pearl Jam                 Aya Davanita                     Sony Music Entertainment        SR0000206558
2487   Pearl Jam                 Big Wave                         Sony Music Entertainment        SR0000654748
2488   Pearl Jam                 Blood (Remastered)               Sony Music Entertainment        SR0000207219
2489   Pearl Jam                 Brain Of J.                      Sony Music Entertainment        SR0000255869
2490   Pearl Jam                 Breakerfall                      Sony Music Entertainment        SR0000300972
2491   Pearl Jam                 Bu$hleaguer                      Sony Music Entertainment        SR0000324204
2492   Pearl Jam                 Bugs                             Sony Music Entertainment        SR0000206558



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                   Artist                  Track                          Plaintiff              Registration_Number
2493   Pearl Jam             Can't Keep                       Sony Music Entertainment        SR0000324204
2494   Pearl Jam             Come Back                        Sony Music Entertainment        SR0000654748
2495   Pearl Jam             Cropduster                       Sony Music Entertainment        SR0000324204
2496   Pearl Jam             Deep                             Sony Music Entertainment        SR0000137787
2497   Pearl Jam             Evacuation                       Sony Music Entertainment        SR0000300972
2498   Pearl Jam             Faithful                         Sony Music Entertainment        SR0000255869
2499   Pearl Jam             Garden                           Sony Music Entertainment        SR0000137787
2500   Pearl Jam             Get Right                        Sony Music Entertainment        SR0000324204
2501   Pearl Jam             Ghost                            Sony Music Entertainment        SR0000324204
2502   Pearl Jam             Glorified G                      Sony Music Entertainment        SR0000207219
2503   Pearl Jam             Gods' Dice                       Sony Music Entertainment        SR0000300972
2504   Pearl Jam             Gone                             Sony Music Entertainment        SR0000654748
2505   Pearl Jam             Green Disease                    Sony Music Entertainment        SR0000324204
2506   Pearl Jam             Grievance                        Sony Music Entertainment        SR0000300972
2507   Pearl Jam             Habit                            Sony Music Entertainment        SR0000230851
2508   Pearl Jam             Help Help                        Sony Music Entertainment        SR0000324204
2509   Pearl Jam             I'm Open                         Sony Music Entertainment        SR0000230851
2510   Pearl Jam             In My Tree                       Sony Music Entertainment        SR0000230851
2511   Pearl Jam             Indifference (Remastered)        Sony Music Entertainment        SR0000207219
2512   Pearl Jam             Inside Job                       Sony Music Entertainment        SR0000654748
2513   Pearl Jam             Insignificance                   Sony Music Entertainment        SR0000300972
2514   Pearl Jam             Last Exit                        Sony Music Entertainment        SR0000206558
2515   Pearl Jam             Leash                            Sony Music Entertainment        SR0000207219
2516   Pearl Jam             Life Wasted                      Sony Music Entertainment        SR0000654748
2517   Pearl Jam             Love Boat Captain                Sony Music Entertainment        SR0000324204
2518   Pearl Jam             Low Light                        Sony Music Entertainment        SR0000255869
2519   Pearl Jam             Lukin                            Sony Music Entertainment        SR0000230851
2520   Pearl Jam             Mankind                          Sony Music Entertainment        SR0000230851
2521   Pearl Jam             Marker In The Sand               Sony Music Entertainment        SR0000654748
2522   Pearl Jam             MFC                              Sony Music Entertainment        SR0000255869
2523   Pearl Jam             No Way                           Sony Music Entertainment        SR0000255869
2524   Pearl Jam             Oceans                           Sony Music Entertainment        SR0000137787
2525   Pearl Jam             Of The Girl                      Sony Music Entertainment        SR0000300972
2526   Pearl Jam             Parachutes                       Sony Music Entertainment        SR0000654748
2527   Pearl Jam             Parting Ways                     Sony Music Entertainment        SR0000300972
2528   Pearl Jam             Pilate                           Sony Music Entertainment        SR0000255869
2529   Pearl Jam             Porch                            Sony Music Entertainment        SR0000137787
2530   Pearl Jam             Present Tense                    Sony Music Entertainment        SR0000230851
2531   Pearl Jam             Pry, To                          Sony Music Entertainment        SR0000206558
2532   Pearl Jam             Push Me, Pull Me                 Sony Music Entertainment        SR0000255869
2533   Pearl Jam             Rats (Remastered)                Sony Music Entertainment        SR0000207219
2534   Pearl Jam             Red Bar                          Sony Music Entertainment        SR0000255869
2535   Pearl Jam             Red Mosquito                     Sony Music Entertainment        SR0000230851
2536   Pearl Jam             Release                          Sony Music Entertainment        SR0000137787
2537   Pearl Jam             Rival                            Sony Music Entertainment        SR0000300972
2538   Pearl Jam             Satan's Bed                      Sony Music Entertainment        SR0000206558
2539   Pearl Jam             Save You                         Sony Music Entertainment        SR0000324204
2540   Pearl Jam             Sleight Of Hand                  Sony Music Entertainment        SR0000300972
2541   Pearl Jam             Smile                            Sony Music Entertainment        SR0000230851
2542   Pearl Jam             Sometimes                        Sony Music Entertainment        SR0000230851
2543   Pearl Jam             Soon Forget                      Sony Music Entertainment        SR0000300972
2544   Pearl Jam             Stupidmop                        Sony Music Entertainment        SR0000206558




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                   Artist                         Track                         Plaintiff              Registration_Number
2545   Pearl Jam                   Thin Air                         Sony Music Entertainment        SR0000300972
2546   Pearl Jam                   Thumbing My Way                  Sony Music Entertainment        SR0000324204
2547   Pearl Jam                   Tremor Christ                    Sony Music Entertainment        SR0000206558
2548   Pearl Jam                   Unemployable                     Sony Music Entertainment        SR0000654748
2549   Pearl Jam                   W.M.A. (Remastered)              Sony Music Entertainment        SR0000207219
2550   Pearl Jam                   Wash                             Sony Music Entertainment        SR0000363498
2551   Pearl Jam                   Wasted Reprise                   Sony Music Entertainment        SR0000654748
2552   Pearl Jam                   Whipping                         Sony Music Entertainment        SR0000206558
2553   Pearl Jam                   Why Go                           Sony Music Entertainment        SR0000137787
2554   Pearl Jam                   World Wide Suicide               Sony Music Entertainment        SR0000654748
2555   Pitbull                     Call Of The Wild                 Sony Music Entertainment        SR0000641804
2556   Pitbull                     Can't Stop Me Now                Sony Music Entertainment        SR0000641804
2557   Pitbull                     Don't Stop The Party             Sony Music Entertainment        SR0000714736
2558   Pitbull                     Dope Ball (Interlude)            Sony Music Entertainment        SR0000641804
2559   Pitbull                     Drinks for You (Ladies Anthem)   Sony Music Entertainment        SR0000714643
2560   Pitbull                     Echa Pa'lla (Manos Pa'rriba)     Sony Music Entertainment        SR0000714643
2561   Pitbull                     Get It Started                   Sony Music Entertainment        SR0000714740
2562   Pitbull                     Girls                            Sony Music Entertainment        SR0000641804
2563   Pitbull                     Give Me Everything               Sony Music Entertainment        SR0000681904
2564   Pitbull                     Give Them What They Ask For      Sony Music Entertainment        SR0000641804
2565   Pitbull                     Hotel Room Service               Sony Music Entertainment        SR0000641804

2566   Pitbull                     I Know You Want Me (Calle Ocho) Sony Music Entertainment         SR0000641804
2567   Pitbull                     I'm Off That                    Sony Music Entertainment         SR0000714643
2568   Pitbull                     Juice Box                       Sony Music Entertainment         SR0000641804
2569   Pitbull                     Outta Nowhere (Explicit)        Sony Music Entertainment         SR0000714643
2570   Pitbull                     Pause                           Sony Music Entertainment         SR0000681904
2571   Pitbull                     Something For The DJs           Sony Music Entertainment         SR0000681904
2572   Pitbull                     Tchu Tchu Tcha                  Sony Music Entertainment         SR0000714643
       Pitbull feat. Afrojack &
2573   Havana Brown                Last Night                       Sony Music Entertainment        SR0000714643
       Pitbull feat. Akon &
2574   David Rush                  Everybody Fucks (Explicit)       Sony Music Entertainment        SR0000714643

2575   Pitbull feat. Chris Brown Hope We Meet Again                 Sony Music Entertainment        SR0000714643
       Pitbull feat. Christina
2576   Aguilera                  Feel This Moment                   Sony Music Entertainment        SR0000714643
       Pitbull feat. Danny
2577   Mercer                    Outta Nowhere                      Sony Music Entertainment        SR0000714643
       Pitbull feat. Enrique
2578   Iglesias                  Tchu Tchu Tcha                     Sony Music Entertainment        SR0000714643
2579   Pitbull feat. Ke$ha       Timber                             Sony Music Entertainment        SR0000737322
       Pitbull Feat. Lil
2580   Jon;Shawty Lo             Krazy                              Sony Music Entertainment        SR0000641804
2581   Pitbull feat. Sensato     Global Warming                     Sony Music Entertainment        SR0000714643
       Pitbull feat. The Wanted
2582   & Afrojack                Have Some Fun                      Sony Music Entertainment        SR0000714643
       Pitbull feat. Usher &
2583   Afrojack                  Party Ain't Over                   Sony Music Entertainment        SR0000714643
2584   Pitbull feat. Vein        11:59 (Explicit)                   Sony Music Entertainment        SR0000714643
2585   Pitbull featuring Akon    Shut It Down                       Sony Music Entertainment        SR0000641804
       Pitbull Featuring Akon &
2586   DJ Frank E                Mr. Right Now                      Sony Music Entertainment        SR0000683282



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                 Artist                         Track                           Plaintiff             Registration_Number
       Pitbull featuring Avery
2587   Storm                       Triumph                          Sony Music Entertainment        SR0000641804
2588   Pitbull featuring B.O.B.    Across The World                 Sony Music Entertainment        SR0000641804
       Pitbull Featuring Chris
2589   Brown                       International Love               Sony Music Entertainment        SR0000681904
       Pitbull Featuring
2590   Enrique Iglesias            Come N Go                        Sony Music Entertainment        SR0000681904
       Pitbull Featuring Jamie
2591   Foxx                        Where Do We Go                   Sony Music Entertainment        SR0000681904

       Pitbull Featuring Kelly
2592   Rowland & Jamie Drastik Castle Made Of Sand                  Sony Music Entertainment        SR0000681904
       Pitbull featuring Nayer &
2593   Bass III Euro             Full Of S**t                       Sony Music Entertainment        SR0000641804
2594   Pitbull Featuring Nelly My Kinda Girl                        Sony Music Entertainment        SR0000683282
       Pitbull Featuring Red
2595   Foo, Vein & David Rush Took My Love                          Sony Music Entertainment        SR0000681904
2596   Pitbull featuring Slim    Daddy's Little Girl                Sony Music Entertainment        SR0000641804
2597   Pitbull featuring T-Pain Hey Baby (Drop It To The Floor)     Sony Music Entertainment        SR0000681904
       Pitbull Featuring T-Pain
2598   & Sean Paul               Shake Senora                       Sony Music Entertainment        SR0000681904
       Pitbull Featuring T-Pain,
2599   Sean Paul & Ludacris      Shake Senora Remix                 Sony Music Entertainment        SR0000683282
2600   Pitbull Featuring Vein    Mr. Worldwide (Intro)              Sony Music Entertainment        SR0000681904
2601   Pitbull vs. Nicola Fasano Oye Baby                           Sony Music Entertainment        SR0000683282
2602   R. Kelly                  Cookie                             Sony Music Entertainment        SR0000737848
2603   R. Kelly                  Every Position                     Sony Music Entertainment        SR0000737848
2604   R. Kelly                  Genius                             Sony Music Entertainment        SR0000737850
2605   R. Kelly                  Marry The P***y (Explicit)         Sony Music Entertainment        SR0000737848
2606   R. Kelly                  Physical                           Sony Music Entertainment        SR0000737848
2607   R. Kelly                  Prelude                            Sony Music Entertainment        SR0000737848
2608   R. Kelly                  Prelude (Explicit)                 Sony Music Entertainment        SR0000737848
                                 Throw This Money On You
2609   R. Kelly                  (Explicit)                         Sony Music Entertainment        SR0000737848
2610   R. Kelly                  You Deserve Better                 Sony Music Entertainment        SR0000737848
2611   R. Kelly feat. 2 Chainz   My Story                           Sony Music Entertainment        SR0000737848
2612   R. Kelly feat. Future     Tear It Up (Explicit)              Sony Music Entertainment        SR0000737848
       R. Kelly feat. Kelly
2613   Rowland                   All The Way (Explicit)             Sony Music Entertainment        SR0000737848
2614   R. Kelly feat. Ludacris   Legs Shakin'                       Sony Music Entertainment        SR0000737848
       R. Kelly feat. Migos &
2615   Juicy J                   Show Ya P***y                      Sony Music Entertainment        SR0000737848
2616   Raphael Saadiq            100 Yard Dash                      Sony Music Entertainment        SR0000619872
2617   Raphael Saadiq            Calling                            Sony Music Entertainment        SR0000619872
2618   Raphael Saadiq            Day Dreams                         Sony Music Entertainment        SR0000677734
2619   Raphael Saadiq            Go To Hell                         Sony Music Entertainment        SR0000677734
2620   Raphael Saadiq            Good Man                           Sony Music Entertainment        SR0000677734
2621   Raphael Saadiq            Heart Attack                       Sony Music Entertainment        SR0000677734
2622   Raphael Saadiq            Keep Marchin'                      Sony Music Entertainment        SR0000619872
2623   Raphael Saadiq            Let's Take a Walk                  Sony Music Entertainment        SR0000619872
2624   Raphael Saadiq            Love That Girl                     Sony Music Entertainment        SR0000619872
2625   Raphael Saadiq            Movin' Down the Line               Sony Music Entertainment        SR0000677734
2626   Raphael Saadiq            Oh Girl                            Sony Music Entertainment        SR0000619872




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                Artist                         Track                            Plaintiff              Registration_Number
2627   Raphael Saadiq            Over You                           Sony Music Entertainment        SR0000677734
2628   Raphael Saadiq            Radio                              Sony Music Entertainment        SR0000677734
2629   Raphael Saadiq            Sometimes                          Sony Music Entertainment        SR0000619872
2630   Raphael Saadiq            Staying In Love                    Sony Music Entertainment        SR0000619872
2631   Raphael Saadiq            Stone Rollin                       Sony Music Entertainment        SR0000677734
2632   Raphael Saadiq            Sure Hope You Mean It              Sony Music Entertainment        SR0000619872
2633   Raphael Saadiq            The Answer                         Sony Music Entertainment        SR0000677734
       Raphael Saadiq feat. Joss
2634   Stone                     Just One Kiss                      Sony Music Entertainment        SR0000619872
       Raphael Saadiq feat. The
       Infamous Young Spodie
       and the Rebirth Brass
2635   Band                        Big Easy                         Sony Music Entertainment        SR0000619872
       Raphael Saadiq feat.
2636   Yukimi Nakano               Just Don't                       Sony Music Entertainment        SR0000677734
2637   Ray Charles                 Crazy Old Soldier                Sony Music Entertainment        SR0000058443
2638   Sade                        Bulletproof Soul                 Sony Music Entertainment        SR0000183731
2639   Santana                     All I Ever Wanted                Sony Music Entertainment        SR0000013645
2640   Santana                     Aqua Marine                      Sony Music Entertainment        SR0000013645
2641   Santana                     Blues for Salvador               Sony Music Entertainment        SR0000086429
2642   Santana                     Brightest Star                   Sony Music Entertainment        SR0000028839
2643   Santana                     Carnaval                         Sony Music Entertainment        N40322
                                   Dance Sister Dance (Baila Mi
2644   Santana                     Hermana)                         Sony Music Entertainment        N33113
                                   Europa (Earth's Cry Heaven's
2645   Santana                     Smile)                           Sony Music Entertainment        N33113
2646   Santana                     Flor D'Luna (Moonflower)         Sony Music Entertainment        RE0000927177
2647   Santana                     Full Moon                        Sony Music Entertainment        SR0000118423
2648   Santana                     Gypsy Woman                      Sony Music Entertainment        SR0000118423
2649   Santana                     Hannibal                         Sony Music Entertainment        SR0000086429
2650   Santana                     Hold On                          Sony Music Entertainment        SR0000039658
2651   Santana                     How Long                         Sony Music Entertainment        SR0000065770
2652   Santana                     I Love You Much Too Much         Sony Music Entertainment        SR0000028774
2653   Santana                     La Fuente del Ritmo              Sony Music Entertainment        N3383;N5328
2654   Santana                     Let the Children Play            Sony Music Entertainment        N40322
2655   Santana                     Mirage                           Sony Music Entertainment        RE0000872000
2656   Santana                     Nowhere to Run                   Sony Music Entertainment        SR0000039763
                                   ONE CHAIN (DON'T MAKE NO
2657   Santana                     PRISON)                          Sony Music Entertainment        SR0000004781
2658   Santana                     REVELATIONS                      Sony Music Entertainment        N40322
2659   Santana                     Say It Again                     Sony Music Entertainment        PA0000254926
2660   Santana                     The Sensitive Kind               Sony Music Entertainment        SR0000028774
2661   Santana                     Well All Right                   Sony Music Entertainment        SR0000004781
2662   Santana                     Winning                          Sony Music Entertainment        SR0000028839
2663   Santana                     You Know That I Love You         Sony Music Entertainment        SR0000013645
2664   Sara Bareilles              1000 Times                       Sony Music Entertainment        SR0000727195
2665   Sara Bareilles              Brave                            Sony Music Entertainment        SR0000727192
2666   Sara Bareilles              Cassiopeia                       Sony Music Entertainment        SR0000727195
2667   Sara Bareilles              Chasing The Sun                  Sony Music Entertainment        SR0000727195
2668   Sara Bareilles              December                         Sony Music Entertainment        SR0000727195
2669   Sara Bareilles              Eden                             Sony Music Entertainment        SR0000727195
2670   Sara Bareilles              Hercules                         Sony Music Entertainment        SR0000727195
2671   Sara Bareilles              I Choose You                     Sony Music Entertainment        SR0000727195



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                 Artist                        Track                         Plaintiff              Registration_Number
2672   Sara Bareilles           Islands                          Sony Music Entertainment        SR0000727195
2673   Sara Bareilles           Little Black Dress               Sony Music Entertainment        SR0000727195
2674   Sara Bareilles           Manhattan                        Sony Music Entertainment        SR0000727193
2675   Sara Bareilles           Satellite Call                   Sony Music Entertainment        SR0000727195
2676   Sarah McLachlan          Don't Give Up On Us              Sony Music Entertainment        SR0000661978
2677   Sarah McLachlan          U Want Me 2                      Sony Music Entertainment        SR0000661978
2678   Savage Garden            A Thousand Words                 Sony Music Entertainment        SR0000299097
2679   Savage Garden            Affirmation                      Sony Music Entertainment        SR0000276120
2680   Savage Garden            Carry On Dancing                 Sony Music Entertainment        SR0000299097
2681   Savage Garden            Crash And Burn                   Sony Music Entertainment        SR0000276120
2682   Savage Garden            Hold Me                          Sony Music Entertainment        SR0000276120
2683   Savage Garden            Promises                         Sony Music Entertainment        SR0000299097
2684   Savage Garden            Tears Of Pearls                  Sony Music Entertainment        SR0000299097
2685   Savage Garden            The Animal Song                  Sony Music Entertainment        SR0000276120
2686   Savage Garden            Universe                         Sony Music Entertainment        SR0000299097
2687   Savage Garden            Violet                           Sony Music Entertainment        SR0000299097
       Sean Kingston and Justin
2688   Bieber                   Eenie Meenie                     Sony Music Entertainment        SR0000730824
2689   Shakira                  Años Luz                         Sony Music Entertainment        SR0000644417
2690   Shakira                  Devoción                         Sony Music Entertainment        SR0000669191
2691   Shakira                  Did It Again                     Sony Music Entertainment        SR0000644417
2692   Shakira                  Gitana                           Sony Music Entertainment        SR0000644417
2693   Shakira                  Give It Up To Me                 Sony Music Entertainment        SR0000644417
2694   Shakira                  Good Stuff                       Sony Music Entertainment        SR0000644417
                                Gordita (Featuring Residente
2695   Shakira                  Calle 13)                        Sony Music Entertainment        SR0000669191
2696   Shakira                  Lo Hecho Está Hecho              Sony Music Entertainment        SR0000644417
2697   Shakira                  Lo Que Más                       Sony Music Entertainment        SR0000669191
2698   Shakira                  Loba                             Sony Music Entertainment        SR0000644417
2699   Shakira                  Loca (Featuring Dizzee Rascal)   Sony Music Entertainment        SR0000669191
2700   Shakira                  Loca (Featuring El Cata)         Sony Music Entertainment        SR0000669191
2701   Shakira                  Long Time                        Sony Music Entertainment        SR0000644417
2702   Shakira                  Men in This Town                 Sony Music Entertainment        SR0000644417
2703   Shakira                  Mon Amour                        Sony Music Entertainment        SR0000644417
2704   Shakira                  She Wolf                         Sony Music Entertainment        SR0000644417

2705   Shakira                  Waka Waka (This Time For Africa) Sony Music Entertainment        SR0000669191
2706   Shakira                  Why Wait                         Sony Music Entertainment        SR0000644417
2707   Shakira Feat. Pitbull    Rabiosa                          Sony Music Entertainment        SR0000669191

2708   Shakira feat. Wyclef Jean Spy                             Sony Music Entertainment        SR0000644417
2709   Sia                       Be Good To Me                   Sony Music Entertainment        SR0000655573
2710   Sia                       Big Girl Little Girl            Sony Music Entertainment        SR0000655573
2711   Sia                       Chandelier                      Sony Music Entertainment        SR0000756331
2712   Sia                       Cloud                           Sony Music Entertainment        SR0000655573
2713   Sia                       Hurting Me Now                  Sony Music Entertainment        SR0000655573
2714   Sia                       I'm in Here                     Sony Music Entertainment        SR0000655573
2715   Sia                       Never Gonna Leave Me            Sony Music Entertainment        SR0000655573
2716   Sia                       Oh Father                       Sony Music Entertainment        SR0000655573
2717   Sia                       Stop Trying                     Sony Music Entertainment        SR0000655573
2718   Sia                       The Co-Dependent                Sony Music Entertainment        SR0000655573
2719   Social Distortion         Ball And Chain                  Sony Music Entertainment        SR0000115085
2720   Social Distortion         Ring Of Fire                    Sony Music Entertainment        SR0000115085



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                 Artist                      Track                          Plaintiff              Registration_Number
2721   Social Distortion       Story Of My Life                 Sony Music Entertainment        SR0000115085
       Stevie Ray Vaughan &
2722   Double Trouble          Boot Hill                        Sony Music Entertainment        SR0000138313
       Stevie Ray Vaughan &
2723   Double Trouble          Chitlins Con Carne               Sony Music Entertainment        SR0000138313
       Stevie Ray Vaughan &
2724   Double Trouble          Close to You                     Sony Music Entertainment        SR0000138313
       Stevie Ray Vaughan &
2725   Double Trouble          Empty Arms                       Sony Music Entertainment        SR0000138313
       Stevie Ray Vaughan &
2726   Double Trouble          Life By The Drop                 Sony Music Entertainment        SR0000138313
       Stevie Ray Vaughan &
2727   Double Trouble          Little Wing                      Sony Music Entertainment        SR0000138313
       Stevie Ray Vaughan &
2728   Double Trouble          May I Have a Talk with You       Sony Music Entertainment        SR0000138313
       Stevie Ray Vaughan &
2729   Double Trouble          So Excited                       Sony Music Entertainment        SR0000138313
       Stevie Ray Vaughan &
2730   Double Trouble          The Sky Is Crying                Sony Music Entertainment        SR0000138313
       Stevie Ray Vaughan &
2731   Double Trouble          Wham                             Sony Music Entertainment        SR0000138313
2732   Suicide Silence         Bludgeoned to Death              Sony Music Entertainment        SR0000623967
2733   Suicide Silence         Cancerous Skies                  Sony Music Entertainment        SR0000697040
2734   Suicide Silence         Cross-Eyed Catastrophe           Sony Music Entertainment        SR0000697040
                               Destruction of a Statue (Bonus
2735   Suicide Silence         Track)                           Sony Music Entertainment        SR0000623967
2736   Suicide Silence         Disengage                        Sony Music Entertainment        SR0000643826
2737   Suicide Silence         Eyes Sewn Shut                   Sony Music Entertainment        SR0000623967
2738   Suicide Silence         Fuck Everything                  Sony Music Entertainment        SR0000697040
2739   Suicide Silence         Genocide                         Sony Music Entertainment        SR0000643826
2740   Suicide Silence         Girl of Glass                    Sony Music Entertainment        SR0000623967
2741   Suicide Silence         Green Monster                    Sony Music Entertainment        SR0000623967
2742   Suicide Silence         Hands of a Killer                Sony Music Entertainment        SR0000623967
2743   Suicide Silence         Human Violence                   Sony Music Entertainment        SR0000697040
2744   Suicide Silence         In a Photograph                  Sony Music Entertainment        SR0000623967
2745   Suicide Silence         March To The Black Crown         Sony Music Entertainment        SR0000697040
2746   Suicide Silence         No Pity For a Coward             Sony Music Entertainment        SR0000623967
2747   Suicide Silence         No Time To Bleed                 Sony Music Entertainment        SR0000643826
2748   Suicide Silence         O.C.D.                           Sony Music Entertainment        SR0000697040
2749   Suicide Silence         Slaves to Substance              Sony Music Entertainment        SR0000697040
2750   Suicide Silence         Smashed                          Sony Music Entertainment        SR0000697040
2751   Suicide Silence         The Disease                      Sony Music Entertainment        SR0000623967
2752   Suicide Silence         The Fallen                       Sony Music Entertainment        SR0000623967

2753   Suicide Silence         The Only Thing That Sets Us Apart Sony Music Entertainment       SR0000697040
2754   Suicide Silence         The Price of Beauty               Sony Music Entertainment       SR0000623967
2755   Suicide Silence         Unanswered                        Sony Music Entertainment       SR0000623967
2756   Suicide Silence         Witness the Addiction             Sony Music Entertainment       SR0000697040
2757   Suicide Silence         You Only Live Once                Sony Music Entertainment       SR0000697040
2758   Switchfoot              Adding To The Noise               Sony Music Entertainment       SR0000347967
2759   Switchfoot              Ammunition                        Sony Music Entertainment       SR0000347967
2760   Switchfoot              Gone                              Sony Music Entertainment       SR0000347967
2761   Switchfoot              Meant To Live                     Sony Music Entertainment       SR0000347967




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                Artist                         Track                        Plaintiff             Registration_Number
2762   Switchfoot             More Than Fine                    Sony Music Entertainment       SR0000347967
2763   Switchfoot             On Fire                           Sony Music Entertainment       SR0000347967
2764   Switchfoot             Redemption                        Sony Music Entertainment       SR0000347967
2765   Switchfoot             The Beautiful Letdown             Sony Music Entertainment       SR0000347967
2766   Switchfoot             Twenty-four                       Sony Music Entertainment       SR0000347967
2767   System Of A Down       Attack                            Sony Music Entertainment       SR0000388170
2768   System Of A Down       B.Y.O.B.                          Sony Music Entertainment       SR0000718994
2769   System Of A Down       Cigaro                            Sony Music Entertainment       SR0000372792
2770   System of a Down       Dreaming                          Sony Music Entertainment       SR0000388170
2771   System Of A Down       Holy Mountains                    Sony Music Entertainment       SR0000388170
2772   System Of A Down       Hypnotize                         Sony Music Entertainment       SR0000748788
2773   System of a Down       Kill Rock 'n Roll                 Sony Music Entertainment       SR0000388170
2774   System Of A Down       Lonely Day                        Sony Music Entertainment       SR0000388170
2775   System of a Down       Lost In Hollywood                 Sony Music Entertainment       SR0000372792
2776   System Of A Down       Old School Hollywood              Sony Music Entertainment       SR0000372792
2777   System Of A Down       Question!                         Sony Music Entertainment       SR0000372792
2778   System Of A Down       Radio/Video                       Sony Music Entertainment       SR0000372792
2779   System Of A Down       Revenga                           Sony Music Entertainment       SR0000372792
2780   System Of A Down       Sad Statue                        Sony Music Entertainment       SR0000372792
2781   System Of A Down       She's Like Heroin                 Sony Music Entertainment       SR0000388170
2782   System of a Down       Soldier Side                      Sony Music Entertainment       SR0000388170
2783   System Of A Down       Soldier Side - Intro              Sony Music Entertainment       SR0000372792
2784   System Of A Down       Stealing Society                  Sony Music Entertainment       SR0000388170
2785   System Of A Down       Tentative                         Sony Music Entertainment       SR0000388170
                              This Cocaine Makes Me Feel Like
2786   System Of A Down       I'm On This Song                  Sony Music Entertainment       SR0000372792
2787   System Of A Down       U-Fig                             Sony Music Entertainment       SR0000388170
2788   System Of A Down       Vicinity Of Obscenity             Sony Music Entertainment       SR0000388170
2789   System Of A Down       Violent Pornography               Sony Music Entertainment       SR0000372792
2790   Teddy Pendergrass      All I Need Is You                 Sony Music Entertainment       SR0000012942
2791   Teddy Pendergrass      And If I Had                      Sony Music Entertainment       RE0000926587
2792   Teddy Pendergrass      Be Sure                           Sony Music Entertainment       RE0000926587
2793   Teddy Pendergrass      Cold, Cold World                  Sony Music Entertainment       SR0000002510
2794   Teddy Pendergrass      Do Me                             Sony Music Entertainment       SR0000012942
2795   Teddy Pendergrass      Easy, Easy, Got To Take It Easy   Sony Music Entertainment       RE0000926587
                              Get Up, Get Down, Get Funky,
2796   Teddy Pendergrass      Get Loose                         Sony Music Entertainment       SR0000002555
2797   Teddy Pendergrass      Girl You Know                     Sony Music Entertainment       SR0000019849
2798   Teddy Pendergrass      I Just Called to Say              Sony Music Entertainment       SR0000019849
2799   Teddy Pendergrass      I'll Never See Heaven Again       Sony Music Entertainment       SR0000012942
2800   Teddy Pendergrass      If You Know Like I Know           Sony Music Entertainment       SR0000009608
2801   Teddy Pendergrass      Is It Still Good To Ya?           Sony Music Entertainment       SR0000019849
2802   Teddy Pendergrass      It Don't Hurt Now                 Sony Music Entertainment       SR0000002510
2803   Teddy Pendergrass      Let Me Love You                   Sony Music Entertainment       SR0000019849
2804   Teddy Pendergrass      Life Is A Circle                  Sony Music Entertainment       SR0000012942
2805   Teddy Pendergrass      Life Is A Song Worth Singing      Sony Music Entertainment       SR0000002510
2806   Teddy Pendergrass      Set Me Free                       Sony Music Entertainment       SR0000012942
2807   Teddy Pendergrass      Somebody Told Me                  Sony Music Entertainment       RE0000926587

2808   Teddy Pendergrass      When Somebody Loves You Back Sony Music Entertainment            SR0000002510
2809   Teddy Pendergrass      You Can't Hide From Yourself Sony Music Entertainment            RE0000926587
       Teddy Pendergrass &
2810   Stephanie Mills        Feel the Fire                     Sony Music Entertainment       SR0000019849



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                 Artist                    Track                           Plaintiff             Registration_Number
       Teddy Pendergrass &
2811   Stephanie Mills        Take Me In Your Arms Tonight      Sony Music Entertainment       SR0000019849
2812   Teena Marie            Call Me (I Got Yo Number)         Sony Music Entertainment       SR0000090900
2813   Teena Marie            Cassanova Brown                   Sony Music Entertainment       SR0000050515
2814   Teena Marie            Dear Lover                        Sony Music Entertainment       SR0000050515
2815   Teena Marie            Here's Looking At You             Sony Music Entertainment       SR0000134764
2816   Teena Marie            If I Were a Bell                  Sony Music Entertainment       SR0000134764
2817   Teena Marie            Lovergirl                         Sony Music Entertainment       SR0000061732
2818   Teena Marie            My Dear Mr. Gaye                  Sony Music Entertainment       SR0000062234
2819   Teena Marie            Out On A Limb                     Sony Music Entertainment       SR0000062234
2820   Teena Marie            Work It                           Sony Music Entertainment       SR0000090900
2821   The Clash              Bankrobber                        Sony Music Entertainment       SR0000030054
2822   The Clash              Brand New Cadillac                Sony Music Entertainment       SR0000016270
2823   The Clash              Capital Radio One                 Sony Music Entertainment       SR0000030054
2824   The Clash              Career Opportunities              Sony Music Entertainment       SR0000293426
2825   The Clash              Cheat                             Sony Music Entertainment       SR0000030054
2826   The Clash              Clampdown                         Sony Music Entertainment       SR0000016270
2827   The Clash              Complete Control                  Sony Music Entertainment       SR0000293426
2828   The Clash              Death Or Glory                    Sony Music Entertainment       SR0000016270
2829   The Clash              English Civil War                 Sony Music Entertainment       SR0000006482
2830   The Clash              Four Horsemen                     Sony Music Entertainment       SR0000016270
2831   The Clash              Ghetto Defendant                  Sony Music Entertainment       SR0000034959
2832   The Clash              Groovy Times                      Sony Music Entertainment       SR0000013444
2833   The Clash              Hateful                           Sony Music Entertainment       SR0000016270
2834   The Clash              I Fought The Law                  Sony Music Entertainment       SR0000013444
2835   The Clash              I'm Not Down                      Sony Music Entertainment       SR0000016270
2836   The Clash              Ivan Meets G.I. Joe               Sony Music Entertainment       SR0000024334
2837   The Clash              Jimmy Jazz                        Sony Music Entertainment       SR0000016270
                              Julie's Been Working for the Drug
2838   The Clash              Squad                             Sony Music Entertainment       SR0000006482
2839   The Clash              Koka Kola                         Sony Music Entertainment       SR0000016270
2840   The Clash              London Calling                    Sony Music Entertainment       SR0000016270
2841   The Clash              Lost In The Supermarket           Sony Music Entertainment       SR0000016270
2842   The Clash              Lover's Rock                      Sony Music Entertainment       SR0000016270
2843   The Clash              Police on my Back                 Sony Music Entertainment       SR0000024334
2844   The Clash              Revolution Rock                   Sony Music Entertainment       SR0000016270
2845   The Clash              Rock the Casbah                   Sony Music Entertainment       SR0000034959
2846   The Clash              Rudie Can't Fail                  Sony Music Entertainment       SR0000016270
2847   The Clash              Safe European Home                Sony Music Entertainment       SR0000006482
2848   The Clash              Should I Stay Or Should I Go      Sony Music Entertainment       SR0000034959
2849   The Clash              Somebody Got Murdered             Sony Music Entertainment       SR0000024334
2850   The Clash              Spanish Bombs                     Sony Music Entertainment       SR0000016270
2851   The Clash              Stay Free                         Sony Music Entertainment       SR0000006482
2852   The Clash              Straight to Hell                  Sony Music Entertainment       SR0000034959
2853   The Clash              The Card Cheat                    Sony Music Entertainment       SR0000016270
2854   The Clash              The Guns Of Brixton               Sony Music Entertainment       SR0000016270
2855   The Clash              The Right Profile                 Sony Music Entertainment       SR0000016270
2856   The Clash              The Street Parade                 Sony Music Entertainment       SR0000024334
2857   The Clash              This is England                   Sony Music Entertainment       SR0000070039
2858   The Clash              This Is Radio Clash               Sony Music Entertainment       SR0000033898
2859   The Clash              Tommy Gun                         Sony Music Entertainment       SR0000006482
2860   The Clash              Train In Vain                     Sony Music Entertainment       SR0000293426
2861   The Clash              Wrong 'Em Boyo                    Sony Music Entertainment       SR0000016270



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                  Artist                           Track                          Plaintiff             Registration_Number
       The Fabulous
2862   Thunderbirds                  Look at That, Look at That        Sony Music Entertainment       SR0000076616
       The Fabulous
2863   Thunderbirds                  Two Time My Lovin                 Sony Music Entertainment       SR0000076616
       The Fabulous
2864   Thunderbirds                  Why Get Up                        Sony Music Entertainment       SR0000076616
       The Fabulous
2865   Thunderbirds                  Wrap It Up                        Sony Music Entertainment       SR0000076616
2866   The Fugees                    Cowboys                           Sony Music Entertainment       SR0000222005
2867   The Fugees                    Family Business                   Sony Music Entertainment       SR0000222005
2868   The Fugees                    Killing Me Softly With His Song   Sony Music Entertainment       SR0000222005
2869   The Fugees                    The Beast                         Sony Music Entertainment       SR0000222005
2870   The Neighbourhood             Sweater Weather                   Sony Music Entertainment       SR0000728982
2871   Three 6 Mafia                 Stay Fly                          Sony Music Entertainment       PA0001305910
2872   Three Days Grace              Animal I Have Become              Sony Music Entertainment       SR0000719115
2873   Three Days Grace              Bitter Taste                      Sony Music Entertainment       SR0000641798
2874   Three Days Grace              Break                             Sony Music Entertainment       SR0000641798
2875   Three Days Grace              Goin' Down                        Sony Music Entertainment       SR0000641798
2876   Three Days Grace              Last To Know                      Sony Music Entertainment       SR0000641798
2877   Three Days Grace              Life Starts Now                   Sony Music Entertainment       SR0000641798
2878   Three Days Grace              Lost In You                       Sony Music Entertainment       SR0000641798
2879   Three Days Grace              No More                           Sony Music Entertainment       SR0000641798
2880   Three Days Grace              Someone Who Cares                 Sony Music Entertainment       SR0000641798
2881   Three Days Grace              The Good Life                     Sony Music Entertainment       SR0000641798
2882   Three Days Grace              Without You                       Sony Music Entertainment       SR0000641798
2883   Three Days Grace              World So Cold                     Sony Music Entertainment       SR0000641798
       Tinashe feat. Schoolboy
2884   Q                             2 On                              Sony Music Entertainment       SR0000763606
       Tony Bennett & Amy
2885   Winehouse                     Body And Soul                     Sony Music Entertainment       SR0000701447
2886   Train                         50 Ways To Say Goodbye            Sony Music Entertainment       SR0000700152
2887   Train                         Drive By                          Sony Music Entertainment       SR0000700152
2888   Tyler Farr                    Ain't Even Drinkin'               Sony Music Entertainment       SR0000735228
2889   Tyler Farr                    Cowgirl                           Sony Music Entertainment       SR0000735228
2890   Tyler Farr                    Dirty                             Sony Music Entertainment       SR0000735228
2891   Tyler Farr                    Hello Goodbye                     Sony Music Entertainment       SR0000729158
2892   Tyler Farr                    Living With the Blues             Sony Music Entertainment       SR0000735228
2893   Tyler Farr                    Makes You Wanna Drink             Sony Music Entertainment       SR0000729124
2894   Tyler Farr                    Redneck Crazy                     Sony Music Entertainment       SR0000729105
2895   Tyler Farr                    Whiskey in My Water               Sony Music Entertainment       SR0000735228
2896   Tyler Farr                    Wish I Had a Boat                 Sony Music Entertainment       SR0000735228
2897   Tyler Farr feat. Colt Ford    Chicks, Trucks, and Beer          Sony Music Entertainment       SR0000735228
2898   Usher                         2nd Round                         Sony Music Entertainment       SR0000731104
2899   Usher                         Can't Stop Won't Stop             Sony Music Entertainment       SR0000731104
2900   Usher                         Climax                            Sony Music Entertainment       SR0000731104
2901   Usher                         Dive                              Sony Music Entertainment       SR0000731104
2902   Usher                         Euphoria                          Sony Music Entertainment       SR0000731104
2903   Usher                         Hey Daddy (Daddy's Home)          Sony Music Entertainment       SR0000652023
2904   Usher                         I Care For U                      Sony Music Entertainment       SR0000731104
2905   Usher                         I.F.U.                            Sony Music Entertainment       SR0000731104
2906   Usher                         Lemme See                         Sony Music Entertainment       SR0000731104
2907   Usher                         Lessons For The Lover             Sony Music Entertainment       SR0000731104
2908   Usher                         Love In This Club                 Sony Music Entertainment       SR0000742199



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                 Artist                         Track                             Plaintiff           Registration_Number
2909   Usher                      More                                Sony Music Entertainment     SR0000652023
2910   Usher                      Numb                                Sony Music Entertainment     SR0000731104
2911   Usher                      Papers                              Sony Music Entertainment     SR0000652023
2912   Usher                      Say The Words                       Sony Music Entertainment     SR0000731104
2913   Usher                      Show Me                             Sony Music Entertainment     SR0000731104
2914   Usher                      Sins Of My Father                   Sony Music Entertainment     SR0000731104
2915   Usher                      There Goes My Baby                  Sony Music Entertainment     SR0000652023
2916   Usher                      What Happened To U                  Sony Music Entertainment     SR0000731104
2917   Usher feat. Nicki Minaj    Lil Freak                           Sony Music Entertainment     SR0000652023
2918   Usher feat. T.I.           Guilty                              Sony Music Entertainment     SR0000652023
2919   Usher feat. will.i.am      OMG                                 Sony Music Entertainment     PA0001700214
       Usher featuring A$AP
2920   Rocky                      Hot Thing                           Sony Music Entertainment     SR0000731104
       Usher featuring Luke
2921   Steele                     Looking 4 Myself                    Sony Music Entertainment     SR0000731104
2922   Walk The Moon              Anna Sun                            Sony Music Entertainment     SR0000709118
2923   WALK THE MOON              Next In Line                        Sony Music Entertainment     SR0000709118
2924   WALK THE MOON              Tightrope                           Sony Music Entertainment     SR0000709118
2925   Warrant                    32 Pennies                          Sony Music Entertainment     SR0000103108
2926   Warrant                    Bed Of Roses                        Sony Music Entertainment     SR0000122785
2927   Warrant                    Big Talk                            Sony Music Entertainment     SR0000103108
2928   Warrant                    Cherry Pie                          Sony Music Entertainment     SR0000122785
2929   Warrant                    D.R.F.S.R.                          Sony Music Entertainment     SR0000103108
2930   Warrant                    Down Boys                           Sony Music Entertainment     SR0000103108
2931   Warrant                    Heaven                              Sony Music Entertainment     SR0000103108
2932   Warrant                    I Saw Red                           Sony Music Entertainment     SR0000122785
2933   Warrant                    Mr. Rainmaker                       Sony Music Entertainment     SR0000122785
2934   Warrant                    Sometimes She Cries                 Sony Music Entertainment     SR0000103108
2935   Warrant                    Sure Feels Good to Me               Sony Music Entertainment     SR0000122785
2936   Warrant                    The Hole In My Wall                 Sony Music Entertainment     SR0000146976
2937   Warrant                    Train, Train                        Sony Music Entertainment     SR0000122785
2938   Warrant                    Uncle Tom's Cabin                   Sony Music Entertainment     SR0000122785
2939   Weird Al Yankovic          (This Song's Just) Six Words Long   Sony Music Entertainment     SR0000088931
2940   Weird Al Yankovic          Alimony                             Sony Music Entertainment     SR0000088931
2941   Weird Al Yankovic          Another One Rides The Bus           Sony Music Entertainment     SR0000046144
                                  Attack Of The Radioactive
                                  Hamsters From A Planet Near
2942   Weird Al Yankovic          Mars                                Sony Music Entertainment     SR0000108100
2943   Weird Al Yankovic          Buckingham Blues                    Sony Music Entertainment     SR0000046320
2944   Weird Al Yankovic          Buy Me A Condo                      Sony Music Entertainment     SR0000054056
2945   Weird Al Yankovic          Cable TV                            Sony Music Entertainment     SR0000068020
2946   Weird Al Yankovic          Christmas At Ground Zero            Sony Music Entertainment     SR0000078099
2947   Weird Al Yankovic          Dare To Be Stupid                   Sony Music Entertainment     SR0000068020
2948   Weird Al Yankovic          Dog Eat Dog                         Sony Music Entertainment     SR0000078099
2949   Weird Al Yankovic          Eat It                              Sony Music Entertainment     SR0000054439
2950   Weird Al Yankovic          Fat                                 Sony Music Entertainment     SR0000088931
2951   Weird Al Yankovic          Fun Zone                            Sony Music Entertainment     SR0000108100
2952   Weird Al Yankovic          Gandhi II                           Sony Music Entertainment     SR0000108100
2953   Weird Al Yankovic          Generic Blues                       Sony Music Entertainment     SR0000108100
2954   Weird Al Yankovic          George Of The Jungle                Sony Music Entertainment     SR0000068020
2955   Weird Al Yankovic          Girls Just Want To Have Lunch       Sony Music Entertainment     SR0000068020
2956   Weird Al Yankovic          Good Enough For Now                 Sony Music Entertainment     SR0000078099
2957   Weird Al Yankovic          Good Old Days                       Sony Music Entertainment     SR0000088931



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                Artist                      Track                         Plaintiff             Registration_Number
2958   Weird Al Yankovic    Gotta Boogie                      Sony Music Entertainment       SR0000046144
2959   Weird Al Yankovic    Happy Birthday                    Sony Music Entertainment       SR0000046144
2960   Weird Al Yankovic    Here's Johnny                     Sony Music Entertainment       SR0000078099
2961   Weird Al Yankovic    Hooked On Polkas                  Sony Music Entertainment       SR0000068020
2962   Weird Al Yankovic    I Lost On Jeopardy                Sony Music Entertainment       SR0000054056
2963   Weird Al Yankovic    I Love Rocky Road                 Sony Music Entertainment       SR0000046144
2964   Weird Al Yankovic    I Want A New Duck                 Sony Music Entertainment       SR0000068020
2965   Weird Al Yankovic    I'll Be Mellow When I'm Dead      Sony Music Entertainment       SR0000046144
2966   Weird Al Yankovic    Isle Thing                        Sony Music Entertainment       SR0000108100
2967   Weird Al Yankovic    King Of Suede                     Sony Music Entertainment       SR0000054056
2968   Weird Al Yankovic    Lasagna                           Sony Music Entertainment       SR0000088931
2969   Weird Al Yankovic    Like A Surgeon                    Sony Music Entertainment       PA0000254936
2970   Weird Al Yankovic    Melanie                           Sony Music Entertainment       SR0000088931
2971   Weird Al Yankovic    Midnight Star                     Sony Music Entertainment       SR0000054056
                            Money for Nothing/Beverly
2972   Weird Al Yankovic    Hillbillies                       Sony Music Entertainment       SR0000108100
2973   Weird Al Yankovic    Mr. Frump In The Iron Lung        Sony Music Entertainment       SR0000046144
2974   Weird Al Yankovic    Mr. Popeil                        Sony Music Entertainment       SR0000054056
2975   Weird Al Yankovic    Nature Trail To Hell              Sony Music Entertainment       SR0000054056
2976   Weird Al Yankovic    One More Minute                   Sony Music Entertainment       SR0000068020
2977   Weird Al Yankovic    One Of Those Days                 Sony Music Entertainment       SR0000078099
2978   Weird Al Yankovic    Polka Party                       Sony Music Entertainment       SR0000078099
2979   Weird Al Yankovic    Polkas On 45                      Sony Music Entertainment       SR0000054056
2980   Weird Al Yankovic    Ricky                             Sony Music Entertainment       SR0000046320
2981   Weird Al Yankovic    She Drives Like Crazy             Sony Music Entertainment       SR0000108100
2982   Weird Al Yankovic    Spam                              Sony Music Entertainment       SR0000108100
2983   Weird Al Yankovic    Spatula City                      Sony Music Entertainment       SR0000108100
2984   Weird Al Yankovic    Stop Draggin' My Car Around       Sony Music Entertainment       SR0000046144
2985   Weird Al Yankovic    Such A Groovy Guy                 Sony Music Entertainment       SR0000046144
2986   Weird Al Yankovic    That Boy Could Dance              Sony Music Entertainment       SR0000054439
                            The Biggest Ball Of Twine In
2987   Weird Al Yankovic    Minnesota                         Sony Music Entertainment       SR0000108100
2988   Weird Al Yankovic    The Brady Bunch                   Sony Music Entertainment       SR0000054056
2989   Weird Al Yankovic    The Check's In The Mail           Sony Music Entertainment       SR0000046144
2990   Weird Al Yankovic    The Hot Rocks Polka               Sony Music Entertainment       SR0000108100
2991   Weird Al Yankovic    Theme From Rocky XIII             Sony Music Entertainment       SR0000054056
2992   Weird Al Yankovic    This Is The Life                  Sony Music Entertainment       SR0000068020
2993   Weird Al Yankovic    Toothless People                  Sony Music Entertainment       SR0000078099
2994   Weird Al Yankovic    Twister                           Sony Music Entertainment       SR0000088931
2995   Weird Al Yankovic    Uhf                               Sony Music Entertainment       SR0000108100
2996   Weird Al Yankovic    Velvet Elvis                      Sony Music Entertainment       SR0000088931
2997   Weird Al Yankovic    Yoda                              Sony Music Entertainment       SR0000068020
2998   Weird Al Yankovic    You Make Me                       Sony Music Entertainment       SR0000088931
2999   Will Smith           Just The Two Of Us                Sony Music Entertainment       SR0000249123
3000   Willie Nelson        Always On My Mind                 Sony Music Entertainment       SR0000034836
                            Angel Flying Too Close To The
3001   Willie Nelson        Ground                            Sony Music Entertainment       SR0000033917
3002   Willie Nelson        City Of New Orleans               Sony Music Entertainment       SR0000055605
3003   Willie Nelson        Forgiving You Was Easy            Sony Music Entertainment       SR0000064588
3004   Willie Nelson        Good Hearted Woman                Sony Music Entertainment       SR0000004979
3005   Willie Nelson        Graceland                         Sony Music Entertainment       SR0000153066
                            Last Thing I Needed First Thing
3006   Willie Nelson        This Morning                      Sony Music Entertainment       SR0000034842



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                 Artist                         Track                             Plaintiff              Registration_Number
                                   My Heroes Have Always Been
3007   Willie Nelson               Cowboys                            Sony Music Entertainment         SR0000015871
3008   Willie Nelson               On The Road Again                  Sony Music Entertainment         SR0000034019
       Willie Nelson with Ray
3009   Charles                     Seven Spanish Angels               Sony Music Entertainment         SR0000058443
       Willie Nelson with Ray
3010   Price                       Faded Love                         Sony Music Entertainment         SR0000019676
3011   Electric Light Orchestra    Confusion                          Sony Music Entertainment         SR0000012943
3012   Electric Light Orchestra    Don't Bring Me Down                Sony Music Entertainment         SR0000012943
3013   Electric Light Orchestra    Last Train to London               Sony Music Entertainment         SR0000012943
3014   Electric Light Orchestra    The Diary Of Horace Wimp           Sony Music Entertainment         SR0000012943
                                                                      Sony Music Entertainment US
3015   Marc Anthony                A Quién Quiero Mentirle            Latin LLC                        SR0000654928
                                                                      Sony Music Entertainment US
3016   Marc Anthony                Amada Amante                       Latin LLC                        SR0000654928
                                                                      Sony Music Entertainment US
3017   Marc Anthony                Te Lo Pido Por Favor               Latin LLC                        SR0000654928
                                                                      Sony Music Entertainment US
3018   Marc Anthony                Y Cómo Es El                       Latin LLC                        SR0000654928
                                                                      Sony Music Entertainment US
3019   Shakira                     La Tortura                         Latin LLC                        SR0000711081
                                   A Complicated Song (Parody of
3020   Weird Al Yankovic           "Complicated" by Avril Lavigne)    Volcano Entertainment III, LLC   SR0000331347
3021   Weird Al Yankovic           Achy Breaky Song                   Volcano Entertainment III, LLC   SR0000184456
3022   Weird Al Yankovic           Airline Amy                        Volcano Entertainment III, LLC   SR0000251666
3023   Weird Al Yankovic           Amish Paradise                     Volcano Entertainment III, LLC   SR0000225008
3024   Weird Al Yankovic           Angry White Boy Polka              Volcano Entertainment III, LLC   SR0000331347
3025   Weird Al Yankovic           Bedrock Anthem                     Volcano Entertainment III, LLC   SR0000184456
3026   Weird Al Yankovic           Bob                                Volcano Entertainment III, LLC   SR0000331347
3027   Weird Al Yankovic           Bohemian Polka                     Volcano Entertainment III, LLC   SR0000184456
3028   Weird Al Yankovic           Callin' In Sick                    Volcano Entertainment III, LLC   SR0000225008
                                   Cavity Search (Paody of "Hold
                                   Me, Thrill Me, Kiss Me, Kill Me"
3029   Weird Al Yankovic           by U2)                             Volcano Entertainment III, LLC   SR0000225008
                                   Couch Potato (Parody of "Lose
3030   Weird Al Yankovic           Yourself" by Eminem)               Volcano Entertainment III, LLC   SR0000331347
                                   Ebay (Parody of "I Want It That
3031   Weird Al Yankovic           Way" by the Backstreet Boys)       Volcano Entertainment III, LLC   SR0000331347
3032   Weird Al Yankovic           Everything You Know Is Wrong       Volcano Entertainment III, LLC   SR0000225008
3033   Weird Al Yankovic           Frank's 2000" TV                   Volcano Entertainment III, LLC   SR0000184456
3034   Weird Al Yankovic           Genius In France                   Volcano Entertainment III, LLC   SR0000331347
                                   Gump (Parody of "Lump" by The
3035   Weird Al Yankovic           Presidents Of The United States)   Volcano Entertainment III, LLC   SR0000225008
3036   Weird Al Yankovic           Hardware Store                     Volcano Entertainment III, LLC   SR0000331347
3037   Weird Al Yankovic           I Can't Watch This                 Volcano Entertainment III, LLC   SR0000251666
3038   Weird Al Yankovic           I Remember Larry                   Volcano Entertainment III, LLC   SR0000225008
3039   Weird Al Yankovic           I Was Only Kidding                 Volcano Entertainment III, LLC   SR0000251666
3040   Weird Al Yankovic           I'm So Sick Of You                 Volcano Entertainment III, LLC   SR0000225008
3041   Weird Al Yankovic           Jurassic Park                      Volcano Entertainment III, LLC   SR0000184456
3042   Weird Al Yankovic           Livin' In The Fridge               Volcano Entertainment III, LLC   SR0000184456
                                   Ode To A Superhero (Parody of
3043   Weird Al Yankovic           "Piano Man" by Billy Joel)         Volcano Entertainment III, LLC   SR0000331347
3044   Weird Al Yankovic           Party At The Leper Colony          Volcano Entertainment III, LLC   SR0000331347




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                Artist                     Track                       Plaintiff               Registration_Number
                            Phony Calls (Parody of
3045   Weird Al Yankovic    "Waterfalls" by TLC)           Volcano Entertainment III, LLC    SR0000225008
3046   Weird Al Yankovic    Polka Your Eyes Out            Volcano Entertainment III, LLC    SR0000251666
                            She Never Told Me She Was A
3047   Weird Al Yankovic    Mime                           Volcano Entertainment III, LLC    SR0000184456
3048   Weird Al Yankovic    Smells Like Nirvana            Volcano Entertainment III, LLC    SR0000251666
3049   Weird Al Yankovic    Spy Hard                       Volcano Entertainment III, LLC    SR0000251798
                            Syndicated Inc. (Parody of
3050   Weird Al Yankovic    "Misery" by Soul Asylum)       Volcano Entertainment III, LLC    SR0000225008
3051   Weird Al Yankovic    Taco Grande                    Volcano Entertainment III, LLC    SR0000251666
3052   Weird Al Yankovic    Talk Soup                      Volcano Entertainment III, LLC    SR0000184456
3053   Weird Al Yankovic    The Alternative Polka          Volcano Entertainment III, LLC    SR0000225008
3054   Weird Al Yankovic    The Night Santa Went Crazy     Volcano Entertainment III, LLC    SR0000225008
3055   Weird Al Yankovic    The Plumbing Song              Volcano Entertainment III, LLC    SR0000251666
3056   Weird Al Yankovic    The White Stuff                Volcano Entertainment III, LLC    SR0000251666
3057   Weird Al Yankovic    Traffic Jam                    Volcano Entertainment III, LLC    SR0000184456
                            Trash Day (Parody of "Hot In
3058   Weird Al Yankovic    Herre" by Nelly)               Volcano Entertainment III, LLC    SR0000331347
3059   Weird Al Yankovic    Trigger Happy                  Volcano Entertainment III, LLC    SR0000251666
3060   Weird Al Yankovic    Waffle King                    Volcano Entertainment III, LLC    SR0000184456
3061   Weird Al Yankovic    Wanna B Ur Lovr                Volcano Entertainment III, LLC    SR0000331347
                            Why Does This Always Happen To
3062   Weird Al Yankovic    Me?                            Volcano Entertainment III, LLC    SR0000331347
3063   Weird Al Yankovic    You Don't Love Me Anymore      Volcano Entertainment III, LLC    SR0000251666
3064   Weird Al Yankovic    Young, Dumb & Ugly             Volcano Entertainment III, LLC    SR0000184456
3065   Backstreet Boys      All I Have To Give             Zomba Recording LLC               SR0000250678
3066   Backstreet Boys      As Long As You Love Me         Zomba Recording LLC               SR0000250678
3067   Backstreet Boys      Drowning                       Zomba Recording LLC               SR0000291879
3068   Backstreet Boys      Everybody (Backstreet's Back)  Zomba Recording LLC               SR0000254065
3069   Backstreet Boys      I Want It That Way             Zomba Recording LLC               SR0000275134
3070   Backstreet Boys      I'll Never Break Your Heart    Zomba Recording LLC               SR0000250678
3071   Backstreet Boys      Larger Than Life               Zomba Recording LLC               SR0000275134
3072   Backstreet Boys      More Than That                 Zomba Recording LLC               SR0000289455
                            Quit Playing Games (With My
3073   Backstreet Boys      Heart)                         Zomba Recording LLC               SR0000250678
3074   Backstreet Boys      Shape Of My Heart              Zomba Recording LLC               SR0000289455
                            Show Me The Meaning Of Being
3075   Backstreet Boys      Lonely                         Zomba Recording LLC               SR0000275134
3076   Backstreet Boys      The Call                       Zomba Recording LLC               SR0000289455
3077   Backstreet Boys      The One                        Zomba Recording LLC               SR0000275134
3078   Bowling For Soup     1985                           Zomba Recording LLC               SR0000361081
3079   Bowling For Soup     A-hole                         Zomba Recording LLC               SR0000361081
3080   Bowling For Soup     Almost                         Zomba Recording LLC               SR0000361081
3081   Bowling For Soup     Down For The Count             Zomba Recording LLC               SR0000361081
3082   Bowling For Soup     Friends O' Mine                Zomba Recording LLC               SR0000361081
3083   Bowling For Soup     Get Happy                      Zomba Recording LLC               SR0000361081
3084   Bowling For Soup     Last Call Casualty             Zomba Recording LLC               SR0000361081
3085   Bowling For Soup     My Hometown                    Zomba Recording LLC               SR0000361081
3086   Bowling For Soup     Next Ex-Girlfriend             Zomba Recording LLC               SR0000361081
3087   Bowling For Soup     Ohio                           Zomba Recording LLC               SR0000361081
3088   Bowling For Soup     Really Might Be Gone           Zomba Recording LLC               SR0000361081
3089   Bowling For Soup     Ridiculous                     Zomba Recording LLC               SR0000361081
3090   Bowling For Soup     Sad Sad Situation              Zomba Recording LLC               SR0000361081



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                 Artist                       Track                         Plaintiff              Registration_Number
3091   Bowling For Soup        Shut-Up And Smile                 Zomba Recording LLC            SR0000361081
3092   Bowling For Soup        Smoothie King                     Zomba Recording LLC            SR0000361081
3093   Bowling For Soup        Trucker Hat                       Zomba Recording LLC            SR0000361081
3094   Bowling For Soup        Two-Seater                        Zomba Recording LLC            SR0000361081
3095   Britney Spears          (I've Just Begun) Having My Fun   Zomba Recording LLC            SR0000361774
3096   Britney Spears          (You Drive Me) Crazy              Zomba Recording LLC            SR0000260870
3097   Britney Spears          Amnesia                           Zomba Recording LLC            SR0000620789
3098   Britney Spears          Blur                              Zomba Recording LLC            SR0000620789
3099   Britney Spears          Circus                            Zomba Recording LLC            SR0000620789
                               Don't Let Me Be The Last One To
3100   Britney Spears          Know                              Zomba Recording LLC            SR0000285667
3101   Britney Spears          I Love Rock 'N' Roll              Zomba Recording LLC            SR0000301907
3102   Britney Spears          I'm a Slave 4 U                   Zomba Recording LLC            SR0000301907
3103   Britney Spears          I'm Not a Girl, Not Yet A Woman   Zomba Recording LLC            SR0000301907
3104   Britney Spears          If U Seek Amy                     Zomba Recording LLC            SR0000620789
3105   Britney Spears          Kill The Lights                   Zomba Recording LLC            SR0000620789
3106   Britney Spears          Lace and Leather                  Zomba Recording LLC            SR0000620789
3107   Britney Spears          Lucky                             Zomba Recording LLC            SR0000285667
3108   Britney Spears          Mannequin                         Zomba Recording LLC            SR0000620789
3109   Britney Spears          Mmm Papi                          Zomba Recording LLC            SR0000620789
3110   Britney Spears          My Baby                           Zomba Recording LLC            SR0000620789
                               My Prerogative (Boy Wunder
3111   Britney Spears          Radio Mix)                        Zomba Recording LLC            SR0000361774
3112   Britney Spears          Out From Under                    Zomba Recording LLC            SR0000620789
3113   Britney Spears          Overprotected                     Zomba Recording LLC            SR0000301907
3114   Britney Spears          Phonography                       Zomba Recording LLC            SR0000620789
3115   Britney Spears          Piece Of Me                       Zomba Recording LLC            SR0000609604
3116   Britney Spears          Radar                             Zomba Recording LLC            SR0000609604
3117   Britney Spears          Rock Me In                        Zomba Recording LLC            SR0000620789
3118   Britney Spears          Shattered Glass                   Zomba Recording LLC            SR0000609604
3119   Britney Spears          Sometimes                         Zomba Recording LLC            SR0000260870
3120   Britney Spears          Unusual You                       Zomba Recording LLC            SR0000620789
3121   Britney Spears          Womanizer                         Zomba Recording LLC            PA0001619000
       Britney Spears feat.
3122   Pharrell Williams       Boys                              Zomba Recording LLC            SR0000301907
                               I'm Your Angel (Duet With R.
3123   Céline Dion             Kelly)                            Zomba Recording LLC            SR0000204533
3124   Chris Brown             Damage                            Zomba Recording LLC            SR0000630132
3125   Chris Brown             Down                              Zomba Recording LLC            SR0000630132
3126   Chris Brown             Forever                           Zomba Recording LLC            SR0000613921
3127   Chris Brown             Gimme Whatcha Got                 Zomba Recording LLC            SR0000630132
3128   Chris Brown             Heart Ain't A Brain               Zomba Recording LLC            SR0000613921
3129   Chris Brown             Help Me                           Zomba Recording LLC            SR0000630132
3130   Chris Brown             Hold Up                           Zomba Recording LLC            SR0000630132
3131   Chris Brown             I Wanna Be                        Zomba Recording LLC            SR0000630132
3132   Chris Brown             I'll Call Ya                      Zomba Recording LLC            SR0000630132
3133   Chris Brown             Kiss Kiss                         Zomba Recording LLC            SR0000630132
3134   Chris Brown             Lottery                           Zomba Recording LLC            SR0000630132
3135   Chris Brown             Nice                              Zomba Recording LLC            SR0000630132
3136   Chris Brown             Picture Perfect                   Zomba Recording LLC            SR0000630132
3137   Chris Brown             Superhuman                        Zomba Recording LLC            SR0000613921
3138   Chris Brown             Take You Down                     Zomba Recording LLC            SR0000630132
3139   Chris Brown             Throwed                           Zomba Recording LLC            SR0000630132



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                 Artist                           Track                            Plaintiff            Registration_Number
3140   Chris Brown                  Wall To Wall                        Zomba Recording LLC          PA0001634637
3141   Chris Brown                  With You                            Zomba Recording LLC          SR0000630132
3142   Chris Brown                  You                                 Zomba Recording LLC          SR0000630132
3143   Ciara                        And I                               Zomba Recording LLC          SR0000355316
3144   Ciara                        Crazy                               Zomba Recording LLC          SR0000355316
3145   Ciara                        Goodies                             Zomba Recording LLC          SR0000355316
3146   Ciara                        Hotline                             Zomba Recording LLC          SR0000355316
3147   Ciara                        Lookin' At You                      Zomba Recording LLC          SR0000355316
3148   Ciara                        Ooh Baby                            Zomba Recording LLC          SR0000355316
3149   Ciara                        Other Chicks                        Zomba Recording LLC          SR0000355316
3150   Ciara                        Pick Up The Phone                   Zomba Recording LLC          SR0000355316
3151   Ciara                        The Title                           Zomba Recording LLC          SR0000355316
3152   Ciara                        Thug Style                          Zomba Recording LLC          SR0000355316
3153   Ciara feat. Missy Elliott    One, Two Step                       Zomba Recording LLC          SR0000355316
3154   Ciara feat. R. Kelly         Next To You                         Zomba Recording LLC          SR0000355316
       Donell Jones featuring
3155   Left-Eye                     U Know What's Up                    Zomba Recording LLC          PA0001280927
3156   Justin Timberlake            (And She Said) Take Me Now          Zomba Recording LLC          SR0000319834
3157   Justin Timberlake            (Another Song) All Over Again       Zomba Recording LLC          SR0000395943
3158   Justin Timberlake            (Oh No) What You Got                Zomba Recording LLC          SR0000319834
3159   Justin Timberlake            Chop Me Up                          Zomba Recording LLC          SR0000395943
3160   Justin Timberlake            Cry Me A River                      Zomba Recording LLC          SR0000319834
3161   Justin Timberlake            FutureSex / LoveSound               Zomba Recording LLC          SR0000395943
3162   Justin Timberlake            Last Night                          Zomba Recording LLC          SR0000319834
3163   Justin Timberlake            Let's Take A Ride                   Zomba Recording LLC          SR0000319834
3164   Justin Timberlake            Like I Love You                     Zomba Recording LLC          SR0000321888
3165   Justin Timberlake            Losing My Way                       Zomba Recording LLC          SR0000395943
                                    LoveStoned / I Think She Knows
3166   Justin Timberlake            Interlude                           Zomba Recording LLC          SR0000395943
                                    Medley: Sexy Ladies / Let Me Talk
3167   Justin Timberlake            to You (Prelude)                    Zomba Recording LLC          SR0000395943
3168   Justin Timberlake            My Love                             Zomba Recording LLC          SR0000395943
3169   Justin Timberlake            Never Again                         Zomba Recording LLC          SR0000319834
3170   Justin Timberlake            Nothin' Else                        Zomba Recording LLC          SR0000319834
3171   Justin Timberlake            Right For Me                        Zomba Recording LLC          SR0000319834
3172   Justin Timberlake            Rock Your Body                      Zomba Recording LLC          SR0000319834
3173   Justin Timberlake            Senorita                            Zomba Recording LLC          SR0000319834
3174   Justin Timberlake            Sexy Ladies                         Zomba Recording LLC          SR0000395943
3175   Justin Timberlake            Still On My Brain                   Zomba Recording LLC          SR0000319834
3176   Justin Timberlake            Summer Love                         Zomba Recording LLC          SR0000395943
3177   Justin Timberlake            Take It From Here                   Zomba Recording LLC          SR0000319834
3178   Justin Timberlake            Until The End Of Time               Zomba Recording LLC          SR0000395943
                                    What Goes Around... Comes
3179   Justin Timberlake            Around                              Zomba Recording LLC          SR0000395943
                                    What Goes Around.../...Comes
3180   Justin Timberlake            Around Interlude                    Zomba Recording LLC          SR0000395943
3181   Justin Timberlake            Damn Girl (feat. will.i.am)         Zomba Recording LLC          SR0000395943
3182   Three Days Grace             Born Like This                      Zomba Recording LLC          SR0000338429
3183   Three Days Grace             Burn                                Zomba Recording LLC          SR0000338429
3184   Three Days Grace             Drown                               Zomba Recording LLC          SR0000338429
3185   Three Days Grace             Get Out Alive                       Zomba Recording LLC          SR0000397604
3186   Three Days Grace             Gone Forever                        Zomba Recording LLC          SR0000397604
3187   Three Days Grace             I Hate Everything About You         Zomba Recording LLC          SR0000338429



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                Artist                        Track                           Plaintiff           Registration_Number
3188   Three Days Grace       It's All Over                      Zomba Recording LLC           SR0000397604
3189   Three Days Grace       Just Like You                      Zomba Recording LLC           SR0000338429
3190   Three Days Grace       Let It Die                         Zomba Recording LLC           SR0000397604
3191   Three Days Grace       Let You Down                       Zomba Recording LLC           SR0000338429
3192   Three Days Grace       Never Too Late                     Zomba Recording LLC           SR0000397604
3193   Three Days Grace       Now or Never                       Zomba Recording LLC           SR0000338429
3194   Three Days Grace       On My Own                          Zomba Recording LLC           SR0000397604
3195   Three Days Grace       One X                              Zomba Recording LLC           SR0000397604
3196   Three Days Grace       Over And Over                      Zomba Recording LLC           SR0000397604
3197   Three Days Grace       Overrated                          Zomba Recording LLC           SR0000338429
3198   Three Days Grace       Riot                               Zomba Recording LLC           SR0000397604
3199   Three Days Grace       Scared                             Zomba Recording LLC           SR0000338429
3200   Three Days Grace       Take Me Under                      Zomba Recording LLC           SR0000338429
3201   Three Days Grace       Time Of Dying                      Zomba Recording LLC           SR0000397604
3202   Three Days Grace       Wake Up                            Zomba Recording LLC           SR0000338429
       UGK (Underground       Int'l Players Anthem (I Choose
3203   Kingz)                 You) (Explicit)                    Zomba Recording LLC           PA0001634651
3204   Usher                  Confessions Part II Remix          Zomba Recording LLC           SR0000352165
3205   Usher                  My Boo                             Zomba Recording LLC           SR0000352165
3206   Usher                  Red Light                          Zomba Recording LLC           SR0000352165
3207   Usher                  Seduction                          Zomba Recording LLC           SR0000352165
3208   Usher & Alicia Keys    My Boo                             Zomba Recording LLC           SR0000352165
3209   Weird Al Yankovic      Albuquerque                        Zomba Recording LLC           SR0000275219
3210   Weird Al Yankovic      Germs                              Zomba Recording LLC           SR0000275219
                              Grapefruit Diet (Parody of "Zoot
                              Suit Riot" by Cherry Poppin'
3211   Weird Al Yankovic      Daddies)                           Zomba Recording LLC           SR0000275219
3212   Weird Al Yankovic      It's All About The Pentiums        Zomba Recording LLC           SR0000275219
                              Jerry Springer (Parody of "One
3213   Weird Al Yankovic      Week" by BareNaked Ladies)         Zomba Recording LLC           SR0000275219
                              My Baby's In Love With Eddie
3214   Weird Al Yankovic      Vedder                             Zomba Recording LLC           SR0000275219
3215   Weird Al Yankovic      Polka Power!                       Zomba Recording LLC           SR0000275219
                              Pretty Fly For A Rabbi (Parody of
                              "Pretty Fly (For A White Guy)" by
3216   Weird Al Yankovic      Offspring)                         Zomba Recording LLC           SR0000275219
                              The Saga Begins (Lyrical Adaption
3217   Weird Al Yankovic      of "American Pie")                 Zomba Recording LLC           SR0000275219
3218   Weird Al Yankovic      The Weird Al Show Theme            Zomba Recording LLC           SR0000275219
3219   Weird Al Yankovic      Truck Drivin' Song                 Zomba Recording LLC           SR0000275219
3220   Weird Al Yankovic      Your Horoscope For Today           Zomba Recording LLC           SR0000275219
3221   Whodini                Big Mouth                          Zomba Recording LLC           SR0000063110
3222   Whodini                Escape (I Need A Break)            Zomba Recording LLC           SR0000063110
3223   Whodini                Five Minutes Of Funk               Zomba Recording LLC           SR0000060859
3224   Whodini                Freaks Come Out At Night           Zomba Recording LLC           SR0000063110
3225   Whodini                Friends                            Zomba Recording LLC           SR0000060859
                                                  Universal Music Plaintiffs
3226   Avant                  Break Ya Back                      Capitol Records, LLC          SR0000648878
3227   Avant                  French Pedicure                    Capitol Records, LLC          SR0000648878
3228   Avant                  Involve Yourself                   Capitol Records, LLC          SR0000648878
3229   Avant                  Material Things                    Capitol Records, LLC          SR0000648878
3230   Avant                  Out of Character                   Capitol Records, LLC          SR0000648878
3231   Avant                  Perfect Gentleman                  Capitol Records, LLC          SR0000648878



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                 Artist                      Track                            Plaintiff             Registration_Number
3232   Avant                    Sailing                          Capitol Records, LLC            SR0000648878
3233   Avant                    Sensuality                       Capitol Records, LLC            SR0000648878
3234   Avant                    When It Hurts                    Capitol Records, LLC            SR0000649607
       Avant featuring Snoop
3235   Dogg                     Attention                         Capitol Records, LLC           SR0000648878
3236   Bastille                 Bad Blood                         Capitol Records, LLC           SR0000753441
3237   Bastille                 Bad Blood (Live Piano Version)    Capitol Records, LLC           SR0000753441
3238   Bastille                 Daniel in the Den                 Capitol Records, LLC           SR0000753441
3239   Bastille                 Durban Skies                      Capitol Records, LLC           SR0000748676
3240   Bastille                 Flaws                             Capitol Records, LLC           SR0000753441
3241   Bastille                 Get Home                          Capitol Records, LLC           SR0000753441
3242   Bastille                 Haunt                             Capitol Records, LLC           SR0000728185
3243   Bastille                 Haunt (Demo)                      Capitol Records, LLC           SR0000728185
3244   Bastille                 Icarus                            Capitol Records, LLC           SR0000753441
3245   Bastille                 Laughter Lines                    Capitol Records, LLC           SR0000748676
3246   Bastille                 Laura Palmer                      Capitol Records, LLC           SR0000753441
                                Laura Palmer (Abbey Road
3247   Bastille                 Sessions)                         Capitol Records, LLC           SR0000753441
3248   Bastille                 Oblivion                          Capitol Records, LLC           SR0000753441
3249   Bastille                 Of The Night                      Capitol Records, LLC           SR0000748676
3250   Bastille                 Overjoyed                         Capitol Records, LLC           SR0000728185
3251   Bastille                 Poet                              Capitol Records, LLC           SR0000748676
3252   Bastille                 Pompeii                           Capitol Records, LLC           SR0000753441
                                Previously On Other People's
3253   Bastille                 Heartache...                      Capitol Records, LLC           SR0000748676
3254   Bastille                 Skulls                            Capitol Records, LLC           SR0000748676
3255   Bastille                 Sleepsong                         Capitol Records, LLC           SR0000748676
3256   Bastille                 The Draw                          Capitol Records, LLC           SR0000748676
3257   Bastille                 The Silence                       Capitol Records, LLC           SR0000748676
3258   Bastille                 These Streets                     Capitol Records, LLC           SR0000753441
3259   Bastille                 Things We Lost in the Fire        Capitol Records, LLC           SR0000753441
                                Things We Lost in the Fire (Abbey
3260   Bastille                 Road Sessions)                    Capitol Records, LLC           SR0000753441
3261   Bastille                 Tuning Out...                     Capitol Records, LLC           SR0000748676
3262   Bastille                 Weight of Living, Pt. I           Capitol Records, LLC           SR0000753441
3263   Bastille                 Weight Of Living, Pt. II          Capitol Records, LLC           SR0000748676
3264   Bastille                 What Would You Do                 Capitol Records, LLC           SR0000748676
3265   Blind Melon              2X4                               Capitol Records, LLC           SR0000262682
3266   Blind Melon              All That I Need                   Capitol Records, LLC           SR0000336269
3267   Blind Melon              Car Seat (God's Presents)         Capitol Records, LLC           SR0000262682
3268   Blind Melon              Change                            Capitol Records, LLC           SR0000384161
3269   Blind Melon              Dear Ol' Dad                      Capitol Records, LLC           SR0000384161
3270   Blind Melon              Deserted                          Capitol Records, LLC           SR0000384161
3271   Blind Melon              Drive                             Capitol Records, LLC           SR0000384161
3272   Blind Melon              Dumptruck                         Capitol Records, LLC           SR0000262682
3273   Blind Melon              Galaxie                           Capitol Records, LLC           SR0000262682
3274   Blind Melon              Glitch                            Capitol Records, LLC           SR0000336269
3275   Blind Melon              Hell                              Capitol Records, LLC           SR0000336269
3276   Blind Melon              Holyman                           Capitol Records, LLC           SR0000384161
3277   Blind Melon              I Wonder                          Capitol Records, LLC           SR0000384161
3278   Blind Melon              John Sinclair (Explicit)          Capitol Records, LLC           SR0000336269
3279   Blind Melon              Lemonade                          Capitol Records, LLC           SR0000262682
3280   Blind Melon              Letters From A Porcupine          Capitol Records, LLC           SR0000336269



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                Artist                    Track                           Plaintiff           Registration_Number
3281   Blind Melon        Life Ain't So Shitty (Explicit)    Capitol Records, LLC          SR0000336269
3282   Blind Melon        Mouthful Of Cavities               Capitol Records, LLC          SR0000262682
3283   Blind Melon        New Life                           Capitol Records, LLC          SR0000262682
3284   Blind Melon        No Rain                            Capitol Records, LLC          SR0000384161
                          No Rain (Ripped Away Version)
3285   Blind Melon        (24-Bit Digitally Remastered 05)   Capitol Records, LLC          SR0000377592
3286   Blind Melon        Paper Scratcher                    Capitol Records, LLC          SR0000384161
3287   Blind Melon        Pull                               Capitol Records, LLC          SR0000336269
3288   Blind Melon        Seed To A Tree (Explicit)          Capitol Records, LLC          SR0000384161
3289   Blind Melon        Skinned                            Capitol Records, LLC          SR0000262682
3290   Blind Melon        Sleepyhouse                        Capitol Records, LLC          SR0000384161
3291   Blind Melon        Soak The Sin                       Capitol Records, LLC          SR0000384161
                          Soul One (24-Bit Digitally
3292   Blind Melon        Remastered 01)                     Capitol Records, LLC          SR0000377592
                          Soup (24-Bit Digitally
3293   Blind Melon        Remastered 01)                     Capitol Records, LLC          SR0000377592
3294   Blind Melon        St. Andrew's Fall                  Capitol Records, LLC          SR0000262682
3295   Blind Melon        St. Andrew's Hall                  Capitol Records, LLC          SR0000336269
3296   Blind Melon        Swallowed                          Capitol Records, LLC          SR0000336269
3297   Blind Melon        The Duke                           Capitol Records, LLC          SR0000262682
3298   Blind Melon        The Pusher                         Capitol Records, LLC          SR0000336269
3299   Blind Melon        Time                               Capitol Records, LLC          SR0000384161
3300   Blind Melon        Toes Across The Floor              Capitol Records, LLC          SR0000262682
3301   Blind Melon        Tones Of Home                      Capitol Records, LLC          SR0000384161
3302   Blind Melon        Vernie                             Capitol Records, LLC          SR0000262682
3303   Blind Melon        Walk                               Capitol Records, LLC          SR0000377592
3304   Blind Melon        Wilt                               Capitol Records, LLC          SR0000262682
3305   Capital Cities     Center Stage                       Capitol Records, LLC          SR0000725325
3306   Capital Cities     Chartreuse                         Capitol Records, LLC          SR0000725325
3307   Capital Cities     Chasing You                        Capitol Records, LLC          SR0000725325
                          Farrah Fawcett Hair (feat. Andre
3308   Capital Cities     3000)                              Capitol Records, LLC          SR0000725325

3309   Capital Cities     I Sold My Bed, But Not My Stereo Capitol Records, LLC            SR0000725325
3310   Capital Cities     Kangaroo Court                       Capitol Records, LLC        SR0000725325
3311   Capital Cities     Lazy Lies                            Capitol Records, LLC        SR0000725325
3312   Capital Cities     Love Away                            Capitol Records, LLC        SR0000725325
3313   Capital Cities     Origami                              Capitol Records, LLC        SR0000725325
3314   Capital Cities     Patience Gets Us Nowhere Fast        Capitol Records, LLC        SR0000725325
3315   Capital Cities     Safe and Sound                       Capitol Records, LLC        SR0000725325
3316   Capital Cities     Tell Me How To Live                  Capitol Records, LLC        SR0000725325
3317   Chris Cagle        Change Me                            Capitol Records, LLC        SR0000640838
3318   Chris Cagle        I Don't Wanna Live                   Capitol Records, LLC        SR0000640838
3319   Chris Cagle        If It Isn't One Thing                Capitol Records, LLC        SR0000640838
3320   Chris Cagle        It's Good To Be Back                 Capitol Records, LLC        SR0000640838
3321   Chris Cagle        Keep Me From Loving You              Capitol Records, LLC        SR0000640838
3322   Chris Cagle        Little Sundress                      Capitol Records, LLC        SR0000640838
3323   Chris Cagle        My Heart Move On                     Capitol Records, LLC        SR0000640838
3324   Chris Cagle        Never Ever Gone                      Capitol Records, LLC        SR0000640838
3325   Darius Rucker      Heartbreak Road                      Capitol Records, LLC        SR0000724693
                          I Will Love You Still (feat. Mallary
3326   Darius Rucker      Hope)                                Capitol Records, LLC        SR0000724693
3327   Darius Rucker      Leavin' The Light On                 Capitol Records, LLC        SR0000724693



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                Artist                   Track                            Plaintiff           Registration_Number
3328   Darius Rucker      Lie To Me                          Capitol Records, LLC          SR0000724693
3329   Darius Rucker      Lost In You                        Capitol Records, LLC          SR0000724693
                          Love Without You (feat. Sheryl
3330   Darius Rucker      Crow)                              Capitol Records, LLC          SR0000724693
3331   Darius Rucker      Miss You                           Capitol Records, LLC          SR0000724693
3332   Darius Rucker      Radio                              Capitol Records, LLC          SR0000724693
3333   Darius Rucker      Shine                              Capitol Records, LLC          SR0000724693
3334   Darius Rucker      Take Me Home                       Capitol Records, LLC          SR0000724693
3335   Darius Rucker      True Believers                     Capitol Records, LLC          SR0000724693
3336   Darius Rucker      Wagon Wheel                        Capitol Records, LLC          SR0000724693
3337   Eric Church        Give Me Back My Hometown           Capitol Records, LLC          SR0000741485
                          All I Wanna Do Is Make Love To
3338   Heart              You                                Capitol Records, LLC          SR0000114803
3339   Heart              Alone                              Capitol Records, LLC          SR0000088275
3340   Heart              Crazy On You                       Capitol Records, LLC          SR0000102964
3341   Heart              Dreamboat Annie                    Capitol Records, LLC          SR0000102964
3342   Heart              Heartless                          Capitol Records, LLC          SR0000102963
3343   Heart              If Looks Could Kill                Capitol Records, LLC          SR0000075726
3344   Heart              Magic Man                          Capitol Records, LLC          SR0000102964
3345   Heart              Never                              Capitol Records, LLC          SR0000075726
3346   Heart              Nothin' At All                     Capitol Records, LLC          SR0000075726

3347   Heart              Stranded (2000 Digital Remaster) Capitol Records, LLC            SR0000114803
3348   Heart              These Dreams                        Capitol Records, LLC         SR0000276088
3349   Heart              What About Love                     Capitol Records, LLC         SR0000075726
3350   Heart              Who Will You Run To                 Capitol Records, LLC         SR0000088275
                          Will You Be There (In The
3351   Heart              Morning)                            Capitol Records, LLC         SR0000212555
                          California Gurls (feat. Snoop
                          Dogg) (Armand Van Helden
3352   Katy Perry         Remix) (Explicit)                   Capitol Records, LLC         SR0000669922
3353   Katy Perry         Circle The Drain (Explicit)         Capitol Records, LLC         SR0000662268
3354   Katy Perry         Dressin' Up                         Capitol Records, LLC         SR0000695553
3355   Katy Perry         E.T.                                Capitol Records, LLC         SR0000681293
3356   Katy Perry         E.T. (feat. Kayne West)             Capitol Records, LLC         SR0000681293
3357   Katy Perry         Fingerprints                        Capitol Records, LLC         SR0000638214
3358   Katy Perry         Firework                            Capitol Records, LLC         SR0000662268
3359   Katy Perry         Hot N Cold                          Capitol Records, LLC         SR0000638214
                          Hummingbird Heartbeat
3360   Katy Perry         (Explicit)                          Capitol Records, LLC         SR0000662268
3361   Katy Perry         I Kissed A Girl                     Capitol Records, LLC         SR0000638214
3362   Katy Perry         I'm Still Breathing                 Capitol Records, LLC         SR0000638214
3363   Katy Perry         If You Can Afford Me                Capitol Records, LLC         SR0000638214
3364   Katy Perry         Last Friday Night (T.G.I.F.)        Capitol Records, LLC         SR0000662268
                          Last Friday Night (T.G.I.F.) (feat.
3365   Katy Perry         Missy Elliott)                      Capitol Records, LLC         SR0000695549
3366   Katy Perry         Lost                                Capitol Records, LLC         SR0000638213
3367   Katy Perry         Mannequin                           Capitol Records, LLC         SR0000638214
3368   Katy Perry         Not Like The Movies (Explicit)      Capitol Records, LLC         SR0000662268
3369   Katy Perry         One Of The Boys                     Capitol Records, LLC         SR0000638214
3370   Katy Perry         Part Of Me                          Capitol Records, LLC         SR0000695742
3371   Katy Perry         Peacock                             Capitol Records, LLC         SR0000662268
3372   Katy Perry         Pearl (Explicit)                    Capitol Records, LLC         SR0000662268



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                Artist                    Track                          Plaintiff            Registration_Number
3373   Katy Perry         Roar                              Capitol Records, LLC           SR0000734383
3374   Katy Perry         Self Inflicted                    Capitol Records, LLC           SR0000638214
3375   Katy Perry         Teenage Dream                     Capitol Records, LLC           SR0000662268
                          Teenage Dream (Kaskade Club
3376   Katy Perry         Remix)                            Capitol Records, LLC           SR0000662268
                          Teenage Dream (Kaskade Club
3377   Katy Perry         Remix) (Explicit)                 Capitol Records, LLC           SR0000662268
3378   Katy Perry         The One That Got Away             Capitol Records, LLC           SR0000662268
                          The One That Got Away
3379   Katy Perry         (Acoustic)                        Capitol Records, LLC           SR0000695553
                          The One That Got Away (Radio
3380   Katy Perry         Mix)                              Capitol Records, LLC           SR0000662268
3381   Katy Perry         Thinking Of You                   Capitol Records, LLC           SR0000638214
3382   Katy Perry         Ur So Gay                         Capitol Records, LLC           SR0000638214
3383   Katy Perry         Waking Up In Vegas                Capitol Records, LLC           SR0000638214
3384   Katy Perry         Who Am I Living For?              Capitol Records, LLC           SR0000695553
3385   Katy Perry         Who Am I Living For? (Explicit)   Capitol Records, LLC           SR0000662268
                          California Gurls (feat. Snoop
                          Dogg) (Passion Pit Main Mix)
3386   Katy Perry         (Explicit)                        Capitol Records, LLC           SR0000662268
3387   Keith Urban        All For You                       Capitol Records, LLC           SR0000697018
3388   Keith Urban        Black Leather Jacket              Capitol Records, LLC           SR0000733375
3389   Keith Urban        Come Back To Me                   Capitol Records, LLC           SR0000733375
3390   Keith Urban        Cop Car                           Capitol Records, LLC           SR0000733375
3391   Keith Urban        Even The Stars Fall 4 U           Capitol Records, LLC           SR0000733375
3392   Keith Urban        Georgia Woods                     Capitol Records, LLC           SR0000697018
3393   Keith Urban        Gonna B Good                      Capitol Records, LLC           SR0000733375
3394   Keith Urban        Good Thing                        Capitol Records, LLC           SR0000733375
3395   Keith Urban        Heart Like Mine                   Capitol Records, LLC           SR0000733375
3396   Keith Urban        Little Bit Of Everything          Capitol Records, LLC           SR0000733375
3397   Keith Urban        Long Hot Summer                   Capitol Records, LLC           SR0000697018
3398   Keith Urban        Love's Poster Child               Capitol Records, LLC           SR0000733375
3399   Keith Urban        Lucky Charm                       Capitol Records, LLC           SR0000733375
3400   Keith Urban        Raise 'Em Up                      Capitol Records, LLC           SR0000733375
3401   Keith Urban        Red Camaro                        Capitol Records, LLC           SR0000733375
3402   Keith Urban        Right On Back To You              Capitol Records, LLC           SR0000697018
3403   Keith Urban        Shame                             Capitol Records, LLC           SR0000733375
3404   Keith Urban        She's My 11                       Capitol Records, LLC           SR0000733375
3405   Keith Urban        Shut Out The Lights               Capitol Records, LLC           SR0000697018
3406   Keith Urban        Somewhere In My Car               Capitol Records, LLC           SR0000733375
3407   Keith Urban        Thank You                         Capitol Records, LLC           SR0000656739
3408   Keith Urban        We Were Us                        Capitol Records, LLC           SR0000733375
3409   Keith Urban        You Gonna Fly                     Capitol Records, LLC           SR0000697018
3410   Lady Antebellum    All For Love                      Capitol Records, LLC           SR0000724696
3411   Lady Antebellum    And The Radio Played              Capitol Records, LLC           SR0000724696
3412   Lady Antebellum    As You Turn Away                  Capitol Records, LLC           SR0000686148
3413   Lady Antebellum    Better Man                        Capitol Records, LLC           SR0000724696
                          Better Off Now (That You're
3414   Lady Antebellum    Gone)                             Capitol Records, LLC           SR0000724696
3415   Lady Antebellum    Can't Stand The Rain              Capitol Records, LLC           SR0000724696
3416   Lady Antebellum    Cold As Stone                     Capitol Records, LLC           SR0000686148
3417   Lady Antebellum    Compass                           Capitol Records, LLC           SR0000750709
3418   Lady Antebellum    Dancin' Away With My Heart        Capitol Records, LLC           SR0000686148



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                Artist                           Track                          Plaintiff            Registration_Number
3419   Lady Antebellum           Downtown                          Capitol Records, LLC           SR0000721174
3420   Lady Antebellum           Friday Night                      Capitol Records, LLC           SR0000686148
3421   Lady Antebellum           Generation Away                   Capitol Records, LLC           SR0000723786
3422   Lady Antebellum           Get To Me                         Capitol Records, LLC           SR0000724696
3423   Lady Antebellum           Golden                            Capitol Records, LLC           SR0000741953
3424   Lady Antebellum           Goodbye Town                      Capitol Records, LLC           SR0000724696
3425   Lady Antebellum           Heart Of The World                Capitol Records, LLC           SR0000686148
3426   Lady Antebellum           I Run To You                      Capitol Records, LLC           SR0000732681
3427   Lady Antebellum           It Ain't Pretty                   Capitol Records, LLC           SR0000724696
3428   Lady Antebellum           Just A Kiss                       Capitol Records, LLC           SR0000679267
3429   Lady Antebellum           Life As We Know It                Capitol Records, LLC           SR0000724696
3430   Lady Antebellum           Long Teenage Goodbye              Capitol Records, LLC           SR0000724696
3431   Lady Antebellum           Love I've Found In You            Capitol Records, LLC           SR0000686148
3432   Lady Antebellum           Nothin' Like The First Time       Capitol Records, LLC           SR0000724696
3433   Lady Antebellum           Singing Me Home                   Capitol Records, LLC           SR0000686148
3434   Lady Antebellum           Somewhere Love Remains            Capitol Records, LLC           SR0000686148
3435   Lady Antebellum           Wanted You More                   Capitol Records, LLC           SR0000686145
3436   Lady Antebellum           We Owned The Night                Capitol Records, LLC           SR0000686144
3437   Lady Antebellum           When You Were Mine                Capitol Records, LLC           SR0000686148
3438   Luke Bryan                Beer In The Headlights            Capitol Records, LLC           SR0000728445
3439   Luke Bryan                Better Than My Heart              Capitol Records, LLC           SR0000728445
3440   Luke Bryan                Blood Brothers                    Capitol Records, LLC           SR0000722027
3441   Luke Bryan                Crash My Party                    Capitol Records, LLC           SR0000722027
3442   Luke Bryan                Dirt Road Diary                   Capitol Records, LLC           SR0000722027
3443   Luke Bryan                Drink A Beer                      Capitol Records, LLC           SR0000728445
3444   Luke Bryan                Goodbye Girl                      Capitol Records, LLC           SR0000728445
3445   Luke Bryan                Out Like That                     Capitol Records, LLC           SR0000728445
3446   Luke Bryan                Play It Again                     Capitol Records, LLC           SR0000728445
3447   Luke Bryan                Shut It Down                      Capitol Records, LLC           SR0000728445
3448   Luke Bryan                Sunburnt Lips                     Capitol Records, LLC           SR0000728445
3449   Luke Bryan                That's My Kind Of Night           Capitol Records, LLC           SR0000728445
3450   Luke Bryan                We Run This Town                  Capitol Records, LLC           SR0000728445
3451   Luke Bryan                What Is It With You               Capitol Records, LLC           SR0000728445
                                 Your Mama Should've Named
3452   Luke Bryan                You Whiskey                       Capitol Records, LLC           SR0000728445
3453   Maze                      Changing Times                    Capitol Records, LLC           SR0000034187
3454   Maze                      Dee's Song (Live)                 Capitol Records, LLC           SR0000337846
3455   Maze                      Feel That You're Feelin'          Capitol Records, LLC           SR0000034187
3456   Maze                      Feel That You're Feelin' (Live)   Capitol Records, LLC           SR0000337846
3457   Maze                      Golden Time Of Day                Capitol Records, LLC           SR0000007973
3458   Maze                      I Wanna Thank You (Live)          Capitol Records, LLC           SR0000337846
3459   Maze                      I Want To Feel Wanted (Live)      Capitol Records, LLC           SR0000337846
3460   Maze                      Introduction                      Capitol Records, LLC           SR0000034187
3461   Maze                      Joy & Pain                        Capitol Records, LLC           SR0000034187
3462   Maze                      Joy And Pain                      Capitol Records, LLC           SR0000034187
3463   Maze                      Lady Of Magic                     Capitol Records, LLC           SR0000048450
3464   Maze                      Reason                            Capitol Records, LLC           SR0000034187
3465   Maze                      Running Away                      Capitol Records, LLC           SR0000034187
3466   Maze                      Running Away (Live)               Capitol Records, LLC           SR0000337846
3467   Maze                      We Are One (Live)                 Capitol Records, LLC           SR0000337846
3468   Maze                      You (Live)                        Capitol Records, LLC           SR0000337846
       Maze Featuring Frankie    Ain't It Strange (2004 Digital
3469   Beverly                   Remaster)                         Capitol Records, LLC           SR0000008107



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                Artist                         Track                             Plaintiff          Registration_Number
       Maze Featuring Frankie
3470   Beverly                   Back In Stride (Live)               Capitol Records, LLC         SR0000337846
       Maze Featuring Frankie    Call On Me (2004 Digital
3471   Beverly                   Remaster)                           Capitol Records, LLC         SR0000008107
       Maze Featuring Frankie    Feel That You're Feelin' (2004
3472   Beverly                   Digital Remaster)                   Capitol Records, LLC         SR0000008107
       Maze Featuring Frankie
3473   Beverly                   Freedom (South Africa) (Live)       Capitol Records, LLC         SR0000337846
       Maze Featuring Frankie
3474   Beverly                   Happy Feelings (Live)               Capitol Records, LLC         SR0000096013
       Maze Featuring Frankie    I Need You (1999 Digital
3475   Beverly                   Remaster)                           Capitol Records, LLC         SR0000007973
       Maze Featuring Frankie
3476   Beverly                   I Wanna Thank You                   Capitol Records, LLC         SR0000046840

       Maze Featuring Frankie    Lovely Inspiration (Instrumental)
3477   Beverly                   (2004 Digital Remaster)           Capitol Records, LLC           SR0000008107
       Maze Featuring Frankie    Song For My Mother (1999
3478   Beverly                   Digital Remaster)                 Capitol Records, LLC           SR0000007973
       Maze Featuring Frankie
3479   Beverly                   Timin' (2004 Digital Remaster)      Capitol Records, LLC         SR0000008107
                                 Too Many Games (Live) (24-Bit
       Maze Featuring Frankie    Remastered 02) (2003 Digital
3480   Beverly                   Remaster)                           Capitol Records, LLC         SR0000337846
       Maze Featuring Frankie    Welcome Home (2004 Digital
3481   Beverly                   Remaster)                           Capitol Records, LLC         SR0000008107
       Maze Featuring Frankie
3482   Beverly                   When You Love Someone (Live)        Capitol Records, LLC         SR0000337846
       Maze Featuring Frankie    Woman Is A Wonder (2004
3483   Beverly                   Digital Remaster)                   Capitol Records, LLC         SR0000008107
       Maze Featuring Frankie
3484   Beverly                   You (1999 Digital Remaster)         Capitol Records, LLC         SR0000351843
       Maze Featuring Frankie    You're Not The Same (1999
3485   Beverly                   Digital Remaster)                   Capitol Records, LLC         SR0000007973
       Maze Featuring Frankie
3486   Beverly                   Your Own Kind Of Way                Capitol Records, LLC         SR0000046840
                                 (I Can't Help) Falling In Love With
3487   UB40                      You                                 Capitol Records, LLC         SR0000205179
3488   UB40                      Breakfast In Bed                    Capitol Records, LLC         SR0000205152
3489   UB40                      Cherry Oh Baby                      Capitol Records, LLC         SR0000049244
3490   UB40                      Come Back Darling                   Capitol Records, LLC         SR0000178976
3491   UB40                      Don't Break My Heart                Capitol Records, LLC         SR0000205152
3492   UB40                      Here I Am (Come And Take Me)        Capitol Records, LLC         SR0000205179
3493   UB40                      Higher Ground                       Capitol Records, LLC         SR0000205179
3494   UB40                      I Got You Babe                      Capitol Records, LLC         SR0000205152
3495   UB40                      If It Happens Again                 Capitol Records, LLC         SR0000205152
3496   UB40                      Kingston Town                       Capitol Records, LLC         SR0000205179
3497   UB40                      One In Ten                          Capitol Records, LLC         SR0000205152
3498   UB40                      Please Don't Make Me Cry            Capitol Records, LLC         SR0000205152
3499   UB40                      Rat In Mi Kitchen                   Capitol Records, LLC         SR0000205152
3500   UB40                      Red Red Wine                        Capitol Records, LLC         SR0000205152
3501   UB40                      Sing Our Own Song (Edit)            Capitol Records, LLC         SR0000205152
                                 The Way You Do The Things You
3502   UB40                      Do                                  Capitol Records, LLC         SR0000205179



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                  Artist                     Track                        Plaintiff             Registration_Number
3503   UB40                 Until My Dying Day               Capitol Records, LLC            SR0000205179
3504   2 Chainz             Feds Watching                    UMG Recordings, Inc.            SR0000724645
3505   2 Chainz             Ghetto Dreams                    UMG Recordings, Inc.            SR0000706415
3506   2 Chainz             No Lie                           UMG Recordings, Inc.            SR0000700831
3507   2 Chainz             Wut We Doin?                     UMG Recordings, Inc.            SR0000706415
                            2 Of Amerikaz Most Wanted
3508   2Pac                 (Explicit)                       UMG Recordings, Inc.            SR0000628433
3509   2Pac                 Brenda's Got A Baby              UMG Recordings, Inc.            SR0000172261
3510   2Pac                 California Love                  UMG Recordings, Inc.            SR0000628433
3511   2Pac                 Can U Get Away (Explicit)        UMG Recordings, Inc.            SR0000198774
3512   2Pac                 Changes                          UMG Recordings, Inc.            SR0000246223
3513   2Pac                 Dear Mama                        UMG Recordings, Inc.            SR0000198941
3514   2Pac                 Death Around The Corner          UMG Recordings, Inc.            SR0000198774
3515   2Pac                 Definition Of A Thug N***a       UMG Recordings, Inc.            SR0000627960
3516   2Pac                 Dopefiend's Diner                UMG Recordings, Inc.            SR0000627960
3517   2Pac                 Fuck The World (Explicit)        UMG Recordings, Inc.            SR0000198774
3518   2Pac                 Ghetto Gospel (Explicit)         UMG Recordings, Inc.            SR0000366107
3519   2Pac                 Hail Mary                        UMG Recordings, Inc.            SR0000628433
3520   2Pac                 Heavy In The Game (Explicit)     UMG Recordings, Inc.            SR0000198774
3521   2Pac                 How Do U Want It                 UMG Recordings, Inc.            SR0000628433
3522   2Pac                 I Ain't Mad At Cha               UMG Recordings, Inc.            SR0000628433
3523   2Pac                 If I Die 2Nite                   UMG Recordings, Inc.            SR0000198774
3524   2Pac                 It Ain't Easy (Explicit)         UMG Recordings, Inc.            SR0000198774
3525   2Pac                 Keep Ya Head Up                  UMG Recordings, Inc.            SR0000152641
3526   2Pac                 Lord Knows                       UMG Recordings, Inc.            SR0000198774
3527   2Pac                 Me Against The World             UMG Recordings, Inc.            SR0000198774
3528   2Pac                 Never Call U B**** Again         UMG Recordings, Inc.            SR0000323532
3529   2Pac                 Old School (Explicit)            UMG Recordings, Inc.            SR0000198774
3530   2Pac                 Resist The Temptation            UMG Recordings, Inc.            SR0000628433
3531   2Pac                 So Many Tears                    UMG Recordings, Inc.            SR0000198774
3532   2Pac                 Still Ballin' (Explicit)         UMG Recordings, Inc.            SR0000323532
3533   2Pac                 Temptations (Explicit)           UMG Recordings, Inc.            SR0000198774

3534   2Pac                 They Don't Give A F**** About Us UMG Recordings, Inc.            SR0000323532
3535   2Pac                 Thugz Mansion (Explicit)         UMG Recordings, Inc.            SR0000323532
3536   2Pac                 Trapped                          UMG Recordings, Inc.            SR0000172261
3537   2Pac                 Unconditional Love               UMG Recordings, Inc.            SR0000246223
3538   2Pac                 Until The End Of Time            UMG Recordings, Inc.            SR0000295873
3539   2Pac                 When I Get Free (Explicit)       UMG Recordings, Inc.            SR0000627960
3540   2Pac                 Young Niggaz (Explicit)          UMG Recordings, Inc.            SR0000198774
3541   50 Cent              A Baltimore Love Thing           UMG Recordings, Inc.            SR0000366051
3542   50 Cent              Build You Up                     UMG Recordings, Inc.            SR0000366051
3543   50 Cent              Candy Shop                       UMG Recordings, Inc.            SR0000366051
3544   50 Cent              Come & Go                        UMG Recordings, Inc.            SR0000611234
3545   50 Cent              Disco Inferno                    UMG Recordings, Inc.            SR0000366950
3546   50 Cent              GATman And Robbin                UMG Recordings, Inc.            SR0000366051
3547   50 Cent              Get In My Car                    UMG Recordings, Inc.            SR0000366051
3548   50 Cent              God Gave Me Style                UMG Recordings, Inc.            SR0000366051
3549   50 Cent              Gunz Come Out                    UMG Recordings, Inc.            SR0000366051
3550   50 Cent              Hate It Or Love It               UMG Recordings, Inc.            SR0000366051
3551   50 Cent              Hustler's Ambition               UMG Recordings, Inc.            SR0000382030
3552   50 Cent              I Don't Need 'Em                 UMG Recordings, Inc.            SR0000366051
3553   50 Cent              I'm Supposed To Die Tonight      UMG Recordings, Inc.            SR0000366051



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                 Artist                   Track                        Plaintiff               Registration_Number
3554   50 Cent             Intro/ 50 Cent/ The Massacre     UMG Recordings, Inc.            SR0000366051
3555   50 Cent             Just A Lil Bit                   UMG Recordings, Inc.            SR0000366051
3556   50 Cent             My Toy Soldier                   UMG Recordings, Inc.            SR0000366051
3557   50 Cent             Outta Control                    UMG Recordings, Inc.            SR0000366051
3558   50 Cent             Piggy Bank                       UMG Recordings, Inc.            SR0000366051
3559   50 Cent             Position Of Power                UMG Recordings, Inc.            SR0000366051
3560   50 Cent             Ryder Music                      UMG Recordings, Inc.            SR0000366051
3561   50 Cent             Ski Mask Way                     UMG Recordings, Inc.            SR0000366051
3562   50 Cent             So Amazing                       UMG Recordings, Inc.            SR0000366051
3563   50 Cent             This Is 50                       UMG Recordings, Inc.            SR0000366051
3564   A Perfect Circle    A Stranger                       UMG Recordings, Inc.            SR0000341312
3565   A Perfect Circle    Crimes                           UMG Recordings, Inc.            SR0000341312
3566   A Perfect Circle    Gravity                          UMG Recordings, Inc.            SR0000341312
3567   A Perfect Circle    Lullaby                          UMG Recordings, Inc.            SR0000341312
3568   A Perfect Circle    Pet                              UMG Recordings, Inc.            SR0000341312
3569   A Perfect Circle    The Noose                        UMG Recordings, Inc.            SR0000341312
3570   A Perfect Circle    The Nurse Who Loved Me           UMG Recordings, Inc.            SR0000341312
3571   A Perfect Circle    Vanishing                        UMG Recordings, Inc.            SR0000341312
3572   A Perfect Circle    Weak And Powerless               UMG Recordings, Inc.            SR0000341312
3573   Ace Hood            Hustle Hard                      UMG Recordings, Inc.            SR0000674482
3574   Aerosmith           Amazing                          UMG Recordings, Inc.            SR0000200298
3575   Aerosmith           Angel                            UMG Recordings, Inc.            SR0000085369
3576   Aerosmith           Crazy                            UMG Recordings, Inc.            SR0000153061
3577   Aerosmith           Cryin'                           UMG Recordings, Inc.            SR0000153061
3578   Aerosmith           Deuces Are Wild                  UMG Recordings, Inc.            SR0000200298
3579   Aerosmith           Dude (Looks Like A Lady)         UMG Recordings, Inc.            SR0000087670
3580   Aerosmith           Livin' On The Edge               UMG Recordings, Inc.            SR0000678414
3581   Aerosmith           Love In An Elevator              UMG Recordings, Inc.            SRu000161912
3582   Aerosmith           Rag Doll                         UMG Recordings, Inc.            SR0000085369
3583   Aerosmith           What It Takes                    UMG Recordings, Inc.            SRu000161912
3584   Akon                Blown Away                       UMG Recordings, Inc.            SR0000610156
3585   Akon                Gangsta Bop                      UMG Recordings, Inc.            SR0000610156
3586   Akon                I Can't Wait                     UMG Recordings, Inc.            ap
3587   Akon                Mama Africa                      UMG Recordings, Inc.            SR0000610156
3588   Akon                Never Took The Time              UMG Recordings, Inc.            SR0000610156
3589   Akon                Once In A While                  UMG Recordings, Inc.            SR0000610156
3590   Akon                Shake Down                       UMG Recordings, Inc.            SR0000610156
3591   Akon                The Rain                         UMG Recordings, Inc.            SR0000610156
3592   Akon                Tired Of Runnin'                 UMG Recordings, Inc.            SR0000610156
3593   Alex Clare          Hands Are Clever                 UMG Recordings, Inc.            SR0000700527
3594   Alex Clare          Humming Bird                     UMG Recordings, Inc.            SR0000700527
3595   Alex Clare          I Won't Let You Down             UMG Recordings, Inc.            SR0000700527
3596   Alex Clare          Love You                         UMG Recordings, Inc.            SR0000700527
3597   Alex Clare          Relax My Beloved                 UMG Recordings, Inc.            SR0000700527
3598   Alex Clare          Sanctuary                        UMG Recordings, Inc.            SR0000700527
3599   Alex Clare          Treading Water                   UMG Recordings, Inc.            SR0000700527
3600   Alex Clare          Up All Night                     UMG Recordings, Inc.            SR0000700527
3601   Alex Clare          When Doves Cry                   UMG Recordings, Inc.            SR0000700527
3602   Alex Clare          Whispering                       UMG Recordings, Inc.            SR0000700527
3603   Amy Winehouse       (There Is) No Greater Love       UMG Recordings, Inc.            SR0000614121
3604   Amy Winehouse       A Song For You                   UMG Recordings, Inc.            SR0000695755
3605   Amy Winehouse       Addicted                         UMG Recordings, Inc.            SR0000407451




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              Artist                   Track                        Plaintiff               Registration_Number
3606   Amy Winehouse    Amy Amy Amy                      UMG Recordings, Inc.            SR0000614121
3607   Amy Winehouse    Back To Black                    UMG Recordings, Inc.            SR0000407451
3608   Amy Winehouse    Best Friends, Right?             UMG Recordings, Inc.            SR0000695755
3609   Amy Winehouse    Between The Cheats               UMG Recordings, Inc.            SR0000695755
3610   Amy Winehouse    Cupid                            UMG Recordings, Inc.            SR0000636832
3611   Amy Winehouse    Fuck Me Pumps                    UMG Recordings, Inc.            SR0000614121
3612   Amy Winehouse    Half Time                        UMG Recordings, Inc.            SR0000695755
3613   Amy Winehouse    He Can Only Hold Her             UMG Recordings, Inc.            SR0000407451
3614   Amy Winehouse    Hey Little Rich Girl             UMG Recordings, Inc.            SR0000636832
3615   Amy Winehouse    I Heard Love Is Blind            UMG Recordings, Inc.            SR0000614121
3616   Amy Winehouse    In My Bed                        UMG Recordings, Inc.            SR0000614121
3617   Amy Winehouse    Intro / Stronger Than Me         UMG Recordings, Inc.            SR0000614121
3618   Amy Winehouse    Just Friends                     UMG Recordings, Inc.            SR0000407451
3619   Amy Winehouse    Know You Now                     UMG Recordings, Inc.            SR0000614121
3620   Amy Winehouse    Like Smoke                       UMG Recordings, Inc.            SR0000695755
3621   Amy Winehouse    Love Is A Losing Game            UMG Recordings, Inc.            SR0000407451
3622   Amy Winehouse    Love Is A Losing Game (Demo)     UMG Recordings, Inc.            SR0000636832
3623   Amy Winehouse    Me & Mr Jones                    UMG Recordings, Inc.            SR0000407451
3624   Amy Winehouse    Monkey Man                       UMG Recordings, Inc.            SR0000636832
3625   Amy Winehouse    Moody's Mood For Love            UMG Recordings, Inc.            SR0000614121
                        Mr Magic (Through The
3626   Amy Winehouse    Smoke)(Janice Long Session)      UMG Recordings, Inc.            SR0000614121
3627   Amy Winehouse    October Song                     UMG Recordings, Inc.            SR0000614121
3628   Amy Winehouse    Our Day Will Come                UMG Recordings, Inc.            SR0000695755
3629   Amy Winehouse    Rehab                            UMG Recordings, Inc.            SR0000407451
3630   Amy Winehouse    Rehab (Remix)                    UMG Recordings, Inc.            SR0000407451
3631   Amy Winehouse    Some Unholy War                  UMG Recordings, Inc.            SR0000407451

3632   Amy Winehouse    Some Unholy War (Down Tempo) UMG Recordings, Inc.                SR0000636832
3633   Amy Winehouse    Someone To Watch Over Me      UMG Recordings, Inc.               SR0000613567
3634   Amy Winehouse    Stronger Than Me              UMG Recordings, Inc.               SR0000614121
                        Stronger Than Me (Harmonic 33
3635   Amy Winehouse    Remix)                        UMG Recordings, Inc.               SR0000614121
3636   Amy Winehouse    Take The Box                  UMG Recordings, Inc.               SR0000614121
3637   Amy Winehouse    Tears Dry                     UMG Recordings, Inc.               SR0000695755
3638   Amy Winehouse    Tears Dry On Their Own        UMG Recordings, Inc.               SR0000407451
3639   Amy Winehouse    The Girl From Ipanema         UMG Recordings, Inc.               SR0000695755
                        To Know Him Is To Love Him
3640   Amy Winehouse    (Live)                        UMG Recordings, Inc.               SR0000636832
3641   Amy Winehouse    Valerie                       UMG Recordings, Inc.               SR0000636832
3642   Amy Winehouse    Wake Up Alone                 UMG Recordings, Inc.               SR0000407451
3643   Amy Winehouse    What Is It About Men          UMG Recordings, Inc.               SR0000614121
                        Will You Still Love Me
3644   Amy Winehouse    Tomorrow?                     UMG Recordings, Inc.               SR0000695755
3645   Amy Winehouse    You Know I'm No Good          UMG Recordings, Inc.               SR0000407451
3646   Amy Winehouse    You Sent Me Flying            UMG Recordings, Inc.               SR0000614121
3647   Amy Winehouse    You're Wondering Now          UMG Recordings, Inc.               SR0000636832
3648   Ariana Grande    The Way                       UMG Recordings, Inc.               SR0000722427
3649   Avant            AV                            UMG Recordings, Inc.               SR0000339561
3650   Avant            Call On Me                    UMG Recordings, Inc.               SR0000308368
3651   Avant            Destiny                       UMG Recordings, Inc.               SR0000281220
3652   Avant            Director                      UMG Recordings, Inc.               SR0000396388
3653   Avant            Don't Say No, Just Say Yes    UMG Recordings, Inc.               SR0000341102



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                Artist                   Track                        Plaintiff               Registration_Number
3654   Avant              Don't Take Your Love Away        UMG Recordings, Inc.            SR0000339561
3655   Avant              Everything About You             UMG Recordings, Inc.            SR0000339561
3656   Avant              Exclusive                        UMG Recordings, Inc.            SR0000396388
3657   Avant              Feast                            UMG Recordings, Inc.            SR0000339561
3658   Avant              Flickin'                         UMG Recordings, Inc.            SR0000339561
3659   Avant              Get Away                         UMG Recordings, Inc.            SR0000281220
                          GPSA (Ghetto Public Service
3660   Avant              Announcement)                    UMG Recordings, Inc.            SR0000396388
3661   Avant              Grown Ass Man                    UMG Recordings, Inc.            SR0000396388
3662   Avant              Happy                            UMG Recordings, Inc.            SR0000281220
3663   Avant              Have Some Fun                    UMG Recordings, Inc.            SR0000339561
3664   Avant              Heaven                           UMG Recordings, Inc.            SR0000339561
3665   Avant              Hooked                           UMG Recordings, Inc.            SR0000339561
3666   Avant              I Wanna Know                     UMG Recordings, Inc.            SR0000281220
3667   Avant              Imagination                      UMG Recordings, Inc.            SR0000396388
3668   Avant              Jack & Jill                      UMG Recordings, Inc.            SR0000308368
3669   Avant              Let's Make a Deal                UMG Recordings, Inc.            SR0000281220
3670   Avant              Lie About Us                     UMG Recordings, Inc.            SR0000396388
3671   Avant              Love School                      UMG Recordings, Inc.            SR0000308368
3672   Avant              Makin' Good Love                 UMG Recordings, Inc.            SR0000308368
3673   Avant              Mr. Dream                        UMG Recordings, Inc.            SR0000396388
3674   Avant              My First Love                    UMG Recordings, Inc.            SR0000281220
3675   Avant              No Limit                         UMG Recordings, Inc.            SR0000308368
3676   Avant              Now You Got Someone              UMG Recordings, Inc.            SR0000396388
3677   Avant              One Way Street                   UMG Recordings, Inc.            SR0000308368
3678   Avant              Ooh Aah                          UMG Recordings, Inc.            SR0000281220
3679   Avant              Phone Sex (That's What's Up)     UMG Recordings, Inc.            SR0000339561
3680   Avant              Private Room Intro               UMG Recordings, Inc.            SR0000339561
3681   Avant              Reaction                         UMG Recordings, Inc.            SR0000281220
3682   Avant              Read Your Mind                   UMG Recordings, Inc.            SR0000344351
3683   Avant              Right Place, Wrong Time          UMG Recordings, Inc.            SR0000396388
3684   Avant              Seems To Be                      UMG Recordings, Inc.            SR0000339561
3685   Avant              Separated                        UMG Recordings, Inc.            SR0000281220
3686   Avant              Serious                          UMG Recordings, Inc.            SR0000281220
3687   Avant              Six In Da Morning                UMG Recordings, Inc.            SR0000308368
3688   Avant              So Many Ways                     UMG Recordings, Inc.            SR0000396388
3689   Avant              Sorry                            UMG Recordings, Inc.            SR0000308368
3690   Avant              Suicide                          UMG Recordings, Inc.            SR0000308368
3691   Avant              Thinkin' About You               UMG Recordings, Inc.            SR0000308368
3692   Avant              This Is Your Night               UMG Recordings, Inc.            SR0000396388
3693   Avant              This Time                        UMG Recordings, Inc.            SR0000281220
3694   Avant              Wanna Be Close                   UMG Recordings, Inc.            SR0000339561
3695   Avant              What Do You Want                 UMG Recordings, Inc.            SR0000308368
3696   Avant              Why                              UMG Recordings, Inc.            SR0000281220
3697   Avant              With You                         UMG Recordings, Inc.            SR0000396388
3698   Avant              You                              UMG Recordings, Inc.            SR0000339561
3699   Avant              You Ain't Right                  UMG Recordings, Inc.            SR0000308368
3700   Avant              You Got Me                       UMG Recordings, Inc.            SR0000339561
3701   Avant              You Know What                    UMG Recordings, Inc.            SR0000378385
3702   Bad Meets Evil     A Kiss                           UMG Recordings, Inc.            SR0000678636
3703   Bad Meets Evil     Above The Law                    UMG Recordings, Inc.            SR0000678636
3704   Bad Meets Evil     Above The Law (Explicit)         UMG Recordings, Inc.            SR0000678636
3705   Bad Meets Evil     Echo                             UMG Recordings, Inc.            SR0000678636



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                 Artist                   Track                        Plaintiff               Registration_Number
3706   Bad Meets Evil      Fast Lane                        UMG Recordings, Inc.            SR0000678637
3707   Bad Meets Evil      I'm On Everything                UMG Recordings, Inc.            SR0000678636
3708   Bad Meets Evil      I'm On Everything (Explicit)     UMG Recordings, Inc.            SR0000678636
3709   Bad Meets Evil      Lighters                         UMG Recordings, Inc.            SR0000678636
3710   Bad Meets Evil      Living Proof                     UMG Recordings, Inc.            SR0000678636
3711   Bad Meets Evil      Loud Noises                      UMG Recordings, Inc.            SR0000678636
3712   Bad Meets Evil      Loud Noises (Explicit)           UMG Recordings, Inc.            SR0000678636
3713   Bad Meets Evil      Take From Me                     UMG Recordings, Inc.            SR0000678636
3714   Bad Meets Evil      The Reunion                      UMG Recordings, Inc.            SR0000678636
3715   Bad Meets Evil      The Reunion (Explicit)           UMG Recordings, Inc.            SR0000678636
3716   Bad Meets Evil      Welcome 2 Hell                   UMG Recordings, Inc.            SR0000678636
3717   Bad Meets Evil      Welcome 2 Hell (Explicit)        UMG Recordings, Inc.            SR0000678636
3718   Big Sean            Beware                           UMG Recordings, Inc.            SR0000730543
3719   Big Sean            Celebrity                        UMG Recordings, Inc.            SR0000678630
3720   Big Sean            Dance (Ass)                      UMG Recordings, Inc.            SR0000678630
3721   Big Sean            Don't Tell Me You Love Me        UMG Recordings, Inc.            SR0000678630
3722   Big Sean            Get It                           UMG Recordings, Inc.            SR0000678630
3723   Big Sean            High                             UMG Recordings, Inc.            SR0000678630
3724   Big Sean            Intro                            UMG Recordings, Inc.            SR0000678630
3725   Big Sean            Marvin & Chardonnay              UMG Recordings, Inc.            SR0000678630
3726   Big Sean            Memories Pt 2                    UMG Recordings, Inc.            SR0000678630
3727   Big Sean            My House                         UMG Recordings, Inc.            SR0000678630
3728   Big Sean            So Much More                     UMG Recordings, Inc.            SR0000678630
3729   Big Sean            Wait For Me                      UMG Recordings, Inc.            SR0000678630
3730   Big Sean            What Goes Around                 UMG Recordings, Inc.            SR0000678630
3731   Billy Currington    23 Degrees And South             UMG Recordings, Inc.            SR0000730540
3732   Billy Currington    Another Day Without You          UMG Recordings, Inc.            SR0000730540
3733   Billy Currington    Banana Pancakes                  UMG Recordings, Inc.            SR0000730540
3734   Billy Currington    Closer Tonight                   UMG Recordings, Inc.            SR0000730540
3735   Billy Currington    Don't                            UMG Recordings, Inc.            SR0000617590
3736   Billy Currington    Every Reason Not To Go           UMG Recordings, Inc.            SR0000617590
3737   Billy Currington    Everything                       UMG Recordings, Inc.            SR0000617590
3738   Billy Currington    Hallelujah                       UMG Recordings, Inc.            SR0000730540
3739   Billy Currington    Hard To Be A Hippie              UMG Recordings, Inc.            SR0000730540
3740   Billy Currington    Heal Me                          UMG Recordings, Inc.            SR0000617590
3741   Billy Currington    Hey Girl                         UMG Recordings, Inc.            SR0000772290
3742   Billy Currington    I Shall Return                   UMG Recordings, Inc.            SR0000617590
3743   Billy Currington    Let Me Down Easy                 UMG Recordings, Inc.            SR0000664523
3744   Billy Currington    Life, Love And The Meaning Of    UMG Recordings, Inc.            SR0000617590
3745   Billy Currington    No One Has Eyes Like You         UMG Recordings, Inc.            SR0000617590
3746   Billy Currington    One Way Ticket                   UMG Recordings, Inc.            SR0000730540
3747   Billy Currington    People Are Crazy                 UMG Recordings, Inc.            SR0000617590
3748   Billy Currington    Swimmin' In Sunshine             UMG Recordings, Inc.            SR0000617590
3749   Billy Currington    That's How Country Boys Roll     UMG Recordings, Inc.            SR0000617590
3750   Billy Currington    Walk On                          UMG Recordings, Inc.            SR0000617590
3751   Billy Currington    We Are Tonight                   UMG Recordings, Inc.            SR0000730540
3752   Billy Currington    Wingman                          UMG Recordings, Inc.            SR0000730540
3753   Black Eyed Peas     Alive                            UMG Recordings, Inc.            SR0000633584
3754   Black Eyed Peas     Another Weekend                  UMG Recordings, Inc.            SR0000633584
3755   Black Eyed Peas     Boom Boom Pow                    UMG Recordings, Inc.            SR0000633584
3756   Black Eyed Peas     Do It Like This                  UMG Recordings, Inc.            SR0000670148
3757   Black Eyed Peas     Don't Bring Me Down              UMG Recordings, Inc.            SR0000633584




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                Artist                    Track                        Plaintiff               Registration_Number
3758   Black Eyed Peas     Don't Phunk Around               UMG Recordings, Inc.            SR0000633584
3759   Black Eyed Peas     Don't Stop The Party             UMG Recordings, Inc.            SR0000670148
3760   Black Eyed Peas     Electric City                    UMG Recordings, Inc.            SR0000633584
3761   Black Eyed Peas     I Gotta Feeling                  UMG Recordings, Inc.            SR0000633584
3762   Black Eyed Peas     Imma Be                          UMG Recordings, Inc.            SR0000633585
3763   Black Eyed Peas     Let's Get Re-Started             UMG Recordings, Inc.            SR0000633584
3764   Black Eyed Peas     Light Up The Night               UMG Recordings, Inc.            SR0000670148
3765   Black Eyed Peas     Mare                             UMG Recordings, Inc.            SR0000633584
3766   Black Eyed Peas     Meet Me Halfway                  UMG Recordings, Inc.            SR0000633584
3767   Black Eyed Peas     Missing You                      UMG Recordings, Inc.            SR0000633584
3768   Black Eyed Peas     Now Generation                   UMG Recordings, Inc.            SR0000633584
3769   Black Eyed Peas     One Tribe                        UMG Recordings, Inc.            SR0000633584
3770   Black Eyed Peas     Out Of My Head                   UMG Recordings, Inc.            SR0000633584
3771   Black Eyed Peas     Party All The Time               UMG Recordings, Inc.            SR0000633584
3772   Black Eyed Peas     Pump It Harder                   UMG Recordings, Inc.            SR0000633584
3773   Black Eyed Peas     Ring-A-Ling                      UMG Recordings, Inc.            SR0000633584
3774   Black Eyed Peas     Rock That Body                   UMG Recordings, Inc.            SR0000633584
3775   Black Eyed Peas     Rockin To The Beat               UMG Recordings, Inc.            SR0000633584
3776   Black Eyed Peas     Showdown                         UMG Recordings, Inc.            SR0000633584
3777   Black Eyed Peas     Shut Up                          UMG Recordings, Inc.            SR0000347870
3778   Black Eyed Peas     Simple Little Melody             UMG Recordings, Inc.            SR0000633584
3779   Black Eyed Peas     That's The Joint                 UMG Recordings, Inc.            SR0000633584
3780   Black Eyed Peas     The Time (Dirty Bit)             UMG Recordings, Inc.            SR0000717504
3781   Black Eyed Peas     Where Ya Wanna Go                UMG Recordings, Inc.            SR0000633584
3782   Blue October        18th Floor Balcony               UMG Recordings, Inc.            SR0000388117
3783   Blue October        Congratulations                  UMG Recordings, Inc.            SR0000388117

3784   Blue October        Drilled A Wire Through My Cheek UMG Recordings, Inc.             SR0000388117
3785   Blue October        Everlasting Friend              UMG Recordings, Inc.             SR0000388117
3786   Blue October        Hate Me                         UMG Recordings, Inc.             SR0000388117
3787   Blue October        Into The Ocean                  UMG Recordings, Inc.             SR0000388117
3788   Blue October        Let It Go                       UMG Recordings, Inc.             SR0000388117
3789   Blue October        Overweight (Explicit)           UMG Recordings, Inc.             SR0000388117
3790   Blue October        She's My Ride Home              UMG Recordings, Inc.             SR0000388117
3791   Blue October        Sound Of Pulling Heaven Down UMG Recordings, Inc.                SR0000388117
3792   Blue October        What If We Could                UMG Recordings, Inc.             SR0000388117
3793   Blue October        X-Amount Of Words               UMG Recordings, Inc.             SR0000388117
3794   Blue October        You Make Me Smile               UMG Recordings, Inc.             SR0000615154
3795   Bob Marley          Buffalo Soldier                 UMG Recordings, Inc.             SR0000045126
3796   Bob Marley          Could You Be Loved              UMG Recordings, Inc.             SR0000020594
3797   Bob Marley          Mr Brown                        UMG Recordings, Inc.             SR0000152585
3798   Bob Marley          One Love                        UMG Recordings, Inc.             RE0000926868
3799   Bob Marley          Three Little Birds              UMG Recordings, Inc.             N48538;RE0000926868
       Bob Marley & The
3800   Wailers             Exodus                           UMG Recordings, Inc.            N48538;RE0000926868
       Bob Marley & The
3801   Wailers             Get Up, Stand Up                 UMG Recordings, Inc.            NF137;RE0000931699
       Bob Marley & The
3802   Wailers             Jamming                          UMG Recordings, Inc.            N48538;RE0000926868
       Bob Marley & The
3803   Wailers             Misty Morning                    UMG Recordings, Inc.            SR0000001122
       Bob Marley & The
3804   Wailers             No Woman, No Cry                 UMG Recordings, Inc.            NF2048;RE0000906116



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                 Artist                  Track                           Plaintiff            Registration_Number
       Bob Marley & The    Rebel Music (3 O'Clock
3805   Wailers             Roadblock)                        UMG Recordings, Inc.           RE0000906116
       Bob Marley & The
3806   Wailers             Redemption Song                   UMG Recordings, Inc.           SR0000019502
       Bob Marley & The
3807   Wailers             Satisfy My Soul                   UMG Recordings, Inc.           SR0000001122
       Bob Marley & the
3808   Wailers             So Much Things To Say             UMG Recordings, Inc.           N48538;RE0000926868
       Bob Marley & the
3809   Wailers             Stir It Up                        UMG Recordings, Inc.           N8793;RE0000860333
       Bob Marley & The
3810   Wailers             Time Will Tell                    UMG Recordings, Inc.           SR0000001122
       Bob Marley & The
3811   Wailers             Waiting In Vain                   UMG Recordings, Inc.           N48538;RE0000926868
       Bob Marley & The
3812   Wailers             Who The Cap Fit                   UMG Recordings, Inc.           SR0000323536
3813   Brand New           At The Bottom                     UMG Recordings, Inc.           SR0000642061
3814   Brand New           Be Gone                           UMG Recordings, Inc.           SR0000642060
3815   Brand New           Bed                               UMG Recordings, Inc.           SR0000642060
3816   Brand New           Bought A Bride                    UMG Recordings, Inc.           SR0000642060
3817   Brand New           Daisy                             UMG Recordings, Inc.           SR0000642060
3818   Brand New           Gasoline                          UMG Recordings, Inc.           SR0000642060
3819   Brand New           In A Jar                          UMG Recordings, Inc.           SR0000642060
3820   Brand New           Noro                              UMG Recordings, Inc.           SR0000642060
3821   Brand New           Sink                              UMG Recordings, Inc.           SR0000642060
3822   Brand New           Vices                             UMG Recordings, Inc.           SR0000642060
3823   Brand New           You Stole                         UMG Recordings, Inc.           SR0000642060
3824   Carly Rae Jepsen    Beautiful                         UMG Recordings, Inc.           SR0000738473
3825   Carly Rae Jepsen    Curiosity                         UMG Recordings, Inc.           SR0000738473
3826   Carly Rae Jepsen    Drive                             UMG Recordings, Inc.           SR0000738473
3827   Carly Rae Jepsen    Guitar String / Wedding Ring      UMG Recordings, Inc.           SR0000738473
3828   Carly Rae Jepsen    Hurt So Good                      UMG Recordings, Inc.           SR0000738473
3829   Carly Rae Jepsen    I Know You Have A Girlfriend      UMG Recordings, Inc.           SR0000738473
3830   Carly Rae Jepsen    More Than A Memory                UMG Recordings, Inc.           SR0000738473
3831   Carly Rae Jepsen    Sweetie                           UMG Recordings, Inc.           SR0000738473
3832   Carly Rae Jepsen    This Kiss                         UMG Recordings, Inc.           SR0000709280
3833   Carly Rae Jepsen    Tiny Little Bows                  UMG Recordings, Inc.           SR0000738473
3834   Carly Rae Jepsen    Tonight I'm Getting Over You      UMG Recordings, Inc.           SR0000738473
3835   Carly Rae Jepsen    Turn Me Up                        UMG Recordings, Inc.           SR0000738473
3836   Carly Rae Jepsen    Wrong Feels So Right              UMG Recordings, Inc.           SR0000738473
3837   Carly Rae Jepsen    Your Heart Is A Muscle            UMG Recordings, Inc.           SR0000738473
3838   Chamillionaire      Fly As The Sky                    UMG Recordings, Inc.           SR0000381901
3839   Chamillionaire      Frontin'                          UMG Recordings, Inc.           SR0000381901
3840   Chamillionaire      Grown and Sexy                    UMG Recordings, Inc.           SR0000381901
3841   Chamillionaire      In The Trunk                      UMG Recordings, Inc.           SR0000381901
3842   Chamillionaire      No Snitchin'                      UMG Recordings, Inc.           SR0000381901
3843   Chamillionaire      Outro                             UMG Recordings, Inc.           SR0000381901
3844   Chamillionaire      Peepin' Me                        UMG Recordings, Inc.           SR0000381901
3845   Chamillionaire      Picture Perfect                   UMG Recordings, Inc.           SR0000381901
3846   Chamillionaire      Radio Interruption                UMG Recordings, Inc.           SR0000381901
3847   Chamillionaire      Rain                              UMG Recordings, Inc.           SR0000381901
3848   Chamillionaire      Ridin' (Explicit)                 UMG Recordings, Inc.           SR0000381901
3849   Chamillionaire      Southern Takeover                 UMG Recordings, Inc.           SR0000381901



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                Artist                   Track                        Plaintiff               Registration_Number
3850   Chamillionaire     Think I'm Crazy                  UMG Recordings, Inc.            SR0000381901
3851   Chamillionaire     Turn It Up                       UMG Recordings, Inc.            SR0000381901
3852   Chamillionaire     Void In My Life                  UMG Recordings, Inc.            SR0000381901
3853   Colbie Caillat     Battle                           UMG Recordings, Inc.            SR0000620297
3854   Colbie Caillat     Bubbly                           UMG Recordings, Inc.            SR0000620298
3855   Colbie Caillat     Capri                            UMG Recordings, Inc.            SR0000620297
3856   Colbie Caillat     Circles                          UMG Recordings, Inc.            SR0000619237
3857   Colbie Caillat     Feelings Show                    UMG Recordings, Inc.            SR0000620297
3858   Colbie Caillat     Magic                            UMG Recordings, Inc.            SR0000620297
3859   Colbie Caillat     Midnight Bottle                  UMG Recordings, Inc.            SR0000620297
3860   Colbie Caillat     One Fine Wire                    UMG Recordings, Inc.            SR0000620297
3861   Colbie Caillat     Oxygen                           UMG Recordings, Inc.            SR0000620297
3862   Colbie Caillat     Realize                          UMG Recordings, Inc.            SR0000620297
3863   Colbie Caillat     Somethin' Special                UMG Recordings, Inc.            SR0000615614
3864   Colbie Caillat     Tailor Made                      UMG Recordings, Inc.            SR0000620297
3865   Colbie Caillat     Tell Him                         UMG Recordings, Inc.            SR0000619237
3866   Colbie Caillat     The Little Things                UMG Recordings, Inc.            SR0000620297
3867   Colbie Caillat     Tied Down                        UMG Recordings, Inc.            SR0000620297
3868   Colbie Caillat     Turn Your Lights Down Low        UMG Recordings, Inc.            SR0000619237
3869   Common             Announcement                     UMG Recordings, Inc.            SR0000619987
3870   Common             Be (Intro)                       UMG Recordings, Inc.            SR0000377106
3871   Common             Changes                          UMG Recordings, Inc.            SR0000619987
3872   Common             Chi-City                         UMG Recordings, Inc.            SR0000377106
3873   Common             Everywhere                       UMG Recordings, Inc.            SR0000619987
3874   Common             Faithful                         UMG Recordings, Inc.            SR0000377106
3875   Common             Gladiator                        UMG Recordings, Inc.            SR0000619987
3876   Common             Go (Explicit Album Version)      UMG Recordings, Inc.            SR0000377106
3877   Common             Inhale                           UMG Recordings, Inc.            SR0000619987
3878   Common             It's Your World                  UMG Recordings, Inc.            SR0000377106
3879   Common             Love is...                       UMG Recordings, Inc.            SR0000377106
3880   Common             Make My Day                      UMG Recordings, Inc.            SR0000619987
3881   Common             Punch Drunk Love                 UMG Recordings, Inc.            SR0000619987
3882   Common             Real People                      UMG Recordings, Inc.            SR0000377106
3883   Common             Sex 4 Suga                       UMG Recordings, Inc.            SR0000619987
3884   Common             Testify                          UMG Recordings, Inc.            SR0000377106
3885   Common             The Bitch In Yoo (Explicit)      UMG Recordings, Inc.            SR0000656100
3886   Common             The Corner                       UMG Recordings, Inc.            SR0000369647
3887   Common             The Food                         UMG Recordings, Inc.            SR0000377106
3888   Common             They Say                         UMG Recordings, Inc.            SR0000377106
3889   Common             Universal Mind Control (UMC)     UMG Recordings, Inc.            SR0000617027
3890   Common             What A World                     UMG Recordings, Inc.            SR0000619987
3891   Counting Crows     A Murder Of One                  UMG Recordings, Inc.            SR0000172267
3892   Counting Crows     Anna Begins                      UMG Recordings, Inc.            SR0000345378
3893   Counting Crows     Ghost Train                      UMG Recordings, Inc.            SR0000172267
3894   Counting Crows     Mr. Jones                        UMG Recordings, Inc.            SR0000172267
3895   Counting Crows     Omaha                            UMG Recordings, Inc.            SR0000172267
3896   Counting Crows     Perfect Blue Buildings           UMG Recordings, Inc.            SR0000172267
3897   Counting Crows     Rain King                        UMG Recordings, Inc.            SR0000345378
3898   Counting Crows     Raining In Baltimore             UMG Recordings, Inc.            SR0000172267
3899   Counting Crows     Round Here                       UMG Recordings, Inc.            SR0000172267
3900   Counting Crows     Sullivan Street                  UMG Recordings, Inc.            SR0000172267
3901   Counting Crows     Time And Time Again              UMG Recordings, Inc.            SR0000172267




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                Artist                     Track                         Plaintiff               Registration_Number
3902   Daniel Bedingfield    Blown It Again                   UMG Recordings, Inc.            SR0000321977
3903   Daniel Bedingfield    Friday                           UMG Recordings, Inc.            SR0000321977
3904   Daniel Bedingfield    Girlfriend                       UMG Recordings, Inc.            SR0000321977

3905   Daniel Bedingfield    He Don't Love You Like I Love You UMG Recordings, Inc.           SR0000321977
3906   Daniel Bedingfield    Honest Questions                  UMG Recordings, Inc.           SR0000321977
3907   Daniel Bedingfield    Inflate My Ego                    UMG Recordings, Inc.           SR0000321977
3908   Daniel Bedingfield    James Dean (I Wanna Know)         UMG Recordings, Inc.           SR0000321977
3909   Daniel Bedingfield    Without The Girl                  UMG Recordings, Inc.           SR0000321977
3910   Disclosure            Latch                             UMG Recordings, Inc.           SR0000724303
3911   Dr. Dre               I Need A Doctor                   UMG Recordings, Inc.           SR0000674469
3912   Duffy                 Delayed Devotion                  UMG Recordings, Inc.           SR0000613340
3913   Duffy                 Distant Dreamer                   UMG Recordings, Inc.           SR0000613340
3914   Duffy                 Hanging On Too Long               UMG Recordings, Inc.           SR0000613340
3915   Duffy                 I'm Scared                        UMG Recordings, Inc.           SR0000613340
3916   Duffy                 Mercy                             UMG Recordings, Inc.           SR0000613340
3917   Duffy                 Rockferry                         UMG Recordings, Inc.           SR0000613340
3918   Duffy                 Serious                           UMG Recordings, Inc.           SR0000613340
3919   Duffy                 Stepping Stone                    UMG Recordings, Inc.           SR0000613340
3920   Duffy                 Syrup & Honey                     UMG Recordings, Inc.           SR0000613340
3921   Duffy                 Warwick Avenue                    UMG Recordings, Inc.           SR0000613340
3922   Easton Corbin         A Thing For You                   UMG Recordings, Inc.           SR0000709974
3923   Easton Corbin         All Over The Road                 UMG Recordings, Inc.           SR0000709974
3924   Easton Corbin         Are You With Me                   UMG Recordings, Inc.           SR0000709974
3925   Easton Corbin         Dance Real Slow                   UMG Recordings, Inc.           SR0000709974
3926   Easton Corbin         Hearts Drawn In The Sand          UMG Recordings, Inc.           SR0000709972
3927   Easton Corbin         I Think Of You                    UMG Recordings, Inc.           SR0000709972
3928   Easton Corbin         Lovin' You Is Fun                 UMG Recordings, Inc.           SR0000699451
3929   Easton Corbin         Only A Girl                       UMG Recordings, Inc.           SR0000710243
3930   Easton Corbin         That's Gonna Leave A Memory       UMG Recordings, Inc.           SR0000709974
3931   Easton Corbin         This Feels A Lot Like Love        UMG Recordings, Inc.           SR0000709974
3932   Easton Corbin         Tulsa Texas                       UMG Recordings, Inc.           SR0000709974
3933   Eli Young Band        Every Other Memory                UMG Recordings, Inc.           SR0000684024
3934   Eli Young Band        How Quickly You Forget            UMG Recordings, Inc.           SR0000684024
3935   Eli Young Band        Life At Best                      UMG Recordings, Inc.           SR0000684024
3936   Eli Young Band        My Old Man's Son                  UMG Recordings, Inc.           SR0000684024
3937   Eli Young Band        On My Way                         UMG Recordings, Inc.           SR0000684024
3938   Eli Young Band        Recover                           UMG Recordings, Inc.           SR0000684024
3939   Eli Young Band        Say Goodnight                     UMG Recordings, Inc.           SR0000684024
3940   Eli Young Band        The Falling                       UMG Recordings, Inc.           SR0000684024
3941   Eli Young Band        War On A Desperate Man            UMG Recordings, Inc.           SR0000684024
3942   Ellie Goulding        Animal                            UMG Recordings, Inc.           SR0000752677
3943   Ellie Goulding        Anything Could Happen             UMG Recordings, Inc.           SR0000709961
3944   Ellie Goulding        Atlantis                          UMG Recordings, Inc.           SR0000709960
3945   Ellie Goulding        Believe Me                        UMG Recordings, Inc.           SR0000752677
3946   Ellie Goulding        Dead In The Water                 UMG Recordings, Inc.           SR0000709960
3947   Ellie Goulding        Don't Say A Word                  UMG Recordings, Inc.           SR0000709960
3948   Ellie Goulding        Every Time You Go                 UMG Recordings, Inc.           SR0000752677
3949   Ellie Goulding        Explosions                        UMG Recordings, Inc.           SR0000709960
3950   Ellie Goulding        Figure 8                          UMG Recordings, Inc.           SR0000709960
3951   Ellie Goulding        Guns And Horses                   UMG Recordings, Inc.           SR0000752677
3952   Ellie Goulding        Halcyon                           UMG Recordings, Inc.           SR0000709960
3953   Ellie Goulding        Hanging On                        UMG Recordings, Inc.           SR0000709960



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                 Artist                  Track                         Plaintiff               Registration_Number
3954   Ellie Goulding      Home                             UMG Recordings, Inc.            SR0000752677
3955   Ellie Goulding      Human                            UMG Recordings, Inc.            SR0000752677
3956   Ellie Goulding      I Know You Care                  UMG Recordings, Inc.            SR0000709960
3957   Ellie Goulding      In My City                       UMG Recordings, Inc.            SR0000709960
3958   Ellie Goulding      Joy                              UMG Recordings, Inc.            SR0000709960
3959   Ellie Goulding      Lights                           UMG Recordings, Inc.            SR0000671828
3960   Ellie Goulding      Little Dreams                    UMG Recordings, Inc.            SR0000752677
3961   Ellie Goulding      My Blood                         UMG Recordings, Inc.            SR0000709960
3962   Ellie Goulding      Only You                         UMG Recordings, Inc.            SR0000709960
3963   Ellie Goulding      Ritual                           UMG Recordings, Inc.            SR0000709960
3964   Ellie Goulding      Salt Skin                        UMG Recordings, Inc.            SR0000752677
3965   Ellie Goulding      Starry Eyed                      UMG Recordings, Inc.            SR0000664533

3966   Ellie Goulding      This Love (Will Be Your Downfall) UMG Recordings, Inc.           SR0000752677
3967   Ellie Goulding      Under The Sheets                  UMG Recordings, Inc.           SR0000752677
3968   Ellie Goulding      Wish I Stayed                     UMG Recordings, Inc.           SR0000752677
3969   Ellie Goulding      Without Your Love                 UMG Recordings, Inc.           SR0000709960
3970   Ellie Goulding      Your Biggest Mistake              UMG Recordings, Inc.           SR0000752677
3971   Ellie Goulding      Your Song                         UMG Recordings, Inc.           SR0000752677
3972   Elliott Smith       A Question Mark                   UMG Recordings, Inc.           SR0000241677
3973   Elliott Smith       Amity                             UMG Recordings, Inc.           SR0000241677
3974   Elliott Smith       Baby Britain                      UMG Recordings, Inc.           SR0000241677
3975   Elliott Smith       Bled White                        UMG Recordings, Inc.           SR0000241677
3976   Elliott Smith       Bottle Up And Explode!            UMG Recordings, Inc.           SR0000241677
3977   Elliott Smith       Bye                               UMG Recordings, Inc.           SR0000280584
3978   Elliott Smith       Can't Make A Sound                UMG Recordings, Inc.           SR0000280584
3979   Elliott Smith       Colorbars                         UMG Recordings, Inc.           SR0000280584
3980   Elliott Smith       Easy Way Out                      UMG Recordings, Inc.           SR0000280584
                           Everybody Cares, Everybody
3981   Elliott Smith       Understands                       UMG Recordings, Inc.           SR0000241677
3982   Elliott Smith       Everything Reminds Me Of Her      UMG Recordings, Inc.           SR0000280584
3983   Elliott Smith       I Better Be Quiet Now             UMG Recordings, Inc.           SR0000280584
3984   Elliott Smith       I Didn't Understand               UMG Recordings, Inc.           SR0000241677
                           In The Lost And Found (Honky
3985   Elliott Smith       Bach)/The Roost                   UMG Recordings, Inc.           SR0000280584
3986   Elliott Smith       Independence Day                  UMG Recordings, Inc.           SR0000241677
3987   Elliott Smith       Junk Bond Trader                  UMG Recordings, Inc.           SR0000280584
3988   Elliott Smith       Oh Well, okay                     UMG Recordings, Inc.           SR0000241677
3989   Elliott Smith       Pitseleh                          UMG Recordings, Inc.           SR0000241677
3990   Elliott Smith       Pretty Mary K                     UMG Recordings, Inc.           SR0000280584
3991   Elliott Smith       Somebody That I Used To Know UMG Recordings, Inc.                SR0000280584
3992   Elliott Smith       Stupidity Tries                   UMG Recordings, Inc.           SR0000280584
3993   Elliott Smith       Sweet Adeline                     UMG Recordings, Inc.           SR0000241677
3994   Elliott Smith       Tomorrow Tomorrow                 UMG Recordings, Inc.           SR0000241677
3995   Elliott Smith       Waltz #1                          UMG Recordings, Inc.           SR0000241677
3996   Elliott Smith       Wouldn't Mama Be Proud?           UMG Recordings, Inc.           SR0000280584
3997   Elton John          I Want Love                       UMG Recordings, Inc.           SR0000303795
3998   Eminem              (Curtains Up - Encore version)    UMG Recordings, Inc.           SR0000364769
3999   Eminem              25 To Life                        UMG Recordings, Inc.           SR0000653572
4000   Eminem              3 a.m.                            UMG Recordings, Inc.           SR0000633152
4001   Eminem              8 Mile                            UMG Recordings, Inc.           SR0000322706
4002   Eminem              Almost Famous                     UMG Recordings, Inc.           SR0000653572
4003   Eminem              Ass Like That                     UMG Recordings, Inc.           SR0000364769



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                Artist                  Track                            Plaintiff            Registration_Number
4004   Eminem             Bagpipes From Baghdad               UMG Recordings, Inc.         SR0000633152
4005   Eminem             Beautiful                           UMG Recordings, Inc.         SR0000633152
4006   Eminem             Berzerk                             UMG Recordings, Inc.         SR0000729822
4007   Eminem             Big Weenie                          UMG Recordings, Inc.         SR0000364769
4008   Eminem             Business                            UMG Recordings, Inc.         SR0000317924
4009   Eminem             Business (Explicit)                 UMG Recordings, Inc.         SR0000317924
4010   Eminem             Cinderella Man                      UMG Recordings, Inc.         SR0000653572
4011   Eminem             Cleanin' Out My Closet              UMG Recordings, Inc.         SR0000317924
4012   Eminem             Cold Wind Blows                     UMG Recordings, Inc.         SR0000653572
4013   Eminem             Crack A Bottle                      UMG Recordings, Inc.         SR0000642488
4014   Eminem             Crazy In Love                       UMG Recordings, Inc.         SR0000364769
4015   Eminem             Curtains Close (Skit)               UMG Recordings, Inc.         SR0000317924
4016   Eminem             Curtains Up                         UMG Recordings, Inc.         SR0000364769
4017   Eminem             Deja Vu                             UMG Recordings, Inc.         SR0000633152
4018   Eminem             Deja Vu (Explicit)                  UMG Recordings, Inc.         SR0000630739
4019   Eminem             Dr. West                            UMG Recordings, Inc.         SR0000633152
4020   Eminem             Drips                               UMG Recordings, Inc.         SR0000317924
4021   Eminem             Em Calls Paul                       UMG Recordings, Inc.         SR0000364769
4022   Eminem             Encore / Curtains Up                UMG Recordings, Inc.         SR0000364769
4023   Eminem             Encore/Curtains Down                UMG Recordings, Inc.         SR0000364769
4024   Eminem             Evil Deeds                          UMG Recordings, Inc.         SR0000364769
4025   Eminem             FACK                                UMG Recordings, Inc.         SR0000382840
4026   Eminem             FACK (Explicit)                     UMG Recordings, Inc.         SR0000382840
4027   Eminem             Final Thought (Skit)                UMG Recordings, Inc.         SR0000364769
4028   Eminem             Get You Mad                         UMG Recordings, Inc.         SR0000265774
4029   Eminem             Go To Sleep (Explicit)              UMG Recordings, Inc.         SR0000327127
4030   Eminem             Going Through Changes               UMG Recordings, Inc.         SR0000653572
4031   Eminem             Guilty Conscience                   UMG Recordings, Inc.         SR0000262686
4032   Eminem             Hailie's Song                       UMG Recordings, Inc.         SR0000317924
4033   Eminem             Hello                               UMG Recordings, Inc.         SR0000633152
4034   Eminem             Insane                              UMG Recordings, Inc.         SR0000633152
4035   Eminem             Intro                               UMG Recordings, Inc.         SR0000382840
4036   Eminem             Jimmy Crack Corn                    UMG Recordings, Inc.         SR0000405877
4037   Eminem             Just Don't Give A Fuck (Explicit)   UMG Recordings, Inc.         SR0000262686
4038   Eminem             Just Lose It                        UMG Recordings, Inc.         SR0000362082
4039   Eminem             Like Toy Soldiers                   UMG Recordings, Inc.         SR0000364769
4040   Eminem             Lose Yourself                       UMG Recordings, Inc.         SR0000322706
4041   Eminem             Love The Way You Lie                UMG Recordings, Inc.         SR0000653572
4042   Eminem             Love You More                       UMG Recordings, Inc.         SR0000364769
4043   Eminem             Medicine Ball                       UMG Recordings, Inc.         SR0000633152
4044   Eminem             Mockingbird                         UMG Recordings, Inc.         SR0000364769
4045   Eminem             Mosh                                UMG Recordings, Inc.         SR0000364769
4046   Eminem             Mr. Mathers                         UMG Recordings, Inc.         SR0000633152
4047   Eminem             Must Be The Ganja                   UMG Recordings, Inc.         SR0000633152
4048   Eminem             Must Be The Ganja (Explicit)        UMG Recordings, Inc.         SR0000642488
4049   Eminem             My 1st Single                       UMG Recordings, Inc.         SR0000364769
4050   Eminem             My Dad's Gone Crazy                 UMG Recordings, Inc.         SR0000317924
4051   Eminem             My Fault                            UMG Recordings, Inc.         SR0000262686
4052   Eminem             My Mom                              UMG Recordings, Inc.         SR0000633152
4053   Eminem             My Name Is                          UMG Recordings, Inc.         SR0000262686
4054   Eminem             Never Enough                        UMG Recordings, Inc.         SR0000364769
4055   Eminem             No Apologies                        UMG Recordings, Inc.         SR0000401289




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                Artist                    Track                       Plaintiff               Registration_Number
4056   Eminem             No Love                          UMG Recordings, Inc.            SR0000653572
4057   Eminem             Not Afraid                       UMG Recordings, Inc.            SR0000653571
4058   Eminem             Old Time's Sake                  UMG Recordings, Inc.            SR0000633157
4059   Eminem             Old Time's Sake (Explicit)       UMG Recordings, Inc.            SR0000642488
4060   Eminem             On Fire                          UMG Recordings, Inc.            SR0000653572
4061   Eminem             One Shot 2 Shot                  UMG Recordings, Inc.            SR0000364769
4062   Eminem             Paul                             UMG Recordings, Inc.            SR0000364769
4063   Eminem             Paul (Skit)                      UMG Recordings, Inc.            SR0000364769
4064   Eminem             Public Enemy #1                  UMG Recordings, Inc.            SR0000401289
4065   Eminem             Puke                             UMG Recordings, Inc.            SR0000364769
4066   Eminem             Rabbit Run                       UMG Recordings, Inc.            SR0000322706
4067   Eminem             Rain Man                         UMG Recordings, Inc.            SR0000364769
4068   Eminem             Rap God                          UMG Recordings, Inc.            SR0000735451
4069   Eminem             Ricky Ticky Toc                  UMG Recordings, Inc.            SR0000364769
4070   Eminem             Ridaz                            UMG Recordings, Inc.            SR0000659181
4071   Eminem             Same Song & Dance                UMG Recordings, Inc.            SR0000633152
4072   Eminem             Say Goodbye Hollywood            UMG Recordings, Inc.            SR0000317924
4073   Eminem             Say What You Say                 UMG Recordings, Inc.            SR0000317924
4074   Eminem             Seduction                        UMG Recordings, Inc.            SR0000653572
4075   Eminem             Shake That                       UMG Recordings, Inc.            SR0000382840
4076   Eminem             Sing For The Moment              UMG Recordings, Inc.            SR0000317924
4077   Eminem             So Bad                           UMG Recordings, Inc.            SR0000653572
4078   Eminem             Soldier                          UMG Recordings, Inc.            SR0000317924
4079   Eminem             Space Bound                      UMG Recordings, Inc.            SR0000653572
4080   Eminem             Spend Some Time                  UMG Recordings, Inc.            SR0000364769
4081   Eminem             Square Dance                     UMG Recordings, Inc.            SR0000317924
4082   Eminem             Stay Wide Awake                  UMG Recordings, Inc.            SR0000642488
4083   Eminem             Still Don't Give A Fuck          UMG Recordings, Inc.            SR0000262686
4084   Eminem             Superman                         UMG Recordings, Inc.            SR0000317924
4085   Eminem             Survival                         UMG Recordings, Inc.            SR0000735450
4086   Eminem             Talkin' 2 Myself                 UMG Recordings, Inc.            SR0000653572
4087   Eminem             Talkin' 2 Myself (Explicit)      UMG Recordings, Inc.            SR0000653572
4088   Eminem             The Kiss (Skit)                  UMG Recordings, Inc.            SR0000317924
4089   Eminem             The Monster                      UMG Recordings, Inc.            SR0000735452
4090   Eminem             The Re-Up                        UMG Recordings, Inc.            SR0000401289
4091   Eminem             The Real Slim Shady              UMG Recordings, Inc.            SR0000293541
4092   Eminem             The Way I Am                     UMG Recordings, Inc.            SR0000287944
4093   Eminem             Till I Collapse                  UMG Recordings, Inc.            SR0000317924
4094   Eminem             Tonya                            UMG Recordings, Inc.            SR0000633152
4095   Eminem             Untitled                         UMG Recordings, Inc.            SR0000653572
4096   Eminem             W.T.P.                           UMG Recordings, Inc.            SR0000653572
4097   Eminem             We As Americans                  UMG Recordings, Inc.            SR0000364769
4098   Eminem             We Made You                      UMG Recordings, Inc.            SR0000642488
4099   Eminem             When I'm Gone                    UMG Recordings, Inc.            SR0000382840
4100   Eminem             When The Music Stops             UMG Recordings, Inc.            SR0000317924
4101   Eminem             White America                    UMG Recordings, Inc.            SR0000317924
4102   Eminem             Without Me                       UMG Recordings, Inc.            SR0000317924
4103   Eminem             Won't Back Down                  UMG Recordings, Inc.            SR0000653572
4104   Eminem             Won't Back Down (Explicit)       UMG Recordings, Inc.            SR0000653572
4105   Eminem             Yellow Brick Road                UMG Recordings, Inc.            SR0000364769
4106   Eminem             You Don't Know                   UMG Recordings, Inc.            SR0000400225
4107   Eminem             You're Never Over                UMG Recordings, Inc.            SR0000653572




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                 Artist                   Track                         Plaintiff               Registration_Number
4108   Eminem               You're Never Over (Explicit)     UMG Recordings, Inc.            SR0000653572
4109   Eric Clapton         Cocaine                          UMG Recordings, Inc.            SR0000001112
4110   Eric Clapton         I Shot The Sheriff               UMG Recordings, Inc.            SR0000742060
4111   Eric Clapton         Knockin' On Heaven's Door        UMG Recordings, Inc.            SR0000742060
                                                                                             SR0000630877 (change to
4112   Eric Clapton         Lay Down Sally (Album Version)   UMG Recordings, Inc.            SR0000001112)
4113   Eric Clapton         Let It Grow                      UMG Recordings, Inc.            N16809;RE0000866829
                                                                                             SR0000630877 (change to
4114   Eric Clapton         Promises (Album Version)         UMG Recordings, Inc.            SR0000001112)
4115   Fall Out Boy         (Coffee's For Closers)           UMG Recordings, Inc.            SR0000620008
4116   Fall Out Boy         20 Dollar Nose Bleed             UMG Recordings, Inc.            SR0000620008
4117   Fall Out Boy         27                               UMG Recordings, Inc.            SR0000620008
4118   Fall Out Boy         Alone Together                   UMG Recordings, Inc.            SR0000720423
4119   Fall Out Boy         America's Suitehearts            UMG Recordings, Inc.            SR0000620002
4120   Fall Out Boy         Beat It                          UMG Recordings, Inc.            SR0000612452
4121   Fall Out Boy         Death Valley                     UMG Recordings, Inc.            SR0000720423

4122   Fall Out Boy         Disloyal Order Of Water Buffaloes UMG Recordings, Inc.           SR0000620008
                            Headfirst Slide Into Cooperstown
4123   Fall Out Boy         On A Bad Bet                      UMG Recordings, Inc.           SR0000620008
4124   Fall Out Boy         Just One Yesterday                UMG Recordings, Inc.           SR0000720423
4125   Fall Out Boy         Miss Missing You                  UMG Recordings, Inc.           SR0000720423
                            My Songs Know What You Did In
4126   Fall Out Boy         The Dark (Light Em Up)            UMG Recordings, Inc.           SR0000720423
4127   Fall Out Boy         Pavlove                           UMG Recordings, Inc.           SR0000620008
4128   Fall Out Boy         Rat A Tat                         UMG Recordings, Inc.           SR0000720423
4129   Fall Out Boy         Save Rock And Roll                UMG Recordings, Inc.           SR0000720423
4130   Fall Out Boy         She's My Winona                   UMG Recordings, Inc.           SR0000620008
4131   Fall Out Boy         The (Shipped) Gold Standard       UMG Recordings, Inc.           SR0000620008
4132   Fall Out Boy         The Mighty Fall                   UMG Recordings, Inc.           SR0000720423
4133   Fall Out Boy         The Phoenix                       UMG Recordings, Inc.           SR0000720423
4134   Fall Out Boy         Tiffany Blews                     UMG Recordings, Inc.           SR0000620008
4135   Fall Out Boy         w.a.m.s.                          UMG Recordings, Inc.           SR0000620008
4136   Fall Out Boy         West Coast Smoker                 UMG Recordings, Inc.           SR0000620008
4137   Fall Out Boy         What A Catch, Donnie              UMG Recordings, Inc.           SR0000620003
4138   Fall Out Boy         Where Did The Party Go            UMG Recordings, Inc.           SR0000720423
4139   Fall Out Boy         Young Volcanoes                   UMG Recordings, Inc.           SR0000720423
4140   Far East Movement    Like A G6                         UMG Recordings, Inc.           SR0000658290
4141   Far East Movement    Rocketeer                         UMG Recordings, Inc.           SR0000664587
4142   Feist                1234                              UMG Recordings, Inc.           SR0000406935
4143   Feist                Brandy Alexander                  UMG Recordings, Inc.           SR0000406936
4144   Feist                Gatekeeper                        UMG Recordings, Inc.           SR0000374394
4145   Feist                Honey Honey                       UMG Recordings, Inc.           SR0000406936
4146   Feist                How My Heart Behaves              UMG Recordings, Inc.           SR0000406936
4147   Feist                I Feel It All                     UMG Recordings, Inc.           SR0000406936
4148   Feist                Inside And Out                    UMG Recordings, Inc.           SR0000374394
4149   Feist                Intuition                         UMG Recordings, Inc.           SR0000406936
4150   Feist                Leisure Suite                     UMG Recordings, Inc.           SR0000374394
4151   Feist                Let It Die                        UMG Recordings, Inc.           SR0000374394
4152   Feist                Lonely Lonely                     UMG Recordings, Inc.           SR0000374394
4153   Feist                Mushaboom                         UMG Recordings, Inc.           SR0000388836
4154   Feist                My Moon My Man                    UMG Recordings, Inc.           SR0000620089
4155   Feist                Now At Last                       UMG Recordings, Inc.           SR0000374394



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               Artist                          Track                         Plaintiff               Registration_Number
4156   Feist                     One Evening                      UMG Recordings, Inc.            SR0000374394
4157   Feist                     Past In Present                  UMG Recordings, Inc.            SR0000406936
4158   Feist                     Sealion                          UMG Recordings, Inc.            SR0000406936
4159   Feist                     Secret Heart                     UMG Recordings, Inc.            SR0000374394
4160   Feist                     So Sorry                         UMG Recordings, Inc.            SR0000406936
4161   Feist                     The Limit To Your Love           UMG Recordings, Inc.            SR0000406936
4162   Feist                     The Park                         UMG Recordings, Inc.            SR0000406936
4163   Feist                     The Water                        UMG Recordings, Inc.            SR0000406936
4164   Feist                     Tout Doucement                   UMG Recordings, Inc.            SR0000374394
4165   Feist                     When I Was A Young Girl          UMG Recordings, Inc.            SR0000374394

4166   Fergie                    All That I Got (The Make Up Song) UMG Recordings, Inc.           SR0000393675
4167   Fergie                    Barracuda                         UMG Recordings, Inc.           SR0000613597
4168   Fergie                    Big Girls Don't Cry (Personal)    UMG Recordings, Inc.           SR0000393675
4169   Fergie                    Clumsy                            UMG Recordings, Inc.           SR0000393675
4170   Fergie                    Fergalicious                      UMG Recordings, Inc.           SR0000393675
4171   Fergie                    Finally                           UMG Recordings, Inc.           SR0000393675
4172   Fergie                    Glamorous                         UMG Recordings, Inc.           SR0000393675
4173   Fergie                    Here I Come                       UMG Recordings, Inc.           SR0000393675
4174   Fergie                    Labels Or Love                    UMG Recordings, Inc.           SR0000613598
4175   Fergie                    London Bridge                     UMG Recordings, Inc.           SR0000399946
4176   Fergie                    Losing My Ground                  UMG Recordings, Inc.           SR0000393675
4177   Fergie                    Mary Jane Shoes                   UMG Recordings, Inc.           SR0000393675
4178   Fergie                    Pedestal                          UMG Recordings, Inc.           SR0000393675
4179   Fergie                    Velvet                            UMG Recordings, Inc.           SR0000393675
4180   Fergie                    Voodoo Doll                       UMG Recordings, Inc.           SR0000393675
4181   Florence + The Machine    Between Two Lungs                 UMG Recordings, Inc.           SR0000645045
4182   Florence + The Machine    Blinding                          UMG Recordings, Inc.           SR0000645045
4183   Florence + The Machine    Cosmic Love                       UMG Recordings, Inc.           SR0000645045
4184   Florence + The Machine    Dog Days Are Over                 UMG Recordings, Inc.           SR0000645045
4185   Florence + The Machine    Girl With One Eye                 UMG Recordings, Inc.           SR0000645045
4186   Florence + The Machine    Howl                              UMG Recordings, Inc.           SR0000645045
4187   Florence + The Machine    Hurricane Drunk                   UMG Recordings, Inc.           SR0000645045
4188   Florence + The Machine    I'm Not Calling You A Liar        UMG Recordings, Inc.           SR0000645045
4189   Florence + The Machine    My Boy Builds Coffins             UMG Recordings, Inc.           SR0000645045
4190   Florence + The Machine    Rabbit Heart (Raise It Up)        UMG Recordings, Inc.           SR0000645045
4191   Florence + The Machine    You've Got The Love               UMG Recordings, Inc.           SR0000645045
4192   Frank Ocean               Bad Religion                      UMG Recordings, Inc.           SR0000704928
4193   Frank Ocean               Crack Rock                        UMG Recordings, Inc.           SR0000704928
4194   Frank Ocean               End                               UMG Recordings, Inc.           SR0000704928
4195   Frank Ocean               Fertilizer                        UMG Recordings, Inc.           SR0000704928
4196   Frank Ocean               Forrest Gump                      UMG Recordings, Inc.           SR0000704928
4197   Frank Ocean               Lost                              UMG Recordings, Inc.           SR0000704928
4198   Frank Ocean               Lost (Explicit)                   UMG Recordings, Inc.           SR0000704928
4199   Frank Ocean               Monks                             UMG Recordings, Inc.           SR0000704928
4200   Frank Ocean               Not Just Money                    UMG Recordings, Inc.           SR0000704928
4201   Frank Ocean               Pilot Jones                       UMG Recordings, Inc.           SR0000704928
4202   Frank Ocean               Pink Matter                       UMG Recordings, Inc.           SR0000704928
4203   Frank Ocean               Pyramids                          UMG Recordings, Inc.           SR0000704928
4204   Frank Ocean               Sierra Leone                      UMG Recordings, Inc.           SR0000704928
4205   Frank Ocean               Start                             UMG Recordings, Inc.           SR0000704928
4206   Frank Ocean               Super Rich Kids                   UMG Recordings, Inc.           SR0000704928
4207   Frank Ocean               Sweet Life                        UMG Recordings, Inc.           SR0000704928



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                 Artist                    Track                        Plaintiff              Registration_Number
4208   Frank Ocean         Thinkin Bout You                  UMG Recordings, Inc.           SR0000699626
4209   Frank Ocean         White                             UMG Recordings, Inc.           SR0000704928
4210   French Montana      Pop That                          UMG Recordings, Inc.           SR0000702917
4211   Gary Allan          As Long As You're Looking Back    UMG Recordings, Inc.           SR0000613393
4212   Gary Allan          Half Of My Mistakes               UMG Recordings, Inc.           SR0000613393
4213   Gary Allan          Like It's A Bad Thing             UMG Recordings, Inc.           SR0000613393
4214   Gary Allan          Living Hard                       UMG Recordings, Inc.           SR0000613393
4215   Gary Allan          She's So California               UMG Recordings, Inc.           SR0000613393
4216   Gary Allan          Trying To Matter                  UMG Recordings, Inc.           SR0000613393
4217   Gary Allan          Watching Airplanes                UMG Recordings, Inc.           SR0000613394
4218   Gary Allan          We Touched The Sun                UMG Recordings, Inc.           SR0000613393
4219   Gary Allan          Wrecking Ball                     UMG Recordings, Inc.           SR0000613393
4220   Gary Allan          Yesterday's Rain                  UMG Recordings, Inc.           SR0000613393
4221   George Strait       A Fire I Can't Put Out            UMG Recordings, Inc.           SR0000213745
4222   George Strait       Ace In The Hole                   UMG Recordings, Inc.           SR0000100975
4223   George Strait       Adalida                           UMG Recordings, Inc.           SR0000278184
4224   George Strait       All My Ex's Live In Texas         UMG Recordings, Inc.           SR0000358502
4225   George Strait       Am I Blue (Yes I'm Blue)          UMG Recordings, Inc.           SR0000213745
4226   George Strait       Amarillo By Morning               UMG Recordings, Inc.           SR0000213745
4227   George Strait       Baby Blue                         UMG Recordings, Inc.           SR0000358502
4228   George Strait       Baby's Gotten Good At Goodbye     UMG Recordings, Inc.           SR0000100975
4229   George Strait       Blue Clear Sky                    UMG Recordings, Inc.           SR0000358502
4230   George Strait       Carried Away                      UMG Recordings, Inc.           SR0000358502
4231   George Strait       Carrying Your Love With Me        UMG Recordings, Inc.           SR0000358502
4232   George Strait       Check Yes Or No                   UMG Recordings, Inc.           SR0000213745
4233   George Strait       Chill Of An Early Fall            UMG Recordings, Inc.           SR0000128640
4234   George Strait       Cowboys Like Us                   UMG Recordings, Inc.           SR0000333733
4235   George Strait       Desperately                       UMG Recordings, Inc.           SR0000333733
                           Does Fort Worth Ever Cross Your
4236   George Strait       Mind                              UMG Recordings, Inc.           SR0000213745
                           Don't Make Me Come Over There
4237   George Strait       And Love You                      UMG Recordings, Inc.           SR0000270094
4238   George Strait       Down And Out                      UMG Recordings, Inc.           SR0000030829
4239   George Strait       Drinking Champagne                UMG Recordings, Inc.           SR0000213745
4240   George Strait       Easy Come, Easy Go                UMG Recordings, Inc.           SR0000213745
4241   George Strait       Famous Last Words Of A Fool       UMG Recordings, Inc.           SR0000358502
4242   George Strait       Fool Hearted Memory               UMG Recordings, Inc.           SR0000213745
4243   George Strait       Go On                             UMG Recordings, Inc.           SR0000270094
4244   George Strait       Gone As A Girl Can Get            UMG Recordings, Inc.           SR0000141229
4245   George Strait       Good News, Bad News               UMG Recordings, Inc.           SR0000372131
4246   George Strait       Heartland                         UMG Recordings, Inc.           SR0000213745
4247   George Strait       How 'Bout Them Cowgirls           UMG Recordings, Inc.           SR0000398524
4248   George Strait       I Can Still Make Cheyenne         UMG Recordings, Inc.           SR0000358502
4249   George Strait       I Cross My Heart                  UMG Recordings, Inc.           SR0000213745
4250   George Strait       I Hate Everything                 UMG Recordings, Inc.           SR0000358502
4251   George Strait       I Just Want To Dance With You     UMG Recordings, Inc.           SR0000252101
4252   George Strait       I Know She Still Loves Me         UMG Recordings, Inc.           SR0000358502
4253   George Strait       I'd Like To Have That One Back    UMG Recordings, Inc.           SR0000178495
4254   George Strait       I've Come To Expect It From You   UMG Recordings, Inc.           SR0000358502
4255   George Strait       If I Know Me                      UMG Recordings, Inc.           SR0000358502
                           If You Ain't Lovin' (You Ain't
4256   George Strait       Livin')                           UMG Recordings, Inc.           SR0000213745
4257   George Strait       If You Can Do Anything Else       UMG Recordings, Inc.           SR0000270094



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                Artist                 Track                            Plaintiff            Registration_Number
                          If You're Thinking You Want A
                          Stranger (There's One Coming
4258   George Strait      Home)                             UMG Recordings, Inc.           SR0000030829
                          It Ain't Cool To Be Crazy About
4259   George Strait      You                               UMG Recordings, Inc.           SR0000358502
4260   George Strait      Lead On                           UMG Recordings, Inc.           SR0000358502
4261   George Strait      Let's Fall To Pieces Together     UMG Recordings, Inc.           SR0000358502
4262   George Strait      Living And Living Well            UMG Recordings, Inc.           SR0000309691
4263   George Strait      Love Without End, Amen            UMG Recordings, Inc.           SR0000358502
4264   George Strait      Marina Del Rey                    UMG Recordings, Inc.           SR0000066434
4265   George Strait      Meanwhile                         UMG Recordings, Inc.           SR0000263154
                          Nobody In His Right Mind
4266   George Strait      Would've Left Her                 UMG Recordings, Inc.           SR0000077926
4267   George Strait      Ocean Front Property              UMG Recordings, Inc.           SR0000079124
4268   George Strait      One Night At A Time               UMG Recordings, Inc.           SR0000358502
4269   George Strait      Overnight Success                 UMG Recordings, Inc.           SR0000100975
4270   George Strait      Right Or Wrong                    UMG Recordings, Inc.           SR0000358502
4271   George Strait      Round About Way                   UMG Recordings, Inc.           SR0000358502
4272   George Strait      Run                               UMG Recordings, Inc.           SR0000358502
4273   George Strait      She'll Leave You With A Smile     UMG Recordings, Inc.           SR0000358502
4274   George Strait      So Much Like My Dad               UMG Recordings, Inc.           SR0000358502
4275   George Strait      The Best Day                      UMG Recordings, Inc.           SR0000278800
4276   George Strait      The Big One                       UMG Recordings, Inc.           SR0000358502
4277   George Strait      The Chair                         UMG Recordings, Inc.           SR0000073980
4278   George Strait      The Cowboy Rides Away             UMG Recordings, Inc.           SR0000213745
4279   George Strait      The Fireman                       UMG Recordings, Inc.           SR0000213745
4280   George Strait      The Love Bug                      UMG Recordings, Inc.           SR0000178495
4281   George Strait      The Man In Love With You          UMG Recordings, Inc.           SR0000178495
4282   George Strait      Today My World Slipped Away       UMG Recordings, Inc.           SR0000278184
4283   George Strait      Unwound                           UMG Recordings, Inc.           SR0000030829
                          We Really Shouldn't Be Doing
4284   George Strait      This                              UMG Recordings, Inc.           SR0000278184
4285   George Strait      What Do You Say To That           UMG Recordings, Inc.           SR0000263154
4286   George Strait      What's Going On In Your World     UMG Recordings, Inc.           SR0000100975
4287   George Strait      When Did You Stop Loving Me       UMG Recordings, Inc.           SR0000146421
                          You Can't Make A Heart Love
4288   George Strait      Somebody                          UMG Recordings, Inc.           SR0000358502
4289   George Strait      You Know Me Better Than That      UMG Recordings, Inc.           SR0000213745
4290   George Strait      You Look So Good In Love          UMG Recordings, Inc.           SR0000213745
4291   George Strait      You'll Be There                   UMG Recordings, Inc.           SR0000376078
4292   George Strait      You're Something Special To Me    UMG Recordings, Inc.           SR0000073980
4293   Gotye              Bronte                            UMG Recordings, Inc.           SR0000692982
                          Don't Worry, We'll Be Watching
4294   Gotye              You                               UMG Recordings, Inc.           SR0000692982
4295   Gotye              Easy Way Out                      UMG Recordings, Inc.           SR0000692982
4296   Gotye              Eyes Wide Open                    UMG Recordings, Inc.           SR0000692982
4297   Gotye              Giving Me A Chance                UMG Recordings, Inc.           SR0000692982
4298   Gotye              I Feel Better                     UMG Recordings, Inc.           SR0000692982
4299   Gotye              In Your Light                     UMG Recordings, Inc.           SR0000692982
4300   Gotye              Making Mirrors                    UMG Recordings, Inc.           SR0000692982
4301   Gotye              Save Me                           UMG Recordings, Inc.           SR0000692982
4302   Gotye              Smoke And Mirrors                 UMG Recordings, Inc.           SR0000692982
4303   Gotye              Somebody That I Used To Know      UMG Recordings, Inc.           SR0000692982



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               Artist                    Track                        Plaintiff              Registration_Number
4304   Gotye             State Of The Art                  UMG Recordings, Inc.           SR0000692982
4305   Gwen Stefani      4 In The Morning                  UMG Recordings, Inc.           SR0000400614
4306   Gwen Stefani      Breakin' Up                       UMG Recordings, Inc.           SR0000400614
4307   Gwen Stefani      Bubble Pop Electric               UMG Recordings, Inc.           SR0000364759
4308   Gwen Stefani      Cool                              UMG Recordings, Inc.           SR0000364759
4309   Gwen Stefani      Crash                             UMG Recordings, Inc.           SR0000364759
4310   Gwen Stefani      Danger Zone                       UMG Recordings, Inc.           SR0000364759
4311   Gwen Stefani      Don't Get It Twisted (Explicit)   UMG Recordings, Inc.           SR0000400614
4312   Gwen Stefani      Early Winter                      UMG Recordings, Inc.           SR0000400614
4313   Gwen Stefani      Fluorescent                       UMG Recordings, Inc.           SR0000400614
4314   Gwen Stefani      Harajuku Girls                    UMG Recordings, Inc.           SR0000364759
4315   Gwen Stefani      Hollaback Girl                    UMG Recordings, Inc.           SR0000364759
4316   Gwen Stefani      Long Way To Go                    UMG Recordings, Inc.           SR0000364759
4317   Gwen Stefani      Luxurious                         UMG Recordings, Inc.           SR0000364759
4318   Gwen Stefani      Now That You Got It               UMG Recordings, Inc.           SR0000400614
4319   Gwen Stefani      Orange County Girl                UMG Recordings, Inc.           SR0000400614
4320   Gwen Stefani      Rich Girl                         UMG Recordings, Inc.           SR0000364759
4321   Gwen Stefani      Serious                           UMG Recordings, Inc.           SR0000364759
4322   Gwen Stefani      The Real Thing                    UMG Recordings, Inc.           SR0000364759
4323   Gwen Stefani      The Sweet Escape                  UMG Recordings, Inc.           SR0000400614
4324   Gwen Stefani      U Started It                      UMG Recordings, Inc.           SR0000400614
4325   Gwen Stefani      What You Waiting For?             UMG Recordings, Inc.           SR0000364759
4326   Gwen Stefani      Wind It Up                        UMG Recordings, Inc.           SR0000400613
4327   Gwen Stefani      Yummy                             UMG Recordings, Inc.           SR0000400614
4328   Hinder            Bed Of Roses                      UMG Recordings, Inc.           SR0000617110
4329   Hinder            Better Than Me                    UMG Recordings, Inc.           SR0000379192
4330   Hinder            Bliss (I Don't Wanna Know)        UMG Recordings, Inc.           SR0000379192
4331   Hinder            Born To Be Wild                   UMG Recordings, Inc.           SR0000617110
4332   Hinder            By The Way                        UMG Recordings, Inc.           SR0000379192
4333   Hinder            Far From Home                     UMG Recordings, Inc.           SR0000622802
4334   Hinder            Get Stoned                        UMG Recordings, Inc.           SR0000379192
4335   Hinder            Heartless                         UMG Recordings, Inc.           SR0000619828
4336   Hinder            Heaven Sent                       UMG Recordings, Inc.           SR0000622802
4337   Hinder            Homecoming Queen                  UMG Recordings, Inc.           SR0000379192
4338   Hinder            How Long                          UMG Recordings, Inc.           SR0000379192
4339   Hinder            Last Kiss Goodbye                 UMG Recordings, Inc.           SR0000622802
4340   Hinder            Lips Of An Angel                  UMG Recordings, Inc.           SR0000379192
4341   Hinder            Live For Today                    UMG Recordings, Inc.           SR0000622802
4342   Hinder            Loaded and Alone                  UMG Recordings, Inc.           SR0000622802
4343   Hinder            Lost In The Sun                   UMG Recordings, Inc.           SR0000622802
4344   Hinder            Nothin' Good About Goodbye        UMG Recordings, Inc.           SR0000379192
4345   Hinder            One Night Stand                   UMG Recordings, Inc.           SR0000619828
4346   Hinder            Room 21                           UMG Recordings, Inc.           SR0000379192
4347   Hinder            Running In The Rain               UMG Recordings, Inc.           SR0000622802
4348   Hinder            Shoulda                           UMG Recordings, Inc.           SR0000379192
4349   Hinder            Take It To The Limit              UMG Recordings, Inc.           SR0000622802
4350   Hinder            Take Me Home Tonight              UMG Recordings, Inc.           SR0000617110
4351   Hinder            The Best is Yet to Come           UMG Recordings, Inc.           SR0000622802
4352   Hinder            Thing For You                     UMG Recordings, Inc.           SR0000622802
4353   Hinder            Thunderstruck                     UMG Recordings, Inc.           SR0000622802
4354   Hinder            Up All Night                      UMG Recordings, Inc.           SR0000379192
4355   Hinder            Use Me                            UMG Recordings, Inc.           SR0000614599




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                 Artist                   Track                        Plaintiff               Registration_Number
4356   Hinder              Without You                      UMG Recordings, Inc.            SR0000619215
4357   Iggy Azalea         Work                             UMG Recordings, Inc.            SR0000748652
4358   Imagine Dragons     America                          UMG Recordings, Inc.            SR0000717800
4359   Imagine Dragons     Amsterdam                        UMG Recordings, Inc.            SR0000707482
4360   Imagine Dragons     Bleeding Out                     UMG Recordings, Inc.            SR0000707482
4361   Imagine Dragons     Every Night                      UMG Recordings, Inc.            SR0000707482
4362   Imagine Dragons     Fallen                           UMG Recordings, Inc.            SR0000706680
4363   Imagine Dragons     Hear Me                          UMG Recordings, Inc.            SR0000707482
4364   Imagine Dragons     It's Time                        UMG Recordings, Inc.            SR0000695196
4365   Imagine Dragons     My Fault                         UMG Recordings, Inc.            SR0000695196
4366   Imagine Dragons     Nothing Left To Say / Rocks      UMG Recordings, Inc.            SR0000707482
4367   Imagine Dragons     On Top of the World              UMG Recordings, Inc.            SR0000707482
4368   Imagine Dragons     Radioactive                      UMG Recordings, Inc.            SR0000695196
4369   Imagine Dragons     Round and Round                  UMG Recordings, Inc.            SR0000695196
4370   Imagine Dragons     Selene                           UMG Recordings, Inc.            SR0000707482
4371   Imagine Dragons     The River                        UMG Recordings, Inc.            SR0000707482
4372   Imagine Dragons     Tiptoe                           UMG Recordings, Inc.            SR0000707482
4373   Imagine Dragons     Underdog                         UMG Recordings, Inc.            SR0000707482
4374   Imagine Dragons     Working Man                      UMG Recordings, Inc.            SR0000706680
4375   Jack Johnson        A Pirate Looks At Forty          UMG Recordings, Inc.            SR0000699030
4376   Jack Johnson        Adrift                           UMG Recordings, Inc.            SR0000653690
4377   Jack Johnson        All At Once                      UMG Recordings, Inc.            SR0000653690
4378   Jack Johnson        Angel                            UMG Recordings, Inc.            SR0000653690
4379   Jack Johnson        Banana Pancakes                  UMG Recordings, Inc.            SR0000373729
4380   Jack Johnson        Belle                            UMG Recordings, Inc.            SR0000373729
4381   Jack Johnson        Better Together                  UMG Recordings, Inc.            SR0000373729
4382   Jack Johnson        Breakdown                        UMG Recordings, Inc.            SR0000373729
4383   Jack Johnson        Constellations                   UMG Recordings, Inc.            SR0000373729
4384   Jack Johnson        Crying Shame                     UMG Recordings, Inc.            SR0000373729
4385   Jack Johnson        Do You Remember                  UMG Recordings, Inc.            SR0000373729
4386   Jack Johnson        Enemy                            UMG Recordings, Inc.            SR0000653690
4387   Jack Johnson        Go On                            UMG Recordings, Inc.            SR0000653690
4388   Jack Johnson        Good People                      UMG Recordings, Inc.            SR0000373729
4389   Jack Johnson        Hope                             UMG Recordings, Inc.            SR0000653690
4390   Jack Johnson        If I Could                       UMG Recordings, Inc.            SR0000373729
4391   Jack Johnson        If I Had Eyes                    UMG Recordings, Inc.            SR0000636840
4392   Jack Johnson        Losing Keys                      UMG Recordings, Inc.            SR0000653690
4393   Jack Johnson        Monsoon                          UMG Recordings, Inc.            SR0000653690
4394   Jack Johnson        Mudfootball                      UMG Recordings, Inc.            SR0000699030
4395   Jack Johnson        Never Know                       UMG Recordings, Inc.            SR0000373729
4396   Jack Johnson        No Other Way                     UMG Recordings, Inc.            SR0000373729
4397   Jack Johnson        Same Girl                        UMG Recordings, Inc.            SR0000653690
4398   Jack Johnson        Situations                       UMG Recordings, Inc.            SR0000373729
4399   Jack Johnson        Sleep Through The Static         UMG Recordings, Inc.            SR0000653690
4400   Jack Johnson        Staple It Together               UMG Recordings, Inc.            SR0000373729
4401   Jack Johnson        They Do, They Don't              UMG Recordings, Inc.            SR0000653690
4402   Jack Johnson        What You Thought You Need        UMG Recordings, Inc.            SR0000653690
4403   Jack Johnson        While We Wait                    UMG Recordings, Inc.            SR0000653690
4404   Jadakiss            Air It Out                       UMG Recordings, Inc.            SR0000356267
4405   Jadakiss            Bring You Down                   UMG Recordings, Inc.            SR0000356267
4406   Jadakiss            Hot Sauce To Go                  UMG Recordings, Inc.            SR0000356267
4407   Jadakiss            I'm Goin Back                    UMG Recordings, Inc.            SR0000356267




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                 Artist                   Track                          Plaintiff             Registration_Number
4408   Jadakiss            Real Hip Hop                       UMG Recordings, Inc.          SR0000356267
4409   Jadakiss            Shine                              UMG Recordings, Inc.          SR0000356267
4410   Jadakiss            Still Feel Me                      UMG Recordings, Inc.          SR0000356267
4411   Jadakiss            Welcome To D-Block                 UMG Recordings, Inc.          SR0000356267
4412   James Blake         Give Me My Month                   UMG Recordings, Inc.          SR0000673339
4413   James Blake         I Mind                             UMG Recordings, Inc.          SR0000673339
4414   James Blake         I Never Learnt To Share            UMG Recordings, Inc.          SR0000673339
4415   James Blake         Limit To Your Love                 UMG Recordings, Inc.          SR0000673339
4416   James Blake         Lindisfarne II                     UMG Recordings, Inc.          SR0000673339
4417   James Blake         Measurements                       UMG Recordings, Inc.          SR0000673339
4418   James Blake         To Care (Like You)                 UMG Recordings, Inc.          SR0000673339
4419   James Blake         Unluck                             UMG Recordings, Inc.          SR0000673339
4420   James Blake         Why Don't You Call Me?             UMG Recordings, Inc.          SR0000673339
4421   James Morrison      Broken Strings                     UMG Recordings, Inc.          SR0000629431
4422   JAY-Z               03' Bonnie & Clyde                 UMG Recordings, Inc.          SR0000322448
4423   JAY-Z               Gotta Have It                      UMG Recordings, Inc.          SR0000683714
4424   JAY-Z               Made In America                    UMG Recordings, Inc.          SR0000683714
4425   JAY-Z               Murder To Excellence               UMG Recordings, Inc.          SR0000683714
4426   JAY-Z               No Church In The Wild              UMG Recordings, Inc.          SR0000683714
4427   JAY-Z               Otis                               UMG Recordings, Inc.          SR0000683714
4428   JAY-Z               Renegade (Explicit)                UMG Recordings, Inc.          SR0000305948
4429   JAY-Z               That's My Bitch                    UMG Recordings, Inc.          SR0000683714
4430   JAY-Z               Welcome To The Jungle              UMG Recordings, Inc.          SR0000683714
4431   JAY-Z               Who Gon Stop Me                    UMG Recordings, Inc.          SR0000683714
4432   Jennifer Lopez      I'm Into You                       UMG Recordings, Inc.          SR0000751797
4433   Jeremih             Down On Me                         UMG Recordings, Inc.          SR0000664544
4434   Jessie J            Abracadabra                        UMG Recordings, Inc.          SR0000674861
4435   Jessie J            Big White Room                     UMG Recordings, Inc.          SR0000674861
4436   Jessie J            Casualty Of Love                   UMG Recordings, Inc.          SR0000674861
4437   Jessie J            Do It Like A Dude                  UMG Recordings, Inc.          SR0000674861
4438   Jessie J            I Need This                        UMG Recordings, Inc.          SR0000674861
4439   Jessie J            L.O.V.E.                           UMG Recordings, Inc.          SR0000674861
4440   Jessie J            LaserLight                         UMG Recordings, Inc.          SR0000689415
4441   Jessie J            Mamma Knows Best                   UMG Recordings, Inc.          SR0000674861
4442   Jessie J            My Shadow                          UMG Recordings, Inc.          SR0000689415
4443   Jessie J            Nobody's Perfect                   UMG Recordings, Inc.          SR0000674861
4444   Jessie J            Price Tag                          UMG Recordings, Inc.          SR0000674861
4445   Jessie J            Rainbow                            UMG Recordings, Inc.          SR0000674861
4446   Jessie J            Stand Up                           UMG Recordings, Inc.          SR0000674861
4447   Jessie J            Who You Are                        UMG Recordings, Inc.          SR0000674861
4448   Jessie J            Who's Laughing Now                 UMG Recordings, Inc.          SR0000674861
4449   Jimmy Eat World     Drugs Or Me                        UMG Recordings, Inc.          SR0000366508
4450   Jimmy Eat World     Futures                            UMG Recordings, Inc.          SR0000366508
4451   Jimmy Eat World     Just Tonight                       UMG Recordings, Inc.          SR0000366508
4452   Jimmy Eat World     Kill                               UMG Recordings, Inc.          SR0000366508
4453   Jimmy Eat World     Night Drive                        UMG Recordings, Inc.          SR0000366508
4454   Jimmy Eat World     Nothing Wrong                      UMG Recordings, Inc.          SR0000366508
4455   Jimmy Eat World     Polaris                            UMG Recordings, Inc.          SR0000366508
4456   Jimmy Eat World     The World You Love                 UMG Recordings, Inc.          SR0000366508
4457   Josh Turner         All Over Me                        UMG Recordings, Inc.          SR0000645586
4458   Josh Turner         Angels Fall Sometimes              UMG Recordings, Inc.          SR0000386947
4459   Josh Turner         Another Try                        UMG Recordings, Inc.          SR0000615283




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                         List of Record Company Plaintiffs’ Copyrighted Sound Recordings



                Artist                   Track                        Plaintiff               Registration_Number
4460   Josh Turner        As Fast As I Could               UMG Recordings, Inc.            SR0000645586
4461   Josh Turner        Baby, I Go Crazy                 UMG Recordings, Inc.            SR0000621056
4462   Josh Turner        Baby's Gone Home To Mama         UMG Recordings, Inc.            SR0000386947
4463   Josh Turner        Backwoods Boy                    UMG Recordings, Inc.            SR0000344336
4464   Josh Turner        Everything Is Fine               UMG Recordings, Inc.            SR0000621055
4465   Josh Turner        Eye Candy                        UMG Recordings, Inc.            SR0000645586
4466   Josh Turner        Firecracker                      UMG Recordings, Inc.            SR0000621055
4467   Josh Turner        Friday Paycheck                  UMG Recordings, Inc.            SR0000645586
4468   Josh Turner        Good Woman Bad                   UMG Recordings, Inc.            SR0000344336
4469   Josh Turner        Gravity                          UMG Recordings, Inc.            SR0000381628
4470   Josh Turner        Haywire                          UMG Recordings, Inc.            SR0000645586
4471   Josh Turner        I Had One One Time               UMG Recordings, Inc.            SR0000344336
4472   Josh Turner        I Wouldn't Be A Man              UMG Recordings, Inc.            SR0000645586
4473   Josh Turner        I'll Be There                    UMG Recordings, Inc.            SR0000645586
4474   Josh Turner        In My Dreams                     UMG Recordings, Inc.            SR0000344336
4475   Josh Turner        Jacksonville                     UMG Recordings, Inc.            SR0000344336
4476   Josh Turner        Let's Find A Church              UMG Recordings, Inc.            SR0000645586
4477   Josh Turner        Long Black Train                 UMG Recordings, Inc.            SR0000344336
                          Lord Have Mercy On A Country
4478   Josh Turner        Boy                              UMG Recordings, Inc.            SR0000386947
4479   Josh Turner        Loretta Lynn's Lincoln           UMG Recordings, Inc.            SR0000386947
4480   Josh Turner        Lovin' You On My Mind            UMG Recordings, Inc.            SR0000645586
4481   Josh Turner        Me And God                       UMG Recordings, Inc.            SR0000386947
4482   Josh Turner        No Rush                          UMG Recordings, Inc.            SR0000386947
4483   Josh Turner        Nowhere Fast                     UMG Recordings, Inc.            SR0000621055
4484   Josh Turner        One Woman Man                    UMG Recordings, Inc.            SR0000621055
4485   Josh Turner        She'll Go On You                 UMG Recordings, Inc.            SR0000344336
4486   Josh Turner        So Not My Baby                   UMG Recordings, Inc.            SR0000621055
4487   Josh Turner        Soulmate                         UMG Recordings, Inc.            SR0000621055
4488   Josh Turner        South Carolina Low Country       UMG Recordings, Inc.            SR0000621055
4489   Josh Turner        The Answer                       UMG Recordings, Inc.            SR0000645586
                          The Difference Between A
4490   Josh Turner        Woman And A Man                  UMG Recordings, Inc.            SR0000344336
4491   Josh Turner        The Longer The Waiting           UMG Recordings, Inc.            SR0000621055
4492   Josh Turner        The Way He Was Raised            UMG Recordings, Inc.            SR0000621055
4493   Josh Turner        This Kind Of Love                UMG Recordings, Inc.            SR0000645586
4494   Josh Turner        Trailerhood                      UMG Recordings, Inc.            SR0000621055
4495   Josh Turner        Unburn All Our Bridges           UMG Recordings, Inc.            SR0000344336
4496   Josh Turner        Way Down South                   UMG Recordings, Inc.            SR0000386947
4497   Josh Turner        What It Ain't                    UMG Recordings, Inc.            SR0000344336
4498   Josh Turner        White Noise                      UMG Recordings, Inc.            SR0000386947
4499   Josh Turner        Why Don't We Just Dance          UMG Recordings, Inc.            SR0000635058
4500   Josh Turner        Would You Go With Me             UMG Recordings, Inc.            SR0000615305

4501   Josh Turner        You Don't Mess Around With Jim UMG Recordings, Inc.              SR0000344336
4502   Josh Turner        Your Man                         UMG Recordings, Inc.            SR0000386947
4503   Josh Turner        Your Smile                       UMG Recordings, Inc.            SR0000645586
4504   Justin Bieber      All Around The World             UMG Recordings, Inc.            SR0000710074
                          All I Want For Christmas Is You
                          (SuperFestive!) Duet with Mariah
4505   Justin Bieber      Carey                            UMG Recordings, Inc.            SR0000704701
4506   Justin Bieber      All I Want Is You                UMG Recordings, Inc.            SR0000704701
4507   Justin Bieber      As Long As You Love Me           UMG Recordings, Inc.            SR0000710074



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                 Artist                   Track                        Plaintiff               Registration_Number
4508   Justin Bieber       Be Alright                       UMG Recordings, Inc.            SR0000710074
4509   Justin Bieber       Beauty And A Beat                UMG Recordings, Inc.            SR0000710074
4510   Justin Bieber       Believe                          UMG Recordings, Inc.            SR0000704844
4511   Justin Bieber       Boyfriend (Album Version)        UMG Recordings, Inc.            SR0000710074
4512   Justin Bieber       Catching Feelings                UMG Recordings, Inc.            SR0000710074
4513   Justin Bieber       Christmas Eve                    UMG Recordings, Inc.            SR0000704701
4514   Justin Bieber       Christmas Love                   UMG Recordings, Inc.            SR0000704701
                           Common Denominator (Bonus
4515   Justin Bieber       Track)                           UMG Recordings, Inc.            SR0000634194
4516   Justin Bieber       Die In Your Arms                 UMG Recordings, Inc.            SR0000705165
4517   Justin Bieber       Drummer Boy                      UMG Recordings, Inc.            SR0000704701
4518   Justin Bieber       Fa La La                         UMG Recordings, Inc.            SR0000704701
4519   Justin Bieber       Fall                             UMG Recordings, Inc.            SR0000710074
4520   Justin Bieber       Home This Christmas              UMG Recordings, Inc.            SR0000704701
4521   Justin Bieber       Maria                            UMG Recordings, Inc.            SR0000710074
4522   Justin Bieber       Mistletoe                        UMG Recordings, Inc.            SR0000704701
4523   Justin Bieber       Never Say Never                  UMG Recordings, Inc.            SR0000659942
4524   Justin Bieber       One Love                         UMG Recordings, Inc.            SR0000710074
                           Only Thing I Ever Get For
4525   Justin Bieber       Christmas                        UMG Recordings, Inc.            SR0000704701
4526   Justin Bieber       Out Of Town Girl                 UMG Recordings, Inc.            SR0000710074
4527   Justin Bieber       Right Here                       UMG Recordings, Inc.            SR0000710074
4528   Justin Bieber       Santa Claus Is Coming To Town    UMG Recordings, Inc.            SR0000704701
4529   Justin Bieber       She Don't Like The Lights        UMG Recordings, Inc.            SR0000710074
4530   Justin Bieber       Silent Night                     UMG Recordings, Inc.            SR0000704701
4531   Justin Bieber       Someday At Christmas             UMG Recordings, Inc.            SR0000704701
4532   Justin Bieber       Take You                         UMG Recordings, Inc.            SR0000710074
                           The Christmas Song (Chestnuts
4533   Justin Bieber       Roasting On An Open Fire)        UMG Recordings, Inc.            SR0000704701
4534   Justin Bieber       Thought Of You                   UMG Recordings, Inc.            SR0000710074
4535   Kanye West          All Falls Down                   UMG Recordings, Inc.            SR0000347391
4536   Kanye West          All Of The Lights                UMG Recordings, Inc.            SR0000683430
4537   Kanye West          All Of The Lights (Interlude)    UMG Recordings, Inc.            SR0000683430
4538   Kanye West          Amazing                          UMG Recordings, Inc.            SR0000620203
4539   Kanye West          Bad News                         UMG Recordings, Inc.            SR0000620203
4540   Kanye West          Barry Bonds                      UMG Recordings, Inc.            SR0000615020
4541   Kanye West          Big Brother                      UMG Recordings, Inc.            SR0000615020
4542   Kanye West          Bittersweet Poetry               UMG Recordings, Inc.            SR0000615020
4543   Kanye West          Black Skinhead                   UMG Recordings, Inc.            SR0000724178
4544   Kanye West          Blame Game                       UMG Recordings, Inc.            SR0000683430
4545   Kanye West          Blood On The Leaves              UMG Recordings, Inc.            SR0000724178
4546   Kanye West          Bound 2                          UMG Recordings, Inc.            SR0000724178
4547   Kanye West          Breathe In Breathe Out           UMG Recordings, Inc.            SR0000347391
4548   Kanye West          Can't Tell Me Nothing            UMG Recordings, Inc.            SR0000615020
4549   Kanye West          Champion                         UMG Recordings, Inc.            SR0000615020
4550   Kanye West          Clique                           UMG Recordings, Inc.            SR0000763373
4551   Kanye West          Clique (Explicit)                UMG Recordings, Inc.            SR0000763373
4552   Kanye West          Cold                             UMG Recordings, Inc.            SR0000699415
4553   Kanye West          Coldest Winter                   UMG Recordings, Inc.            SR0000620203
4554   Kanye West          Devil In A New Dress             UMG Recordings, Inc.            SR0000683430
4555   Kanye West          Diamonds From Sierra Leone       UMG Recordings, Inc.            SR0000372867
4556   Kanye West          Don't Like.1                     UMG Recordings, Inc.            SR0000683430
4557   Kanye West          Drive Slow (Explicit)            UMG Recordings, Inc.            SR0000372867



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               Artist                   Track                         Plaintiff              Registration_Number
4558   Kanye West        Drunk And Hot Girls               UMG Recordings, Inc.           SR0000615020
4559   Kanye West        Everything I Am                   UMG Recordings, Inc.           SR0000615020
4560   Kanye West        Flashing Lights                   UMG Recordings, Inc.           SR0000615020
4561   Kanye West        Get Em High                       UMG Recordings, Inc.           SR0000347391
4562   Kanye West        Gold Digger                       UMG Recordings, Inc.           SR0000372867
4563   Kanye West        Good Life                         UMG Recordings, Inc.           SR0000615020
4564   Kanye West        Good Morning                      UMG Recordings, Inc.           SR0000615020
4565   Kanye West        Gorgeous                          UMG Recordings, Inc.           SR0000683430
4566   Kanye West        Graduation Day                    UMG Recordings, Inc.           SR0000347391
4567   Kanye West        Guilt Trip                        UMG Recordings, Inc.           SR0000724178
4568   Kanye West        Heard 'Em Say                     UMG Recordings, Inc.           SR0000372867
4569   Kanye West        Heartless                         UMG Recordings, Inc.           SR0000620203
4570   Kanye West        Hell Of A Life                    UMG Recordings, Inc.           SR0000683430
4571   Kanye West        Hold My Liquor                    UMG Recordings, Inc.           SR0000724178
4572   Kanye West        Homecoming                        UMG Recordings, Inc.           SR0000615020
4573   Kanye West        I Am A God                        UMG Recordings, Inc.           SR0000724178
4574   Kanye West        I Wonder                          UMG Recordings, Inc.           SR0000615020
4575   Kanye West        I'll Fly Away                     UMG Recordings, Inc.           SR0000347391
4576   Kanye West        I'm In It                         UMG Recordings, Inc.           SR0000724178
4577   Kanye West        Jesus Walks                       UMG Recordings, Inc.           SR0000347391
4578   Kanye West        Last Call                         UMG Recordings, Inc.           SR0000347391
4579   Kanye West        Lil Jimmy Skit                    UMG Recordings, Inc.           SR0000347391
4580   Kanye West        Lost In The World                 UMG Recordings, Inc.           SR0000683430
4581   Kanye West        Love Lockdown                     UMG Recordings, Inc.           SR0000618708
4582   Kanye West        Mercy.1                           UMG Recordings, Inc.           SR0000763373
4583   Kanye West        Monster                           UMG Recordings, Inc.           SR0000683430
4584   Kanye West        Never Let Me Down                 UMG Recordings, Inc.           SR0000347391
4585   Kanye West        New God Flow.1                    UMG Recordings, Inc.           SR0000683430
4586   Kanye West        New Slaves                        UMG Recordings, Inc.           SR0000724178
4587   Kanye West        On Sight                          UMG Recordings, Inc.           SR0000724178
4588   Kanye West        Paranoid                          UMG Recordings, Inc.           SR0000620203
                         Pinocchio Story (Freestyle Live
4589   Kanye West        From Singapore)                   UMG Recordings, Inc.           SR0000620203
4590   Kanye West        POWER                             UMG Recordings, Inc.           SR0000683430
4591   Kanye West        RoboCop                           UMG Recordings, Inc.           SR0000620203
4592   Kanye West        Runaway                           UMG Recordings, Inc.           SR0000683430
4593   Kanye West        Say You Will                      UMG Recordings, Inc.           SR0000620203
4594   Kanye West        School Spirit                     UMG Recordings, Inc.           SR0000347391
4595   Kanye West        School Spirit Skit 1              UMG Recordings, Inc.           SR0000347391
4596   Kanye West        See Me Now                        UMG Recordings, Inc.           SR0000667365
4597   Kanye West        See You In My Nightmares          UMG Recordings, Inc.           SR0000620203
4598   Kanye West        Send It Up                        UMG Recordings, Inc.           SR0000724178
4599   Kanye West        Slow Jamz                         UMG Recordings, Inc.           SR0000347391
4600   Kanye West        So Appalled                       UMG Recordings, Inc.           SR0000683430
4601   Kanye West        Spaceship                         UMG Recordings, Inc.           SR0000347391
4602   Kanye West        Street Lights                     UMG Recordings, Inc.           SR0000620203
4603   Kanye West        Stronger                          UMG Recordings, Inc.           SR0000615019
4604   Kanye West        The Glory                         UMG Recordings, Inc.           SR0000615020
4605   Kanye West        The New Workout Plan              UMG Recordings, Inc.           SR0000347391
4606   Kanye West        The One (Explicit)                UMG Recordings, Inc.           SR0000763373
4607   Kanye West        Through The Wire                  UMG Recordings, Inc.           SR0000347391
4608   Kanye West        To The World                      UMG Recordings, Inc.           SR0000763373
4609   Kanye West        Touch The Sky                     UMG Recordings, Inc.           SR0000372867



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                 Artist                    Track                        Plaintiff              Registration_Number
4610   Kanye West          Two Words                         UMG Recordings, Inc.           SR0000347391
4611   Kanye West          We Don't Care                     UMG Recordings, Inc.           SR0000347391
4612   Kanye West          Welcome To Heartbreak             UMG Recordings, Inc.           SR0000620203
4613   Kanye West          Who Will Survive In America       UMG Recordings, Inc.           SR0000683430
4614   Kanye West          Workout Plan                      UMG Recordings, Inc.           SR0000347391
4615   Kanye West          Dark Fantasy                      UMG Recordings, Inc.           SR0000683430
4616   Keane               Snowed Under                      UMG Recordings, Inc.           SR0000637459
4617   Keane               Somewhere Only We Know            UMG Recordings, Inc.           SR0000355429
4618   Keane               Walnut Tree                       UMG Recordings, Inc.           SR0000737377
4619   Kelly Rowland       Commander                         UMG Recordings, Inc.           SR0000658307
4620   Kelly Rowland       Each Other                        UMG Recordings, Inc.           SR0000681564
4621   Kelly Rowland       Heaven & Earth                    UMG Recordings, Inc.           SR0000681564
4622   Kelly Rowland       Motivation                        UMG Recordings, Inc.           SR0000677261
4623   Keri Hilson         Alienated                         UMG Recordings, Inc.           SR0000629123
4624   Keri Hilson         Change Me                         UMG Recordings, Inc.           SR0000629123
4625   Keri Hilson         Energy                            UMG Recordings, Inc.           SR0000612858
4626   Keri Hilson         Get Your Money Up                 UMG Recordings, Inc.           SR0000629123
4627   Keri Hilson         How Does It Feel                  UMG Recordings, Inc.           SR0000629123
4628   Keri Hilson         Intro                             UMG Recordings, Inc.           SR0000629123
4629   Keri Hilson         Intuition                         UMG Recordings, Inc.           SR0000629123
4630   Keri Hilson         Knock You Down                    UMG Recordings, Inc.           SR0000629123
4631   Keri Hilson         Make Love                         UMG Recordings, Inc.           SR0000629123
4632   Keri Hilson         Pretty Girl Rock                  UMG Recordings, Inc.           SR0000668316
4633   Keri Hilson         Return The Favor                  UMG Recordings, Inc.           SR0000619820
4634   Keri Hilson         Slow Dance                        UMG Recordings, Inc.           SR0000629123
4635   Keri Hilson         Tell Him The Truth                UMG Recordings, Inc.           SR0000629123
4636   Keri Hilson         Turnin Me On                      UMG Recordings, Inc.           SR0000621818
4637   Keri Hilson         Where Did He Go                   UMG Recordings, Inc.           SR0000629123
4638   Keyshia Cole        Didn't I Tell You                 UMG Recordings, Inc.           SR0000615233
4639   Keyshia Cole        Enough Of No Love                 UMG Recordings, Inc.           SR0000704034
4640   Keyshia Cole        Fallin' Out                       UMG Recordings, Inc.           SR0000615233
4641   Keyshia Cole        Give Me More                      UMG Recordings, Inc.           SR0000615233
4642   Keyshia Cole        Got To Get My Heart Back          UMG Recordings, Inc.           SR0000615233
4643   Keyshia Cole        Heaven Sent                       UMG Recordings, Inc.           SR0000615233
4644   Keyshia Cole        I Ain't Thru                      UMG Recordings, Inc.           SR0000670139
4645   Keyshia Cole        I Remember                        UMG Recordings, Inc.           SR0000615233
4646   Keyshia Cole        Just Like You                     UMG Recordings, Inc.           SR0000615233
4647   Keyshia Cole        Losing You                        UMG Recordings, Inc.           SR0000615233
4648   Keyshia Cole        Same Thing                        UMG Recordings, Inc.           SR0000615233
4649   Keyshia Cole        Shoulda Let You Go                UMG Recordings, Inc.           SR0000615233
4650   Keyshia Cole        Was It Worth It?                  UMG Recordings, Inc.           SR0000615233
4651   Keyshia Cole        Work It Out                       UMG Recordings, Inc.           SR0000615233
4652   Kid Cudi            Alive (nightmare)                 UMG Recordings, Inc.           SR0000637865
4653   Kid Cudi            All Along                         UMG Recordings, Inc.           SR0000696989
4654   Kid Cudi            Ashin' Kusher                     UMG Recordings, Inc.           SR0000696989
4655   Kid Cudi            Creepers (Explicit)               UMG Recordings, Inc.           SR0000763373
4656   Kid Cudi            Cudi Zone                         UMG Recordings, Inc.           SR0000637865
4657   Kid Cudi            Day 'N' Nite                      UMG Recordings, Inc.           SR0000641952
4658   Kid Cudi            Day 'N' Nite (nightmare)          UMG Recordings, Inc.           SR0000637865
4659   Kid Cudi            Don't Play This Song              UMG Recordings, Inc.           SR0000696989
                           Enter Galactic (Love Connection
4660   Kid Cudi            Part I)                           UMG Recordings, Inc.           SR0000637865
4661   Kid Cudi            GHOST!                            UMG Recordings, Inc.           SR0000696989



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               Artist                    Track                          Plaintiff            Registration_Number
                          Heart Of A Lion (Kid Cudi Theme
4662   Kid Cudi           Music)                            UMG Recordings, Inc.           SR0000637865
4663   Kid Cudi           Hyyerr                            UMG Recordings, Inc.           SR0000637865
4664   Kid Cudi           In My Dreams (Cudder Anthem)      UMG Recordings, Inc.           SR0000637865
4665   Kid Cudi           Make Her Say                      UMG Recordings, Inc.           SR0000641951
4666   Kid Cudi           MANIAC                            UMG Recordings, Inc.           SR0000696989
4667   Kid Cudi           Marijuana                         UMG Recordings, Inc.           SR0000696989
4668   Kid Cudi           Mojo So Dope                      UMG Recordings, Inc.           SR0000696989
4669   Kid Cudi           Mr. Rager                         UMG Recordings, Inc.           SR0000695775
4670   Kid Cudi           My World                          UMG Recordings, Inc.           SR0000637865
4671   Kid Cudi           Pursuit Of Happiness              UMG Recordings, Inc.           SR0000637865
4672   Kid Cudi           REVOFEV                           UMG Recordings, Inc.           SR0000696989
4673   Kid Cudi           Scott Mescudi Vs. The World       UMG Recordings, Inc.           SR0000696989
4674   Kid Cudi           Simple As...                      UMG Recordings, Inc.           SR0000637865
4675   Kid Cudi           Sky Might Fall                    UMG Recordings, Inc.           SR0000637865
4676   Kid Cudi           Solo Dolo (nightmare)             UMG Recordings, Inc.           SR0000637865
4677   Kid Cudi           Soundtrack 2 My Life              UMG Recordings, Inc.           SR0000637865
4678   Kid Cudi           The End                           UMG Recordings, Inc.           SR0000696989
4679   Kid Cudi           The Mood                          UMG Recordings, Inc.           SR0000696989
4680   Kid Cudi           These Worries                     UMG Recordings, Inc.           SR0000696989
4681   Kid Cudi           Trapped In My Mind                UMG Recordings, Inc.           SR0000696989
4682   Kid Cudi           Up Up & Away                      UMG Recordings, Inc.           SR0000637865
4683   Kid Cudi           We Aite (Wake Your Mind Up)       UMG Recordings, Inc.           SR0000696989
4684   Kid Cudi           Wild'n Cuz I'm Young              UMG Recordings, Inc.           SR0000696989
4685   La Roux            Bulletproof                       UMG Recordings, Inc.           SR0000628226
4686   Lady Antebellum    Bartender                         UMG Recordings, Inc.           SR0000770305
4687   Lady Gaga          Alejandro                         UMG Recordings, Inc.           SR0000642917
4688   Lady Gaga          Alejandro (Radio Edit)            UMG Recordings, Inc.           SR0000642917
4689   Lady Gaga          Americano                         UMG Recordings, Inc.           SR0000678406
4690   Lady Gaga          Applause                          UMG Recordings, Inc.           SR0000729225
4691   Lady Gaga          ARTPOP                            UMG Recordings, Inc.           SR0000737557
4692   Lady Gaga          Aura                              UMG Recordings, Inc.           SR0000737557
4693   Lady Gaga          Bad Kids                          UMG Recordings, Inc.           SR0000678406
4694   Lady Gaga          Bad Romance                       UMG Recordings, Inc.           SR0000642919
4695   Lady GaGa          Beautiful, Dirty, Rich            UMG Recordings, Inc.           SR0000617842
4696   Lady Gaga          Black Jesus (Amen Fashion)        UMG Recordings, Inc.           SR0000678406
4697   Lady Gaga          Bloody Mary                       UMG Recordings, Inc.           SR0000678406
4698   Lady Gaga          Born This Way                     UMG Recordings, Inc.           SR0000678406
4699   Lady GaGa          Boys Boys Boys                    UMG Recordings, Inc.           SR0000617841
4700   Lady GaGa          Brown Eyes                        UMG Recordings, Inc.           SR0000617841
4701   Lady Gaga          Christmas Tree                    UMG Recordings, Inc.           SR0000621816
4702   Lady Gaga          Dance In The Dark                 UMG Recordings, Inc.           SR0000642917
4703   Lady GaGa          Disco Heaven                      UMG Recordings, Inc.           SR0000642917
4704   Lady Gaga          Do What U Want                    UMG Recordings, Inc.           SR0000737557
4705   Lady Gaga          Donatella                         UMG Recordings, Inc.           SR0000737557
4706   Lady Gaga          Dope                              UMG Recordings, Inc.           SR0000737557
4707   Lady Gaga          Eh, Eh (Nothing Else I Can Say)   UMG Recordings, Inc.           SR0000617841
4708   Lady Gaga          Electric Chapel                   UMG Recordings, Inc.           SR0000678406
4709   Lady Gaga          Fashion Of His Love               UMG Recordings, Inc.           SR0000678406
4710   Lady Gaga          Fashion!                          UMG Recordings, Inc.           SR0000737557
                          Fasion Of His Love (Fernando
4711   Lady Gaga          Garibay Remix)                    UMG Recordings, Inc.           SR0000678406
4712   Lady Gaga          G.U.Y.                            UMG Recordings, Inc.           SR0000737557



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                Artist                   Track                        Plaintiff               Registration_Number
4713   Lady Gaga          Government Hooker                UMG Recordings, Inc.            SR0000678406
4714   Lady Gaga          Gypsy                            UMG Recordings, Inc.            SR0000737557
4715   Lady Gaga          Hair                             UMG Recordings, Inc.            SR0000678406
4716   Lady Gaga          Heavy Metal Lover                UMG Recordings, Inc.            SR0000678406
4717   Lady Gaga          Highway Unicorn (Road To Love)   UMG Recordings, Inc.            SR0000678406
4718   Lady GaGa          I Like It Rough                  UMG Recordings, Inc.            SR0000617841
4719   Lady Gaga          Jewels N' Drugs                  UMG Recordings, Inc.            SR0000737557
4720   Lady Gaga          Judas                            UMG Recordings, Inc.            SR0000678406
4721   Lady Gaga          Judas (DJ White Shadow Remix)    UMG Recordings, Inc.            SR0000678406
4722   Lady GaGa          Just Dance                       UMG Recordings, Inc.            SR0000613221
4723   Lady GaGa          LoveGame                         UMG Recordings, Inc.            SR0000617841
4724   Lady Gaga          MANiCURE                         UMG Recordings, Inc.            SR0000737557
4725   Lady Gaga          Marry The Night                  UMG Recordings, Inc.            SR0000678406
4726   Lady Gaga          Mary Jane Holland                UMG Recordings, Inc.            SR0000737557
4727   Lady GaGa          Money Honey                      UMG Recordings, Inc.            SR0000617841
4728   Lady Gaga          Monster                          UMG Recordings, Inc.            SR0000642917
4729   Lady Gaga          Paparazzi                        UMG Recordings, Inc.            SR0000617841
4730   Lady GaGa          Paper Gangsta                    UMG Recordings, Inc.            SR0000617841
4731   Lady GaGa          Poker Face                       UMG Recordings, Inc.            SR0000617843
4732   Lady Gaga          Retro, Dance, Freak              UMG Recordings, Inc.            SR0000642917
4733   Lady Gaga          Scheiße                          UMG Recordings, Inc.            SR0000678406
                          Scheiße (DJ White Shadow
4734   Lady Gaga          Remix)                           UMG Recordings, Inc.            SR0000678406
4735   Lady Gaga          Sexxx Dreams                     UMG Recordings, Inc.            SR0000737557
4736   Lady Gaga          So Happy I Could Die             UMG Recordings, Inc.            SR0000642917
4737   Lady Gaga          Speechless                       UMG Recordings, Inc.            SR0000642917
4738   Lady GaGa          Starstruck                       UMG Recordings, Inc.            SR0000617841
4739   Lady GaGa          Summerboy                        UMG Recordings, Inc.            SR0000617841
4740   Lady Gaga          Swine                            UMG Recordings, Inc.            SR0000737557
4741   Lady Gaga          Teeth                            UMG Recordings, Inc.            SR0000642917
4742   Lady Gaga          Telephone                        UMG Recordings, Inc.            SR0000642917
4743   Lady Gaga          The Edge Of Glory                UMG Recordings, Inc.            SR0000678409
4744   Lady GaGa          The Fame                         UMG Recordings, Inc.            SR0000617841
4745   Lady Gaga          The Queen                        UMG Recordings, Inc.            SR0000678406
4746   Lady Gaga          Venus                            UMG Recordings, Inc.            SR0000737557
4747   Lady Gaga          You & I                          UMG Recordings, Inc.            SR0000678406
4748   Lady Gaga          You And I                        UMG Recordings, Inc.            SR0000678406
4749   Lana Del Rey       American                         UMG Recordings, Inc.            SR0000712342
4750   Lana Del Rey       Bel Air                          UMG Recordings, Inc.            SR0000712342
4751   Lana Del Rey       Blue Jeans                       UMG Recordings, Inc.            SR0000412524
4752   Lana Del Rey       Blue Velvet                      UMG Recordings, Inc.            SR0000712342
4753   Lana Del Rey       Body Electric                    UMG Recordings, Inc.            SR0000712342
4754   Lana Del Rey       Born To Die                      UMG Recordings, Inc.            SR0000692991
                                                                                           SR0000711860;SR00004125
4755   Lana Del Rey       Burning Desire                   UMG Recordings, Inc.            26
4756   Lana Del Rey       Carmen                           UMG Recordings, Inc.            SR0000692991
4757   Lana Del Rey       Cola                             UMG Recordings, Inc.            SR0000712342
4758   Lana Del Rey       Dark Paradise                    UMG Recordings, Inc.            SR0000712345
4759   Lana Del Rey       Diet Mountain Dew                UMG Recordings, Inc.            SR0000729848
4760   Lana Del Rey       Gods & Monsters                  UMG Recordings, Inc.            SR0000712342
4761   Lana Del Rey       Lolita                           UMG Recordings, Inc.            SR0000692991
4762   Lana Del Rey       Lucky Ones                       UMG Recordings, Inc.            SR0000692991
4763   Lana Del Rey       Million Dollar Man               UMG Recordings, Inc.            SR0000692991



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                  Artist                  Track                         Plaintiff               Registration_Number
 4764   Lana Del Rey        National Anthem                  UMG Recordings, Inc.            SR0000692991
 4765   Lana Del Rey        Off To The Races                 UMG Recordings, Inc.            SR0000412524
                                                                                             SR0000712346;SR00004125
 4766   Lana Del Rey        Ride                             UMG Recordings, Inc.            27
 4767   Lana Del Rey        Summertime Sadness               UMG Recordings, Inc.            SR0000729848
 4768   Lana Del Rey        This Is What Makes Us Girls      UMG Recordings, Inc.            SR0000692991
 4769   Lana Del Rey        Video Games                      UMG Recordings, Inc.            SR0000693409
 4770   Lana Del Rey        Without You                      UMG Recordings, Inc.            SR0000711860
 4771   Lana Del Rey        Yayo                             UMG Recordings, Inc.            SR0000712342
 4772   Ledisi              BGTY                             UMG Recordings, Inc.            SR0000611046
 4773   Ledisi              Bravo                            UMG Recordings, Inc.            SR0000611046
 4774   Ledisi              Coffee                           UMG Recordings, Inc.            SR0000611046
 4775   Ledisi              Hate Me                          UMG Recordings, Inc.            SR0000611046
 4776   Ledisi              I Gotta Get To You               UMG Recordings, Inc.            SR0000611046
 4777   Ledisi              I Miss You Now                   UMG Recordings, Inc.            SR0000611046
 4778   Ledisi              Pieces Of Me                     UMG Recordings, Inc.            SR0000611046
 4779   Ledisi              Raise Up                         UMG Recordings, Inc.            SR0000678487
 4780   Ledisi              Shine                            UMG Recordings, Inc.            SR0000678487
 4781   Ledisi              Shut Up                          UMG Recordings, Inc.            SR0000611046
 4782   Ledisi              So Into You                      UMG Recordings, Inc.            SR0000611046
 4783   Ledisi              Stay Together                    UMG Recordings, Inc.            SR0000678487
 4784   Lee Ann Womack      After I Fall                     UMG Recordings, Inc.            SR0000281198
 4785   Lee Ann Womack      Ashes By Now                     UMG Recordings, Inc.            SR0000281198
 4786   Lee Ann Womack      Does My Ring Burn Your Finger    UMG Recordings, Inc.            SR0000281198
                            I Feel Like I'm Forgetting
 4787   Lee Ann Womack      Something                        UMG Recordings, Inc.            SR0000281198
 4788   Lee Ann Womack      I Hope You Dance                 UMG Recordings, Inc.            SR0000281261
 4789   Lee Ann Womack      I Know Why The River Runs        UMG Recordings, Inc.            SR0000281261
 4790   Lee Ann Womack      Lonely Too                       UMG Recordings, Inc.            SR0000281198
 4791   Lee Ann Womack      Lord I Hope This Day Is Good     UMG Recordings, Inc.            SR0000281198
 4792   Lee Ann Womack      Stronger Than I Am               UMG Recordings, Inc.            SR0000281198
 4793   Lee Ann Womack      The Healing Kind                 UMG Recordings, Inc.            SR0000281261
 4794   Lee Ann Womack      Thinkin' With My Heart Again     UMG Recordings, Inc.            SR0000281198
 4795   Lee Ann Womack      Why They Call It Falling         UMG Recordings, Inc.            SR0000281198
 4796   Lifehouse           All In All                       UMG Recordings, Inc.            SR0000370643
 4797   Lifehouse           Am I Ever Gonna Find Out         UMG Recordings, Inc.            SR0000321812
 4798   Lifehouse           Anchor                           UMG Recordings, Inc.            SR0000321812
 4799   Lifehouse           Better Luck Next Time            UMG Recordings, Inc.            SR0000370643
 4800   Lifehouse           Breathing                        UMG Recordings, Inc.            SR0000289389
 4801   Lifehouse           Bridges                          UMG Recordings, Inc.            SR0000409087
 4802   Lifehouse           Broken                           UMG Recordings, Inc.            SR0000409087
 4803   Lifehouse           Chapter One                      UMG Recordings, Inc.            SR0000370643
 4804   Lifehouse           Cling And Clatter                UMG Recordings, Inc.            SR0000289389
 4805   Lifehouse           Come Back Down                   UMG Recordings, Inc.            SR0000370643
 4806   Lifehouse           Days Go By                       UMG Recordings, Inc.            SR0000615314
 4807   Lifehouse           Easier To Be                     UMG Recordings, Inc.            SR0000409087
 4808   Lifehouse           Empty Space                      UMG Recordings, Inc.            SR0000321812
 4809   Lifehouse           Everything                       UMG Recordings, Inc.            SR0000321812
 4810   Lifehouse           From Where You Are               UMG Recordings, Inc.            SR0000615314
 4811   Lifehouse           How Long                         UMG Recordings, Inc.            SR0000321812
 4812   Lifehouse           Into The Sun                     UMG Recordings, Inc.            SR0000370643
 4813   Lifehouse           Just Another Name                UMG Recordings, Inc.            SR0000321812
 4814   Lifehouse           Learn You Inside Out             UMG Recordings, Inc.            SR0000409087



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                   Artist                   Track                          Plaintiff             Registration_Number
 4815   Lifehouse            Make Me Over                       UMG Recordings, Inc.          SR0000409087
 4816   Lifehouse            Mesmerized                         UMG Recordings, Inc.          SR0000409087
 4817   Lifehouse            My Precious                        UMG Recordings, Inc.          SR0000321812
 4818   Lifehouse            Only One                           UMG Recordings, Inc.          SR0000289389
 4819   Lifehouse            Out Of Breath                      UMG Recordings, Inc.          SR0000321812
 4820   Lifehouse            Quasimodo                          UMG Recordings, Inc.          SR0000289389
 4821   Lifehouse            Sick Cycle Carousel                UMG Recordings, Inc.          SR0000289389
 4822   Lifehouse            Simon                              UMG Recordings, Inc.          SR0000289389
 4823   Lifehouse            Sky Is Falling                     UMG Recordings, Inc.          SR0000321812
 4824   Lifehouse            Someone Else's Song                UMG Recordings, Inc.          SR0000289389
 4825   Lifehouse            Somewhere In Between               UMG Recordings, Inc.          SR0000289389
 4826   Lifehouse            Spin                               UMG Recordings, Inc.          SR0000321812
 4827   Lifehouse            Stanley Climbfall                  UMG Recordings, Inc.          SR0000321812
 4828   Lifehouse            Storm                              UMG Recordings, Inc.          SR0000409087
 4829   Lifehouse            Take Me Away                       UMG Recordings, Inc.          SR0000321812
 4830   Lifehouse            The Beginning                      UMG Recordings, Inc.          SR0000321812
 4831   Lifehouse            The End Has Only Begun             UMG Recordings, Inc.          SR0000370643
 4832   Lifehouse            The Joke                           UMG Recordings, Inc.          SR0000409087
 4833   Lifehouse            Trying                             UMG Recordings, Inc.          SR0000289389
 4834   Lifehouse            Undone                             UMG Recordings, Inc.          SR0000370643
 4835   Lifehouse            Unknown                            UMG Recordings, Inc.          SR0000289389
 4836   Lifehouse            Walking Away                       UMG Recordings, Inc.          SR0000370643
 4837   Lifehouse            Wash                               UMG Recordings, Inc.          SR0000321812
 4838   Lifehouse            We'll Never Know                   UMG Recordings, Inc.          SR0000370643
 4839   Lifehouse            Whatever It Takes                  UMG Recordings, Inc.          SR0000409087
 4840   Lifehouse            Who We Are                         UMG Recordings, Inc.          SR0000409087
 4841   Lifehouse            You And Me                         UMG Recordings, Inc.          SR0000370643
 4842   Little Big Town      Pontoon                            UMG Recordings, Inc.          SR0000709014
 4843   Lloyd                Certified                          UMG Recordings, Inc.          SR0000391940
 4844   Lloyd                Get It Shawty                      UMG Recordings, Inc.          SR0000391940
 4845   Lloyd                Hazel                              UMG Recordings, Inc.          SR0000391940
 4846   Lloyd                I Don't Mind                       UMG Recordings, Inc.          SR0000391940
 4847   Lloyd                I Want You (Remix)                 UMG Recordings, Inc.          SR0000391940
 4848   Lloyd                Incredible                         UMG Recordings, Inc.          SR0000391940
 4849   Lloyd                Killing Me                         UMG Recordings, Inc.          SR0000391940
 4850   Lloyd                Lloyd (Intro)                      UMG Recordings, Inc.          SR0000391940
 4851   Lloyd                One For Me                         UMG Recordings, Inc.          SR0000391940
 4852   Lloyd                Player's Prayer                    UMG Recordings, Inc.          SR0000391940
 4853   Lloyd                StreetLove                         UMG Recordings, Inc.          SR0000391940
 4854   Lloyd                Take You Home                      UMG Recordings, Inc.          SR0000391940
 4855   Lloyd                Valentine                          UMG Recordings, Inc.          SR0000391940
 4856   Lloyd                What You Wanna Do                  UMG Recordings, Inc.          SR0000391940
 4857   Lloyd                You (Edited)                       UMG Recordings, Inc.          SR0000391940
 4858   LMFAO                All Night Long                     UMG Recordings, Inc.          SR0000678646
 4859   LMFAO                Bounce                             UMG Recordings, Inc.          SR0000641967
 4860   LMFAO                Champagne Showers                  UMG Recordings, Inc.          SR0000678646
 4861   LMFAO                Get Crazy                          UMG Recordings, Inc.          SR0000641967
 4862   LMFAO                Hot Dog                            UMG Recordings, Inc.          SR0000678646
 4863   LMFAO                I Don't Wanna Be                   UMG Recordings, Inc.          SR0000641967
 4864   LMFAO                I Shake, I Move                    UMG Recordings, Inc.          SR0000641967
 4865   LMFAO                I Shake, I Move (Explicit)         UMG Recordings, Inc.          SR0000641967
 4866   LMFAO                I'm In Miami Bitch                 UMG Recordings, Inc.          SR0000621810




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                Artist                    Track                         Plaintiff             Registration_Number
 4867   LMFAO             I'm In Miami Bitch (Explicit)      UMG Recordings, Inc.          SR0000621810
 4868   LMFAO             La La La                           UMG Recordings, Inc.          SR0000641967
 4869   LMFAO             Leaving U 4 The Groove             UMG Recordings, Inc.          SR0000641967
 4870   LMFAO             Lil' Hipster Girl                  UMG Recordings, Inc.          SR0000641967
 4871   LMFAO             One Day                            UMG Recordings, Inc.          SR0000678646
                          Party Rock Anthem (Benny
 4872   LMFAO             Benassi Radio Remix Edit)          UMG Recordings, Inc.          SR0000671268
 4873   LMFAO             Put That A$$ To Work               UMG Recordings, Inc.          SR0000678646
 4874   LMFAO             Reminds Me Of You                  UMG Recordings, Inc.          SR0000678646
 4875   LMFAO             Reminds Me Of You (Explicit)       UMG Recordings, Inc.          SR0000678646
 4876   LMFAO             Rock The BeaT                      UMG Recordings, Inc.          SR0000641967
 4877   LMFAO             Rock The Beat II                   UMG Recordings, Inc.          SR0000678646
 4878   LMFAO             Scream My Name                     UMG Recordings, Inc.          SR0000641967
 4879   LMFAO             Sexy And I Know It                 UMG Recordings, Inc.          SR0000678646
 4880   LMFAO             Shots                              UMG Recordings, Inc.          SR0000641967
 4881   LMFAO             Sorry For Party Rocking            UMG Recordings, Inc.          SR0000678646
 4882   LMFAO             Take It To The Hole                UMG Recordings, Inc.          SR0000678646
 4883   LMFAO             Take It To The Hole (Explicit)     UMG Recordings, Inc.          SR0000678646
 4884   LMFAO             We Came Here To Party              UMG Recordings, Inc.          SR0000678646

 4885   LMFAO             We Came Here To Party (Explicit)   UMG Recordings, Inc.          SR0000678646
 4886   LMFAO             What Happens At The Party          UMG Recordings, Inc.          SR0000641967
 4887   LMFAO             With You                           UMG Recordings, Inc.          SR0000678646
 4888   LMFAO             Yes                                UMG Recordings, Inc.          SR0000641967
 4889   Lorde             400 Lux                            UMG Recordings, Inc.          SR0000732619
 4890   Lorde             Biting Down                        UMG Recordings, Inc.          SR0000724529
 4891   Lorde             Bravado                            UMG Recordings, Inc.          SR0000724529
 4892   Lorde             Glory And Gore                     UMG Recordings, Inc.          SR0000732619
 4893   Lorde             Million Dollar Bills               UMG Recordings, Inc.          SR0000724529
 4894   Lorde             No Better                          UMG Recordings, Inc.          SR0000736121
 4895   Lorde             Ribs                               UMG Recordings, Inc.          SR0000732619
 4896   Lorde             Royals                             UMG Recordings, Inc.          SR0000724529
 4897   Lorde             Still Sane                         UMG Recordings, Inc.          SR0000732619
 4898   Lorde             Swingin Party                      UMG Recordings, Inc.          SR0000726964
 4899   Lorde             Tennis Court                       UMG Recordings, Inc.          SR0000726964
 4900   Lorde             The Love Club                      UMG Recordings, Inc.          SR0000724529
 4901   Lorde             White Teeth Teens                  UMG Recordings, Inc.          SR0000732619
 4902   Lorde             Buzzcut Season                     UMG Recordings, Inc.          SR0000733267
                          One More Drink (co-starring T-
 4903   Ludacris          Pain)                              UMG Recordings, Inc.          SR0000620047
 4904   Ludacris          Undisputed                         UMG Recordings, Inc.          SR0000620048
 4905   Ludacris          What Them Girls Like               UMG Recordings, Inc.          SR0000617041
 4906   Luke Bryan        Roller Coaster                     UMG Recordings, Inc.          SR0000728445
 4907   M.I.A.            Bad Girls                          UMG Recordings, Inc.          SR0000698452
 4908   M.I.A.            Boom Skit                          UMG Recordings, Inc.          SR0000736308
 4909   M.I.A.            Bring The Noize                    UMG Recordings, Inc.          SR0000736308
 4910   M.I.A.            Come Walk With Me                  UMG Recordings, Inc.          SR0000736307
 4911   M.I.A.            Double Bubble Trouble              UMG Recordings, Inc.          SR0000736308
 4912   M.I.A.            Karmageddon                        UMG Recordings, Inc.          SR0000736308
 4913   M.I.A.            Know It Ain't Right                UMG Recordings, Inc.          SR0000736308
 4914   M.I.A.            Lights                             UMG Recordings, Inc.          SR0000736308
 4915   M.I.A.            MATANGI                            UMG Recordings, Inc.          SR0000736308
 4916   M.I.A.            Only 1                             UMG Recordings, Inc.          SR0000736308



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                 Artist                    Track                        Plaintiff              Registration_Number
 4917   M.I.A.             Sexodus                           UMG Recordings, Inc.           SR0000736308
 4918   M.I.A.             Warriors                          UMG Recordings, Inc.           SR0000736308
 4919   M.I.A.             Y.A.L.A.                          UMG Recordings, Inc.           SR0000736309
 4920   Macy Gray          Everybody                         UMG Recordings, Inc.           SR0000395382
 4921   Macy Gray          Get Out                           UMG Recordings, Inc.           SR0000395382
 4922   Macy Gray          Glad You're Here                  UMG Recordings, Inc.           SR0000395382
 4923   Macy Gray          Okay                              UMG Recordings, Inc.           SR0000395382
 4924   Macy Gray          One For Me                        UMG Recordings, Inc.           SR0000395382
 4925   Macy Gray          Slowly                            UMG Recordings, Inc.           SR0000395382
 4926   Macy Gray          Strange Behavior                  UMG Recordings, Inc.           SR0000395382
 4927   Macy Gray          Treat Me Like Your Money          UMG Recordings, Inc.           SR0000395382
 4928   Macy Gray          What I Gotta Do                   UMG Recordings, Inc.           SR0000395382
 4929   Mariah Carey       #Beautiful                        UMG Recordings, Inc.           SR0000750755
 4930   Mariah Carey       Touch My Body                     UMG Recordings, Inc.           SR0000612879
 4931   Mariah Carey       Up Out My Face                    UMG Recordings, Inc.           SR0000633779
 4932   Maroon 5           Beautiful Goodbye                 UMG Recordings, Inc.           SR0000705167
 4933   Maroon 5           Crazy Little Thing Called Love    UMG Recordings, Inc.           SR0000664531
 4934   Maroon 5           Daylight                          UMG Recordings, Inc.           SR0000705167
 4935   Maroon 5           Doin' Dirt                        UMG Recordings, Inc.           SR0000705167
 4936   Maroon 5           Figure It Out                     UMG Recordings, Inc.           SR0000627938
 4937   Maroon 5           Fortune Teller                    UMG Recordings, Inc.           SR0000705167
 4938   Maroon 5           Get Back In My Life               UMG Recordings, Inc.           SR0000664531
 4939   Maroon 5           Give A Little More                UMG Recordings, Inc.           SR0000664529
 4940   Maroon 5           Hands All Over                    UMG Recordings, Inc.           SR0000664531
 4941   Maroon 5           Harder To Breathe                 UMG Recordings, Inc.           SR0000702833
 4942   Maroon 5           Hello                             UMG Recordings, Inc.           SR0000393024
 4943   Maroon 5           How                               UMG Recordings, Inc.           SR0000664531
 4944   Maroon 5           I Can't Lie                       UMG Recordings, Inc.           SR0000664531
 4945   Maroon 5           If I Ain't Got You                UMG Recordings, Inc.           SR0000664531
 4946   Maroon 5           Just A Feeling                    UMG Recordings, Inc.           SR0000664531
 4947   Maroon 5           Kiss                              UMG Recordings, Inc.           SR0000705167
 4948   Maroon 5           Ladykiller                        UMG Recordings, Inc.           SR0000705167
 4949   Maroon 5           Last Chance                       UMG Recordings, Inc.           SR0000664531
 4950   Maroon 5           Let's Stay Together               UMG Recordings, Inc.           SR0000705167
 4951   Maroon 5           Love Somebody                     UMG Recordings, Inc.           SR0000705167
 4952   Maroon 5           Lucky Strike                      UMG Recordings, Inc.           SR0000705167
 4953   Maroon 5           Misery                            UMG Recordings, Inc.           SR0000659947
 4954   Maroon 5           Miss You Love You                 UMG Recordings, Inc.           SR0000627938
 4955   Maroon 5           Must Get Out                      UMG Recordings, Inc.           SR0000702833
 4956   Maroon 5           Never Gonna Leave This Bed        UMG Recordings, Inc.           SR0000664531
 4957   Maroon 5           No Curtain Call                   UMG Recordings, Inc.           SR0000664531
 4958   Maroon 5           Not Coming Home                   UMG Recordings, Inc.           SR0000702833
 4959   Maroon 5           One More Night                    UMG Recordings, Inc.           SR0000705170
 4960   Maroon 5           Out Of Goodbyes                   UMG Recordings, Inc.           SR0000664531
 4961   Maroon 5           Payphone                          UMG Recordings, Inc.           SR0000705168
 4962   Maroon 5           Rag Doll                          UMG Recordings, Inc.           SR0000702833
 4963   Maroon 5           Runaway                           UMG Recordings, Inc.           SR0000664531
 4964   Maroon 5           Sad                               UMG Recordings, Inc.           SR0000705167
 4965   Maroon 5           Secret                            UMG Recordings, Inc.           SR0000702833
 4966   Maroon 5           Secret/Ain't No Sunshine          UMG Recordings, Inc.           SR0000393024
 4967   Maroon 5           She Will Be Loved                 UMG Recordings, Inc.           SR0000674174
 4968   Maroon 5           Shiver                            UMG Recordings, Inc.           SR0000702833




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                Artist                   Track                          Plaintiff             Registration_Number
 4969   Maroon 5          Stutter                            UMG Recordings, Inc.          SR0000664531
 4970   Maroon 5          Sunday Morning                     UMG Recordings, Inc.          SR0000702833
 4971   Maroon 5          Sweetest Goodbye                   UMG Recordings, Inc.          SR0000664148
 4972   Maroon 5          Tangled                            UMG Recordings, Inc.          SR0000702833
 4973   Maroon 5          The Man Who Never Lied             UMG Recordings, Inc.          SR0000705167
 4974   Maroon 5          The Sun                            UMG Recordings, Inc.          SR0000702833
 4975   Maroon 5          This Love                          UMG Recordings, Inc.          SR0000348508
 4976   Maroon 5          Through With You                   UMG Recordings, Inc.          SR0000702833
 4977   Maroon 5          Tickets                            UMG Recordings, Inc.          SR0000705167
 4978   Maroon 5          Wasted Years                       UMG Recordings, Inc.          SR0000705167
 4979   Maroon 5          Wipe Your Eyes                     UMG Recordings, Inc.          SR0000705167
 4980   Marvin Gaye       Anger                              UMG Recordings, Inc.          SR0000005020
 4981   Marvin Gaye       Ego Tripping Out                   UMG Recordings, Inc.          SR0000012844
 4982   Marvin Gaye       Got To Give It Up                  UMG Recordings, Inc.          N42204
                                                                                           N00000030657;RE0000908
 4983   Marvin Gaye       I Want You                         UMG Recordings, Inc.          401
 4984   Marvin Gaye       Praise                             UMG Recordings, Inc.          SR0000024441
 4985   Mary J. Blige     Someone To Love Me (Naked)         UMG Recordings, Inc.          SR0000676435
 4986   Meat Loaf         Alive                              UMG Recordings, Inc.          SR0000407287
 4987   Meat Loaf         Back Into Hell                     UMG Recordings, Inc.          SR0000316425
 4988   Meat Loaf         Bad For Good                       UMG Recordings, Inc.          SR0000407287
 4989   Meat Loaf         Blind As A Bat                     UMG Recordings, Inc.          SR0000407287
 4990   Meat Loaf         Cry To Heaven                      UMG Recordings, Inc.          SR0000407287
                          Everything Louder Than
 4991   Meat Loaf         Everything Else                    UMG Recordings, Inc.          SR0000316425
                          Good Girls Go To Heaven (Bad
 4992   Meat Loaf         Girls Go Everywhere)               UMG Recordings, Inc.          SR0000316425
                          I'd Do Anything For Love (But I
 4993   Meat Loaf         Won't Do That)                     UMG Recordings, Inc.          SR0000316425
 4994   Meat Loaf         If God Could Talk                  UMG Recordings, Inc.          SR0000407287
 4995   Meat Loaf         If It Aint Broke Break It          UMG Recordings, Inc.          SR0000407287
                          In The Land Of The Pig, The
 4996   Meat Loaf         Butcher is King                    UMG Recordings, Inc.          SR0000407287
                          Life Is A Lemon And I Want My
 4997   Meat Loaf         Money Back                         UMG Recordings, Inc.          SR0000316425
 4998   Meat Loaf         Monstro                            UMG Recordings, Inc.          SR0000407287
 4999   Meat Loaf         Seize The Night                    UMG Recordings, Inc.          SR0000407287
                          The Future Ain't What It Used To
 5000   Meat Loaf         Be                                 UMG Recordings, Inc.          SR0000407287
 5001   Meat Loaf         The Monster Is Loose               UMG Recordings, Inc.          SR0000407287
 5002   Meat Loaf         Wasted Youth                       UMG Recordings, Inc.          SR0000316425
 5003   Meat Loaf         What About Love                    UMG Recordings, Inc.          SR0000407287
 5004   Nas               America                            UMG Recordings, Inc.          SR0000614072
 5005   Nas               Black President                    UMG Recordings, Inc.          SR0000614072
 5006   Nas               Breathe                            UMG Recordings, Inc.          SR0000614072
 5007   Nas               Fried Chicken                      UMG Recordings, Inc.          SR0000614072
 5008   Nas               Hero                               UMG Recordings, Inc.          SR0000614073
 5009   Nas               Make The World Go Round            UMG Recordings, Inc.          SR0000614072
                          N.I.*.*.E.R. (The Slave and the
 5010   Nas               Master)                            UMG Recordings, Inc.          SR0000614072
 5011   Nas               Project Roach                      UMG Recordings, Inc.          SR0000614072
 5012   Nas               Queens Get The Money               UMG Recordings, Inc.          SR0000614072
 5013   Nas               Sly Fox                            UMG Recordings, Inc.          SR0000614072



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                 Artist                       Track                          Plaintiff             Registration_Number
 5014   Nas                    Testify                            UMG Recordings, Inc.          SR0000614072
 5015   Nas                    Untitled                           UMG Recordings, Inc.          SR0000614072
 5016   Nas                    We're Not Alone                    UMG Recordings, Inc.          SR0000614072
 5017   Nas                    Y'all My Ni**as                    UMG Recordings, Inc.          SR0000614072
 5018   Nas                    You Can't Stop Us Now              UMG Recordings, Inc.          SR0000614072
                               Let Me Love You (Until You Learn
 5019   Ne-Yo                  To Love Yourself)                  UMG Recordings, Inc.          SR0000705073
 5020   Nelly                  Dilemma                            UMG Recordings, Inc.          SR0000339724
 5021   Nelly                  Just A Dream                       UMG Recordings, Inc.          SR0000662586
                               **** On The Radio (Remember
 5022   Nelly Furtado          The Days)                          UMG Recordings, Inc.          SR0000729667
                               Crazy (Radio 1 Live Lounge
 5023   Nelly Furtado          Session)                           UMG Recordings, Inc.          SR0000400012
 5024   Nelly Furtado          Forca                              UMG Recordings, Inc.          SR0000729667
 5025   Nelly Furtado          Fotografía                         UMG Recordings, Inc.          SR0000729667
 5026   Nelly Furtado          Girlfriend In The City             UMG Recordings, Inc.          SR0000729667
 5027   Nelly Furtado          I'm Like A Bird                    UMG Recordings, Inc.          SR0000729667
 5028   Nelly Furtado          In God's Hands                     UMG Recordings, Inc.          SR0000612217
 5029   Nelly Furtado          Island Of Wonder                   UMG Recordings, Inc.          SR0000347749
 5030   Nelly Furtado          Manos Al Aire                      UMG Recordings, Inc.          SR0000641955
 5031   Nelly Furtado          Night Is Young                     UMG Recordings, Inc.          SR0000756992
 5032   Nelly Furtado          Powerless (Say What You Want)      UMG Recordings, Inc.          SR0000729667
 5033   Nelly Furtado          Stars                              UMG Recordings, Inc.          SR0000729667
 5034   Nelly Furtado          Try                                UMG Recordings, Inc.          SR0000347749
 5035   Nelly Furtado          Turn Off The Light                 UMG Recordings, Inc.          SR0000729667
 5036   Nine Inch Nails        Closer                             UMG Recordings, Inc.          SR0000190381
 5037   Nine Inch Nails        Heresy (Blind)                     UMG Recordings, Inc.          SR0000190381
 5038   Nirvana                About A Girl                       UMG Recordings, Inc.          SR0000320325
 5039   Nirvana                All Apologies                      UMG Recordings, Inc.          SR0000178690
 5040   Nirvana                Been A Son                         UMG Recordings, Inc.          SR0000320325
 5041   Nirvana                Come As You Are                    UMG Recordings, Inc.          SR0000178690
 5042   Nirvana                Dumb                               UMG Recordings, Inc.          SR0000172276
 5043   Nirvana                Heart Shaped Box                   UMG Recordings, Inc.          SR0000172276
 5044   Nirvana                In Bloom                           UMG Recordings, Inc.          SR0000135335
 5045   Nirvana                Lithium                            UMG Recordings, Inc.          SR0000135335
 5046   Nirvana                Pennyroyal Tea                     UMG Recordings, Inc.          SR0000172276
 5047   Nirvana                Rape Me                            UMG Recordings, Inc.          SR0000172276
 5048   Nirvana                Sliver                             UMG Recordings, Inc.          SR0000320325
 5049   Nirvana                Smells Like Teen Spirit            UMG Recordings, Inc.          SR0000134601
                               The Man Who Sold The World
 5050   Nirvana                (Live, MTV Unplugged)              UMG Recordings, Inc.          SR0000178690
 5051   Nirvana                You Know You're Right              UMG Recordings, Inc.          SR0000320325
 5052   No Doubt               Settle Down                        UMG Recordings, Inc.          SR0000708747
 5053   Obie Trice             Adrenaline Rush (Explicit)         UMG Recordings, Inc.          SR0000322706
 5054   Obie Trice             Cheers                             UMG Recordings, Inc.          SR0000341637
 5055   Obie Trice             Got Some Teeth (Explicit)          UMG Recordings, Inc.          SR0000341637
 5056   Obie Trice             Never Forget Ya                    UMG Recordings, Inc.          SR0000341637
 5057   Obie Trice             Outro (Obie Trice/ Cheers)         UMG Recordings, Inc.          SR0000341637
 5058   Obie Trice             Rap Name (Explicit)                UMG Recordings, Inc.          SR0000322706
 5059   Obie Trice             Shit Hits The Fan                  UMG Recordings, Inc.          SR0000341637
 5060   Of Monsters and Men    Little Talks                       UMG Recordings, Inc.          SR0000694984
 5061   Of Monsters and Men    Your Bones                         UMG Recordings, Inc.          SR0000698589
 5062   OneRepublic            All Fall Down                      UMG Recordings, Inc.          SR0000614111



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                  Artist                   Track                        Plaintiff               Registration_Number
 5063   OneRepublic         All We Are                       UMG Recordings, Inc.            SR0000614111
 5064   OneRepublic         Come Home                        UMG Recordings, Inc.            SR0000632435
 5065   OneRepublic         Goodbye, Apathy                  UMG Recordings, Inc.            SR0000614111
 5066   OneRepublic         Prodigal                         UMG Recordings, Inc.            SR0000614111
 5067   OneRepublic         Someone To Save You              UMG Recordings, Inc.            SR0000614111
 5068   OneRepublic         Stop And Stare                   UMG Recordings, Inc.            SR0000614111
 5069   OneRepublic         Won't Stop                       UMG Recordings, Inc.            SR0000614111
 5070   Papa Roach          ...To Be Loved                   UMG Recordings, Inc.            SR0000680576
 5071   Papa Roach          Be Free                          UMG Recordings, Inc.            SR0000360567
 5072   Papa Roach          Between Angels And Insects       UMG Recordings, Inc.            SR0000279777
 5073   Papa Roach          Blood Brothers                   UMG Recordings, Inc.            SR0000279777
 5074   Papa Roach          Broken Home                      UMG Recordings, Inc.            SR0000279777
 5075   Papa Roach          Forever                          UMG Recordings, Inc.            SR0000609702
 5076   Papa Roach          Getting Away With Murder         UMG Recordings, Inc.            SR0000360567
 5077   Papa Roach          Had Enough                       UMG Recordings, Inc.            SR0000632009
 5078   Papa Roach          Hollywood Whore                  UMG Recordings, Inc.            SR0000620780
 5079   Papa Roach          Just Go (Never Look Back)        UMG Recordings, Inc.            SR0000680576
 5080   Papa Roach          Last Resort                      UMG Recordings, Inc.            SR0000279777
 5081   Papa Roach          Lifeline                         UMG Recordings, Inc.            SR0000627411
 5082   Papa Roach          Not Listening                    UMG Recordings, Inc.            SR0000360567
 5083   Papa Roach          Reckless                         UMG Recordings, Inc.            SR0000609702
 5084   Papa Roach          Scars                            UMG Recordings, Inc.            SR0000661588
 5085   Papa Roach          She Loves Me Not                 UMG Recordings, Inc.            SR0000318150
 5086   Papa Roach          Sometimes                        UMG Recordings, Inc.            SR0000360567
 5087   Papa Roach          Take Me                          UMG Recordings, Inc.            SR0000360567
 5088   Papa Roach          Time And Time Again              UMG Recordings, Inc.            SR0000318150
 5089   Phillip Phillips    A Fool's Dance                   UMG Recordings, Inc.            SR0000712841
 5090   Phillip Phillips    Can't Go Wrong                   UMG Recordings, Inc.            SR0000712841
 5091   Phillip Phillips    Drive Me                         UMG Recordings, Inc.            SR0000712841
 5092   Phillip Phillips    Get Up Get Down                  UMG Recordings, Inc.            SR0000712841
 5093   Phillip Phillips    Gone, Gone, Gone                 UMG Recordings, Inc.            SR0000712841
 5094   Phillip Phillips    Hazel                            UMG Recordings, Inc.            SR0000712841
 5095   Phillip Phillips    Hold On                          UMG Recordings, Inc.            SR0000712841
 5096   Phillip Phillips    Home                             UMG Recordings, Inc.            SR0000712859
 5097   Phillip Phillips    Man On The Moon                  UMG Recordings, Inc.            SR0000712841
 5098   Phillip Phillips    So Easy                          UMG Recordings, Inc.            SR0000712841
 5099   Phillip Phillips    Tell Me A Story                  UMG Recordings, Inc.            SR0000712841
 5100   Phillip Phillips    Wanted Is Love                   UMG Recordings, Inc.            SR0000712841
 5101   Phillip Phillips    Where We Came From               UMG Recordings, Inc.            SR0000712841
 5102   Phillip Phillips    Wicked Game                      UMG Recordings, Inc.            SR0000712841
 5103   Puddle Of Mudd      Already Gone                     UMG Recordings, Inc.            SR0000347741
 5104   Puddle Of Mudd      Basement                         UMG Recordings, Inc.            SR0000301465
 5105   Puddle Of Mudd      Bottom                           UMG Recordings, Inc.            SR0000347741
 5106   Puddle Of Mudd      Bring Me Down                    UMG Recordings, Inc.            SR0000301465
 5107   Puddle Of Mudd      Change My Mind                   UMG Recordings, Inc.            SR0000347741
 5108   Puddle Of Mudd      Cloud 9                          UMG Recordings, Inc.            SR0000347741
 5109   Puddle Of Mudd      Drift And Die                    UMG Recordings, Inc.            SR0000301465
 5110   Puddle Of Mudd      Freak Of The World               UMG Recordings, Inc.            SR0000347741
 5111   Puddle Of Mudd      I'm So Sure                      UMG Recordings, Inc.            SR0000618742
 5112   Puddle Of Mudd      If I Could Love You              UMG Recordings, Inc.            SR0000618742
 5113   Puddle Of Mudd      It Was Faith                     UMG Recordings, Inc.            SR0000618742
 5114   Puddle Of Mudd      Merry Go Round                   UMG Recordings, Inc.            SR0000618744




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                 Artist                   Track                        Plaintiff               Registration_Number
 5115   Puddle Of Mudd     Moonshine                        UMG Recordings, Inc.            SR0000618742
 5116   Puddle Of Mudd     Never Change                     UMG Recordings, Inc.            SR0000301465
 5117   Puddle Of Mudd     Nobody Told Me                   UMG Recordings, Inc.            SR0000301465
 5118   Puddle Of Mudd     Nothing Left To Lose             UMG Recordings, Inc.            SR0000347741
 5119   Puddle Of Mudd     Out Of My Head                   UMG Recordings, Inc.            SR0000301465
 5120   Puddle Of Mudd     Piss It All Away                 UMG Recordings, Inc.            SR0000301465
 5121   Puddle Of Mudd     Radiate                          UMG Recordings, Inc.            SR0000618742
 5122   Puddle Of Mudd     Said                             UMG Recordings, Inc.            SR0000301465
 5123   Puddle Of Mudd     Spin You Around                  UMG Recordings, Inc.            SR0000347741
 5124   Puddle Of Mudd     Sydney                           UMG Recordings, Inc.            SR0000347741
 5125   Puddle Of Mudd     Think                            UMG Recordings, Inc.            SR0000347741
 5126   Puddle Of Mudd     Thinking About You               UMG Recordings, Inc.            SR0000618742
 5127   Puddle Of Mudd     Time Flies                       UMG Recordings, Inc.            SR0000347741

 5128   Puddle Of Mudd     We Don't Have To Look Back Now UMG Recordings, Inc.              SR0000618749
 5129   Pusha T            New God Flow                   UMG Recordings, Inc.              SR0000703870
 5130   Pussycat Dolls     When I Grow Up                 UMG Recordings, Inc.              SR0000612860
 5131   Rick Ross          9 Piece                        UMG Recordings, Inc.              SR0000677844
 5132   Rick Ross          All I Have In This World       UMG Recordings, Inc.              SR0000642144
 5133   Rick Ross          All I Really Want (Explicit)   UMG Recordings, Inc.              SR0000631749
 5134   Rick Ross          All The Money In The World     UMG Recordings, Inc.              SR0000656701
 5135   Rick Ross          Aston Martin Music             UMG Recordings, Inc.              SR0000656701
                           B.M.F. (Blowin' Money Fast)
 5136   Rick Ross          (Explicit)                     UMG Recordings, Inc.              SR0000656701
 5137   Rick Ross          Billionaire                    UMG Recordings, Inc.              SR0000642144
 5138   Rick Ross          Blowin Money Fast              UMG Recordings, Inc.              SR0000656701
 5139   Rick Ross          Cross That Line                UMG Recordings, Inc.              SR0000394154
 5140   Rick Ross          DJ Khaled Interlude            UMG Recordings, Inc.              SR0000642144
 5141   Rick Ross          Free Mason                     UMG Recordings, Inc.              SR0000656701
 5142   Rick Ross          Here I Am                      UMG Recordings, Inc.              SR0000627325
 5143   Rick Ross          Hustlin' (Explicit)            UMG Recordings, Inc.              SR0000387156
 5144   Rick Ross          I'm Not A Star                 UMG Recordings, Inc.              SR0000656701
 5145   Rick Ross          I'm Only Human                 UMG Recordings, Inc.              SR0000642144
 5146   Rick Ross          Ice Cold (Explicit)            UMG Recordings, Inc.              SR0000706411
 5147   Rick Ross          Live Fast, Die Young           UMG Recordings, Inc.              SR0000656701
 5148   Rick Ross          Mafia Music (Explicit)         UMG Recordings, Inc.              SR0000631748
 5149   Rick Ross          Magnificent                    UMG Recordings, Inc.              SR0000631747
 5150   Rick Ross          Maybach Music                  UMG Recordings, Inc.              SR0000642144
 5151   Rick Ross          Maybach Music III              UMG Recordings, Inc.              SR0000656701
 5152   Rick Ross          MC Hammer                      UMG Recordings, Inc.              SR0000656701
 5153   Rick Ross          Money Make Me Come             UMG Recordings, Inc.              SR0000642144
 5154   Rick Ross          No. 1                          UMG Recordings, Inc.              SR0000656701
 5155   Rick Ross          Push It                        UMG Recordings, Inc.              SR0000394154
 5156   Rick Ross          Reppin My City                 UMG Recordings, Inc.              SR0000642144
 5157   Rick Ross          Speedin'                       UMG Recordings, Inc.              SR0000627979
 5158   Rick Ross          Street Life (Explicit)         UMG Recordings, Inc.              SR0000394154
 5159   Rick Ross          Super High                     UMG Recordings, Inc.              SR0000656701
 5160   Rick Ross          Tears Of Joy                   UMG Recordings, Inc.              SR0000656701
 5161   Rick Ross          The Boss                       UMG Recordings, Inc.              SR0000642192
 5162   Rick Ross          This Is The Life               UMG Recordings, Inc.              SR0000642144
 5163   Rick Ross          This Me                        UMG Recordings, Inc.              SR0000642144
 5164   Rick Ross          Trilla Intro                   UMG Recordings, Inc.              SR0000642144
 5165   Rick Ross          Triple Beam Dream              UMG Recordings, Inc.              SR0000706411



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                    Artist                     Track                           Plaintiff          Registration_Number
 5166   Rick Ross             We Shinin'                            UMG Recordings, Inc.       SR0000642144
 5167   Rick Ross             You The Boss                          UMG Recordings, Inc.       SR0000689369
 5168   Rihanna               A Girl Like Me                        UMG Recordings, Inc.       SR0000387137
 5169   Rihanna               A Million Miles Away                  UMG Recordings, Inc.       SR0000387137
 5170   Rihanna               Birthday Cake                         UMG Recordings, Inc.       SR0000689431
 5171   Rihanna               Break It Off                          UMG Recordings, Inc.       SR0000387137
 5172   Rihanna               Breakin' Dishes                       UMG Recordings, Inc.       SR0000616718
 5173   Rihanna               California King Bed                   UMG Recordings, Inc.       SR0000684805
 5174   Rihanna               Cheers (Drink To That)                UMG Recordings, Inc.       SR0000684805
 5175   Rihanna               Cockiness (Love It)                   UMG Recordings, Inc.       SR0000689431
 5176   Rihanna               Cold Case Love                        UMG Recordings, Inc.       SR0000644571
 5177   Rihanna               Complicated                           UMG Recordings, Inc.       SR0000684805
 5178   Rihanna               Crazy Little Thing Called Love        UMG Recordings, Inc.       SR0000387137
 5179   Rihanna               Cry                                   UMG Recordings, Inc.       SR0000629434
 5180   Rihanna               Dem Haters                            UMG Recordings, Inc.       SR0000387137
 5181   Rihanna               Disturbia                             UMG Recordings, Inc.       SR0000616718
 5182   Rihanna               Do Ya Thang                           UMG Recordings, Inc.       SR0000689431
 5183   Rihanna               Don't Stop The Music                  UMG Recordings, Inc.       SR0000615178
 5184   Rihanna               Drunk On Love                         UMG Recordings, Inc.       SR0000689431
 5185   Rihanna               Fading                                UMG Recordings, Inc.       SR0000684805
 5186   Rihanna               Farewell                              UMG Recordings, Inc.       SR0000689431
 5187   Rihanna               Final Goodbye                         UMG Recordings, Inc.       SR0000387137
 5188   Rihanna               Fire Bomb                             UMG Recordings, Inc.       SR0000644571
 5189   Rihanna               Fool In Love                          UMG Recordings, Inc.       SR0000689431
 5190   Rihanna               G4L                                   UMG Recordings, Inc.       SR0000644571
 5191   Rihanna               Hard                                  UMG Recordings, Inc.       SR0000644571
 5192   Rihanna               Haunted                               UMG Recordings, Inc.       SR0000629434
 5193   Rihanna               Here I Go Again                       UMG Recordings, Inc.       SR0000372611
 5194   Rihanna               If It's Lovin' That You Want          UMG Recordings, Inc.       SR0000377878
                              If It's Lovin' That You Want - Part
 5195   Rihanna               2                                     UMG Recordings, Inc.       SR0000387137
 5196   Rihanna               Kisses Don't Lie                      UMG Recordings, Inc.       SR0000387137
 5197   Rihanna               Let Me                                UMG Recordings, Inc.       SR0000372611
 5198   Rihanna               Love The Way You Lie (Part II)        UMG Recordings, Inc.       SR0000684805
                              Love The Way You Lie (Piano
 5199   Rihanna               Version)                              UMG Recordings, Inc.       SR0000672173
 5200   Rihanna               Mad House                             UMG Recordings, Inc.       SR0000644571
 5201   Rihanna               Man Down                              UMG Recordings, Inc.       SR0000684805
 5202   Rihanna               Music Of The Sun                      UMG Recordings, Inc.       SR0000372611
 5203   Rihanna               Now I Know                            UMG Recordings, Inc.       SR0000372611
 5204   Rihanna               Only Girl (In The World)              UMG Recordings, Inc.       SR0000669316
 5205   Rihanna               P.S. (I'm Still Not Over You)         UMG Recordings, Inc.       SR0000387137
 5206   Rihanna               Photographs                           UMG Recordings, Inc.       SR0000644571
 5207   Rihanna               Pon de Replay                         UMG Recordings, Inc.       SR0000378134
 5208   Rihanna               Raining Men                           UMG Recordings, Inc.       SR0000684805
 5209   Rihanna               Red Lipstick                          UMG Recordings, Inc.       SR0000689431
 5210   Rihanna               Rehab                                 UMG Recordings, Inc.       SR0000635072
 5211   Rihanna               Roc Me Out                            UMG Recordings, Inc.       SR0000689431
 5212   Rihanna               ROCKSTAR 101                          UMG Recordings, Inc.       SR0000644571
 5213   Rihanna               Rude Boy                              UMG Recordings, Inc.       SR0000644571
 5214   Rihanna               Rush                                  UMG Recordings, Inc.       SR0000372611
 5215   Rihanna               Russian Roulette                      UMG Recordings, Inc.       SR0000644571
 5216   Rihanna               S&M                                   UMG Recordings, Inc.       SR0000684805



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                  Artist                   Track                        Plaintiff               Registration_Number
 5217   Rihanna             Selfish Girl                     UMG Recordings, Inc.            SR0000387137
 5218   Rihanna             Sell Me Candy                    UMG Recordings, Inc.            SR0000616718
 5219   Rihanna             Shut Up and Drive                UMG Recordings, Inc.            SR0000616718
 5220   Rihanna             Skin                             UMG Recordings, Inc.            SR0000684805
 5221   Rihanna             SOS                              UMG Recordings, Inc.            SR0000385674
 5222   Rihanna             Stupid In Love                   UMG Recordings, Inc.            SR0000644571
 5223   Rihanna             Take A Bow                       UMG Recordings, Inc.            SR0000616718
 5224   Rihanna             Talk That Talk                   UMG Recordings, Inc.            SR0000689431
 5225   Rihanna             Te Amo                           UMG Recordings, Inc.            SR0000644571
 5226   Rihanna             That La, La, La                  UMG Recordings, Inc.            SR0000372611
 5227   Rihanna             The Last Song                    UMG Recordings, Inc.            SR0000644571
 5228   Rihanna             The Last Time                    UMG Recordings, Inc.            SR0000372611
 5229   Rihanna             There's A Thug In My Life        UMG Recordings, Inc.            SR0000372611
 5230   Rihanna             Umbrella                         UMG Recordings, Inc.            SR0000615487
 5231   Rihanna             Wait Your Turn                   UMG Recordings, Inc.            SR0000644571
 5232   Rihanna             Watch N Learn                    UMG Recordings, Inc.            SR0000689431
 5233   Rihanna             We All Want Love                 UMG Recordings, Inc.            SR0000689431
                            We Found Love (feat. Calvin
 5234   Rihanna             Harris)                          UMG Recordings, Inc.            SR0000685290
 5235   Rihanna             We Ride                          UMG Recordings, Inc.            SR0000387137
 5236   Rihanna             What's My Name?                  UMG Recordings, Inc.            SR0000669319
 5237   Rihanna             Where Have You Been              UMG Recordings, Inc.            SR0000689431
 5238   Rihanna             Willing To Wait                  UMG Recordings, Inc.            SR0000372611
 5239   Rihanna             You Da One                       UMG Recordings, Inc.            SR0000689433
 5240   Rihanna             You Don't Love Me (No, No, No)   UMG Recordings, Inc.            SR0000372611
 5241   Rise Against        Architects                       UMG Recordings, Inc.            SR0000671826
 5242   Rise Against        Broken Mirrors                   UMG Recordings, Inc.            SR0000671827
 5243   Rise Against        Disparity By Design              UMG Recordings, Inc.            SR0000671827
 5244   Rise Against        Endgame                          UMG Recordings, Inc.            SR0000671827
 5245   Rise Against        Help Is On The Way               UMG Recordings, Inc.            SR0000671825
 5246   Rise Against        Lanterns                         UMG Recordings, Inc.            SR0000674467
                            Make It Stop (September's
 5247   Rise Against        Children)                        UMG Recordings, Inc.            SR0000671827
 5248   Rise Against        Midnight Hands                   UMG Recordings, Inc.            SR0000671827
 5249   Rise Against        Satellite                        UMG Recordings, Inc.            SR0000671827
 5250   Rise Against        Survivor Guilt                   UMG Recordings, Inc.            SR0000671827
 5251   Rise Against        This Is Letting Go               UMG Recordings, Inc.            SR0000671827
 5252   Rise Against        Wait For Me                      UMG Recordings, Inc.            SR0000671827
 5253   Robin Thicke        Lost Without U                   UMG Recordings, Inc.            SR0000398513
 5254   Robin Thicke        Magic                            UMG Recordings, Inc.            SR0000622566
 5255   Saving Abel         18 Days                          UMG Recordings, Inc.            SR0000639174
 5256   Saving Abel         Addicted                         UMG Recordings, Inc.            SR0000639174
 5257   Saving Abel         Beautiful Day                    UMG Recordings, Inc.            SR0000639174
 5258   Saving Abel         Beautiful You                    UMG Recordings, Inc.            SR0000639174
 5259   Saving Abel         Drowning (Face Down)             UMG Recordings, Inc.            SR0000639174
 5260   Saving Abel         In God's Eyes                    UMG Recordings, Inc.            SR0000639174
 5261   Saving Abel         New Tatoo                        UMG Recordings, Inc.            SR0000639174
 5262   Saving Abel         Out Of My Face                   UMG Recordings, Inc.            SR0000639174
 5263   Saving Abel         Running From You                 UMG Recordings, Inc.            SR0000639174
 5264   Saving Abel         Sailed Away                      UMG Recordings, Inc.            SR0000639174
 5265   Saving Abel         She Got Over Me                  UMG Recordings, Inc.            SR0000639174
 5266   Scarface            Fixed (Explicit)                 UMG Recordings, Inc.            SR0000362246
 5267   Scarface            Guess Who's Back (Explicit)      UMG Recordings, Inc.            SR0000311881



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                   Artist                      Track                       Plaintiff               Registration_Number
 5268   Scarface               Heaven (Explicit)                UMG Recordings, Inc.            SR0000362246
 5269   Scarface               I Ain't The One (Explicit)       UMG Recordings, Inc.            SR0000362246
 5270   Scarface               In Between Us (Explicit)         UMG Recordings, Inc.            SR0000362246
 5271   Scarface               In Cold Blood (Explicit)         UMG Recordings, Inc.            SR0000362246
 5272   Scarface               Keep Me Down (Explicit)          UMG Recordings, Inc.            SR0000362246
 5273   Scarface               Safe (Explicit)                  UMG Recordings, Inc.            SR0000362246
 5274   Scarface               Sell Out (Explicit)              UMG Recordings, Inc.            SR0000362246
 5275   Scarface               Someday (Explicit)               UMG Recordings, Inc.            SR0000362246
 5276   Scarface               The Fix (Explicit)               UMG Recordings, Inc.            SR0000362246
 5277   Scarface               What Can I Do? (Explicit)        UMG Recordings, Inc.            SR0000362246
 5278   ScHoolboy Q            Man Of The Year                  UMG Recordings, Inc.            SR0000733738
 5279   Scissor Sisters        Better Luck Next Time            UMG Recordings, Inc.            SR0000355220
 5280   Scissor Sisters        Filthy/Gorgeous                  UMG Recordings, Inc.            SR0000355220
 5281   Scissor Sisters        Get It Get It                    UMG Recordings, Inc.            SR0000355220
 5282   Scissor Sisters        It Can't Come Quickly Enough     UMG Recordings, Inc.            SR0000355220
 5283   Scissor Sisters        Laura                            UMG Recordings, Inc.            SR0000355220
 5284   Scissor Sisters        Lovers In The Backseat           UMG Recordings, Inc.            SR0000355220
 5285   Scissor Sisters        Mary                             UMG Recordings, Inc.            SR0000355220
 5286   Scissor Sisters        Music Is The Victim              UMG Recordings, Inc.            SR0000355220
 5287   Scissor Sisters        Return To Oz                     UMG Recordings, Inc.            SR0000355220
 5288   Scissor Sisters        Take Your Mama                   UMG Recordings, Inc.            SR0000355220
 5289   Scissor Sisters        Tits On The Radio                UMG Recordings, Inc.            SR0000355220
 5290   Snow Patrol            Chasing Cars                     UMG Recordings, Inc.            SR0000633869
 5291   Taio Cruz              Break Your Heart                 UMG Recordings, Inc.            SR0000655287
 5292   Taio Cruz              Higher                           UMG Recordings, Inc.            SR0000670254
 5293   Tears For Fears        Advice For The Young At Heart    UMG Recordings, Inc.            SR0000144549
 5294   Tears For Fears        Change                           UMG Recordings, Inc.            SR0000144549
                               Everybody Wants To Rule The
 5295   Tears For Fears        World                            UMG Recordings, Inc.            SR0000144549
 5296   Tears For Fears        Head Over Heels                  UMG Recordings, Inc.            SR0000144549
 5297   Tears For Fears        I Believe                        UMG Recordings, Inc.            SR0000144549
 5298   Tears For Fears        Laid So Low (Tears Roll Down)    UMG Recordings, Inc.            SR0000144549
 5299   Tears For Fears        Mad World                        UMG Recordings, Inc.            SR0000045985
 5300   Tears For Fears        Mothers Talk                     UMG Recordings, Inc.            SR0000144549
 5301   Tears For Fears        Pale Shelter                     UMG Recordings, Inc.            SR0000144549
 5302   Tears For Fears        Shout                            UMG Recordings, Inc.            SR0000144549
 5303   Tears For Fears        Sowing The Seeds Of Love         UMG Recordings, Inc.            SR0000144549
 5304   The Band Perry         Double Heart                     UMG Recordings, Inc.            SR0000664551
 5305   The Band Perry         Hip To My Heart                  UMG Recordings, Inc.            SR0000637103
 5306   The Band Perry         If I Die Young                   UMG Recordings, Inc.            SR0000653353
 5307   The Band Perry         Independence                     UMG Recordings, Inc.            SR0000664551
 5308   The Band Perry         Lasso                            UMG Recordings, Inc.            SR0000664551
 5309   The Band Perry         Miss You Being Gone              UMG Recordings, Inc.            SR0000664551
 5310   The Band Perry         Postcard From Paris              UMG Recordings, Inc.            SR0000653353
 5311   The Band Perry         Walk Me Down the Middle          UMG Recordings, Inc.            SR0000664551
 5312   The Band Perry         You Lie                          UMG Recordings, Inc.            SR0000664551
 5313   The Black Eyed Peas    Fashion Beats                    UMG Recordings, Inc.            SR0000670148
 5314   The Black Eyed Peas    Just Can't Get Enough            UMG Recordings, Inc.            SR0000670148
 5315   The Black Eyed Peas    Love You Long Time               UMG Recordings, Inc.            SR0000670148
 5316   The Black Eyed Peas    Own It                           UMG Recordings, Inc.            SR0000670148
 5317   The Black Eyed Peas    Play It Loud                     UMG Recordings, Inc.            SR0000670148
 5318   The Black Eyed Peas    Someday                          UMG Recordings, Inc.            SR0000670148
 5319   The Black Eyed Peas    The Best One Yet (The Boy)       UMG Recordings, Inc.            SR0000670148



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                  Artist                      Track                         Plaintiff              Registration_Number
 5320   The Black Eyed Peas    The Coming                        UMG Recordings, Inc.           SR0000670148
 5321   The Black Eyed Peas    The Situation                     UMG Recordings, Inc.           SR0000670148
 5322   The Black Eyed Peas    Whenever                          UMG Recordings, Inc.           SR0000670148
 5323   The Black Eyed Peas    XOXOXO                            UMG Recordings, Inc.           SR0000670148
 5324   The Cranberries        Animal Instinct                   UMG Recordings, Inc.           SR0000264395
 5325   The Cranberries        Daffodil Lament                   UMG Recordings, Inc.           SR0000218047
 5326   The Cranberries        Free To Decide                    UMG Recordings, Inc.           SR0000228075
 5327   The Cranberries        Hollywood                         UMG Recordings, Inc.           SR0000217619
 5328   The Cranberries        I Can't Be With You               UMG Recordings, Inc.           SR0000218047
 5329   The Cranberries        New New York                      UMG Recordings, Inc.           SR0000324975
 5330   The Cranberries        Promises                          UMG Recordings, Inc.           SR0000264395
 5331   The Cranberries        Ridiculous Thoughts               UMG Recordings, Inc.           SR0000218047
 5332   The Cranberries        This Is The Day                   UMG Recordings, Inc.           SR0000303013
 5333   The Cranberries        Time Is Ticking Out               UMG Recordings, Inc.           SR0000303013
 5334   The Cranberries        You And Me                        UMG Recordings, Inc.           SR0000264395
 5335   The Mowgli's           San Francisco                     UMG Recordings, Inc.           SR0000712405
 5336   The Police             Don't Stand So Close To Me '86    UMG Recordings, Inc.           SR0000028383
 5337   The Police             Invisible Sun                     UMG Recordings, Inc.           SR0000030222
 5338   The Police             Spirits In The Material World     UMG Recordings, Inc.           SR0000030222
 5339   The Police             Wrapped Around Your Finger        UMG Recordings, Inc.           SR0000044862
 5340   The Rolling Stones     Angie                             UMG Recordings, Inc.           SR0000054736
 5341   The Rolling Stones     Beast Of Burden                   UMG Recordings, Inc.           SR0000054736
 5342   The Rolling Stones     Crazy Mama                        UMG Recordings, Inc.           SR0000025203

 5343   The Rolling Stones     Doo Doo Doo Doo (Heartbreaker) UMG Recordings, Inc.              SR0000056814
 5344   The Rolling Stones     Emotional Rescue                    UMG Recordings, Inc.         SR0000054736
 5345   The Rolling Stones     Far Away Eyes                       UMG Recordings, Inc.         SR0000001522
 5346   The Rolling Stones     Fool To Cry                         UMG Recordings, Inc.         SR0000025203
 5347   The Rolling Stones     Hang Fire                           UMG Recordings, Inc.         SR0000029150
 5348   The Rolling Stones     Hot Stuff                           UMG Recordings, Inc.         SR0000025203
                               It's Only Rock 'n' Roll (But I Like
 5349   The Rolling Stones     It)                                 UMG Recordings, Inc.         SR0000056814
 5350   The Rolling Stones     Let Me Go                           UMG Recordings, Inc.         SR0000018973
 5351   The Rolling Stones     Miss You                            UMG Recordings, Inc.         SR0000001522
 5352   The Rolling Stones     Miss You (Dance Version)            UMG Recordings, Inc.         SR0000056814
 5353   The Rolling Stones     Neighbours                          UMG Recordings, Inc.         SR0000029150
 5354   The Rolling Stones     Respectable                         UMG Recordings, Inc.         SR0000001522
 5355   The Rolling Stones     Shattered                           UMG Recordings, Inc.         SR0000001522
 5356   The Rolling Stones     She Was Hot                         UMG Recordings, Inc.         SR0000050568
 5357   The Rolling Stones     She's So Cold                       UMG Recordings, Inc.         SR0000018973
 5358   The Rolling Stones     Start Me Up                         UMG Recordings, Inc.         SR0000054736
 5359   The Rolling Stones     Time Waits For No One               UMG Recordings, Inc.         SR0000025203
 5360   The Rolling Stones     Too Tough                           UMG Recordings, Inc.         SR0000050568
 5361   The Rolling Stones     Tops                                UMG Recordings, Inc.         SR0000029150
 5362   The Rolling Stones     Undercover (Of The Night)           UMG Recordings, Inc.         SR0000050568
 5363   The Rolling Stones     Winning Ugly                        UMG Recordings, Inc.         SR0000071259
 5364   Timbaland              Apologize                           UMG Recordings, Inc.         SR0000411631
                               Can You Feel It (Featuring Esthero
 5365   Timbaland              & Sebastian)                        UMG Recordings, Inc.         SR0000411631
 5366   Timbaland              Carry Out                           UMG Recordings, Inc.         SR0000411631
 5367   Timbaland              Ease Off The Liquor                 UMG Recordings, Inc.         SR0000411631
 5368   Timbaland              If We Ever Meet Again               UMG Recordings, Inc.         SR0000411631
 5369   Timbaland              Intro By DJ Felli Fel               UMG Recordings, Inc.         SR0000411631



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                 Artist                     Track                          Plaintiff          Registration_Number
                           Long Way Down (Featuring
 5370   Timbaland          Daughtry)                           UMG Recordings, Inc.         SR0000411631
 5371   Timbaland          Lose Control (Featuring JoJo)       UMG Recordings, Inc.         SR0000411631
                           Meet In Tha Middle (Featuring
 5372   Timbaland          Bran' Nu)                           UMG Recordings, Inc.         SR0000411631
                           Morning After Dark (Featuring
 5373   Timbaland          Nelly Furtado & SoShy)              UMG Recordings, Inc.         SR0000411631
 5374   Timbaland          Say Something (Featuring Drake)     UMG Recordings, Inc.         SR0000411631
                           Symphony (Featuring Attitude,
 5375   Timbaland          Bran' Nu & D.O.E.)                  UMG Recordings, Inc.         SR0000411631
                           The One I Love (Featuring Keri
 5376   Timbaland          Hilson & D.O.E.)                    UMG Recordings, Inc.         SR0000411631
                           Timothy Where You Been
 5377   Timbaland          (Featuring Jet)                     UMG Recordings, Inc.         SR0000411631
                           Tomorrow In The Bottle
                           (Featuring Chad Kroeger &
 5378   Timbaland          Sebastian)                          UMG Recordings, Inc.         SR0000411631
                           Undertow (Featuring The Fray &
 5379   Timbaland          Esthero)                            UMG Recordings, Inc.         SR0000411631
                           We Belong To The Music
 5380   Timbaland          (Featuring Miley Cyrus)             UMG Recordings, Inc.         SR0000411631
 5381   Toby Keith         Country Comes To Town               UMG Recordings, Inc.         SR0000613330
                           Courtesy Of The Red, White And
 5382   Toby Keith         Blue (The Angry American)           UMG Recordings, Inc.         SR0000613330
 5383   Toby Keith         Go With Her                         UMG Recordings, Inc.         SR0000363112
 5384   Toby Keith         I Wanna Talk About Me               UMG Recordings, Inc.         SR0000301479
 5385   Toby Keith         I'm Just Talkin' About Tonight      UMG Recordings, Inc.         SR0000613330
 5386   Toby Keith         Mockingbird                         UMG Recordings, Inc.         SR0000613330
 5387   Toby Keith         Should've Been A Cowboy             UMG Recordings, Inc.         SR0000363112
 5388   Toby Keith         Stays In Mexico                     UMG Recordings, Inc.         SR0000613330
 5389   Toby Keith         Who's Your Daddy?                   UMG Recordings, Inc.         SR0000613330
 5390   Toby Keith         You Ain't Much Fun                  UMG Recordings, Inc.         SR0000363112
 5391   Toby Keith         You Shouldn't Kiss Me Like This     UMG Recordings, Inc.         SR0000613330
 5392   U2                 Breathe                             UMG Recordings, Inc.         SR0000636812
 5393   U2                 Cedars Of Lebanon                   UMG Recordings, Inc.         SR0000636812
 5394   U2                 FEZ/Being Born                      UMG Recordings, Inc.         SR0000636812
 5395   U2                 Get On Your Boots                   UMG Recordings, Inc.         SR0000636814
                           I'll Go Crazy If I Don't Go Crazy
 5396   U2                 Tonight                             UMG Recordings, Inc.         SR0000636812
 5397   U2                 Magnificent                         UMG Recordings, Inc.         SR0000636812
 5398   U2                 Moment Of Surrender                 UMG Recordings, Inc.         SR0000636812
 5399   U2                 Stand Up Comedy                     UMG Recordings, Inc.         SR0000636812
 5400   U2                 Unknown Caller                      UMG Recordings, Inc.         SR0000636812
 5401   U2                 White As Snow                       UMG Recordings, Inc.         SR0000636812
 5402   UB40               Groovin' (Out On Life)              UMG Recordings, Inc.         SR0000112173
 5403   UB40               Homely Girl                         UMG Recordings, Inc.         SR0000112173
 5404   Warren G           Do You See (Explicit)               UMG Recordings, Inc.         SR0000629800
 5405   Warren G           Gangsta Sermon (Explicit)           UMG Recordings, Inc.         SR0000629800
 5406   Warren G           Recognize (Explicit)                UMG Recordings, Inc.         SR0000629800
 5407   Warren G           Regulate                            UMG Recordings, Inc.         SR0000629797
 5408   Warren G           Super Soul Sis (Explicit)           UMG Recordings, Inc.         SR0000629800
 5409   Warren G           What's Next (Explicit)              UMG Recordings, Inc.         SR0000629800
 5410   Yeah Yeah Yeahs    Black Tongue                        UMG Recordings, Inc.         SR0000332650



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                 Artist                   Track                           Plaintiff              Registration_Number
 5411   Yeah Yeah Yeahs    Cold Light                        UMG Recordings, Inc.             SR0000332650
 5412   Yeah Yeah Yeahs    Date With The Night               UMG Recordings, Inc.             SR0000332650
 5413   Yeah Yeah Yeahs    Man                               UMG Recordings, Inc.             SR0000332650
 5414   Yeah Yeah Yeahs    No No No                          UMG Recordings, Inc.             SR0000332650
 5415   Yeah Yeah Yeahs    Rich                              UMG Recordings, Inc.             SR0000332650
 5416   Yeah Yeah Yeahs    Tick                              UMG Recordings, Inc.             SR0000332650
 5417   YG                 Who Do You Love?                  UMG Recordings, Inc.             SR0000745799
 5418   Young Jeezy        Amazin'                           UMG Recordings, Inc.             SR0000616586
 5419   Young Jeezy        By The Way                        UMG Recordings, Inc.             SR0000616586
 5420   Young Jeezy        Circulate                         UMG Recordings, Inc.             SR0000616586
 5421   Young Jeezy        Crazy World                       UMG Recordings, Inc.             SR0000616586
 5422   Young Jeezy        Don't Do It                       UMG Recordings, Inc.             SR0000616586
 5423   Young Jeezy        Don't You Know                    UMG Recordings, Inc.             SR0000616586
 5424   Young Jeezy        Everything                        UMG Recordings, Inc.             SR0000616586
 5425   Young Jeezy        Get Allot                         UMG Recordings, Inc.             SR0000616586
 5426   Young Jeezy        Hustlaz Ambition                  UMG Recordings, Inc.             SR0000616586
 5427   Young Jeezy        My President                      UMG Recordings, Inc.             SR0000616586
 5428   Young Jeezy        Put On                            UMG Recordings, Inc.             SR0000615616
 5429   Young Jeezy        Takin' It There                   UMG Recordings, Inc.             SR0000616586
 5430   Young Jeezy        The Recession                     UMG Recordings, Inc.             SR0000616586
 5431   Young Jeezy        Vacation                          UMG Recordings, Inc.             SR0000616586
 5432   Young Jeezy        Welcome Back                      UMG Recordings, Inc.             SR0000616586
 5433   Young Jeezy        What They Want                    UMG Recordings, Inc.             SR0000616586
 5434   Young Jeezy        Who Dat                           UMG Recordings, Inc.             SR0000616586
 5435   Young Jeezy        Word Play                         UMG Recordings, Inc.             SR0000616586
 5436   Zedd               Clarity                           UMG Recordings, Inc.             SR0000736147
 5437   Zedd               Epos                              UMG Recordings, Inc.             SR0000745858
 5438   Zedd               Fall Into The Sky                 UMG Recordings, Inc.             SR0000745858
 5439   Zedd               Follow You Down                   UMG Recordings, Inc.             SR0000709927
 5440   Zedd               Hourglass                         UMG Recordings, Inc.             SR0000736147
 5441   Zedd               Lost At Sea                       UMG Recordings, Inc.             SR0000744174
 5442   Zedd               Shave It Up                       UMG Recordings, Inc.             SR0000709927
 5443   Zedd               Spectrum                          UMG Recordings, Inc.             SR0000736147
 5444   Zedd               Stache                            UMG Recordings, Inc.             SR0000745858
 5445   Zedd               Stay The Night                    UMG Recordings, Inc.             SR0000736147
                                                Warner Music Plaintiffs
 5446   3OH!3              StarStrukk                        Atlantic Recording Corporation   SR0000652637
                           Nothin' On You (feat. Bruno
 5447   B.o.B              Mars)                             Atlantic Recording Corporation   SR0000704831
 5448   Brandy             (Everything I Do) I Do It For You Atlantic Recording Corporation   SR0000256701
 5449   Brandy             Afrodisiac                        Atlantic Recording Corporation   SR0000370673
 5450   Brandy             All In Me                         Atlantic Recording Corporation   SR0000345858
 5451   Brandy             Almost Doesn't Count              Atlantic Recording Corporation   SR0000256701
 5452   Brandy             Always On My Mind                 Atlantic Recording Corporation   SR0000202696
 5453   Brandy             Angel In Disguise                 Atlantic Recording Corporation   SR0000256701
 5454   Brandy             Anybody                           Atlantic Recording Corporation   SR0000345858
 5455   Brandy             Apart                             Atlantic Recording Corporation   SR0000345858
 5456   Brandy             As Long As You're Here            Atlantic Recording Corporation   SR0000202696
 5457   Brandy             B Rocka Intro                     Atlantic Recording Corporation   SR0000345858
 5458   Brandy             Baby                              Atlantic Recording Corporation   SR0000202696
 5459   Brandy             Best Friend                       Atlantic Recording Corporation   SR0000202696
                           Brokenhearted (Single Version)
 5460   Brandy             (feat. Wanya Morris)              Atlantic Recording Corporation   SR0000373291



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                 Artist                   Track                          Plaintiff              Registration_Number
 5461   Brandy             Can We                           Atlantic Recording Corporation   SR0000345858
 5462   Brandy             Come A Little Closer             Atlantic Recording Corporation   SR0000345858
 5463   Brandy             Come As You Are                  Atlantic Recording Corporation   SR0000370673
 5464   Brandy             Die Without You                  Atlantic Recording Corporation   SR0000345858
 5465   Brandy             Finally                          Atlantic Recording Corporation   SR0000370673
 5466   Brandy             Focus                            Atlantic Recording Corporation   SR0000370673
 5467   Brandy             Full Moon                        Atlantic Recording Corporation   SR0000345858
 5468   Brandy             Give Me You                      Atlantic Recording Corporation   SR0000202696
 5469   Brandy             Happy                            Atlantic Recording Corporation   SR0000256701
 5470   Brandy             Have You Ever                    Atlantic Recording Corporation   SR0000256701
 5471   Brandy             He Is                            Atlantic Recording Corporation   SR0000345858
 5472   Brandy             How I Feel                       Atlantic Recording Corporation   SR0000370673
 5473   Brandy             I Dedicate (Part I)              Atlantic Recording Corporation   SR0000202696
 5474   Brandy             I Dedicate (Part II)             Atlantic Recording Corporation   SR0000202696
 5475   Brandy             I Dedicate (Part III)            Atlantic Recording Corporation   SR0000202696
 5476   Brandy             I Thought                        Atlantic Recording Corporation   SR0000345858
 5477   Brandy             I Tried                          Atlantic Recording Corporation   SR0000370673
 5478   Brandy             I Wanna Be Down                  Atlantic Recording Corporation   SR0000202696
                           I Wanna Be Down (Single
 5479   Brandy             Version)                         Atlantic Recording Corporation   SR0000373291
 5480   Brandy             I'm Yours                        Atlantic Recording Corporation   SR0000202696
 5481   Brandy             In The Car Interlude             Atlantic Recording Corporation   SR0000256701
 5482   Brandy             Intro                            Atlantic Recording Corporation   SR0000256701
 5483   Brandy             It's Not Worth It                Atlantic Recording Corporation   SR0000345858
 5484   Brandy             Learn The Hard Way               Atlantic Recording Corporation   SR0000256701
 5485   Brandy             Like This                        Atlantic Recording Corporation   SR0000345858
 5486   Brandy             Love Is On My Side               Atlantic Recording Corporation   SR0000202696
 5487   Brandy             Love Wouldn't Count Me Out       Atlantic Recording Corporation   SR0000345858
 5488   Brandy             Movin' On                        Atlantic Recording Corporation   SR0000202696
 5489   Brandy             Necessary                        Atlantic Recording Corporation   SR0000370673
 5490   Brandy             Never Say Never                  Atlantic Recording Corporation   SR0000256701
 5491   Brandy             Nothing                          Atlantic Recording Corporation   SR0000345858
 5492   Brandy             One Voice                        Atlantic Recording Corporation   SR0000256701
 5493   Brandy             Put That On Everything           Atlantic Recording Corporation   SR0000256701
 5494   Brandy             Sadiddy                          Atlantic Recording Corporation   SR0000370673
 5495   Brandy             Say You Will                     Atlantic Recording Corporation   SR0000370673
 5496   Brandy             Should I Go                      Atlantic Recording Corporation   SR0000370673
 5497   Brandy             Sunny Day                        Atlantic Recording Corporation   SR0000202696
                           Talk About Our Love (Featuring
 5498   Brandy             Kanye West)                      Atlantic Recording Corporation   SR0000370673
 5499   Brandy             Tomorrow                         Atlantic Recording Corporation   SR0000256701
 5500   Brandy             Top Of The World (feat. Mase)    Atlantic Recording Corporation   SR0000256701
 5501   Brandy             Truthfully                       Atlantic Recording Corporation   SR0000256701
 5502   Brandy             Turn It Up                       Atlantic Recording Corporation   SR0000370673

 5503   Brandy             U Dont Know Me (Like U Used To) Atlantic Recording Corporation    SR0000256701
 5504   Brandy             What About Us?                  Atlantic Recording Corporation    SR0000345858
 5505   Brandy             When You Touch Me               Atlantic Recording Corporation    SR0000345858
 5506   Brandy             Where You Wanna Be              Atlantic Recording Corporation    SR0000370673
 5507   Brandy             Who I Am                        Atlantic Recording Corporation    SR0000370673
 5508   Brandy             Who Is She 2 U                  Atlantic Recording Corporation    SR0000370673
 5509   Brandy             Wow                             Atlantic Recording Corporation    SR0000345858
 5510   Brandy & Monica    The Boy Is Mine                 Atlantic Recording Corporation    SR0000256110



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                  Artist                   Track                             Plaintiff              Registration_Number
 5511   Brandy & Ray J      Another Day In Paradise             Atlantic Recording Corporation   SR0000373291
 5512   Bruno Mars          Gorilla                             Atlantic Recording Corporation   SR0000715738
 5513   Bruno Mars          Locked Out of Heaven                Atlantic Recording Corporation   SR0000715738
 5514   Bruno Mars          Treasure                            Atlantic Recording Corporation   SR0000715738
 5515   Carolina Liar       All That Sh** Is Gone               Atlantic Recording Corporation   SR0000637774
 5516   Carolina Liar       Better Alone                        Atlantic Recording Corporation   SR0000637774
 5517   Carolina Liar       California Bound                    Atlantic Recording Corporation   SR0000637774
 5518   Carolina Liar       Coming To Terms                     Atlantic Recording Corporation   SR0000637774
 5519   Carolina Liar       Done Stealin'                       Atlantic Recording Corporation   SR0000637774
 5520   Carolina Liar       I'm Not Over                        Atlantic Recording Corporation   SR0000637774
 5521   Carolina Liar       Last Night                          Atlantic Recording Corporation   SR0000637774
 5522   Carolina Liar       Show Me What I'm Looking For        Atlantic Recording Corporation   SR0000637774
 5523   Carolina Liar       Simple Life                         Atlantic Recording Corporation   SR0000637774
 5524   Carolina Liar       Something To Die For                Atlantic Recording Corporation   SR0000637774
 5525   Carolina Liar       When You Are Near                   Atlantic Recording Corporation   SR0000637774
 5526   Christina Perri     arms                                Atlantic Recording Corporation   SR0000704080
 5527   Christina Perri     backwards (Bonus Track)             Atlantic Recording Corporation   SR0000705202
 5528   Christina Perri     bang bang bang                      Atlantic Recording Corporation   SR0000704080
 5529   Christina Perri     black + blue (Bonus Track)          Atlantic Recording Corporation   SR0000705202
 5530   Christina Perri     bluebird                            Atlantic Recording Corporation   SR0000704080
 5531   Christina Perri     interlude                           Atlantic Recording Corporation   SR0000704080
 5532   Christina Perri     miles                               Atlantic Recording Corporation   SR0000704080
 5533   Christina Perri     mine                                Atlantic Recording Corporation   SR0000704080
 5534   Christina Perri     my eyes (Bonus Track)               Atlantic Recording Corporation   SR0000705202
 5535   Christina Perri     penguin                             Atlantic Recording Corporation   SR0000704080
 5536   Christina Perri     sad song                            Atlantic Recording Corporation   SR0000704080
 5537   Christina Perri     the lonely                          Atlantic Recording Corporation   SR0000704080
 5538   Christina Perri     tragedy                             Atlantic Recording Corporation   SR0000704080
 5539   Flo Rida            21 (feat. Laza Morgan)              Atlantic Recording Corporation   SR0000672870
 5540   Flo Rida            Ack Like You Know                   Atlantic Recording Corporation   SR0000629161
 5541   Flo Rida            All My Life                         Atlantic Recording Corporation   SR0000629161
                            American Superstar (feat. Lil
 5542   Flo Rida            Wayne)                              Atlantic Recording Corporation   SR0000629161
 5543   Flo Rida            Available (feat. Akon)              Atlantic Recording Corporation   SR0000658178
 5544   Flo Rida            Be On You (feat. Ne-Yo)             Atlantic Recording Corporation   SR0000658178
                            Don't Know How To Act (feat.
 5545   Flo Rida            Yung Joc)                           Atlantic Recording Corporation   SR0000629161
 5546   Flo Rida            Elevator (feat. Timbaland)          Atlantic Recording Corporation   SR0000629161
 5547   Flo Rida            Finally Here                        Atlantic Recording Corporation   SR0000658178
 5548   Flo Rida            Freaky Deaky (feat. Trey Songz)     Atlantic Recording Corporation   SR0000629161
 5549   Flo Rida            Gotta Get It (Dancer)               Atlantic Recording Corporation   SR0000658178
 5550   Flo Rida            I Cry                               Atlantic Recording Corporation   SR0000754532
                            In My Mind (Part 2) (feat. Georgi
 5551   Flo Rida            Kay)                                Atlantic Recording Corporation   SR0000754532
 5552   Flo Rida            In The Ayer (feat. will.I.am)       Atlantic Recording Corporation   SR0000629161
 5553   Flo Rida            Jump (feat. Nelly Furtado)          Atlantic Recording Corporation   SR0000658178
 5554   Flo Rida            Low (feat T-Pain)                   Atlantic Recording Corporation   SR0000629161
 5555   Flo Rida            Me & U                              Atlantic Recording Corporation   SR0000629161
 5556   Flo Rida            Mind On My Money                    Atlantic Recording Corporation   SR0000658178
                            Money Right (feat. Rick Ross &
 5557   Flo Rida            Brisco)                             Atlantic Recording Corporation   SR0000629161
 5558   Flo Rida            Ms. Hangover                        Atlantic Recording Corporation   SR0000629161
 5559   Flo Rida            Never                               Atlantic Recording Corporation   SR0000658178



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                   Artist                       Track                             Plaintiff              Registration_Number
 5560   Flo Rida                 On and On (feat. Kevin Rudolf)      Atlantic Recording Corporation   SR0000672870
 5561   Flo Rida                 Priceless (feat. Birdman)           Atlantic Recording Corporation   SR0000629161
 5562   Flo Rida                 R.O.O.T.S.                          Atlantic Recording Corporation   SR0000658178
 5563   Flo Rida                 Respirator                          Atlantic Recording Corporation   SR0000672870
 5564   Flo Rida                 Rewind (feat. Wyclef Jean)          Atlantic Recording Corporation   SR0000658178
 5565   Flo Rida                 Right Round                         Atlantic Recording Corporation   SR0000658178
 5566   Flo Rida                 Roll (feat. Sean Kingston)          Atlantic Recording Corporation   SR0000629161
 5567   Flo Rida                 Shone (feat. Pleasure P)            Atlantic Recording Corporation   SR0000658178
 5568   Flo Rida                 Still Missin                        Atlantic Recording Corporation   SR0000629161
 5569   Flo Rida                 Sugar (Feat. Wynter)                Atlantic Recording Corporation   SR0000658178
 5570   Flo Rida                 Sweet Spot (feat. Jennifer Lopez)   Atlantic Recording Corporation   SR0000754532
 5571   Flo Rida                 Touch Me                            Atlantic Recording Corporation   SR0000658178
 5572   Flo Rida                 Turn Around (5,4,3,2,1)             Atlantic Recording Corporation   SR0000672870
 5573   Flo Rida                 Who Dat Girl (feat. Akon)           Atlantic Recording Corporation   SR0000672870
                                 Why You Up In Here (feat.
                                 Ludacris, Git Fresh and Gucci
 5574   Flo Rida                 Mane)                               Atlantic Recording Corporation   SR0000672870
 5575   Flo Rida                 Wild Ones (feat. Sia)               Atlantic Recording Corporation   SR0000754532
 5576   Genesis                  Congo                               Atlantic Recording Corporation   SR0000239424
                                 I Know What I Like (In Your
 5577   Genesis                  Wardrobe)                           Atlantic Recording Corporation   N10834
 5578   Genesis                  Mama (2004 Digital Remaster)        Atlantic Recording Corporation   SR0000380344
 5579   Gnarls Barkley           Crazy                               Atlantic Recording Corporation   SR0000398345
 5580   Gnarls Barkley           Feng Shui                           Atlantic Recording Corporation   SR0000398345
 5581   Gnarls Barkley           Go-Go Gadget Gospel                 Atlantic Recording Corporation   SR0000398345
 5582   Gnarls Barkley           Gone Daddy Gone                     Atlantic Recording Corporation   SR0000398345
 5583   Gnarls Barkley           Just A Thought                      Atlantic Recording Corporation   SR0000398345
 5584   Gnarls Barkley           Necromancer                         Atlantic Recording Corporation   SR0000398345
 5585   Gnarls Barkley           Online                              Atlantic Recording Corporation   SR0000398345
 5586   Gnarls Barkley           Smiley Faces                        Atlantic Recording Corporation   SR0000398345
 5587   Gnarls Barkley           St. Elsewhere                       Atlantic Recording Corporation   SR0000398345
 5588   Gnarls Barkley           The Boogie Monster                  Atlantic Recording Corporation   SR0000398345
 5589   Gnarls Barkley           The Last Time                       Atlantic Recording Corporation   SR0000398345
 5590   Gnarls Barkley           Transformer                         Atlantic Recording Corporation   SR0000398345
 5591   Gnarls Barkley           Who Cares?                          Atlantic Recording Corporation   SR0000398345
 5592   Grouplove                Betty's a Bombshell                 Atlantic Recording Corporation   SR0000704081
 5593   Grouplove                Chloe                               Atlantic Recording Corporation   SR0000704081

 5594   Grouplove                Close Your Eyes and Count to Ten Atlantic Recording Corporation      SR0000704081
 5595   Grouplove                Colours                          Atlantic Recording Corporation      SR0000707748
 5596   Grouplove                Cruel and Beautiful World        Atlantic Recording Corporation      SR0000704081
 5597   Grouplove                Don't Say Oh Well                Atlantic Recording Corporation      SR0000707748
 5598   Grouplove                Get Giddy                        Atlantic Recording Corporation      SR0000707748
 5599   Grouplove                Getaway Car                      Atlantic Recording Corporation      SR0000707748
 5600   Grouplove                Goldcoast                        Atlantic Recording Corporation      SR0000707748
 5601   Grouplove                Itchin' On A Photograph          Atlantic Recording Corporation      SR0000704081
 5602   Grouplove                Love Will Save Your Soul         Atlantic Recording Corporation      SR0000704081
 5603   Grouplove                Lovely Cup                       Atlantic Recording Corporation      SR0000704081
 5604   Grouplove                Naked Kids                       Atlantic Recording Corporation      SR0000704081
 5605   Grouplove                Slow                             Atlantic Recording Corporation      SR0000704081
 5606   Grouplove                Spun                             Atlantic Recording Corporation      SR0000704081
 5607   Grouplove                Tongue Tied                      Atlantic Recording Corporation      SR0000704081
 5608   Hootie & The Blowfish    Be The One                       Atlantic Recording Corporation      SR0000223661



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                 Artist                       Track                              Plaintiff              Registration_Number
 5609   Hootie & The Blowfish  Hey Hey What Can I Do?               Atlantic Recording Corporation   SR0000311807
 5610   Hootie & The Blowfish  Hold My Hand                         Atlantic Recording Corporation   SR0000193960
 5611   Hootie & The Blowfish  I Go Blind                           Atlantic Recording Corporation   SR0000230125
 5612   Hootie & The Blowfish  I Will Wait                          Atlantic Recording Corporation   SR0000246482
 5613   Hootie & The Blowfish  Innocence                            Atlantic Recording Corporation   SR0000334892
 5614   Hootie & The Blowfish  Let Her Cry                          Atlantic Recording Corporation   SR0000193960
 5615   Hootie & The Blowfish  Not Even The Trees                   Atlantic Recording Corporation   SR0000193960
 5616   Hootie & The Blowfish  Old Man & Me                         Atlantic Recording Corporation   SR0000223661
 5617   Hootie & The Blowfish  Only Lonely                          Atlantic Recording Corporation   SR0000246482
 5618   Hootie & The Blowfish  Only Wanna Be With You               Atlantic Recording Corporation   SR0000193960
 5619   Hootie & The Blowfish  Sad Caper                            Atlantic Recording Corporation   SR0000223661
 5620   Hootie & The Blowfish  Space                                Atlantic Recording Corporation   SR0000334892
 5621   Hootie & The Blowfish  Time                                 Atlantic Recording Corporation   SR0000193960
 5622   Hootie & The Blowfish  Tucker's Town                        Atlantic Recording Corporation   SR0000223661
 5623   Hootie & The Blowfish  Use Me                               Atlantic Recording Corporation   SR0000311807
 5624   Hunter Hayes           I Want Crazy (Encore)                Atlantic Recording Corporation   SR0000748751
 5625   INXS                   Baby Don't Cry                       Atlantic Recording Corporation   SR0000152091
 5626   INXS                   Beautiful Girl                       Atlantic Recording Corporation   SR0000152091
 5627   INXS                   Bitter Tears                         Atlantic Recording Corporation   SR0000121377
 5628   INXS                   Black And White                      Atlantic Recording Corporation   SR0000042945
 5629   INXS                   Burn For You                         Atlantic Recording Corporation   SR0000054062
 5630   INXS                   By My Side                           Atlantic Recording Corporation   SR0000121377
 5631   INXS                   Dancing On The Jetty                 Atlantic Recording Corporation   SR0000054062
 5632   INXS                   Devil Inside                         Atlantic Recording Corporation   SR0000085232
 5633   INXS                   Disappear                            Atlantic Recording Corporation   SR0000121377
 5634   INXS                   Don't Change                         Atlantic Recording Corporation   SR0000042945
 5635   INXS                   Heaven Sent                          Atlantic Recording Corporation   SR0000152091
 5636   INXS                   I Send A Message                     Atlantic Recording Corporation   SR0000054062
 5637   INXS                   Just Keep Walking                    Atlantic Recording Corporation   SR0000054970
                               Kiss The Dirt (Falling Down The
 5638   INXS                   Mountain)                            Atlantic Recording Corporation   SR0000066559
 5639   INXS                   Listen Like Thieves                  Atlantic Recording Corporation   SR0000066559
 5640   INXS                   Love Is (What I Say)                 Atlantic Recording Corporation   SR0000054062
 5641   INXS                   Mystify                              Atlantic Recording Corporation   SR0000085232
 5642   INXS                   Need You Tonight                     Atlantic Recording Corporation   SR0000085232
 5643   INXS                   Never Tear Us Apart                  Atlantic Recording Corporation   SR0000085232
 5644   INXS                   New Sensation                        Atlantic Recording Corporation   SR0000085232
 5645   INXS                   Original Sin                         Atlantic Recording Corporation   SR0000054753
 5646   INXS                   Stay Young                           Atlantic Recording Corporation   SR0000054971
 5647   INXS                   Suicide Blonde                       Atlantic Recording Corporation   SR0000121377
 5648   INXS                   Taste It                             Atlantic Recording Corporation   SR0000152091
 5649   INXS                   The Gift                             Atlantic Recording Corporation   SR0000175450
 5650   INXS                   The One Thing                        Atlantic Recording Corporation   SR0000042945
 5651   INXS                   The Stairs                           Atlantic Recording Corporation   SR0000121377
 5652   INXS                   This Time                            Atlantic Recording Corporation   SR0000065969
 5653   INXS                   To Look At You                       Atlantic Recording Corporation   SR0000042945
 5654   INXS                   What You Need                        Atlantic Recording Corporation   SR0000066559
 5655   INXS with Jimmy Barnes Good Times                           Atlantic Recording Corporation   SR0000084356
 5656   Jason Mraz             A Beautiful Mess                     Atlantic Recording Corporation   SR0000623312
 5657   Jason Mraz             Butterfly                            Atlantic Recording Corporation   SR0000623312
 5658   Jason Mraz             Coyotes                              Atlantic Recording Corporation   SR0000623312
                               Details in the Fabric (feat. James
 5659   Jason Mraz             Morrison)                            Atlantic Recording Corporation   SR0000623312



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                 Artist                    Track                           Plaintiff              Registration_Number
 5660   Jason Mraz         I Won't Give Up                    Atlantic Recording Corporation   SR0000704463
 5661   Jason Mraz         I'm Yours                          Atlantic Recording Corporation   SR0000623312
 5662   Jason Mraz         If It Kills Me                     Atlantic Recording Corporation   SR0000623312
 5663   Jason Mraz         Live High                          Atlantic Recording Corporation   SR0000623312
 5664   Jason Mraz         Love For A Child                   Atlantic Recording Corporation   SR0000623312
 5665   Jason Mraz         Lucky (feat. Colbie Caillat)       Atlantic Recording Corporation   SR0000623312
 5666   Jason Mraz         Make It Mine                       Atlantic Recording Corporation   SR0000623312
 5667   Jason Mraz         Only Human                         Atlantic Recording Corporation   SR0000623312
 5668   Jason Mraz         The Dynamo Of Volition             Atlantic Recording Corporation   SR0000623312
 5669   Kid Rock           All Summer Long                    Atlantic Recording Corporation   SR0000622796
 5670   Kid Rock           Amen                               Atlantic Recording Corporation   SR0000622796
 5671   Kid Rock           Blue Jeans And A Rosary            Atlantic Recording Corporation   SR0000622796
 5672   Kid Rock           Don't Tell Me You Love Me          Atlantic Recording Corporation   SR0000622796
 5673   Kid Rock           Half Your Age                      Atlantic Recording Corporation   SR0000622796
 5674   Kid Rock           Lowlife (Living The Highlife)      Atlantic Recording Corporation   SR0000622796
 5675   Kid Rock           New Orleans                        Atlantic Recording Corporation   SR0000622796
 5676   Kid Rock           Rock N Roll Jesus                  Atlantic Recording Corporation   SR0000622796
 5677   Kid Rock           Roll On                            Atlantic Recording Corporation   SR0000622796
 5678   Kid Rock           So Hott                            Atlantic Recording Corporation   SR0000622796
 5679   Kid Rock           Sugar                              Atlantic Recording Corporation   SR0000622796
 5680   Kid Rock           When U Love Someone                Atlantic Recording Corporation   SR0000622796
 5681   Led Zeppelin       Achilles Last Stand                Atlantic Recording Corporation   N31545
 5682   Led Zeppelin       All My Love                        Atlantic Recording Corporation   SR0000013105
 5683   Led Zeppelin       D'yer Mak'er                       Atlantic Recording Corporation   N5660
 5684   Led Zeppelin       Houses Of The Holy                 Atlantic Recording Corporation   N21799
 5685   Led Zeppelin       In The Evening                     Atlantic Recording Corporation   SR0000013105
 5686   Led Zeppelin       Kashmir                            Atlantic Recording Corporation   N21799
 5687   Led Zeppelin       No Quarter                         Atlantic Recording Corporation   N5660
 5688   Led Zeppelin       Nobody's Fault But Mine            Atlantic Recording Corporation   N31545
 5689   Led Zeppelin       Over The Hills And Far Away        Atlantic Recording Corporation   N5660
 5690   Led Zeppelin       The Song Remains The Same          Atlantic Recording Corporation   N5660
 5691   Led Zeppelin       Trampled Underfoot                 Atlantic Recording Corporation   N21799
 5692   Lupe Fiasco        All Black Everything               Atlantic Recording Corporation   SR0000704469
                           Beautiful Lasers (2 Ways) (feat.
 5693   Lupe Fiasco        MDMA)                              Atlantic Recording Corporation   SR0000704469
                           BREAK THE CHAIN (feat. Eric
 5694   Lupe Fiasco        Turner & Sway)                     Atlantic Recording Corporation   SR0000704469
 5695   Lupe Fiasco        Coming Up (feat. MDMA)             Atlantic Recording Corporation   SR0000704469
                           Dumb It Down (feat. GemStones
 5696   Lupe Fiasco        and Graham Burris)                 Atlantic Recording Corporation   SR0000639320
 5697   Lupe Fiasco        Fighters (feat. Matthew Santos)    Atlantic Recording Corporation   SR0000639320
 5698   Lupe Fiasco        Go Baby (feat GemStones)           Atlantic Recording Corporation   SR0000639320
 5699   Lupe Fiasco        Go Go Gadget Flow                  Atlantic Recording Corporation   SR0000639320
 5700   Lupe Fiasco        Gotta Eat                          Atlantic Recording Corporation   SR0000639320
                           I Don't Wanna Care Right Now
 5701   Lupe Fiasco        (feat. MDMA)                       Atlantic Recording Corporation   SR0000704469
 5702   Lupe Fiasco        Letting Go (feat. Sarah Green)     Atlantic Recording Corporation   SR0000704469
                           Little Weapon (feat. Bishop G
 5703   Lupe Fiasco        and Nikki Jean)                    Atlantic Recording Corporation   SR0000639320
                           Never Forget You (feat. John
 5704   Lupe Fiasco        Legend)                            Atlantic Recording Corporation   SR0000704469

 5705   Lupe Fiasco        Out Of My Head (feat. Trey Songz) Atlantic Recording Corporation    SR0000704469



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                 Artist                  Track                           Plaintiff                Registration_Number
 5706   Lupe Fiasco        Paris, Tokyo                     Atlantic Recording Corporation     SR0000639320
 5707   Lupe Fiasco        Put You On Game                  Atlantic Recording Corporation     SR0000639320
                           State Run Radio (feat. Matt
 5708   Lupe Fiasco        Mahaffey)                        Atlantic Recording Corporation     SR0000704469
 5709   Lupe Fiasco        Streets On Fire                  Atlantic Recording Corporation     SR0000639320

 5710   Lupe Fiasco        Superstar (feat. Matthew Santos) Atlantic Recording Corporation     SR0000639320
 5711   Lupe Fiasco        The Coolest                        Atlantic Recording Corporation   SR0000639320
 5712   Lupe Fiasco        The Show Goes On                   Atlantic Recording Corporation   SR0000704469
 5713   Lupe Fiasco        Till I Get There                   Atlantic Recording Corporation   SR0000704469
                           Words I Never Said (feat. Skylar
 5714   Lupe Fiasco        Grey)                              Atlantic Recording Corporation   SR0000704469
                           Free Chilly (feat. Sarah Green and
 5715   Lupe Fiasco        GemStones)                         Atlantic Recording Corporation   SR0000639320
                           Hi-Definition (feat. Snoop Dogg
 5716   Lupe Fiasco        & Pooh Bear)                       Atlantic Recording Corporation   SR0000639320
                           Hip-Hop Saved My Life (feat.
 5717   Lupe Fiasco        Nikki Jean)                        Atlantic Recording Corporation   SR0000639320

 5718   Lupe Fiasco        Intruder Alert (feat. Sarah Green) Atlantic Recording Corporation   SR0000639320
 5719   Lupe Fiasco        The Die (feat. GemStones)          Atlantic Recording Corporation   SR0000639320
 5720   Matchbox Twenty    3AM                                Atlantic Recording Corporation   SR0000227755
 5721   Matchbox Twenty    All I Need                         Atlantic Recording Corporation   SR0000345857
 5722   Matchbox Twenty    All Your Reasons                   Atlantic Recording Corporation   SR0000633456
 5723   Matchbox Twenty    Angry                              Atlantic Recording Corporation   SR0000305708
 5724   Matchbox Twenty    Argue                              Atlantic Recording Corporation   SR0000227755
                           Back 2 Good (Remastered
 5725   Matchbox Twenty    Version)                           Atlantic Recording Corporation   SR0000633456
 5726   Matchbox Twenty    Bed Of Lies                        Atlantic Recording Corporation   SR0000305708
 5727   Matchbox Twenty    Bent (Remastered Version)          Atlantic Recording Corporation   SR0000633456
 5728   Matchbox Twenty    Black & White People               Atlantic Recording Corporation   SR0000305708
 5729   Matchbox Twenty    Busted                             Atlantic Recording Corporation   SR0000227755
 5730   Matchbox Twenty    Can't Let You Go                   Atlantic Recording Corporation   SR0000633456
 5731   Matchbox Twenty    Cold                               Atlantic Recording Corporation   SR0000345857
 5732   Matchbox Twenty    Could I Be You                     Atlantic Recording Corporation   SR0000345857
 5733   Matchbox Twenty    Crutch                             Atlantic Recording Corporation   SR0000305708
 5734   Matchbox Twenty    Damn                               Atlantic Recording Corporation   SR0000227755
 5735   Matchbox Twenty    Disease                            Atlantic Recording Corporation   SR0000345857
 5736   Matchbox Twenty    Disease (Acoustic)                 Atlantic Recording Corporation   SR0000353594
 5737   Matchbox Twenty    Disease (Remastered Version)       Atlantic Recording Corporation   SR0000633456
 5738   Matchbox Twenty    Downfall                           Atlantic Recording Corporation   SR0000345857
 5739   Matchbox Twenty    English Town                       Atlantic Recording Corporation   SR0000714896
 5740   Matchbox Twenty    Feel                               Atlantic Recording Corporation   SR0000345857
 5741   Matchbox Twenty    Girl Like That                     Atlantic Recording Corporation   SR0000227755
 5742   Matchbox Twenty    Hand Me Down                       Atlantic Recording Corporation   SR0000345857
 5743   Matchbox Twenty    Hang                               Atlantic Recording Corporation   SR0000227755
 5744   Matchbox Twenty    How Far We've Come                 Atlantic Recording Corporation   SR0000633456
 5745   Matchbox Twenty    How Long                           Atlantic Recording Corporation   SR0000714896
 5746   Matchbox Twenty    I Will                             Atlantic Recording Corporation   SR0000714896
 5747   Matchbox Twenty    I'll Believe You When              Atlantic Recording Corporation   SR0000633456
 5748   Matchbox Twenty    If I Fall                          Atlantic Recording Corporation   SR0000633456
 5749   Matchbox Twenty    If You're Gone                     Atlantic Recording Corporation   SR0000305708
 5750   Matchbox Twenty    Kody                               Atlantic Recording Corporation   SR0000227755



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               Artist                      Track                         Plaintiff              Registration_Number
 5751   Matchbox Twenty    Last Beautiful Girl              Atlantic Recording Corporation   SR0000305708
 5752   Matchbox Twenty    Leave                            Atlantic Recording Corporation   SR0000305708
 5753   Matchbox Twenty    Like Sugar                       Atlantic Recording Corporation   SR0000714896
 5754   Matchbox Twenty    Long Day                         Atlantic Recording Corporation   SR0000227755
                           Mad Season (Remastered
 5755   Matchbox Twenty    Version)                         Atlantic Recording Corporation   SR0000633456
 5756   Matchbox Twenty    Our Song                         Atlantic Recording Corporation   SR0000714896
 5757   Matchbox Twenty    Overjoyed                        Atlantic Recording Corporation   SR0000714896
 5758   Matchbox Twenty    Push                             Atlantic Recording Corporation   SR0000227755
 5759   Matchbox Twenty    Push (Remastered Version)        Atlantic Recording Corporation   SR0000633456
 5760   Matchbox Twenty    Put Your Hands Up                Atlantic Recording Corporation   SR0000714896
 5761   Matchbox Twenty    Radio                            Atlantic Recording Corporation   SR0000714896
 5762   Matchbox Twenty    Real World                       Atlantic Recording Corporation   SR0000227755
 5763   Matchbox Twenty    Rest Stop                        Atlantic Recording Corporation   SR0000305708
 5764   Matchbox Twenty    She's So Mean                    Atlantic Recording Corporation   SR0000714896
 5765   Matchbox Twenty    Sleeping At The Wheel            Atlantic Recording Corporation   SR0000714896
 5766   Matchbox Twenty    Soul                             Atlantic Recording Corporation   SR0000345857
 5767   Matchbox Twenty    Stop                             Atlantic Recording Corporation   SR0000305708
 5768   Matchbox Twenty    The Burn                         Atlantic Recording Corporation   SR0000305708
 5769   Matchbox Twenty    The Difference                   Atlantic Recording Corporation   SR0000345857
 5770   Matchbox Twenty    These Hard Times                 Atlantic Recording Corporation   SR0000633456
 5771   Matchbox Twenty    Unwell                           Atlantic Recording Corporation   SR0000345857
 5772   Matchbox Twenty    You Won't Be Mine                Atlantic Recording Corporation   SR0000305708
 5773   Matchbox Twenty    You're So Real                   Atlantic Recording Corporation   SR0000345857
 5774   Meek Mill          Amen (feat. Drake)               Atlantic Recording Corporation   SRu001109021
 5775   Musiq Soulchild    backagain                        Atlantic Recording Corporation   SR0000706644
 5776   Musiq Soulchild    dearjohn                         Atlantic Recording Corporation   SR0000706644
 5777   Musiq Soulchild    deserveumore                     Atlantic Recording Corporation   SR0000706644
 5778   Musiq Soulchild    ifuleave (feat. Mary J. Blige)   Atlantic Recording Corporation   SR0000706644
 5779   Musiq Soulchild    iwannabe (feat. Damian Marley)   Atlantic Recording Corporation   SR0000706644
 5780   Musiq Soulchild    loveofmylife                     Atlantic Recording Corporation   SR0000706644
 5781   Musiq Soulchild    moneyright                       Atlantic Recording Corporation   SR0000706644
 5782   Musiq Soulchild    Radio                            Atlantic Recording Corporation   SR0000706644
 5783   Musiq Soulchild    sobeautiful                      Atlantic Recording Corporation   SR0000706644
 5784   Musiq Soulchild    someone                          Atlantic Recording Corporation   SR0000706644
 5785   Musiq Soulchild    special                          Atlantic Recording Corporation   SR0000706644
 5786   Musiq Soulchild    until                            Atlantic Recording Corporation   SR0000706644
 5787   P.O.D.             Youth Of The Nation              Atlantic Recording Corporation   SR0000303757
 5788   Paramore           (One Of Those) Crazy Girls       Atlantic Recording Corporation   SR0000724441
 5789   Paramore           All I Wanted                     Atlantic Recording Corporation   SR0000657157
 5790   Paramore           Anklebiters                      Atlantic Recording Corporation   SR0000724441
 5791   Paramore           Be Alone                         Atlantic Recording Corporation   SR0000724441
 5792   Paramore           Born For This                    Atlantic Recording Corporation   SR0000631909
 5793   Paramore           Brick By Boring Brick            Atlantic Recording Corporation   SR0000657157
 5794   Paramore           Careful                          Atlantic Recording Corporation   SR0000657157
 5795   Paramore           crushcrushcrush                  Atlantic Recording Corporation   SR0000631909
 5796   Paramore           Daydreaming                      Atlantic Recording Corporation   SR0000724441
 5797   Paramore           Fast In My Car                   Atlantic Recording Corporation   SR0000724441
 5798   Paramore           Feeling Sorry                    Atlantic Recording Corporation   SR0000657157
 5799   Paramore           Fences                           Atlantic Recording Corporation   SR0000631909
                           For A Pessimist, I'm Pretty
 5800   Paramore           Optimistic                       Atlantic Recording Corporation   SR0000631909
 5801   Paramore           Future                           Atlantic Recording Corporation   SR0000724441



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                Artist                   Track                             Plaintiff              Registration_Number
 5802   Paramore          Grow Up                             Atlantic Recording Corporation   SR0000724441
 5803   Paramore          Hallelujah                          Atlantic Recording Corporation   SR0000631909
 5804   Paramore          Hate To See Your Heart Break        Atlantic Recording Corporation   SR0000724441
 5805   Paramore          Ignorance                           Atlantic Recording Corporation   SR0000657157
 5806   Paramore          Interlude: Holiday                  Atlantic Recording Corporation   SR0000724441
                          Interlude: I'm Not Angry
 5807   Paramore          Anymore                             Atlantic Recording Corporation   SR0000724441
 5808   Paramore          Interlude: Moving On                Atlantic Recording Corporation   SR0000724441
 5809   Paramore          Last Hope                           Atlantic Recording Corporation   SR0000724441
 5810   Paramore          Let The Flames Begin                Atlantic Recording Corporation   SR0000631909
 5811   Paramore          Looking Up                          Atlantic Recording Corporation   SR0000657157
 5812   Paramore          Miracle                             Atlantic Recording Corporation   SR0000631909
 5813   Paramore          Misery Business                     Atlantic Recording Corporation   SR0000631909
 5814   Paramore          Misguided Ghosts                    Atlantic Recording Corporation   SR0000657157
 5815   Paramore          Now                                 Atlantic Recording Corporation   SR0000724441
 5816   Paramore          Part II                             Atlantic Recording Corporation   SR0000724441
 5817   Paramore          Playing God                         Atlantic Recording Corporation   SR0000657157
 5818   Paramore          Proof                               Atlantic Recording Corporation   SR0000724441
 5819   Paramore          Still Into You                      Atlantic Recording Corporation   SR0000724441
 5820   Paramore          That's What You Get                 Atlantic Recording Corporation   SR0000631909
 5821   Paramore          The Only Exception                  Atlantic Recording Corporation   SR0000657157
 5822   Paramore          Turn It Off                         Atlantic Recording Corporation   SR0000657157
 5823   Paramore          We Are Broken                       Atlantic Recording Corporation   SR0000631909
 5824   Paramore          When It Rains                       Atlantic Recording Corporation   SR0000631909
 5825   Paramore          Where The Lines Overlap             Atlantic Recording Corporation   SR0000657157
 5826   Plies             1 Mo Time                           Atlantic Recording Corporation   SR0000612286
 5827   Plies             100 Years                           Atlantic Recording Corporation   SR0000612286
 5828   Plies             Friday                              Atlantic Recording Corporation   SR0000612286
 5829   Plies             Goons Lurkin                        Atlantic Recording Corporation   SR0000612286
 5830   Plies             Hypnotized (feat. Akon)             Atlantic Recording Corporation   SR0000612286
 5831   Plies             I Am The Club                       Atlantic Recording Corporation   SR0000612286
 5832   Plies             I Kno U Workin                      Atlantic Recording Corporation   SR0000612286
 5833   Plies             Kept It Too Real                    Atlantic Recording Corporation   SR0000612286
 5834   Plies             Money Straight                      Atlantic Recording Corporation   SR0000612286
 5835   Plies             Murkin Season                       Atlantic Recording Corporation   SR0000612286
 5836   Plies             On My D**k                          Atlantic Recording Corporation   SR0000612286
 5837   Plies             Runnin' My Momma Crazy              Atlantic Recording Corporation   SR0000612286
 5838   Plies             The Real Testament Intro            Atlantic Recording Corporation   SR0000612286
 5839   Plies             You                                 Atlantic Recording Corporation   SR0000612286
 5840   Plies             Shawty (feat. T-Pain)               Atlantic Recording Corporation   SR0000612286
 5841   Rob Thomas        All That I Am                       Atlantic Recording Corporation   SR0000373876
 5842   Rob Thomas        Ever The Same                       Atlantic Recording Corporation   SR0000373876
 5843   Rob Thomas        Fallin' To Pieces                   Atlantic Recording Corporation   SR0000373876
 5844   Rob Thomas        I Am An Illusion                    Atlantic Recording Corporation   SR0000373876
 5845   Rob Thomas        Lonely No More                      Atlantic Recording Corporation   SR0000373876
 5846   Rob Thomas        My, My, My                          Atlantic Recording Corporation   SR0000373876
 5847   Rob Thomas        Now Comes The Night                 Atlantic Recording Corporation   SR0000373876
 5848   Rob Thomas        Problem Girl                        Atlantic Recording Corporation   SR0000373876
 5849   Rob Thomas        Something To Be                     Atlantic Recording Corporation   SR0000373876
 5850   Rob Thomas        This Is How A Heart Breaks          Atlantic Recording Corporation   SR0000373876
 5851   Rob Thomas        When The Heartache Ends             Atlantic Recording Corporation   SR0000373876
 5852   Sean Paul         Got 2 Luv U (feat. Alexis Jordan)   Atlantic Recording Corporation   SR0000715070
 5853   Shinedown         45                                  Atlantic Recording Corporation   SR0000342566



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                 Artist                   Track                          Plaintiff              Registration_Number
 5854   Shinedown          All I Ever Wanted                Atlantic Recording Corporation   SR0000342566
 5855   Shinedown          Better Version                   Atlantic Recording Corporation   SR0000342566
 5856   Shinedown          Breaking Inside                  Atlantic Recording Corporation   SR0000673788
 5857   Shinedown          Burning Bright                   Atlantic Recording Corporation   SR0000342566
 5858   Shinedown          Call Me                          Atlantic Recording Corporation   SR0000673788
 5859   Shinedown          Cry For Help                     Atlantic Recording Corporation   SR0000673788
 5860   Shinedown          Crying Out                       Atlantic Recording Corporation   SR0000342566
 5861   Shinedown          Cyanide Sweet Tooth Suicide      Atlantic Recording Corporation   SR0000673788
 5862   Shinedown          Devour                           Atlantic Recording Corporation   SR0000673788
 5863   Shinedown          Fly From The Inside              Atlantic Recording Corporation   SR0000342566
 5864   Shinedown          I Own You                        Atlantic Recording Corporation   SR0000673788
 5865   Shinedown          If You Only Knew                 Atlantic Recording Corporation   SR0000673788
 5866   Shinedown          In Memory                        Atlantic Recording Corporation   SR0000342566
 5867   Shinedown          Lacerated                        Atlantic Recording Corporation   SR0000342566
 5868   Shinedown          Left Out                         Atlantic Recording Corporation   SR0000342566
 5869   Shinedown          Lost In The Crowd                Atlantic Recording Corporation   SR0000342566
 5870   Shinedown          No More Love                     Atlantic Recording Corporation   SR0000342566
 5871   Shinedown          Second Chance                    Atlantic Recording Corporation   SR0000673788
 5872   Shinedown          Sin With A Grin                  Atlantic Recording Corporation   SR0000673788
 5873   Shinedown          Son Of Sam                       Atlantic Recording Corporation   SR0000673788
 5874   Shinedown          Sound Of Madness                 Atlantic Recording Corporation   SR0000673788
 5875   Shinedown          Stranger Inside                  Atlantic Recording Corporation   SR0000342566
 5876   Shinedown          The Crow & The Butterfly         Atlantic Recording Corporation   SR0000673788
 5877   Shinedown          The Energy                       Atlantic Recording Corporation   SR0000673788
 5878   Shinedown          What A Shame                     Atlantic Recording Corporation   SR0000673788
 5879   Simple Plan        Addicted                         Atlantic Recording Corporation   SR0000351060
 5880   Simple Plan        Crazy                            Atlantic Recording Corporation   SR0000375167
 5881   Simple Plan        Everytime                        Atlantic Recording Corporation   SR0000375167
 5882   Simple Plan        Generation                       Atlantic Recording Corporation   SR0000639323
 5883   Simple Plan        God Must Hate Me                 Atlantic Recording Corporation   SR0000351060
 5884   Simple Plan        Holding On                       Atlantic Recording Corporation   SR0000639323
 5885   Simple Plan        I Can Wait Forever               Atlantic Recording Corporation   SR0000639323
 5886   Simple Plan        I Won't Be There                 Atlantic Recording Corporation   SR0000351060
 5887   Simple Plan        I'd Do Anything                  Atlantic Recording Corporation   SR0000351060
 5888   Simple Plan        I'm Just A Kid                   Atlantic Recording Corporation   SR0000351060
 5889   Simple Plan        Jump                             Atlantic Recording Corporation   SR0000375167
 5890   Simple Plan        Me Against The World             Atlantic Recording Corporation   SR0000375167
 5891   Simple Plan        Meet You There                   Atlantic Recording Corporation   SR0000351060
 5892   Simple Plan        My Alien                         Atlantic Recording Corporation   SR0000351060
 5893   Simple Plan        No Love                          Atlantic Recording Corporation   SR0000639323
 5894   Simple Plan        One                              Atlantic Recording Corporation   SR0000375167
 5895   Simple Plan        One Day                          Atlantic Recording Corporation   SR0000351060
 5896   Simple Plan        Perfect                          Atlantic Recording Corporation   SR0000351060
 5897   Simple Plan        Perfect World                    Atlantic Recording Corporation   SR0000375167
 5898   Simple Plan        Promise                          Atlantic Recording Corporation   SR0000375167
 5899   Simple Plan        Running Out of Time              Atlantic Recording Corporation   SR0000686779
 5900   Simple Plan        Save You                         Atlantic Recording Corporation   SR0000639323
 5901   Simple Plan        Take My Hand                     Atlantic Recording Corporation   SR0000639323
 5902   Simple Plan        Thank You                        Atlantic Recording Corporation   SR0000375167
 5903   Simple Plan        The End                          Atlantic Recording Corporation   SR0000639323
 5904   Simple Plan        The Worst Day Ever               Atlantic Recording Corporation   SR0000351060
 5905   Simple Plan        Time To Say Goodbye              Atlantic Recording Corporation   SR0000639323




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                 Artist                      Track                           Plaintiff             Registration_Number
                             When I'm Gone (Acoustic
 5906   Simple Plan          Version)                           Atlantic Recording Corporation   SR0000686779
 5907   Simple Plan          When I'm With You                  Atlantic Recording Corporation   SR0000351060
 5908   Simple Plan          Your Love Is A Lie                 Atlantic Recording Corporation   SR0000639323
 5909   Trey Songz           2 Reasons (feat. T.I.)             Atlantic Recording Corporation   SR0000715080
 5910   Trey Songz           Alone                              Atlantic Recording Corporation   SR0000671697
 5911   Trey Songz           Bad Decisions                      Atlantic Recording Corporation   SR0000715080
 5912   Trey Songz           Blind                              Atlantic Recording Corporation   SR0000671697
 5913   Trey Songz           Bottoms Up (Feat. Nicki Minaj)     Atlantic Recording Corporation   SR0000671697
 5914   Trey Songz           Can't Be Friends                   Atlantic Recording Corporation   SR0000671697
 5915   Trey Songz           Chapter V                          Atlantic Recording Corporation   SR0000715080
                             Check Me Out (feat. Diddy &
 5916   Trey Songz           Meek Mill)                         Atlantic Recording Corporation   SR0000715080
 5917   Trey Songz           Dive In                            Atlantic Recording Corporation   SR0000715080
 5918   Trey Songz           Don't Be Scared (feat. Rick Ross) Atlantic Recording Corporation    SR0000715080
 5919   Trey Songz           Doorbell                           Atlantic Recording Corporation   SR0000671697
 5920   Trey Songz           Forever Yours                      Atlantic Recording Corporation   SR0000715080
 5921   Trey Songz           Fumble                             Atlantic Recording Corporation   SR0000715080
                             Hail Mary (feat. Young Jeezy & Lil
 5922   Trey Songz           Wayne)                             Atlantic Recording Corporation   SR0000715080
 5923   Trey Songz           Heart Attack                       Atlantic Recording Corporation   SR0000715080
 5924   Trey Songz           Inside Interlewd                   Atlantic Recording Corporation   SR0000715080
 5925   Trey Songz           Interlude4U                        Atlantic Recording Corporation   SR0000715080
 5926   Trey Songz           Love Faces                         Atlantic Recording Corporation   SR0000671697
 5927   Trey Songz           Made To Be Together                Atlantic Recording Corporation   SR0000671697
 5928   Trey Songz           Massage                            Atlantic Recording Corporation   SR0000671697
 5929   Trey Songz           Never Again                        Atlantic Recording Corporation   SR0000715080
 5930   Trey Songz           Pain (Interlude)                   Atlantic Recording Corporation   SR0000671697
 5931   Trey Songz           Panty Wetter                       Atlantic Recording Corporation   SR0000715080
 5932   Trey Songz           Passion (Interlude)                Atlantic Recording Corporation   SR0000671697
 5933   Trey Songz           Playin' Hard                       Atlantic Recording Corporation   SR0000715080
 5934   Trey Songz           Please Return My Call              Atlantic Recording Corporation   SR0000671697
 5935   Trey Songz           Pleasure (Interlude)               Atlantic Recording Corporation   SR0000671697
 5936   Trey Songz           Pretty Girl's Lie                  Atlantic Recording Corporation   SR0000715080
 5937   Trey Songz           Red Lipstick                       Atlantic Recording Corporation   SR0000671697
 5938   Trey Songz           Simply Amazing                     Atlantic Recording Corporation   SR0000715080
 5939   Trey Songz           Unfortunate                        Atlantic Recording Corporation   SR0000671697
 5940   Trey Songz           Unusual (Feat. Drake)              Atlantic Recording Corporation   SR0000671697
 5941   Trey Songz           Without A Woman                    Atlantic Recording Corporation   SR0000715080
 5942   Trey Songz           You Just Need Me                   Atlantic Recording Corporation   SR0000671697
                             Or Nah (feat. Wiz Khalifa and DJ
 5943   Ty Dolla $ign        Mustard)                           Atlantic Recording Corporation   SR0000743306
 5944   Uncle Kracker        Smile                              Atlantic Recording Corporation   SR0000657108
                             Bang (feat. YG Hootie & Slim
 5945   Waka Flocka Flame    Dunkin)                            Atlantic Recording Corporation   SR0000672357
 5946   Waka Flocka Flame    Bricksquad (feat. Gudda Gudda) Atlantic Recording Corporation       SR0000672357
 5947   Waka Flocka Flame    Bustin' At 'Em                     Atlantic Recording Corporation   SR0000672357
                             F**k The Club Up (feat. Pastor
 5948   Waka Flocka Flame    Troy & Slim Dunkin)                Atlantic Recording Corporation   SR0000672357
 5949   Waka Flocka Flame    F**k This Industry                 Atlantic Recording Corporation   SR0000672357
 5950   Waka Flocka Flame    For My Dawgs                       Atlantic Recording Corporation   SR0000672357
                             G Check (feat. YG Hootie, Bo Deal
 5951   Waka Flocka Flame    & Joe Moses)                       Atlantic Recording Corporation   SR0000672357



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                 Artist                   Track                            Plaintiff               Registration_Number

 5952   Waka Flocka Flame    Grove St. Party (feat. Kebo Gotti) Atlantic Recording Corporation   SR0000672357
                             Homies (feat. YG Hootie, Popa
 5953   Waka Flocka Flame    Smurf & Ice Burgundy)              Atlantic Recording Corporation   SR0000672357
                             Karma (feat. YG Hootie, Popa
 5954   Waka Flocka Flame    Smurf & Slim Dunkin)               Atlantic Recording Corporation   SR0000672357
                             Live By The Gun (feat. RA Diggs &
 5955   Waka Flocka Flame    Uncle Murda)                       Atlantic Recording Corporation   SR0000672357
                             No Hands (feat. Roscoe Dash and
 5956   Waka Flocka Flame    Wale)                              Atlantic Recording Corporation   SR0000672357
 5957   Waka Flocka Flame    O Let's Do It (Feat. Cap)          Atlantic Recording Corporation   SR0000672357
                             Smoke, Drank (feat. Bo Deal,
 5958   Waka Flocka Flame    Mouse & Kebo Gotti)                Atlantic Recording Corporation   SR0000672357
                             Snake In The Grass (feat. Cartier
 5959   Waka Flocka Flame    Kitten)                            Atlantic Recording Corporation   SR0000672357
                             TTG (Trained To Go) (feat. French
                             Montana, YG Hootie, Joe Moses
 5960   Waka Flocka Flame    & Baby Bomb)                       Atlantic Recording Corporation   SR0000672357
 5961   Wale                 LoveHate Thing (feat. Sam Dew) Atlantic Recording Corporation       SR0000734288
                             Bag Of Money (feat. Rick Ross & T-
 5962   Wale & Meek Mill     Pain)                              Atlantic Recording Corporation   SR0000718581
 5963   Wiz Khalifa          Bluffin (feat. Berner)             Atlantic Recording Corporation   SR0000715951
 5964   Wiz Khalifa          Fall Asleep                        Atlantic Recording Corporation   SR0000715951
                             Got Everything (feat. Courtney
 5965   Wiz Khalifa          Noelle)                            Atlantic Recording Corporation   SR0000715951
 5966   Wiz Khalifa          Initiation (feat. Lola Monroe)     Atlantic Recording Corporation   SR0000715951
 5967   Wiz Khalifa          Intro                              Atlantic Recording Corporation   SR0000715951
 5968   Wiz Khalifa          It's Nothin (feat. 2 Chainz)       Atlantic Recording Corporation   SR0000715951
 5969   Wiz Khalifa          Let It Go (feat. Akon)             Atlantic Recording Corporation   SR0000715951
                             Medicated (feat. Chevy Woods &
 5970   Wiz Khalifa          Juicy J)                           Atlantic Recording Corporation   SR0000715951
 5971   Wiz Khalifa          No Limit                           Atlantic Recording Corporation   SR0000715951
 5972   Wiz Khalifa          Paperbond                          Atlantic Recording Corporation   SR0000715951
                             Remember You (feat. The
 5973   Wiz Khalifa          Weeknd)                            Atlantic Recording Corporation   SR0000715951
                             Rise Above (feat. Pharrell, Tuki
 5974   Wiz Khalifa          Carter & Amber Rose)               Atlantic Recording Corporation   SR0000715951
 5975   Wiz Khalifa          The Bluff (feat. Cam'Ron)          Atlantic Recording Corporation   SR0000715951
 5976   Wiz Khalifa          The Plan (feat. Juicy J)           Atlantic Recording Corporation   SR0000715951
 5977   Wiz Khalifa          Time                               Atlantic Recording Corporation   SR0000715951
 5978   Wiz Khalifa          Up In It                           Atlantic Recording Corporation   SR0000715951
 5979   Wiz Khalifa          Work Hard, Play Hard               Atlantic Recording Corporation   SR0000715951
 5980   Zac Brown Band       Day That I Die (feat. Amos Lee)    Atlantic Recording Corporation   SR0000726685
 5981   Zac Brown Band       Goodbye In Her Eyes                Atlantic Recording Corporation   SR0000726685
 5982   Zac Brown Band       Island Song                        Atlantic Recording Corporation   SR0000726685
 5983   Zac Brown Band       Lance's Song                       Atlantic Recording Corporation   SR0000726685
 5984   Zac Brown Band       Last But Not Least                 Atlantic Recording Corporation   SR0000726685
 5985   Zac Brown Band       Natural Disaster                   Atlantic Recording Corporation   SR0000726685
                             Overnight (feat. Trombone
 5986   Zac Brown Band       Shorty)                            Atlantic Recording Corporation   SR0000726685
 5987   Zac Brown Band       Sweet Annie                        Atlantic Recording Corporation   SR0000726685
 5988   Zac Brown Band       The Wind                           Atlantic Recording Corporation   SR0000726685
 5989   Zac Brown Band       Uncaged                            Atlantic Recording Corporation   SR0000726685




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                  Artist                       Track                             Plaintiff                  Registration_Number
 5990   Gorilla Zoe               Lost                               Bad Boy Records LLC                 SR0000663781
        P. Diddy feat. Keyshia
 5991   Cole                      Last Night                         Bad Boy Records LLC                 SR0000400868
 5992   The Notorious B.I.G.      Notorious Thugs                    Bad Boy Records LLC                 SR0000220411

 5993   Yung Joc                  1st Time (feat. Marques Houston) Bad Boy Records LLC                   SR0000393525
 5994   Yung Joc                  Bottle Poppin' (feat. Gorilla Zoe) Bad Boy Records LLC                 SR0000622799
 5995   Yung Joc                  Brand New                          Bad Boy Records LLC                 SR0000622799
 5996   Yung Joc                  BYOB                               Bad Boy Records LLC                 SR0000622799
 5997   Yung Joc                  Chevy Smile                        Bad Boy Records LLC                 SR0000622799
 5998   Yung Joc                  Coffee Shop (feat. Gorilla Zoe)    Bad Boy Records LLC                 SR0000622799
                                  Cut Throat (featuring The Game,
 5999   Yung Joc                  Jim Jones & Block)                 Bad Boy Records LLC                 SR0000622799
 6000   Yung Joc                  Do Yah Bad                         Bad Boy Records LLC                 SR0000393525
 6001   Yung Joc                  Don't Play Wit It (feat. Big Gee)  Bad Boy Records LLC                 SR0000393525
                                  Dope Boy Magic (feat. Nicholas
                                  "Play Boy Nick" Smith, Corey
                                  "Black Owned C Bone" Andrews
 6002   Yung Joc                  & Chino Dolla)                     Bad Boy Records LLC                 SR0000393525
                                  Excuse Me Officer (Interlude)
 6003   Yung Joc                  (feat. A.D. "Griff" Griffin)       Bad Boy Records LLC                 SR0000393525
                                  Flip Flop (feat. Boyz N Da Hood
 6004   Yung Joc                  and Cheri Dennis)                  Bad Boy Records LLC                 SR0000393525
                                  Getting to da Money (featuring
 6005   Yung Joc                  Mike Carlito & Gorilla Zoe)        Bad Boy Records LLC                 SR0000622799
                                  He Stayed In Trouble (Interlude)
 6006   Yung Joc                  (Feat. A.D. "Griff" Griffin)       Bad Boy Records LLC                 SR0000393525
 6007   Yung Joc                  Hear Me Coming                     Bad Boy Records LLC                 SR0000393525
 6008   Yung Joc                  Hell Yeah (feat. Diddy)            Bad Boy Records LLC                 SR0000622799
 6009   Yung Joc                  Hustlemania (Skit)                 Bad Boy Records LLC                 SR0000622799
 6010   Yung Joc                  Hustlenomics                       Bad Boy Records LLC                 SR0000622799
 6011   Yung Joc                  I Know You See It                  Bad Boy Records LLC                 SR0000393525

 6012   Yung Joc                  I'm A G (feat. Bun B & Young Dro) Bad Boy Records LLC                  SR0000622799
 6013   Yung Joc                  I'm Him                             Bad Boy Records LLC                SR0000393525
 6014   Yung Joc                  It's Goin' Down                     Bad Boy Records LLC                SR0000393525
 6015   Yung Joc                  Knock It Out                        Bad Boy Records LLC                SR0000393525
 6016   Yung Joc                  Livin' The Life                     Bad Boy Records LLC                SR0000622799
 6017   Yung Joc                  Momma (feat. Jazze Pha)             Bad Boy Records LLC                SR0000622799
 6018   Yung Joc                  New Joc City (Intro)                Bad Boy Records LLC                SR0000393525
 6019   Yung Joc                  Pak Man                             Bad Boy Records LLC                SR0000622799
 6020   Yung Joc                  Patron                              Bad Boy Records LLC                SR0000393525
 6021   Yung Joc                  Picture Perfect                     Bad Boy Records LLC                SR0000393525
 6022   Yung Joc                  Play Your Cards                     Bad Boy Records LLC                SR0000622799
 6023   Bruno Mars                The Lazy Song                       Elektra Entertainment Group Inc.   SR0000671062
 6024   CeeLo Green               Bodies                              Elektra Entertainment Group Inc.   SR0000673160
                                  Bright Lights Bigger City (feat.Wiz
 6025   CeeLo Green               Khalifa)                            Elektra Entertainment Group Inc.   SR0000673160
 6026   CeeLo Green               Cry Baby                            Elektra Entertainment Group Inc.   SR0000673160

 6027   CeeLo Green               Fool For You (feat. Melanie Fiona) Elektra Entertainment Group Inc.    SR0000796589
 6028   CeeLo Green               Forget You                         Elektra Entertainment Group Inc.    SR0000673160
 6029   CeeLo Green               I Want You                         Elektra Entertainment Group Inc.    SR0000673160



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                  Artist                          Track                           Plaintiff               Registration_Number
 6030   CeeLo Green               It's OK                           Elektra Entertainment Group Inc.   SR0000673160
 6031   CeeLo Green               Love Gun (Feat. Lauren Bennett)   Elektra Entertainment Group Inc.   SR0000673160
 6032   CeeLo Green               No One's Gonna Love You           Elektra Entertainment Group Inc.   SR0000673160
 6033   CeeLo Green               Old Fashioned                     Elektra Entertainment Group Inc.   SR0000673160
 6034   CeeLo Green               Satisfied                         Elektra Entertainment Group Inc.   SR0000673160
 6035   CeeLo Green               The Lady Killer Theme (Intro)     Elektra Entertainment Group Inc.   SR0000673160
 6036   CeeLo Green               The Lady Killer Theme (Outro)     Elektra Entertainment Group Inc.   SR0000673160
 6037   CeeLo Green               Wildflower                        Elektra Entertainment Group Inc.   SR0000673160
 6038   Fitz & The Tantrums       6am                               Elektra Entertainment Group Inc.   SR0000724442
 6039   Fitz & The Tantrums       Break The Walls                   Elektra Entertainment Group Inc.   SR0000724442
 6040   Fitz & The Tantrums       Fools Gold                        Elektra Entertainment Group Inc.   SR0000724442
 6041   Fitz & The Tantrums       Get Away                          Elektra Entertainment Group Inc.   SR0000724442
 6042   Fitz & The Tantrums       House On Fire                     Elektra Entertainment Group Inc.   SR0000724442
 6043   Fitz & The Tantrums       Keepin Our Eyes Out               Elektra Entertainment Group Inc.   SR0000724442
 6044   Fitz & The Tantrums       Last Raindrop                     Elektra Entertainment Group Inc.   SR0000724442
 6045   Fitz & The Tantrums       MerryGoRound                      Elektra Entertainment Group Inc.   SR0000724442
 6046   Fitz & The Tantrums       Out Of My League                  Elektra Entertainment Group Inc.   SR0000724442
 6047   Fitz & The Tantrums       Spark                             Elektra Entertainment Group Inc.   SR0000724442
 6048   Fitz & The Tantrums       The End                           Elektra Entertainment Group Inc.   SR0000724442
 6049   Fitz & The Tantrums       The Walker                        Elektra Entertainment Group Inc.   SR0000724442
 6050   George Jones              Choices                           Elektra Entertainment Group Inc.   SR0000178893
 6051   Grover Washington, Jr.    Just The Two Of Us                Elektra Entertainment Group Inc.   SR0000023451
                                  (There You Go) Tellin' Me No
 6052   Keith Sweat               Again                             Elektra Entertainment Group Inc.   SR0000150241
                                  Come With Me (feat. Ronald
 6053   Keith Sweat               Isley)                            Elektra Entertainment Group Inc.   SR0000226496
 6054   Keith Sweat               Don't Stop Your Love              Elektra Entertainment Group Inc.   SR0000086761
 6055   Keith Sweat               Get Up On It (feat. Kut Klose)    Elektra Entertainment Group Inc.   SR0000193836
 6056   Keith Sweat               How Deep Is Your Love             Elektra Entertainment Group Inc.   SR0000086761
 6057   Keith Sweat               I Want Her                        Elektra Entertainment Group Inc.   SR0000085227
 6058   Keith Sweat               I'll Give All My Love To You      Elektra Entertainment Group Inc.   SR0000150379
 6059   Keith Sweat               Make It Last Forever              Elektra Entertainment Group Inc.   SR0000086761
 6060   Keith Sweat               Merry Go Round                    Elektra Entertainment Group Inc.   SR0000150379
 6061   Keith Sweat               Right And A Wrong Way             Elektra Entertainment Group Inc.   SR0000086761
 6062   Keith Sweat               Something Just Ain't Right        Elektra Entertainment Group Inc.   SR0000086761
 6063   Keith Sweat               Why Me Baby?                      Elektra Entertainment Group Inc.   SR0000150241
 6064   Keith Sweat               Yumi                              Elektra Entertainment Group Inc.   SR0000226496
 6065   Nada Surf                 Deeper Well                       Elektra Entertainment Group Inc.   SR0000225933
 6066   Nada Surf                 Hollywood                         Elektra Entertainment Group Inc.   SR0000225933
 6067   Nada Surf                 Icebox                            Elektra Entertainment Group Inc.   SR0000225933
 6068   Nada Surf                 Psychic Caramel                   Elektra Entertainment Group Inc.   SR0000225933
 6069   Nada Surf                 Sleep                             Elektra Entertainment Group Inc.   SR0000225933
 6070   Nada Surf                 Stalemate                         Elektra Entertainment Group Inc.   SR0000225933
 6071   Nada Surf                 The Plan                          Elektra Entertainment Group Inc.   SR0000225933
 6072   Nada Surf                 Treehouse                         Elektra Entertainment Group Inc.   SR0000225933
 6073   Nada Surf                 Zen Brain                         Elektra Entertainment Group Inc.   SR0000225933
 6074   The Cars                  Bye Bye Love                      Elektra Entertainment Group Inc.   SR0000004128
 6075   The Cars                  Dangerous Type                    Elektra Entertainment Group Inc.   SR0000010621
 6076   The Cars                  Drive                             Elektra Entertainment Group Inc.   SR0000052759
 6077   The Cars                  Good Times Roll                   Elektra Entertainment Group Inc.   SR0000004128
 6078   The Cars                  Heartbeat City                    Elektra Entertainment Group Inc.   SR0000053584
 6079   The Cars                  Hello Again                       Elektra Entertainment Group Inc.   SR0000052759
 6080   The Cars                  I'm Not The One                   Elektra Entertainment Group Inc.   SR0000032055



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                  Artist                    Track                          Plaintiff               Registration_Number
 6081   The Cars            It's All I Can Do                Elektra Entertainment Group Inc.   SR0000010621
 6082   The Cars            Just What I Needed               Elektra Entertainment Group Inc.   SR0000004127
 6083   The Cars            Let's Go                         Elektra Entertainment Group Inc.   SR0000010639
 6084   The Cars            Moving In Stereo                 Elektra Entertainment Group Inc.   SR0000004128
 6085   The Cars            My Best Friend's Girl            Elektra Entertainment Group Inc.   SR0000004128
 6086   The Cars            Shake It Up                      Elektra Entertainment Group Inc.   SR0000032055
 6087   The Cars            Since You're Gone                Elektra Entertainment Group Inc.   SR0000032055
 6088   The Cars            Tonight She Comes                Elektra Entertainment Group Inc.   SR0000066519
 6089   The Cars            Touch and Go                     Elektra Entertainment Group Inc.   SR0000020897
 6090   The Cars            Why Can't I Have You             Elektra Entertainment Group Inc.   SR0000052759
 6091   The Cars            You Are The Girl                 Elektra Entertainment Group Inc.   SR0000083709
 6092   The Cars            You Might Think                  Elektra Entertainment Group Inc.   SR0000053584
 6093   The Cars            You're All I've Got Tonight      Elektra Entertainment Group Inc.   SR0000004128
 6094   The Cure            10:15 Saturday Night             Elektra Entertainment Group Inc.   SR0000072309
 6095   The Cure            A Night Like This                Elektra Entertainment Group Inc.   SR0000065872
 6096   The Cure            Boys Don't Cry                   Elektra Entertainment Group Inc.   SR0000075783
 6097   The Cure            Charlotte Sometimes              Elektra Entertainment Group Inc.   SR0000192615
 6098   The Cure            Close To Me                      Elektra Entertainment Group Inc.   SR0000065872
 6099   The Cure            Closedown                        Elektra Entertainment Group Inc.   SR0000104305
 6100   The Cure            Disintegration                   Elektra Entertainment Group Inc.   SR0000104305
 6101   The Cure            Fascination Street               Elektra Entertainment Group Inc.   SR0000104305
 6102   The Cure            In Between Days                  Elektra Entertainment Group Inc.   SR0000065872
 6103   The Cure            Jumping Someone Else's Train     Elektra Entertainment Group Inc.   SR0000072370
 6104   The Cure            Killing An Arab                  Elektra Entertainment Group Inc.   SR0000072370
 6105   The Cure            Love Song                        Elektra Entertainment Group Inc.   SR0000104305
 6106   The Cure            Lullaby                          Elektra Entertainment Group Inc.   SR0000104305
 6107   The Cure            Pictures Of You                  Elektra Entertainment Group Inc.   SR0000104305
 6108   The Cure            Plainsong                        Elektra Entertainment Group Inc.   SR0000104305
 6109   The Cure            Prayers For Rain                 Elektra Entertainment Group Inc.   SR0000104305
 6110   The Cure            The Hanging Garden               Elektra Entertainment Group Inc.   SR0000036019
 6111   The Cure            The Same Deep Water As You       Elektra Entertainment Group Inc.   SR0000104305
 6112   The Cure            Untitled                         Elektra Entertainment Group Inc.   SR0000104305
 6113   Third Eye Blind     10 Days Late                     Elektra Entertainment Group Inc.   SR0000278241
 6114   Third Eye Blind     1000 Julys                       Elektra Entertainment Group Inc.   SR0000278241
 6115   Third Eye Blind     An Ode To Maybe                  Elektra Entertainment Group Inc.   SR0000278241
 6116   Third Eye Blind     Anything                         Elektra Entertainment Group Inc.   SR0000278241
 6117   Third Eye Blind     Burning Man                      Elektra Entertainment Group Inc.   SR0000188673
 6118   Third Eye Blind     Camouflage                       Elektra Entertainment Group Inc.   SR0000278241
 6119   Third Eye Blind     Darwin                           Elektra Entertainment Group Inc.   SR0000278241
 6120   Third Eye Blind     Deep Inside Of You               Elektra Entertainment Group Inc.   SR0000278241
 6121   Third Eye Blind     Farther                          Elektra Entertainment Group Inc.   SR0000278241
 6122   Third Eye Blind     God Of Wine                      Elektra Entertainment Group Inc.   SR0000188673
 6123   Third Eye Blind     Good For You                     Elektra Entertainment Group Inc.   SR0000188673
 6124   Third Eye Blind     Graduate                         Elektra Entertainment Group Inc.   SR0000188673
 6125   Third Eye Blind     How's It Going To Be             Elektra Entertainment Group Inc.   SR0000188673
 6126   Third Eye Blind     I Want You                       Elektra Entertainment Group Inc.   SR0000188673
 6127   Third Eye Blind     Jumper                           Elektra Entertainment Group Inc.   SR0000188673
 6128   Third Eye Blind     London                           Elektra Entertainment Group Inc.   SR0000188673
 6129   Third Eye Blind     Losing A Whole Year              Elektra Entertainment Group Inc.   SR0000188673
 6130   Third Eye Blind     Motorcycle Drive By              Elektra Entertainment Group Inc.   SR0000188673
 6131   Third Eye Blind     Narcolepsy                       Elektra Entertainment Group Inc.   SR0000188673
 6132   Third Eye Blind     Never Let You Go                 Elektra Entertainment Group Inc.   SR0000278241




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                  Artist                 Track                              Plaintiff               Registration_Number
 6133   Third Eye Blind     Semi-Charmed Life                 Elektra Entertainment Group Inc.   SR0000188673
 6134   Third Eye Blind     Slow Motion (Instrumental)        Elektra Entertainment Group Inc.   SR0000278241
 6135   Third Eye Blind     Thanks A Lot                      Elektra Entertainment Group Inc.   SR0000188673
 6136   Third Eye Blind     The Background                    Elektra Entertainment Group Inc.   SR0000188673
 6137   Third Eye Blind     The Red Summer Sun                Elektra Entertainment Group Inc.   SR0000278241
 6138   Third Eye Blind     Wounded                           Elektra Entertainment Group Inc.   SR0000278241
 6139   Cobra Starship      Cobras Never Say Die              Fueled By Ramen LLC                SR0000711457
 6140   Cobra Starship      Fold Your Hands Child             Fueled By Ramen LLC                SR0000657140
                            Good Girls Go Bad (feat. Leighton
 6141   Cobra Starship      Meester)                          Fueled By Ramen LLC                SR0000657140
 6142   Cobra Starship      Hot Mess                          Fueled By Ramen LLC                SR0000657140
 6143   Cobra Starship      I May Be Rude But I'm The Truth Fueled By Ramen LLC                  SR0000711457

 6144   Cobra Starship      Living In The Sky With Diamonds    Fueled By Ramen LLC               SR0000657140
 6145   Cobra Starship      Move Like You Gonna Die            Fueled By Ramen LLC               SR0000657140
 6146   Cobra Starship      Nice Guys Finish Last              Fueled By Ramen LLC               SR0000657140
                            Pete Wentz Is The Only Reason
 6147   Cobra Starship      We're Famous                       Fueled By Ramen LLC               SR0000657140
                            The Scene Is Dead; Long Live The
 6148   Cobra Starship      Scene                              Fueled By Ramen LLC               SR0000657140
                            The World Will Never Do (feat.
 6149   Cobra Starship      B.o.B)                             Fueled By Ramen LLC               SR0000657140
 6150   Cobra Starship      Wet Hot American Summer            Fueled By Ramen LLC               SR0000657140
 6151   Cobra Starship      You're Not In On The Joke          Fueled By Ramen LLC               SR0000657140
 6152   fun.                All Alone                          Fueled By Ramen LLC               SR0000704930
 6153   fun.                All Alright                        Fueled By Ramen LLC               SR0000704930
 6154   fun.                Carry On                           Fueled By Ramen LLC               SR0000704930
 6155   fun.                It Gets Better                     Fueled By Ramen LLC               SR0000704930
 6156   fun.                One Foot                           Fueled By Ramen LLC               SR0000704930
 6157   fun.                Out on the Town (Bonus Track)      Fueled By Ramen LLC               SR0000704930
 6158   fun.                Some Nights                        Fueled By Ramen LLC               SR0000704930
 6159   fun.                Some Nights (Intro)                Fueled By Ramen LLC               SR0000704930
 6160   fun.                Stars                              Fueled By Ramen LLC               SR0000704930
                            We Are Young (feat. Janelle
 6161   fun.                Monae)                             Fueled By Ramen LLC               SR0000704930
 6162   fun.                Why Am I the One                   Fueled By Ramen LLC               SR0000704930
 6163   Gym Class Heroes    The Fighter (feat. Ryan Tedder)    Fueled By Ramen LLC               SR0000704012
 6164   Travie McCoy        Billionaire (feat. Bruno Mars)     Fueled By Ramen LLC               SR0000706137
 6165   Young the Giant     Anagram                            Fueled By Ramen LLC               SR0000746139
 6166   Young the Giant     Camera                             Fueled By Ramen LLC               SR0000746139
 6167   Young the Giant     Crystallized                       Fueled By Ramen LLC               SR0000746139
 6168   Young the Giant     Daydreamer                         Fueled By Ramen LLC               SR0000746139
 6169   Young the Giant     Eros                               Fueled By Ramen LLC               SR0000746139
 6170   Young the Giant     Firelight                          Fueled By Ramen LLC               SR0000746139
 6171   Young the Giant     In My Home                         Fueled By Ramen LLC               SR0000746139
 6172   Young the Giant     Mind Over Matter                   Fueled By Ramen LLC               SR0000746139
 6173   Young the Giant     Paralysis                          Fueled By Ramen LLC               SR0000746139
 6174   Young the Giant     Slow Dive                          Fueled By Ramen LLC               SR0000746139
 6175   Young the Giant     Teachers                           Fueled By Ramen LLC               SR0000746139
 6176   Young the Giant     Waves                              Fueled By Ramen LLC               SR0000746139
 6177   Nickelback          Good Times Gone                    Roadrunner Records, Inc.          SR0000330446
 6178   Nickelback          Hangnail                           Roadrunner Records, Inc.          SR0000330446
 6179   Nickelback          Hollywood                          Roadrunner Records, Inc.          SR0000330446



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                 Artist                   Track                         Plaintiff              Registration_Number
 6180   Nickelback         If Today Was Your Last Day       Roadrunner Records, Inc.        SR0000651954
 6181   Nickelback         Just For                         Roadrunner Records, Inc.        SR0000330446
 6182   Nickelback         Money Bought                     Roadrunner Records, Inc.        SR0000330446
 6183   Nickelback         Too Bad                          Roadrunner Records, Inc.        SR0000330446
 6184   Nickelback         Where Do I Hide                  Roadrunner Records, Inc.        SR0000330446
 6185   Nickelback         Woke Up This Morning             Roadrunner Records, Inc.        SR0000330446
 6186   Slipknot           .execute.                        Roadrunner Records, Inc.        SR0000656810
 6187   Slipknot           (515)                            Roadrunner Records, Inc.        SR0000330440
 6188   Slipknot           (sic)                            Roadrunner Records, Inc.        SR0000301094
 6189   Slipknot           742617000027                     Roadrunner Records, Inc.        SR0000301094
 6190   Slipknot           All Hope Is Gone                 Roadrunner Records, Inc.        SR0000656810
 6191   Slipknot           Before I Forget                  Roadrunner Records, Inc.        SR0000358238
 6192   Slipknot           Butcher's Hook                   Roadrunner Records, Inc.        SR0000656810
 6193   Slipknot           Child Of Burning Time            Roadrunner Records, Inc.        SR0000656810
 6194   Slipknot           Dead Memories                    Roadrunner Records, Inc.        SR0000656810
 6195   Slipknot           Disasterpiece                    Roadrunner Records, Inc.        SR0000330440
 6196   Slipknot           Duality                          Roadrunner Records, Inc.        SR0000358238
 6197   Slipknot           Everything Ends                  Roadrunner Records, Inc.        SR0000330440
 6198   Slipknot           Eyeless                          Roadrunner Records, Inc.        SR0000301094
 6199   Slipknot           Gehenna                          Roadrunner Records, Inc.        SR0000656810
 6200   Slipknot           Gematria (The Killing Name)      Roadrunner Records, Inc.        SR0000656810
 6201   Slipknot           Iowa (Live Version)              Roadrunner Records, Inc.        SR0000390797
 6202   Slipknot           Left Behind                      Roadrunner Records, Inc.        SR0000330440
 6203   Slipknot           My Plague                        Roadrunner Records, Inc.        SR0000330440
 6204   Slipknot           People = Shit                    Roadrunner Records, Inc.        SR0000330440
 6205   Slipknot           Prelude 3.0                      Roadrunner Records, Inc.        SR0000358238
 6206   Slipknot           Psychosocial                     Roadrunner Records, Inc.        SR0000656810
 6207   Slipknot           Snuff                            Roadrunner Records, Inc.        SR0000656810
 6208   Slipknot           Spit It Out                      Roadrunner Records, Inc.        SR0000301094
 6209   Slipknot           Sulfur                           Roadrunner Records, Inc.        SR0000656810
 6210   Slipknot           Surfacing                        Roadrunner Records, Inc.        SR0000301094
 6211   Slipknot           The Blister Exists               Roadrunner Records, Inc.        SR0000358238
 6212   Slipknot           The Heretic Anthem               Roadrunner Records, Inc.        SR0000330440
 6213   Slipknot           The Nameless                     Roadrunner Records, Inc.        SR0000358238
 6214   Slipknot           This Cold Black                  Roadrunner Records, Inc.        SR0000656810
 6215   Slipknot           Til We Die                       Roadrunner Records, Inc.        SR0000656810
 6216   Slipknot           Vendetta                         Roadrunner Records, Inc.        SR0000656810
 6217   Slipknot           Vermilion                        Roadrunner Records, Inc.        SR0000358238
 6218   Slipknot           Vermilion Pt. 2                  Roadrunner Records, Inc.        SR0000358238

 6219   Slipknot           Vermilion Pt. 2 (Bloodstone Mix) Roadrunner Records, Inc.        SR0000656810
 6220   Slipknot           Wait And Bleed                   Roadrunner Records, Inc.        SR0000301094
 6221   Slipknot           Wherein Lies Continue            Roadrunner Records, Inc.        SR0000656810
 6222   Stone Sour         Bother                           Roadrunner Records, Inc.        SR0000330447
 6223   Stone Sour         Choose                           Roadrunner Records, Inc.        SR0000330447
 6224   Stone Sour         Digital (Did You Tell)           Roadrunner Records, Inc.        SR0000689549
 6225   Stone Sour         Get Inside                       Roadrunner Records, Inc.        SR0000330447
 6226   Stone Sour         Home Again                       Roadrunner Records, Inc.        SR0000689549
 6227   Stone Sour         Inhale                           Roadrunner Records, Inc.        SR0000330447
 6228   Stone Sour         Kill Everybody                   Roadrunner Records, Inc.        SR0000357276
 6229   Stone Sour         Nylon 6/6                        Roadrunner Records, Inc.        SR0000689549
 6230   Stone Sour         Orchids                          Roadrunner Records, Inc.        SR0000330447
 6231   Stone Sour         Pieces                           Roadrunner Records, Inc.        SR0000689549



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                 Artist                    Track                           Plaintiff             Registration_Number
 6232   Stone Sour           Road Hogs                         Roadrunner Records, Inc.       SR0000357276
 6233   Stone Sour           Say You'll Haunt Me               Roadrunner Records, Inc.       SR0000689549
 6234   Stone Sour           Take A Number                     Roadrunner Records, Inc.       SR0000330447
 6235   Stone Sour           The Bitter End                    Roadrunner Records, Inc.       SR0000689549
 6236   Stone Sour           Threadbare                        Roadrunner Records, Inc.       SR0000689549
 6237   Stone Sour           Tumult                            Roadrunner Records, Inc.       SR0000330447
 6238   Avenged Sevenfold    Bat Country                       Warner Bros. Records Inc.      SR0000374368
 6239   Avenged Sevenfold    Beast And The Harlot              Warner Bros. Records Inc.      SR0000374368
 6240   Avenged Sevenfold    Betrayed                          Warner Bros. Records Inc.      SR0000374368
 6241   Avenged Sevenfold    Blinded In Chains                 Warner Bros. Records Inc.      SR0000374368
 6242   Avenged Sevenfold    Burn It Down                      Warner Bros. Records Inc.      SR0000374368
 6243   Avenged Sevenfold    M.I.A.                            Warner Bros. Records Inc.      SR0000374368
 6244   Avenged Sevenfold    Seize The Day                     Warner Bros. Records Inc.      SR0000374368
 6245   Avenged Sevenfold    Sidewinder                        Warner Bros. Records Inc.      SR0000374368
 6246   Avenged Sevenfold    Strength Of The World             Warner Bros. Records Inc.      SR0000374368
 6247   Avenged Sevenfold    The Wicked End                    Warner Bros. Records Inc.      SR0000374368
 6248   Avenged Sevenfold    Trashed And Scattered             Warner Bros. Records Inc.      SR0000374368
 6249   Black Sabbath        Electric Funeral                  Warner Bros. Records Inc.      N20213
 6250   Black Sabbath        Hand Of Doom                      Warner Bros. Records Inc.      N20213
 6251   Black Sabbath        Iron Man                          Warner Bros. Records Inc.      N20213
                             Jack The Stripper/Fairies Wear
 6252   Black Sabbath        Boots                             Warner Bros. Records Inc.      N20213
 6253   Black Sabbath        Paranoid                          Warner Bros. Records Inc.      N20213
 6254   Black Sabbath        Planet Caravan                    Warner Bros. Records Inc.      N20213
 6255   Black Sabbath        Rat Salad                         Warner Bros. Records Inc.      N20213
 6256   Black Sabbath        War Pigs                          Warner Bros. Records Inc.      SR0000042886
 6257   Blake Shelton        All About Tonight                 Warner Bros. Records Inc.      SR0000668677
 6258   Blake Shelton        Austin                            Warner Bros. Records Inc.      SR0000299678
                             Boys 'Round Here (feat. Pistol
 6259   Blake Shelton        Annies & Friends)                 Warner Bros. Records Inc.      SR0000721082
 6260   Blake Shelton        Country On The Radio              Warner Bros. Records Inc.      SR0000721082
 6261   Blake Shelton        Do You Remember                   Warner Bros. Records Inc.      SR0000721082
 6262   Blake Shelton        Doin' What She Likes              Warner Bros. Records Inc.      SR0000721082
 6263   Blake Shelton        Don't Make Me                     Warner Bros. Records Inc.      SR0000406834
 6264   Blake Shelton        Drink On It                       Warner Bros. Records Inc.      SR0000693085
 6265   Blake Shelton        Get Some                          Warner Bros. Records Inc.      SR0000693085
 6266   Blake Shelton        God Gave Me You                   Warner Bros. Records Inc.      SR0000693085
 6267   Blake Shelton        Good Ole Boys                     Warner Bros. Records Inc.      SR0000693085
 6268   Blake Shelton        Goodbye Time                      Warner Bros. Records Inc.      SR0000359309
 6269   Blake Shelton        Granddaddy's Gun                  Warner Bros. Records Inc.      SR0000721082
 6270   Blake Shelton        Hey                               Warner Bros. Records Inc.      SR0000693085

 6271   Blake Shelton        Hillbilly Bone (feat. Trace Adkins) Warner Bros. Records Inc.    SR0000685229
 6272   Blake Shelton        Honey Bee                           Warner Bros. Records Inc.    SR0000693085
 6273   Blake Shelton        I Still Got A Finger                Warner Bros. Records Inc.    SR0000721082
 6274   Blake Shelton        I'm Sorry                           Warner Bros. Records Inc.    SR0000693085
 6275   Blake Shelton        Kiss My Country Ass                 Warner Bros. Records Inc.    SR0000685229
 6276   Blake Shelton        Lay Low                             Warner Bros. Records Inc.    SR0000721082
 6277   Blake Shelton        Mine Would Be You                   Warner Bros. Records Inc.    SR0000721082
 6278   Blake Shelton        My Eyes (feat. Gwen Sebastian)      Warner Bros. Records Inc.    SR0000721082
 6279   Blake Shelton        Nobody But Me                       Warner Bros. Records Inc.    SR0000359309
 6280   Blake Shelton        Ol' Red                             Warner Bros. Records Inc.    SR0000300565
 6281   Blake Shelton        Over                                Warner Bros. Records Inc.    SR0000693085



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                   Artist                   Track                         Plaintiff             Registration_Number
                             Playboys Of The Southwestern
 6282   Blake Shelton        World                            Warner Bros. Records Inc.       SR0000331177
 6283   Blake Shelton        Ready To Roll                    Warner Bros. Records Inc.       SR0000693085
 6284   Blake Shelton        Red River Blue                   Warner Bros. Records Inc.       SR0000693085
 6285   Blake Shelton        She Wouldn't Be Gone             Warner Bros. Records Inc.       SR0000659650
 6286   Blake Shelton        Small Town Big Time              Warner Bros. Records Inc.       SR0000721082
 6287   Blake Shelton        Some Beach                       Warner Bros. Records Inc.       SR0000359307
 6288   Blake Shelton        Sunny In Seattle                 Warner Bros. Records Inc.       SR0000693085
 6289   Blake Shelton        Sure Be Cool If You Did          Warner Bros. Records Inc.       SR0000721082
 6290   Blake Shelton        Ten Times Crazier                Warner Bros. Records Inc.       SR0000721082
 6291   Blake Shelton        The More I Drink                 Warner Bros. Records Inc.       SR0000406834
                             Who Are You When I'm Not
 6292   Blake Shelton        Looking                          Warner Bros. Records Inc.       SR0000668677
 6293   Daniel Powter        Bad Day                          Warner Bros. Records Inc.       SR0000384148
 6294   David Draiman        Forsaken                         Warner Bros. Records Inc.       SR0000308602
 6295   Deftones             Back To School (Mini Maggit)     Warner Bros. Records Inc.       SR0000288286
 6296   Deftones             Battle-axe                       Warner Bros. Records Inc.       SR0000335169
 6297   Deftones             Be Quiet And Drive (Far Away)    Warner Bros. Records Inc.       SR0000244493
 6298   Deftones             Birthmark                        Warner Bros. Records Inc.       SR0000171111
 6299   Deftones             Black Moon                       Warner Bros. Records Inc.       SR0000390931
 6300   Deftones             Bored                            Warner Bros. Records Inc.       SR0000171111
 6301   Deftones             Change (In The House Of Flies)   Warner Bros. Records Inc.       SR0000284862
                             Change (In The House Of Flies)
 6302   Deftones             (Acoustic)                       Warner Bros. Records Inc.       SR0000390931
                             Crenshaw Punch / I'll Throw
 6303   Deftones             Rocks At You                     Warner Bros. Records Inc.       SR0000390931
 6304   Deftones             Dai The Flu                      Warner Bros. Records Inc.       SR0000244493
 6305   Deftones             Deathblow                        Warner Bros. Records Inc.       SR0000335169
 6306   Deftones             Digital Bath                     Warner Bros. Records Inc.       SR0000284862
 6307   Deftones             Digital Bath (Acoustic)          Warner Bros. Records Inc.       SR0000390931
 6308   Deftones             Entombed                         Warner Bros. Records Inc.       SR0000719493
 6309   Deftones             Fireal                           Warner Bros. Records Inc.       SR0000171111
 6310   Deftones             Gauze                            Warner Bros. Records Inc.       SR0000719493
 6311   Deftones             Goon Squad                       Warner Bros. Records Inc.       SR0000719493
 6312   Deftones             Graphic Nature                   Warner Bros. Records Inc.       SR0000719493
 6313   Deftones             Headup                           Warner Bros. Records Inc.       SR0000244493
 6314   Deftones             Hexagram                         Warner Bros. Records Inc.       SR0000335169
 6315   Deftones             If Only Tonight We Could Sleep   Warner Bros. Records Inc.       SR0000390931
 6316   Deftones             Knife Prty                       Warner Bros. Records Inc.       SR0000284862
 6317   Deftones             Leathers                         Warner Bros. Records Inc.       SR0000719493
 6318   Deftones             Lhabia                           Warner Bros. Records Inc.       SR0000244493
 6319   Deftones             Lifter                           Warner Bros. Records Inc.       SR0000171111
 6320   Deftones             Lucky You                        Warner Bros. Records Inc.       SR0000335169
 6321   Deftones             Minerva                          Warner Bros. Records Inc.       SR0000335169
 6322   Deftones             Minus Blindfold                  Warner Bros. Records Inc.       SR0000171111
 6323   Deftones             Moana                            Warner Bros. Records Inc.       SR0000335169
 6324   Deftones             MX                               Warner Bros. Records Inc.       SR0000244493
 6325   Deftones             No Ordinary Love                 Warner Bros. Records Inc.       SR0000390931
 6326   Deftones             Nosebleed                        Warner Bros. Records Inc.       SR0000171111
 6327   Deftones             One Weak                         Warner Bros. Records Inc.       SR0000171111
 6328   Deftones             Passenger                        Warner Bros. Records Inc.       SR0000284862
 6329   Deftones             Pink Maggit                      Warner Bros. Records Inc.       SR0000284862




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                Artist                   Track                          Plaintiff            Registration_Number
                          Please Please Please Let Me Get
 6330   Deftones          What I Want                       Warner Bros. Records Inc.      SR0000390931
 6331   Deftones          Poltergeist                       Warner Bros. Records Inc.      SR0000719493
 6332   Deftones          Romantic Dreams                   Warner Bros. Records Inc.      SR0000719493
 6333   Deftones          Rosemary                          Warner Bros. Records Inc.      SR0000719493
 6334   Deftones          Rx Queen                          Warner Bros. Records Inc.      SR0000284862
 6335   Deftones          Savory                            Warner Bros. Records Inc.      SR0000390931
 6336   Deftones          Simple Man                        Warner Bros. Records Inc.      SR0000390931
 6337   Deftones          Sinatra                           Warner Bros. Records Inc.      SR0000390931
 6338   Deftones          Swerve City                       Warner Bros. Records Inc.      SR0000719493
 6339   Deftones          Tempest                           Warner Bros. Records Inc.      SR0000719493
 6340   Deftones          The Chauffeur                     Warner Bros. Records Inc.      SR0000390931
 6341   Deftones          Wax And Wane                      Warner Bros. Records Inc.      SR0000390931
 6342   Deftones          What Happened To You?             Warner Bros. Records Inc.      SR0000719493
 6343   Deftones          When Girls Telephone Boys         Warner Bros. Records Inc.      SR0000335169
 6344   Disturbed         A Welcome Burden                  Warner Bros. Records Inc.      SR0000685183
 6345   Disturbed         Avarice                           Warner Bros. Records Inc.      SR0000380289
 6346   Disturbed         Awaken                            Warner Bros. Records Inc.      SR0000316958
 6347   Disturbed         Believe                           Warner Bros. Records Inc.      SR0000316958
 6348   Disturbed         Bound                             Warner Bros. Records Inc.      SR0000316958
 6349   Disturbed         Breathe                           Warner Bros. Records Inc.      SR0000316958
 6350   Disturbed         Conflict                          Warner Bros. Records Inc.      SR0000288344
 6351   Disturbed         Criminal                          Warner Bros. Records Inc.      SR0000647297
 6352   Disturbed         Decadence                         Warner Bros. Records Inc.      SR0000380289
 6353   Disturbed         Deceiver                          Warner Bros. Records Inc.      SR0000647297
 6354   Disturbed         Dehumanized                       Warner Bros. Records Inc.      SR0000695381
 6355   Disturbed         Deify                             Warner Bros. Records Inc.      SR0000380289
 6356   Disturbed         Devour                            Warner Bros. Records Inc.      SR0000316958
 6357   Disturbed         Divide                            Warner Bros. Records Inc.      SR0000647297
 6358   Disturbed         Down With The Sickness            Warner Bros. Records Inc.      SR0000280324
 6359   Disturbed         Droppin' Plates                   Warner Bros. Records Inc.      SR0000280324
 6360   Disturbed         Enough                            Warner Bros. Records Inc.      SR0000647297
 6361   Disturbed         Facade                            Warner Bros. Records Inc.      SR0000647297
 6362   Disturbed         Fear                              Warner Bros. Records Inc.      SR0000280324
 6363   Disturbed         Forgiven                          Warner Bros. Records Inc.      SR0000380289
 6364   Disturbed         God Of The Mind                   Warner Bros. Records Inc.      SR0000695381
 6365   Disturbed         Guarded                           Warner Bros. Records Inc.      SR0000374276
 6366   Disturbed         Haunted                           Warner Bros. Records Inc.      SR0000647297
 6367   Disturbed         Hell                              Warner Bros. Records Inc.      SR0000695381
 6368   Disturbed         I'm Alive                         Warner Bros. Records Inc.      SR0000380289
 6369   Disturbed         Indestructible                    Warner Bros. Records Inc.      SR0000647297
 6370   Disturbed         Inside The Fire                   Warner Bros. Records Inc.      SR0000647297
 6371   Disturbed         Intoxication                      Warner Bros. Records Inc.      SR0000316958
 6372   Disturbed         Just Stop                         Warner Bros. Records Inc.      SR0000380289
 6373   Disturbed         Land Of Confusion                 Warner Bros. Records Inc.      SR0000380289
 6374   Disturbed         Liberate                          Warner Bros. Records Inc.      SR0000316958
 6375   Disturbed         Meaning Of Life                   Warner Bros. Records Inc.      SR0000280324
 6376   Disturbed         Mistress                          Warner Bros. Records Inc.      SR0000316958
 6377   Disturbed         Monster                           Warner Bros. Records Inc.      SR0000695381
 6378   Disturbed         Numb                              Warner Bros. Records Inc.      SR0000685183
 6379   Disturbed         Overburdened                      Warner Bros. Records Inc.      SR0000380289
 6380   Disturbed         Pain Redefined                    Warner Bros. Records Inc.      SR0000380289
 6381   Disturbed         Parasite                          Warner Bros. Records Inc.      SR0000695381



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                   Artist                    Track                          Plaintiff            Registration_Number
 6382   Disturbed            Perfect Insanity                   Warner Bros. Records Inc.     SR0000647297
 6383   Disturbed            Prayer                             Warner Bros. Records Inc.     SR0000316958
 6384   Disturbed            Remember                           Warner Bros. Records Inc.     SR0000316958
 6385   Disturbed            Rise                               Warner Bros. Records Inc.     SR0000316958
 6386   Disturbed            Run                                Warner Bros. Records Inc.     SR0000695381
 6387   Disturbed            Sacred Lie                         Warner Bros. Records Inc.     SR0000380289
 6388   Disturbed            Shout 2000                         Warner Bros. Records Inc.     SR0000280324
 6389   Disturbed            Sickened                           Warner Bros. Records Inc.     SR0000695381
 6390   Disturbed            Sons Of Plunder                    Warner Bros. Records Inc.     SR0000380289
 6391   Disturbed            Stricken                           Warner Bros. Records Inc.     SR0000380288
 6392   Disturbed            Stupify                            Warner Bros. Records Inc.     SR0000280324
 6393   Disturbed            Ten Thousand Fists                 Warner Bros. Records Inc.     SR0000380289
 6394   Disturbed            The Curse                          Warner Bros. Records Inc.     SR0000647297
 6395   Disturbed            The Game                           Warner Bros. Records Inc.     SR0000280324
 6396   Disturbed            The Night                          Warner Bros. Records Inc.     SR0000647297
 6397   Disturbed            This Moment                        Warner Bros. Records Inc.     SR0000695381
 6398   Disturbed            Torn                               Warner Bros. Records Inc.     SR0000647297
 6399   Disturbed            Two Worlds                         Warner Bros. Records Inc.     SR0000695381
 6400   Disturbed            Violence Fetish                    Warner Bros. Records Inc.     SR0000280324
 6401   Disturbed            Voices                             Warner Bros. Records Inc.     SR0000280324
 6402   Disturbed            Want                               Warner Bros. Records Inc.     SR0000280324
 6403   Eric Clapton         (I) Get Lost                       Warner Bros. Records Inc.     SR0000276566
 6404   Eric Clapton         Riding With The King               Warner Bros. Records Inc.     SR0000285808
 6405   Faith Hill           A Man's Home Is His Castle         Warner Bros. Records Inc.     SR0000169102
 6406   Faith Hill           A Room In My Heart                 Warner Bros. Records Inc.     SR0000169102
 6407   Faith Hill           Baby You Belong                    Warner Bros. Records Inc.     SR0000321377
 6408   Faith Hill           Back To You                        Warner Bros. Records Inc.     SR0000321377
 6409   Faith Hill           Beautiful                          Warner Bros. Records Inc.     SR0000321377
 6410   Faith Hill           Bed Of Roses                       Warner Bros. Records Inc.     SR0000169102
 6411   Faith Hill           Better Days                        Warner Bros. Records Inc.     SR0000253752
 6412   Faith Hill           Breathe                            Warner Bros. Records Inc.     SR0000276629
 6413   Faith Hill           Bringing Out The Elvis             Warner Bros. Records Inc.     SR0000276629
 6414   Faith Hill           But I Will                         Warner Bros. Records Inc.     SR0000182853
 6415   Faith Hill           Cry                                Warner Bros. Records Inc.     SR0000321377
 6416   Faith Hill           Dearly Beloved                     Warner Bros. Records Inc.     SR0000374377
 6417   Faith Hill           Fireflies                          Warner Bros. Records Inc.     SR0000374377
 6418   Faith Hill           Go The Distance                    Warner Bros. Records Inc.     SR0000182853
 6419   Faith Hill           I Can't Do That Anymore            Warner Bros. Records Inc.     SR0000169102
 6420   Faith Hill           I Got My Baby                      Warner Bros. Records Inc.     SR0000276629
 6421   Faith Hill           I Love You                         Warner Bros. Records Inc.     SR0000253752
 6422   Faith Hill           I Think I Will                     Warner Bros. Records Inc.     SR0000321377
 6423   Faith Hill           I Want You                         Warner Bros. Records Inc.     SR0000374377
 6424   Faith Hill           I Would Be Stronger Than That      Warner Bros. Records Inc.     SR0000182853
                             I've Got This Friend (With Larry
 6425   Faith Hill           Stewart)                           Warner Bros. Records Inc.     SR0000182853
 6426   Faith Hill           If I Should Fall Behind            Warner Bros. Records Inc.     SR0000276629
 6427   Faith Hill           If I'm Not In Love                 Warner Bros. Records Inc.     SR0000276629
 6428   Faith Hill           If My Heart Had Wings              Warner Bros. Records Inc.     SR0000276629
 6429   Faith Hill           If This Is The End                 Warner Bros. Records Inc.     SR0000321377
 6430   Faith Hill           If You Ask                         Warner Bros. Records Inc.     SR0000374377
 6431   Faith Hill           If You're Gonna Fly Away           Warner Bros. Records Inc.     SR0000321377
 6432   Faith Hill           It Matters To Me                   Warner Bros. Records Inc.     SR0000169102
 6433   Faith Hill           It Will Be Me                      Warner Bros. Records Inc.     SR0000276629



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                     Artist                   Track                              Plaintiff          Registration_Number
 6434   Faith Hill              Just About Now                       Warner Bros. Records Inc.   SR0000182853
 6435   Faith Hill              Just Around The Eyes                 Warner Bros. Records Inc.   SR0000182853
                                Just To Hear You Say That You
 6436   Faith Hill              Love Me (with Tim McGraw)            Warner Bros. Records Inc.   SR0000253752
                                Keep Walkin' On (with Shelby
 6437   Faith Hill              Lynne)                               Warner Bros. Records Inc.   SR0000169102
 6438   Faith Hill              Let Me Let Go                        Warner Bros. Records Inc.   SR0000253752
 6439   Faith Hill              Let's Go To Vegas                    Warner Bros. Records Inc.   SR0000169102

 6440   Faith Hill              Life's Too Short To Love Like That   Warner Bros. Records Inc.   SR0000182853
 6441   Faith Hill              Like We Never Loved At All           Warner Bros. Records Inc.   SR0000374377
 6442   Faith Hill              Love Ain't Like That                 Warner Bros. Records Inc.   SR0000253752
 6443   Faith Hill              Love Is A Sweet Thing                Warner Bros. Records Inc.   SR0000276629
 6444   Faith Hill              Me                                   Warner Bros. Records Inc.   SR0000253752
 6445   Faith Hill              Mississippi Girl                     Warner Bros. Records Inc.   SR0000374378
 6446   Faith Hill              My Wild Frontier                     Warner Bros. Records Inc.   SR0000253752
 6447   Faith Hill              One                                  Warner Bros. Records Inc.   SR0000321377
 6448   Faith Hill              Piece Of My Heart                    Warner Bros. Records Inc.   SR0000182853
 6449   Faith Hill              Somebody Stand By Me                 Warner Bros. Records Inc.   SR0000253752
 6450   Faith Hill              Someone Else's Dream                 Warner Bros. Records Inc.   SR0000169102
 6451   Faith Hill              Stealing Kisses                      Warner Bros. Records Inc.   SR0000374377
 6452   Faith Hill              Stronger                             Warner Bros. Records Inc.   SR0000321377
 6453   Faith Hill              Sunshine & Summertime                Warner Bros. Records Inc.   SR0000374377
 6454   Faith Hill              Take Me As I Am                      Warner Bros. Records Inc.   SR0000182853
 6455   Faith Hill              That's How Love Moves                Warner Bros. Records Inc.   SR0000276629
 6456   Faith Hill              The Hard Way                         Warner Bros. Records Inc.   SR0000253752
 6457   Faith Hill              The Lucky One                        Warner Bros. Records Inc.   SR0000374377
 6458   Faith Hill              The Secret Of Life                   Warner Bros. Records Inc.   SR0000253752
 6459   Faith Hill              The Way You Love Me                  Warner Bros. Records Inc.   SR0000276629
 6460   Faith Hill              There Will Come A Day                Warner Bros. Records Inc.   SR0000276629
 6461   Faith Hill              This Is Me                           Warner Bros. Records Inc.   SR0000321377
                                This Kiss (Pop Remix a.k.a. Radio
 6462   Faith Hill              Version)                             Warner Bros. Records Inc.   SR0000253752
 6463   Faith Hill              Unsaveable                           Warner Bros. Records Inc.   SR0000321377
                                We've Got Nothing But Love To
 6464   Faith Hill              Prove                                Warner Bros. Records Inc.   SR0000374377
 6465   Faith Hill              What's In It For Me                  Warner Bros. Records Inc.   SR0000276629
 6466   Faith Hill              When The Lights Go Down              Warner Bros. Records Inc.   SR0000321377
 6467   Faith Hill              Wild One                             Warner Bros. Records Inc.   SR0000182853
 6468   Faith Hill              Wish For You                         Warner Bros. Records Inc.   SR0000374377
 6469   Faith Hill              You Can't Lose Me                    Warner Bros. Records Inc.   SR0000169102
 6470   Faith Hill              You Give Me Love                     Warner Bros. Records Inc.   SR0000253752
 6471   Faith Hill              You Stay With Me                     Warner Bros. Records Inc.   SR0000374377
 6472   Faith Hill              You Will Be Mine                     Warner Bros. Records Inc.   SR0000169102
 6473   Faith Hill              You're Still Here                    Warner Bros. Records Inc.   SR0000321377

 6474   Faith Hill & Tim McGraw Let's Make Love                      Warner Bros. Records Inc.   SR0000276629
 6475   Gloriana                (Kissed You) Good Night              Warner Bros. Records Inc.   SR0000719998
 6476   Green Day               All The Time                         Warner Bros. Records Inc.   SR0000244558
 6477   Green Day               American Idiot                       Warner Bros. Records Inc.   SR0000362126
 6478   Green Day               Armatage Shanks                      Warner Bros. Records Inc.   SR0000188562
 6479   Green Day               Bab's Uvula Who?                     Warner Bros. Records Inc.   SR0000188562
 6480   Green Day               Basket Case                          Warner Bros. Records Inc.   SR0000185457



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                Artist                   Track                          Plaintiff             Registration_Number
 6481   Green Day         Blood, Sex And Booze              Warner Bros. Records Inc.      SR0000288352
 6482   Green Day         Boulevard Of Broken Dreams        Warner Bros. Records Inc.      SR0000362126
 6483   Green Day         Brat                              Warner Bros. Records Inc.      SR0000188562
 6484   Green Day         Burnout                           Warner Bros. Records Inc.      SR0000185457
 6485   Green Day         Chump                             Warner Bros. Records Inc.      SR0000185457
 6486   Green Day         Church On Sunday                  Warner Bros. Records Inc.      SR0000288352
 6487   Green Day         Coming Clean                      Warner Bros. Records Inc.      SR0000185457
 6488   Green Day         Desensitized                      Warner Bros. Records Inc.      SR0000315909
 6489   Green Day         Emenius Sleepus                   Warner Bros. Records Inc.      SR0000185457
 6490   Green Day         Fashion Victim                    Warner Bros. Records Inc.      SR0000288352
 6491   Green Day         Geek Stink Breath                 Warner Bros. Records Inc.      SR0000188562
                          Good Riddance (Time Of Your
 6492   Green Day         Life)                             Warner Bros. Records Inc.      SR0000244558
 6493   Green Day         Hitchin' A Ride                   Warner Bros. Records Inc.      SR0000244558
 6494   Green Day         In The End                        Warner Bros. Records Inc.      SR0000185457
 6495   Green Day         J.A.R. (Jason Andrew Relva)       Warner Bros. Records Inc.      SR0000169250
 6496   Green Day         Jaded                             Warner Bros. Records Inc.      SR0000188562
 6497   Green Day         Jesus Of Suburbia                 Warner Bros. Records Inc.      SR0000362126
 6498   Green Day         King For A Day                    Warner Bros. Records Inc.      SR0000244558
 6499   Green Day         Longview                          Warner Bros. Records Inc.      SR0000185457
 6500   Green Day         Maria                             Warner Bros. Records Inc.      SR0000306999
 6501   Green Day         Minority                          Warner Bros. Records Inc.      SR0000288352
 6502   Green Day         Nice Guys Finish Last             Warner Bros. Records Inc.      SR0000244558
 6503   Green Day         Poprocks & Coke                   Warner Bros. Records Inc.      SR0000306999
 6504   Green Day         Redundant                         Warner Bros. Records Inc.      SR0000244558
 6505   Green Day         Scumbag                           Warner Bros. Records Inc.      SR0000315909
 6506   Green Day         She                               Warner Bros. Records Inc.      SR0000185457
 6507   Green Day         She's A Rebel                     Warner Bros. Records Inc.      SR0000362126
 6508   Green Day         St. Jimmy                         Warner Bros. Records Inc.      SR0000362126
 6509   Green Day         Stuck With Me                     Warner Bros. Records Inc.      SR0000188562
 6510   Green Day         Suffocate                         Warner Bros. Records Inc.      SR0000315909
 6511   Green Day         The Grouch                        Warner Bros. Records Inc.      SR0000244558
 6512   Green Day         Waiting                           Warner Bros. Records Inc.      SR0000288352
                          Wake Me Up When September
 6513   Green Day         Ends                              Warner Bros. Records Inc.      SR0000362126
 6514   Green Day         Walking Alone                     Warner Bros. Records Inc.      SR0000244558
 6515   Green Day         Walking Contradiction             Warner Bros. Records Inc.      SR0000188562
 6516   Green Day         Warning                           Warner Bros. Records Inc.      SR0000288352
 6517   Green Day         Welcome To Paradise               Warner Bros. Records Inc.      SR0000185457
 6518   Green Day         Working Class Hero                Warner Bros. Records Inc.      SR0000630900
 6519   James Taylor      Carolina In My Mind               Warner Bros. Records Inc.      N38974
 6520   James Taylor      Don't Let Me Be Lonely Tonight    Warner Bros. Records Inc.      N3810
 6521   James Taylor      Golden Moments                    Warner Bros. Records Inc.      N35786
                          How Sweet It Is (To Be Loved By
 6522   James Taylor      You)                              Warner Bros. Records Inc.      N24380
 6523   James Taylor      Mexico                            Warner Bros. Records Inc.      N24380
 6524   James Taylor      Shower The People                 Warner Bros. Records Inc.      N35786

 6525   James Taylor      Something In The Way She Moves Warner Bros. Records Inc.         N38974
 6526   James Taylor      Steamroller (Live)             Warner Bros. Records Inc.         N38974
 6527   James Taylor      Walking Man                    Warner Bros. Records Inc.         N18843
 6528   Jason Derulo      Blind                          Warner Bros. Records Inc.         SR0000685175
 6529   Jason Derulo      Encore                         Warner Bros. Records Inc.         SR0000685175



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                 Artist                    Track                         Plaintiff             Registration_Number
 6530   Jason Derulo       Fallen                            Warner Bros. Records Inc.      SR0000685175
 6531   Jason Derulo       In My Head                        Warner Bros. Records Inc.      SR0000685175
 6532   Jason Derulo       Love Hangover                     Warner Bros. Records Inc.      SR0000685175
 6533   Jason Derulo       Marry Me                          Warner Bros. Records Inc.      SR0000763207
 6534   Jason Derulo       Ridin' Solo                       Warner Bros. Records Inc.      SR0000685175
 6535   Jason Derulo       Strobelight (Bonus Track)         Warner Bros. Records Inc.      SR0000685175
 6536   Jason Derulo       Stupid Love                       Warner Bros. Records Inc.      SR0000763207
 6537   Jason Derulo       Talk Dirty (feat. 2 Chainz)       Warner Bros. Records Inc.      SR0000763207
 6538   Jason Derulo       The Sky's The Limit               Warner Bros. Records Inc.      SR0000685175
 6539   Jason Derulo       Vertigo (feat. Jordin Sparks)     Warner Bros. Records Inc.      SR0000763207
 6540   Jason Derulo       What If                           Warner Bros. Records Inc.      SR0000685175
 6541   Jason Derulo       Whatcha Say                       Warner Bros. Records Inc.      SR0000685175
 6542   Jason Derulo       With The Lights On                Warner Bros. Records Inc.      SR0000763207
                           Theme from Superman (Main
 6543   John Williams      Title)                            Warner Bros. Records Inc.      SR0000006230
 6544   Linkin Park        1stp Klosr                        Warner Bros. Records Inc.      SR0000316952
 6545   Linkin Park        A Place For My Head               Warner Bros. Records Inc.      SR0000288402
 6546   Linkin Park        BURN IT DOWN                      Warner Bros. Records Inc.      SR0000708311
 6547   Linkin Park        By Myself                         Warner Bros. Records Inc.      SR0000288402
 6548   Linkin Park        By_Myslf                          Warner Bros. Records Inc.      SR0000316952
 6549   Linkin Park        Castle of Glass                   Warner Bros. Records Inc.      SR0000708311
 6550   Linkin Park        Crawling (Live In Texas)          Warner Bros. Records Inc.      SR0000350998
 6551   Linkin Park        Cure For The Itch                 Warner Bros. Records Inc.      SR0000288402
 6552   Linkin Park        Don't Stay                        Warner Bros. Records Inc.      SR0000346247
 6553   Linkin Park        Easier To Run                     Warner Bros. Records Inc.      SR0000346247
 6554   Linkin Park        Enth E Nd                         Warner Bros. Records Inc.      SR0000316952
 6555   Linkin Park        Faint                             Warner Bros. Records Inc.      SR0000346247
 6556   Linkin Park        Figure.09                         Warner Bros. Records Inc.      SR0000346247
 6557   Linkin Park        Forgotten                         Warner Bros. Records Inc.      SR0000288402
 6558   Linkin Park        Frgt/10                           Warner Bros. Records Inc.      SR0000316952
 6559   Linkin Park        H! Vltg3                          Warner Bros. Records Inc.      SR0000316952
 6560   Linkin Park        Hit The Floor                     Warner Bros. Records Inc.      SR0000346247
 6561   Linkin Park        I'LL BE GONE                      Warner Bros. Records Inc.      SR0000708311
 6562   Linkin Park        In Between                        Warner Bros. Records Inc.      SR0000406841
 6563   Linkin Park        IN MY REMAINS                     Warner Bros. Records Inc.      SR0000708311
 6564   Linkin Park        In Pieces                         Warner Bros. Records Inc.      SR0000406841
 6565   Linkin Park        In The End (Live In Texas)        Warner Bros. Records Inc.      SR0000350998
 6566   Linkin Park        Krwlng                            Warner Bros. Records Inc.      SR0000316952
 6567   Linkin Park        Kyur4 Th Ich                      Warner Bros. Records Inc.      SR0000316952
 6568   Linkin Park        Leave Out All The Rest            Warner Bros. Records Inc.      SR0000406841
 6569   Linkin Park        Lies Greed Misery                 Warner Bros. Records Inc.      SR0000708311
 6570   Linkin Park        Lost In The Echo                  Warner Bros. Records Inc.      SR0000708311
 6571   Linkin Park        My<Dsmbr                          Warner Bros. Records Inc.      SR0000316952
 6572   Linkin Park        Nobody's Listening                Warner Bros. Records Inc.      SR0000346247
 6573   Linkin Park        One Step Closer (Live In Texas)   Warner Bros. Records Inc.      SR0000350998
 6574   Linkin Park        Papercut                          Warner Bros. Records Inc.      SR0000288402
 6575   Linkin Park        Points Of Authority               Warner Bros. Records Inc.      SR0000288402
 6576   Linkin Park        POWERLESS                         Warner Bros. Records Inc.      SR0000708311
 6577   Linkin Park        PPr:Kut                           Warner Bros. Records Inc.      SR0000316952
 6578   Linkin Park        Pts.OF.Athrty                     Warner Bros. Records Inc.      SR0000316952
 6579   Linkin Park        Rnw@y                             Warner Bros. Records Inc.      SR0000316952
 6580   Linkin Park        ROADS UNTRAVELED                  Warner Bros. Records Inc.      SR0000708311
 6581   Linkin Park        Runaway                           Warner Bros. Records Inc.      SR0000288402



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                  Artist                         Track                          Plaintiff             Registration_Number
 6582   Linkin Park               Session                           Warner Bros. Records Inc.      SR0000346247
 6583   Linkin Park               SKIN TO BONE                      Warner Bros. Records Inc.      SR0000708311
 6584   Linkin Park               Somewhere I Belong                Warner Bros. Records Inc.      SR0000346247
 6585   Linkin Park               TINFOIL                           Warner Bros. Records Inc.      SR0000708311
 6586   Linkin Park               UNTIL IT BREAKS                   Warner Bros. Records Inc.      SR0000708311
 6587   Linkin Park               Valentine's Day                   Warner Bros. Records Inc.      SR0000406841
 6588   Linkin Park               VICTIMIZED                        Warner Bros. Records Inc.      SR0000708311
 6589   Linkin Park               Wake                              Warner Bros. Records Inc.      SR0000406841
 6590   Linkin Park               With You                          Warner Bros. Records Inc.      SR0000288402
 6591   Linkin Park               Wth>You                           Warner Bros. Records Inc.      SR0000316952
 6592   Linkin Park               X-Ecutioner Style                 Warner Bros. Records Inc.      SR0000316952
                                  Dirt Off Your Shoulder / Lying
 6593   Linkin Park & Jay-Z       From You                          Warner Bros. Records Inc.      SR0000362315
 6594   Linkin Park & Jay-Z       Numb / Encore                     Warner Bros. Records Inc.      SR0000362316
 6595   Madonna                   Revolver                          Warner Bros. Records Inc.      SR0000662296
        Maze featuring Frankie
 6596   Beverly                   All Night Long                    Warner Bros. Records Inc.      SR0000171913
        Maze featuring Frankie
 6597   Beverly                   Can't Get Over You                Warner Bros. Records Inc.      SR0000107982
        Maze featuring Frankie
 6598   Beverly                   Change Our Ways                   Warner Bros. Records Inc.      SR0000107982
        Maze featuring Frankie
 6599   Beverly                   Don't Wanna Lose Your Love        Warner Bros. Records Inc.      SR0000171913
        Maze featuring Frankie
 6600   Beverly                   Good Times                        Warner Bros. Records Inc.      SR0000107982
        Maze featuring Frankie
 6601   Beverly                   In Time                           Warner Bros. Records Inc.      SR0000171913
        Maze featuring Frankie
 6602   Beverly                   Just Us                           Warner Bros. Records Inc.      SR0000107982
        Maze featuring Frankie
 6603   Beverly                   Laid Back Girl                    Warner Bros. Records Inc.      SR0000171913
        Maze featuring Frankie
 6604   Beverly                   Love Is                           Warner Bros. Records Inc.      SR0000171913
        Maze featuring Frankie
 6605   Beverly                   Love's On The Run                 Warner Bros. Records Inc.      SR0000107982
        Maze featuring Frankie
 6606   Beverly                   Mandela                           Warner Bros. Records Inc.      SR0000107982
        Maze featuring Frankie
 6607   Beverly                   Midnight                          Warner Bros. Records Inc.      SR0000107982
        Maze featuring Frankie    Nobody Knows What You Feel
 6608   Beverly                   Inside                            Warner Bros. Records Inc.      SR0000171913
        Maze featuring Frankie
 6609   Beverly                   Silky Soul                        Warner Bros. Records Inc.      SR0000107982
        Maze featuring Frankie
 6610   Beverly                   Somebody Else's Arms              Warner Bros. Records Inc.      SR0000107982
        Maze featuring Frankie
 6611   Beverly                   Songs Of Love                     Warner Bros. Records Inc.      SR0000107982
        Maze featuring Frankie
 6612   Beverly                   The Morning After                 Warner Bros. Records Inc.      SR0000171913
        Maze featuring Frankie
 6613   Beverly                   Twilight                          Warner Bros. Records Inc.      SR0000171913
        Maze featuring Frankie
 6614   Beverly                   What Goes Up                      Warner Bros. Records Inc.      SR0000171913
 6615   Michael Bublé             Everything                        Warner Bros. Records Inc.      SR0000406982



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               Artist                         Track                           Plaintiff           Registration_Number
                               Quando, Quando, Quando (with
 6616   Michael Bublé          Nelly Furtado)                     Warner Bros. Records Inc.     SR0000370205
 6617   Muse                   Cave                               Warner Bros. Records Inc.     SR0000273528
 6618   Muse                   Muscle Museum                      Warner Bros. Records Inc.     SR0000273528
 6619   Muse                   Sunburn                            Warner Bros. Records Inc.     SR0000273528
 6620   Muse                   Unintended                         Warner Bros. Records Inc.     SR0000273528
 6621   Muse                   Uno                                Warner Bros. Records Inc.     SR0000273528
 6622   My Chemical Romance    Blood                              Warner Bros. Records Inc.     SR0000651990
 6623   My Chemical Romance    Bulletproof Heart                  Warner Bros. Records Inc.     SR0000681139
 6624   My Chemical Romance    Bury Me In Black (Demo)            Warner Bros. Records Inc.     SR0000360198
 6625   My Chemical Romance    Cancer                             Warner Bros. Records Inc.     SR0000399985
 6626   My Chemical Romance    Cancer (Live In Mexico)            Warner Bros. Records Inc.     SR0000651990
 6627   My Chemical Romance    Cemetery Drive                     Warner Bros. Records Inc.     SR0000360197
                               Cemetery Drive (Live Version)
 6628   My Chemical Romance    (MTV2 2$Bill)                      Warner Bros. Records Inc.     SR0000400291
 6629   My Chemical Romance    Dead!                              Warner Bros. Records Inc.     SR0000399985
 6630   My Chemical Romance    Dead! (Live In Mexico)             Warner Bros. Records Inc.     SR0000651990
 6631   My Chemical Romance    Desert Song                        Warner Bros. Records Inc.     SR0000400291
 6632   My Chemical Romance    Disenchanted                       Warner Bros. Records Inc.     SR0000399985
 6633   My Chemical Romance    Disenchanted (Live In Mexico)      Warner Bros. Records Inc.     SR0000651990
 6634   My Chemical Romance    Famous Last Words                  Warner Bros. Records Inc.     SR0000399985
                               Famous Last Words (Live In
 6635   My Chemical Romance    Mexico)                            Warner Bros. Records Inc.     SR0000651990
 6636   My Chemical Romance    Give 'Em Hell, Kid                 Warner Bros. Records Inc.     SR0000360197
                               Give 'Em Hell, Kid (Live Version)
 6637   My Chemical Romance    (MTV2 2$Bill)                      Warner Bros. Records Inc.     SR0000400291
 6638   My Chemical Romance    Hang 'Em High                      Warner Bros. Records Inc.     SR0000360197
                               Headfirst For Halos (Live Version)
 6639   My Chemical Romance    (Starland)                         Warner Bros. Records Inc.     SR0000400291
 6640   My Chemical Romance    Helena                             Warner Bros. Records Inc.     SR0000360197
 6641   My Chemical Romance    House Of Wolves                    Warner Bros. Records Inc.     SR0000399985

 6642   My Chemical Romance    House Of Wolves (Live In Mexico) Warner Bros. Records Inc.       SR0000651990
 6643   My Chemical Romance    I Don't Love You                   Warner Bros. Records Inc.     SR0000399985
 6644   My Chemical Romance    I Don't Love You (Live In Mexico) Warner Bros. Records Inc.      SR0000651990
                               I Never Told You What I Do For A
 6645   My Chemical Romance    Living                             Warner Bros. Records Inc.     SR0000360197
                               I Never Told You What I Do For A
 6646   My Chemical Romance    Living (Demo)                      Warner Bros. Records Inc.     SR0000400291
 6647   My Chemical Romance    I'm Not Okay                       Warner Bros. Records Inc.     SR0000360197
 6648   My Chemical Romance    Interlude                          Warner Bros. Records Inc.     SR0000360197
 6649   My Chemical Romance    Interlude (Live In Mexico)         Warner Bros. Records Inc.     SR0000651990
                               It's Not A Fashion Statement, It's
 6650   My Chemical Romance    A Deathwish                        Warner Bros. Records Inc.     SR0000360197
 6651   My Chemical Romance    Mama                               Warner Bros. Records Inc.     SR0000399985
 6652   My Chemical Romance    Mama (Live In Mexico)              Warner Bros. Records Inc.     SR0000651990
                               Na Na Na (Na Na Na Na Na Na Na
 6653   My Chemical Romance    Na Na)                             Warner Bros. Records Inc.     SR0000681139
 6654   My Chemical Romance    Planetary (GO!)                    Warner Bros. Records Inc.     SR0000681139

 6655   My Chemical Romance    Save Yourself, I'll Hold Them Back Warner Bros. Records Inc.     SR0000681139
 6656   My Chemical Romance    Sleep                              Warner Bros. Records Inc.     SR0000399985
 6657   My Chemical Romance    Sleep (Live In Mexico)             Warner Bros. Records Inc.     SR0000651990



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               Artist                           Track                          Plaintiff             Registration_Number
 6658   My Chemical Romance      Teenagers                         Warner Bros. Records Inc.      SR0000399985
 6659   My Chemical Romance      Teenagers (Live In Mexico)        Warner Bros. Records Inc.      SR0000651990
 6660   My Chemical Romance      Thank You For The Venom           Warner Bros. Records Inc.      SR0000360197
                                 Thank You For The Venom (Live
 6661   My Chemical Romance      Version) (MTV2 2$Bill)            Warner Bros. Records Inc.      SR0000400291
                                 The Black Parade Is Dead (Live In
 6662   My Chemical Romance      Mexico)                           Warner Bros. Records Inc.      SR0000651990
 6663   My Chemical Romance      The End.                          Warner Bros. Records Inc.      SR0000399985
 6664   My Chemical Romance      The End. (Live In Mexico)         Warner Bros. Records Inc.      SR0000651990
 6665   My Chemical Romance      The Ghost Of You                  Warner Bros. Records Inc.      SR0000360197
 6666   My Chemical Romance      The Jetset Life Is Gonna Kill You Warner Bros. Records Inc.      SR0000360197
 6667   My Chemical Romance      The Kids From Yesterday           Warner Bros. Records Inc.      SR0000681139
 6668   My Chemical Romance      The Only Hope For Me Is You       Warner Bros. Records Inc.      SR0000681139
 6669   My Chemical Romance      The Sharpest Lives                Warner Bros. Records Inc.      SR0000399985
                                 The Sharpest Lives (Live In
 6670   My Chemical Romance      Mexico)                           Warner Bros. Records Inc.      SR0000651990
 6671   My Chemical Romance      This Is How I Disappear           Warner Bros. Records Inc.      SR0000399985
                                 This Is How I Disappear (Live In
 6672   My Chemical Romance      Mexico)                           Warner Bros. Records Inc.      SR0000651990
 6673   My Chemical Romance      To The End                        Warner Bros. Records Inc.      SR0000360197
 6674   My Chemical Romance      Vampire Money                     Warner Bros. Records Inc.      SR0000681139
 6675   My Chemical Romance      Welcome To The Black Parade       Warner Bros. Records Inc.      SR0000399985
                                 Welcome To The Black Parade
 6676   My Chemical Romance      (Live In Mexico)                  Warner Bros. Records Inc.      SR0000651990
                                 You Know What They Do To Guys
 6677   My Chemical Romance      Like Us In Prison                 Warner Bros. Records Inc.      SR0000360197
 6678   Prince                   I Wanna Be Your Lover             Warner Bros. Records Inc.      SR0000012043
 6679   Prince                   Little Red Corvette               Warner Bros. Records Inc.      SR0000041035
                                 Thieves In The Temple (Remix
 6680   Prince                   Version)                          Warner Bros. Records Inc.      SR0000139907
 6681   Prince                   U Got The Look                    Warner Bros. Records Inc.      SR0000082403
        Prince And The
 6682   Revolution               I Would Die 4 U                  Warner Bros. Records Inc.       SR0000054679
        Prince And The
 6683   Revolution               Kiss                             Warner Bros. Records Inc.       SR0000069888
        Prince And The
 6684   Revolution               Purple Rain                      Warner Bros. Records Inc.       SR0000054679
        Prince And The
 6685   Revolution               When Doves Cry                   Warner Bros. Records Inc.       SR0000054684
 6686   Randy Travis             Forever And Ever, Amen           Warner Bros. Records Inc.       SR0000080879
 6687   Red Hot Chili Peppers    21st Century                     Warner Bros. Records Inc.       SR0000390775
 6688   Red Hot Chili Peppers    Animal Bar                       Warner Bros. Records Inc.       SR0000390775
 6689   Red Hot Chili Peppers    Around The World                 Warner Bros. Records Inc.       SR0000174922
 6690   Red Hot Chili Peppers    C'mon Girl                       Warner Bros. Records Inc.       SR0000390775
 6691   Red Hot Chili Peppers    Californication                  Warner Bros. Records Inc.       SR0000174922
 6692   Red Hot Chili Peppers    Can't Stop                       Warner Bros. Records Inc.       SR0000316878
 6693   Red Hot Chili Peppers    Charlie                          Warner Bros. Records Inc.       SR0000390775
 6694   Red Hot Chili Peppers    Dani California                  Warner Bros. Records Inc.       SR0000390774
 6695   Red Hot Chili Peppers    Death Of A Martian               Warner Bros. Records Inc.       SR0000390775
 6696   Red Hot Chili Peppers    Desecration Smile                Warner Bros. Records Inc.       SR0000390775
 6697   Red Hot Chili Peppers    Especially In Michigan           Warner Bros. Records Inc.       SR0000390775
 6698   Red Hot Chili Peppers    Hard To Concentrate              Warner Bros. Records Inc.       SR0000390775
 6699   Red Hot Chili Peppers    Hey                              Warner Bros. Records Inc.       SR0000390775



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                                List of Record Company Plaintiffs’ Copyrighted Sound Recordings



                  Artist                       Track                          Plaintiff              Registration_Number
 6700   Red Hot Chili Peppers    Hump De Bump                     Warner Bros. Records Inc.       SR0000390775
 6701   Red Hot Chili Peppers    If                               Warner Bros. Records Inc.       SR0000390775
 6702   Red Hot Chili Peppers    Make You Feel Better             Warner Bros. Records Inc.       SR0000390775
 6703   Red Hot Chili Peppers    Readymade                        Warner Bros. Records Inc.       SR0000390775
 6704   Red Hot Chili Peppers    Scar Tissue                      Warner Bros. Records Inc.       SR0000174922
 6705   Red Hot Chili Peppers    She Looks To Me                  Warner Bros. Records Inc.       SR0000390775
 6706   Red Hot Chili Peppers    She's Only 18                    Warner Bros. Records Inc.       SR0000390775
 6707   Red Hot Chili Peppers    Slow Cheetah                     Warner Bros. Records Inc.       SR0000390775
 6708   Red Hot Chili Peppers    Snow (Hey Oh)                    Warner Bros. Records Inc.       SR0000390775
 6709   Red Hot Chili Peppers    So Much I                        Warner Bros. Records Inc.       SR0000390775
 6710   Red Hot Chili Peppers    Stadium Arcadium                 Warner Bros. Records Inc.       SR0000390775
 6711   Red Hot Chili Peppers    Storm In A Teacup                Warner Bros. Records Inc.       SR0000390775
 6712   Red Hot Chili Peppers    Strip My Mind                    Warner Bros. Records Inc.       SR0000390775
 6713   Red Hot Chili Peppers    Suck My Kiss                     Warner Bros. Records Inc.       SR0000135276
 6714   Red Hot Chili Peppers    Tell Me Baby                     Warner Bros. Records Inc.       SR0000390775
 6715   Red Hot Chili Peppers    Torture Me                       Warner Bros. Records Inc.       SR0000390775
 6716   Red Hot Chili Peppers    Turn It Again                    Warner Bros. Records Inc.       SR0000390775
 6717   Red Hot Chili Peppers    Under The Bridge                 Warner Bros. Records Inc.       SR0000135276
 6718   Red Hot Chili Peppers    Warlocks                         Warner Bros. Records Inc.       SR0000390775
 6719   Red Hot Chili Peppers    We Believe                       Warner Bros. Records Inc.       SR0000390775
 6720   Red Hot Chili Peppers    Wet Sand                         Warner Bros. Records Inc.       SR0000390775
 6721   Story Of The Year        Anthem Of Our Dying Day          Warner Bros. Records Inc.       SR0000340938
 6722   Story Of The Year        Divide And Conquer               Warner Bros. Records Inc.       SR0000340938
 6723   Story Of The Year        Sidewalks                        Warner Bros. Records Inc.       SR0000340938
 6724   The Cure                 Let's Go To Bed                  Warner Bros. Records Inc.       SR0000045130
 6725   The Cure                 The Caterpillar                  Warner Bros. Records Inc.       SR0000054339
 6726   Van Halen                1984                             Warner Bros. Records Inc.       SR0000054482
 6727   Van Halen                Drop Dead Legs                   Warner Bros. Records Inc.       SR0000054482
 6728   Van Halen                Girl Gone Bad                    Warner Bros. Records Inc.       SR0000054482
 6729   Van Halen                Hot For Teacher                  Warner Bros. Records Inc.       SR0000054482
 6730   Van Halen                House Of Pain                    Warner Bros. Records Inc.       SR0000053832
 6731   Van Halen                I'll Wait                        Warner Bros. Records Inc.       SR0000054482
 6732   Van Halen                Jump                             Warner Bros. Records Inc.       SR0000053832
 6733   Van Halen                Panama                           Warner Bros. Records Inc.       SR0000054482
 6734   Van Halen                Top Jimmy                        Warner Bros. Records Inc.       SR0000054482




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